Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 1 of 363 PageID #:
                                  12280
                           DANIEL KIMMAGE 11/10/2022
                                                                         Page 1


       1               IN THE UNITED STATES DISTRICT COURT
       2              FOR THE WESTERN DISTRICT OF LOUISIANA
       3                           MONROE DIVISION
       4    - - - - - - - - - - - - - x
       5    STATE OF MISSOURI ex rel.,:
       6    ERIC S. SCHMITT, Attorney :
       7    General, STATE OF                :
       8    LOUISIANA ex rel. JEFFREY :
       9    M. LANDRY, Attorney              :
      10    General, DR. JAYANTA             :
      11    BHATTACHARYA, JILL HINES, :
      12    JIM HOFT, DR. AARON              :
      13    KHERIATY, and DR. MARTIN         :
      14    KULLDORFF,                       :
      15                   Plaintiffs,       :   No.
      16    v.                               :   3:22-cv-01213-TAD-KDM
      17    JOSEPH R. BIDEN, JR., in         :
      18    his official capacity as         :
      19    President of the United          :
      20    States;                          :
      21    KARINE JEAN-PIERRE in her :
      22    Official capacity as White:
      23    House Press Secretary;           :
      24    VIVEK H. MURTHY, in his          :
      25    Official capacity of             :



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 2 of 363 PageID #:
                                  12281
                           DANIEL KIMMAGE 11/10/2022
                                                                         Page 2


       1    Surgeon General of the           :
       2    United States;                   :
       3    XAVIER BECERRA, in his           :
       4    Official capacity as             :
       5    Secretary of the                 :
       6    Department of Health and         :
       7    Human Services;                  :
       8    DEPARTMENT OF HEALTH AND         :
       9    HUMAN SERVICES;                  :
      10    DR. ANTHONY FAUCI, in his :
      11    Official capacity as             :
      12    Director of the National         :
      13    Institute of Allergy and         :
      14    Infectious Diseases and as:
      15    Chief Medical Advisor to         :
      16    the President;                   :
      17    NATIONAL INSTITUTE OF            :
      18    ALLERGY AND INFECTIOUS           :
      19    DISEASES;                        :
      20    CENTERS FOR DISEASE              :   No.
      21    CONTROL AND PREVENTION;          :   3:22-cv-01213-TAD-KDM
      22    CAROL Y. CRAWFORD, in her :
      23    Official capacity as Chief:
      24    of the Digital Media             :
      25    Branch of the Division of :



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 3 of 363 PageID #:
                                  12282
                           DANIEL KIMMAGE 11/10/2022
                                                                         Page 3


       1    Public Affairs within the :
       2    Centers for Disease              :
       3    Control and Prevention;          :
       4    UNITED STATES CENSUS             :
       5    BUREAU, a.k.a. BUREAU OF         :
       6    THE CENSUS;                      :
       7    JENNIFER SHOPKORN, in her :
       8    Official capacity as             :
       9    Senior Advisor for               :
      10    Communications with the          :
      11    U.S. Census Bureau;              :
      12    DEPARTMENT OF COMMERCE;          :
      13    ALEJANDRO MAYORKAS, in his:
      14    Official capacity as             :
      15    Secretary of the                 :
      16    Department of Homeland           :
      17    Security;                        :
      18    ROBERT SILVERS, in his           :
      19    Official capacity as Under:
      20    Secretary of the Office of:
      21    Strategy, Policy, and            :
      22    Plans, within DHS;               :
      23    SAMANTHA VINOGRAD, in her :
      24    Official capacity as             :
      25    Senior Counselor for             :



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 4 of 363 PageID #:
                                  12283
                           DANIEL KIMMAGE 11/10/2022
                                                                         Page 4


       1    National Security in the         :
       2    Office of the Secretary          :
       3    For DHS;                         :
       4    DEPARTMENT OF HOMELAND           :
       5    SECURITY;                        :
       6    JEN EASTERLY, in her             :
       7    Official capacity as             :
       8    Director of the                  :
       9    Cybersecurity and                :
      10    Infrastructure Security          :
      11    Agency;                          :
      12    CYBERSECURITY AND                :
      13    INFRASTRUCTURE SECURITY          :
      14    AGENCY;                          :
      15    GINA McCARTHY, in her            :
      16    Official capacity as White:
      17    House National Climate           :
      18    Advisor, and                     :
      19    NINA JANKOWICZ, in her           :
      20    Official capacity as             :
      21    Director of the so-called :
      22    “Disinformation Governance:
      23    Board” within the                :
      24    Department of Homeland           :
      25    Security,                        :



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 5 of 363 PageID #:
                                  12284
                           DANIEL KIMMAGE 11/10/2022
                                                                         Page 5


       1    ANDREW SLAVITT, in his           :
       2    Official capacity as White:
       3    House Senior COVID-10            :
       4    Advisor,                         :
       5    ROB FLAHERTY, in his             :
       6    Official capacity as             :
       7    Deputy Assistant to the          :
       8    President and Director of :
       9    Digital Strategy at the          :
      10    White House,                     :
      11    COURTNEY ROWE, in her            :
      12    Official capacity as White:
      13    House Covid-19 Director of:
      14    Strategic Communications         :
      15    And Engagement,                  :
      16    CLARKE HUMPHREY, in her          :
      17    Official capacity as White:
      18    House Digital Director for:
      19    the Covid-19 Response            :
      20    Team,                            :
      21    BENJAMIN WAKANA, in his          :
      22    Official capacity as the         :
      23    Deputy Director of               :
      24    Strategic Communications         :
      25    And Engagement at the            :



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 6 of 363 PageID #:
                                  12285
                           DANIEL KIMMAGE 11/10/2022
                                                                         Page 6


       1    White House COVID-19             :
       2    Response Team,                   :
       3    SUBHAN CHEEMA, in his            :
       4    Official capacity as             :
       5    Deputy Director for              :
       6    Strategic Communications         :
       7    and External Engagement          :
       8    For the White House              :
       9    Covid-19 Response Team,          :
      10    DORI SALCIDO, in her             :
      11    Official capacity as White:
      12    House Covid-19 Director of:
      13    Strategic Communications         :
      14    and Engagement,                  :
      15    TIMOTHY W. MANNING, in his:
      16    Official capacity as White:
      17    House Covid-19 Supply            :
      18    Coordinator,                     :
      19    DANA REMUS, in her               :
      20    Official capacity as             :
      21    Counsel to the President, :
      22    AISHA SHAH, in her               :
      23    Official capacity as White:
      24    House Partnerships               :
      25    Manager,                         :



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 7 of 363 PageID #:
                                  12286
                           DANIEL KIMMAGE 11/10/2022
                                                                         Page 7


       1    LAURA ROSENBERGER, in her :
       2    Official capacity as             :
       3    Special Assistant to the         :
       4    President,                       :
       5    MINA HSIANG, in her              :
       6    Official capacity as             :
       7    Administrator of the U.S. :
       8    Digital Service within the:
       9    Office of Management and         :
      10    Budget in the Executive          :
      11    Office of the President,         :
      12    U.S. DEPARTMENT OF               :
      13    JUSTICE, FEDERAL BUREAU OF:
      14    INVESTIGATION,                   :
      15    LAURA DEHMLOW, in her            :
      16    Official capacity as             :
      17    Section Chief for the            :
      18    FBI’s Foreign Influence          :
      19    Task Force,                      :
      20    ELVIS M. CHAN, in his            :
      21    Official capacity as             :
      22    Supervisory Special Agent :
      23    of Squad CY1 in the San          :
      24    Francisco Division of the :
      25    Federal Bureau of                :



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 8 of 363 PageID #:
                                  12287
                           DANIEL KIMMAGE 11/10/2022
                                                                         Page 8


       1    Investigation,                   :
       2    JAY DEMPSEY, in his              :
       3    Official capacity as             :
       4    Social Media Team Lead,          :
       5    Digital Media Branch,            :
       6    Division of Public Affairs:
       7    at the CDC,                      :
       8    KATE GALATAS, in her             :
       9    Official capacity as             :
      10    Deputy Communications            :
      11    Director at the CDC,             :
      12    ERIC WALDO, in his               :
      13    Official capacity as             :
      14    Chief Engagement Officer         :
      15    For the Surgeon General,         :
      16    YOLANDA BYRD, in her             :
      17    Official capacity as a           :
      18    Member of the Digital            :
      19    Engagement Team at HHS,          :
      20    CHRISTY CHOI, in her             :
      21    Official capacity as             :
      22    Deputy Director, Office of:
      23    Communications, HRSA             :
      24    within HHS,                      :
      25    TERICKA LAMBERT, in her          :



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 9 of 363 PageID #:
                                  12288
                           DANIEL KIMMAGE 11/10/2022
                                                                         Page 9


       1    Official capacity as             :
       2    Director of Digital              :
       3    Engagement at HHS and            :
       4    Deputy Director of the           :
       5    Office of Digital Strategy:
       6    at the White House,              :
       7    JOSHUA PECK, in his              :
       8    Official capacity as             :
       9    Deputy Assistant Secretary:
      10    for Public Engagement at         :
      11    HHS,                             :
      12    JANELL MUHAMMED, in her          :
      13    Official capacity as             :
      14    Deputy Digital Director at:
      15    HHS,                             :
      16    MATTHEW MASTERSON, in his :
      17    Official capacity as             :
      18    Senior Cybersecurity             :
      19    Advisory within CISA in          :
      20    the Department of                :
      21    Homeland Security,               :
      22    LAUREN PROTENTIS, in her         :
      23    Official capacity as an          :
      24    official of CISA,                :
      25    GEOFFREY HALE, in his            :



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 10 of 363 PageID #:
                                   12289
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 10


        1    Official capacity as an          :
        2    Official of CISA,                :
        3    ALLISON SNELL, in her            :
        4    Official capacity as an          :
        5    Official of CISA,                :
        6    KIM WYMAN, in her official:
        7    Capacity as CISA’s Senior :
        8    Election Security Lead,          :
        9    BRIAN SCULLY, in his             :
      10     Official capacity as an          :
      11     Official of DHS and CISA, :
      12     ZACHARY HENRY SCHWARTZ, in:
      13     his official capacity as         :
      14     Division Chief for the           :
      15     Communications Directorate:
      16     at the U.S. Census Bureau,:
      17     LORENA MOLINA-IRIZARRY, in:
      18     her official capacity as         :
      19     an official of the Census :
      20     Bureau,                          :
      21     KRISTIN GALEMORE, in her         :
      22     Official capacity as             :
      23     Deputy Director of the           :
      24     Office of Faith Based and :
      25     Neighborhood Partnerships :



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 11 of 363 PageID #:
                                   12290
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 11


        1    at the Census Bureau,            :
        2    U.S. FOOD AND DRUG               :
        3    ADMINISTRATION,                  :
        4    ERICA JEFFERSON, in her          :
        5    Official capacity as             :
        6    Associate Commissioner for:
        7    External Affairs within          :
        8    the Office of the                :
        9    Commissioner at the U.S.         :
      10     Food and Drug                    :
      11     Administration,                  :
      12     MICHAEL MURRAY, in his           :
      13     Official capacity as             :
      14     Acquisition Strategy             :
      15     Program Manager for the          :
      16     Office of Health                 :
      17     Communications and               :
      18     Education at the FDA,            :
      19     BRAD KIMBERLY, in his            :
      20     Official capacity as             :
      21     Director of Social Media         :
      22     at the FDA,                      :
      23     U.S. DEPARTMENT OF STATE, :
      24     LEAH BRAY, in her official:
      25     capacity as Acting               :



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 12 of 363 PageID #:
                                   12291
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 12


        1    Coordinator of the State         :
        2    Department’s Global              :
        3    Engagement Center,               :
        4    SAMARUDDIN K. STEWART, in :
        5    His official capacity as         :
        6    Senior Technical Advisor         :
        7    and/or Senior Advisor for :
        8    the Global Engagement            :
        9    Center of the State              :
      10     Department,                      :
      11     DANIEL KIMMAGE, in his           :
      12     official capacity as             :
      13     Acting Coordinator for the:
      14     Global Engagement Center         :
      15     at the State Department,         :
      16     ALEXIS FRISBIE, in her           :
      17     official capacity as a           :
      18     member of the Technology         :
      19     Engagement Team at the           :
      20     Global Engagement Center         :
      21     at the State Department,         :
      22     U.S. DEPARTMENT OF               :
      23     TREASURY,                        :
      24     WALLY ADEYEMO, in his            :
      25     Official capacity as             :



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 13 of 363 PageID #:
                                   12292
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 13


        1    Deputy Secretary of the          :
        2    Treasury,                        :
        3    U.S. ELECTION ASSISTANCE         :
        4    COMMISSION,                      :
        5    MARK A. ROBBINS, in his          :
        6    Official capacity as             :
        7    Interim Executive Director:
        8    of the EAC, and                  :
        9    KRISTEN MUTHIG, in her           :
      10     Official capacity as             :
      11     Director of Communications:
      12     for the EAC,                     :
      13                    Defendants.       :
      14     - - - - - - - - - - - - - x
      15
      16            Videotaped Deposition of DANIEL KIMMAGE
      17                    Thursday, November 10, 2022
      18                             10:04 a.m.
      19
      20
      21     Job No.:       135884
      22     Pages 1 through 304
      23     Reported by:       Cassandra E. Ellis, RPR
      24
      25



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 14 of 363 PageID #:
                                   12293
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 14


        1                   Deposition of DANIEL KIMMAGE, held
        2    pursuant to agreement, before Cassandra E. Ellis,
        3    Certified Shorthand Reporter -- Hawaii #475,
        4    Certified Court Reporter - Washington #3484,
        5    Certified Shorthand Reporter - California -
        6    #14448, Registered Professional Reporter #823848,
        7    Certified Realtime Reporter, Realtime Systems
        8    Administrator, and Notary Public of The District
        9    of Columbia.
      10
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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 15 of 363 PageID #:
                                   12294
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 15


        1                        A P P E A R A N C E S
        2          ON BEHALF OF PLAINTIFF:
        3                   D. JOHN SAUER, ESQUIRE
        4                   MISSOURI ATTORNEY GENERAL'S OFFICE
        5                   Supreme Court Building
        6                   P.O. Box 899
        7                   Jefferson City, Missouri      65102
        8                   (573) 751-8870
        9                   John.sauer@ago.mo.gov
      10                    Todd.scott@ago.mo.gov
      11
      12           ON BEHALF OF DEFENDANT:
      13                    ADAM KIRSCHNER, ESQUIRE
      14                    KYLA SNOW, ESQUIRE
      15                    AMANDA CHUZI, ESQUIRE
      16                    INDRANEEL SUR, ESQUIRE
      17                    DEPARTMENT OF JUSTICE
      18                    1100 L Street, Northwest
      19                    Washington, D.C.     20530
      20                    (202) 514-3259
      21                    Adam.kirschner@usdoj.gov
      22                    Kyla.snow@usdoj.gov
      23                    Amanda.k.chuzi@usdoj.gov
      24                    Indraneel.sur@usdoj.gov
      25



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 16 of 363 PageID #:
                                   12295
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 16


        1         A P P E A R A N C E S           C O N T I N U E D
        2          ON BEHALF OF NEW CIVIL LIBERTIES ALLIANCE:
        3                   JOHN J. VECCHIONE, ESQUIRE
        4                   JENIN YOUNES, ESQUIRE
        5                   NEW CIVIL LIBERTIES ALLIANCE
        6                   1225 19th Street, Northwest, Suite 450
        7                   Washington, D.C.    20036
        8                   (202) 918-6902
        9                   John.vecchione@ncla.legal
      10                    Jeninyounes@ncla.legal
      11
      12
      13           ON BEHALF OF U.S. DEPARTMENT OF STATE:
      14                    MEHA A. SHAH, ESQUIRE
      15                    PUBLIC DIPLOMACY AND PUBLIC AFFAIRS
      16                    SA-5, Suite 5H03
      17                    2200 C Street, Northwest
      18                    Washington, D.C.    20520
      19                    (202) 632-9254
      20                    Shahma@state.gov
      21
      22
      23     ALSO PRESENT:
      24     Joseph E. Ellis, Certified Legal Video Specialist
      25



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 17 of 363 PageID #:
                                   12296
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 17


        1                          C O N T E N T S
        2    EXAMINATION OF DANIEL KIMMAGE                             PAGE
        3          By Mr. Sauer                                        21
        4          By Mr. Kimmage                                      151
        5          By Mr. Sauer                                        152
        6
        7                          E X H I B I T S
        8                   (Attached to the Transcript)
        9    DANIEL KIMMAGE       Deposition Exhibit                   PAGE
      10     Exhibit 1      01/08/2016 The White House,                42
      11           Statement by NSC Spokesperson Ned Price
      12           On Updates to U.S. Government Efforts
      13           To Counter Violent Extremism
      14     Exhibit 2      02/09/2018 Nation Now, State               47
      15           Department's answer to Russian
      16           Meddling is about to be funded
      17     Exhibit 3      02/13/2018 Nation Now,                     56
      18           Information warriors: Here's how the
      19           U.S. is combating 'fake news' from
      20           Russia
      21     Exhibit 4      09/04/2020 AFCEA, Russia                   93
      22           Weaponizes Increasingly Sophisticated
      23           Disinformation
      24
      25



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 18 of 363 PageID #:
                                   12297
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 18


        1             E X H I B I T S         C O N T I N U E D
        2                   (Attached to the Transcript)
        3    DANIEL KIMMAGE       Deposition Exhibit                   PAGE
        4    Exhibit 5      08/2020 U.S. Department of State           106
        5          GEC Special Report: Pillars of Russia's
        6    Disinformation and Propaganda Ecosystem
        7    Exhibit 6      Excerpt from Youtube video,                113
        8          Disinformed democracy: The past,
        9          Present, and future of information
      10           Warfare Part 4, Brookings Institution,
      11           October 2, 2020*
      12     Exhibit 7      Second Amended Complaint                   127
      13     Exhibit 8      United States Department of State 153
      14           Programs - Technology Engagement Team -
      15           What are our Programs?
      16     Exhibit 9      Meeting request and Various                159
      17           E-mail(s) Bates Stamped Linkedin0000236,
      18           Linkedin0000342-353, Linkedin0000406
      19     Exhibit 10     05/03/2O21 Confidential E-mail             177
      20           Bates Stamped MOLA_DEFSPROD_00011860-861,
      21           05/10/2O21 Confidential E-mail Bates
      22           Stamped MOLA_DEFSPROD_000112196-215
      23     Exhibit 11     03/25/2O20 Confidential E-mail             188
      24           Bates Stamped MOLA_DEFSPROD_0007669-676
      25



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 19 of 363 PageID #:
                                   12298
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 19


        1             E X H I B I T S         C O N T I N U E D
        2                   (Attached to the Transcript)
        3    DANIEL KIMMAGE       Deposition Exhibit                   PAGE
        4    Exhibit 12     The Long Fuse: Misinformation              206
        5          And the 2020 Election, 2021 The
        6          Election Integrity Partnership
        7    Exhibit 13     11/08/2022 Facebook Content                253
        8          Requests
        9    Exhibit 14     02/17/2021 Transcript,                     260
      10           Countering and Exposing Terrorist
      11           Propaganda and Disinformation
      12     Exhibit 15     05/17/2022 Functional Bureau               276
      13           Strategy, Global Engagement Center
      14     Exhibit 16     10/17/2022 Remarks to the Press,           288
      15           Anthony J. Blinken, Secretary of State
      16
      17
      18
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      21
      22
      23
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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 20 of 363 PageID #:
                                   12299
                            DANIEL KIMMAGE 11/10/2022
                                                                         Page 20


        1                       P R O C E E D I N G S
        2                       THE VIDEOGRAPHER:        Good morning.
        3      This is the beginning of the media in the
        4      deposition of Daniel Kimmage taken in the matter
        5      of the State of Missouri, et al., plaintiffs
        6      versus Joseph R. Biden, Junior, et al.,
        7      defendants, with a Case Number
        8      3:22-CV-01213-TAD-KDM, held in the United States
        9      District Court for the Western District of
      10       Louisiana, Monroe division.
      11                        Today's date is November 10th,
      12       2022, and the time on the monitor is
      13       approximately 10:04 a.m.
      14                        My name is Joseph Ellis.         I'm the
      15       certified legal videographer.             The court
      16       reporter is Cassandra Ellis.          And we are here
      17       representing Lexitas Deposition Services.
      18                        Counsel appearances will be noted
      19       on the stenographic record, only.
      20                        Will the court reporter please
      21       swear in the witness, then you may proceed.
      22     ///
      23     ///
      24     ///
      25     ///



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 21 of 363 PageID #:
                                   12300
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 21


        1                           DANIEL KIMMAGE
        2        having been duly sworn, testified as follows:
        3                             EXAMINATION
        4    BY MR. SAUER:
        5                   Q.   Could you please state your name,
        6      for the record?
        7                   A.   Daniel Kimmage.
        8                   Q.   And Mr. Kimmage, what's your
        9      current title?
      10                         MR. KIRSCHNER:     Mr. Sauer, I just
      11       wanted to put something on the record before we
      12       got started, just before you start going into
      13       the -- to the basics.
      14                         I just wanted to put on the record
      15       that yesterday, November 9th, 2022, the
      16       defendants moved for a protective order
      17       concerning this deposition, and other
      18       depositions, to protect the -- related to the
      19       dissemination of the video of the deposition,
      20       and also related to certain personal information
      21       that may be discussed at the deposition.
      22                         Yesterday -- today, in docket entry
      23       111, the Court temporarily granted that motion
      24       to allow for the briefing of this issue, and we
      25       ask that plaintiffs abide by that order.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 22 of 363 PageID #:
                                   12301
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 22


        1                        MR. SAUER:    Plaintiffs will abide
        2      by that order, and will respond to the motion in
        3      due course on the Court's briefing schedule.
        4    BY MR. SAUER:
        5                   Q.   Mr. Kimmage, what's your current
        6      title?
        7                   A.   My title is principal deputy
        8      coordinator of the Global Engagement Center.
        9                   Q.   And at various times you've been
      10       acting coordinator as well as principal deputy
      11       coordinator of that; is that right?
      12                    A.   Yes.
      13                    Q.   How long have you been at the
      14       Global Engagement Center for the State
      15       Department?
      16                    A.   Since January, I think January
      17       21st, 2017.
      18                    Q.   Let me ask you this:      Have you ever
      19       been deposed before?
      20                    A.   No.
      21                    Q.   So can I just go through some
      22       ground rule type questions?
      23                    A.   Sure.
      24                    Q.   One thing is when I ask a question
      25       could you wait until I finish the question



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 23 of 363 PageID #:
                                   12302
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 23


        1      before you respond?
        2                   A.   Mm-hmm.     Yes.
        3                   Q.   Next thing is, could you give an
        4      oral response to all my questions, because the
        5      court reporter is transcribing, so a nod doesn't
        6      come across, necessarily, in the transcripts,
        7      can you give an oral response to all my
        8      questions?
        9                   A.   Yes.
      10                    Q.   And I'm a bad offender at this, but
      11       can you and I be careful not to interrupt each
      12       other?
      13                    A.   Yes.
      14                    Q.   And if at any time, I would like
      15       you to listen carefully to the question that I'm
      16       asking and answer the question that I'm asking,
      17       as we go forward, are you willing to do that?
      18                    A.   Yes.
      19                    Q.   And if at any time you don't
      20       understand the question, could you ask me for
      21       clarification rather than answer a question that
      22       you're not sure that I asked?
      23                    A.   Yes.
      24                    Q.   Okay.     So you've been at the Global
      25       Engagement Center for about five years; is that



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 24 of 363 PageID #:
                                   12303
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 24


        1      fair to say, beginning of 2017?
        2                   A.   Since January 21st, 2017, with --
        3      with breaks.
        4                   Q.   And prior to that, and breaks
        5      include a stint at the National Defense
        6      University, that was fairly recent; is that
        7      right?
        8                   A.   Yes.
        9                   Q.   How -- how recently did you come
      10       back to the Global Engagement Center from the
      11       National Defense University?
      12                    A.   In July 2022, July of this year.
      13                    Q.   And that was a 10-month stint, you
      14       were away for 10 months at that university?
      15                    A.   Yes.
      16                    Q.   And you've been back for about four
      17       months, since then?
      18                    A.   Yes.
      19                    Q.   I may ask you other things today,
      20       about stuff that may have happened while you
      21       were gone, in which case I'm just asking you to
      22       respond to the best of your knowledge; is that
      23       fair to say?
      24                    A.   Yeah.
      25                    Q.   Okay.   Other than that 10-month



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 25 of 363 PageID #:
                                   12304
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 25


        1      period, were there other periods where you were
        2      not at the Global Engagement Center?
        3                   A.   Before January 21st, 2017, I was in
        4      the Office of Policy Planning.
        5                   Q.   But between January 1st, 2017 and
        6      now, other than the 10-month interruption at the
        7      NDU, you've been continuously at the Global
        8      Engagement Center?
        9                   A.   Yes.
      10                    Q.   And during that time period, you've
      11       been in a senior role, either as acting
      12       coordinator or a principal deputy coordinator;
      13       fair to say?
      14                    A.   Correct.
      15                    Q.   And I take it the difference
      16       between those two, executive coordinator -- is
      17       the coordinator a senate-confirmed position?
      18                    A.   It is not.
      19                    Q.   Well, let me ask this:       Can you
      20       describe, generally, what the Global Engagement
      21       Center does?
      22                    A.   The Global Engagement Center has a
      23       congressional mandate, it comes from the 2017
      24       National Defense Authorization Act to direct and
      25       lead the US government's efforts to counter



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 26 of 363 PageID #:
                                   12305
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 26


        1      foreign propaganda and disinformation.
        2                   Q.   Is the word disinformation in that
        3      statute?
        4                   A.   It is.
        5                   Q.   Okay.    So there's a congressional
        6      mandate that counter foreign propaganda and
        7      disinformation?
        8                   A.   Yes.
        9                   Q.   Is that -- and does the Global
      10       Engagement Center carry on activities to
      11       implement that mission?
      12                    A.   Yes.
      13                         MR. KIRSCHNER:     Objection, vague.
      14     BY MR. SAUER:
      15                    Q.   Can you describe the nature of
      16       those activities?
      17                         MR. KIRSCHNER:     Objection, calls
      18       for a narrative.
      19     BY MR. SAUER:
      20                    Q.   You may answer if you understand
      21       the question.
      22                    A.   Could you clarify what you mean by
      23       that?
      24                    Q.   What does the Global Engagement
      25       Center do to carry out its statutory mission,



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 27 of 363 PageID #:
                                   12306
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 27


        1      can you give a summary of that?
        2                   A.   Yeah.   It analyzes the activities
        3      of adversarial state and non-state actors, so
        4      countries like Russia and China, that use
        5      propaganda and disinformation to harm the
        6      national security of the United States, or
        7      terrorist organizations like Al-Queda and Isis.
        8                        So the Global Engagement Center
        9      looks analytically at what those malign actors
      10       are doing, how they're using propaganda and
      11       disinformation.
      12                         It also has partnerships, it -- it
      13       supports organizations that can more actively
      14       counter the propaganda and disinformation of
      15       these foreign actors.
      16                         And it also coordinates and
      17       communicates internally within the US government
      18       with other offices at the State Department and
      19       with interagency partners.
      20                    Q.   Are there internal divisions or
      21       teams within the Global Engagement Center?
      22                    A.   Yes.
      23                    Q.   And from now on can I just refer to
      24       it as the GEC?
      25                    A.   Yes.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 28 of 363 PageID #:
                                   12307
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 28


        1                   Q.   And you'll understand that we're
        2      talking about the Global Engagement Center;
        3      correct?
        4                   A.   Yes.
        5                   Q.   What are the internal divisions or
        6      teams within it?
        7                   A.   So there is -- there are teams that
        8      focus on the major threat actors.           There is a
        9      China team, a Russia team, an Iran team, and a
      10       counterterrorism team.
      11                         And then there are some sort of
      12       structural support -- there's a resources team,
      13       there's a front office, there's a -- I'm not
      14       sure what the current name is, but there's an
      15       interagency coordination team.
      16                    Q.   Is that the -- is that the I2C2?
      17                    A.   The I2C2, there's an interagency
      18       coordination team, and there's a Technology
      19       Engagement Team.
      20                    Q.   And that's sometimes referred to as
      21       the TET?
      22                         (Reporter clarification)
      23                         MR. SAUER:    I think she was talking
      24       to me.
      25                         MR. KIRSCHNER:     I was also going to



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 29 of 363 PageID #:
                                   12308
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 29


        1      ask:    Can you let him finish his response
        2      before -- before following up.
        3    BY MR. SAUER:
        4                   Q.   And is the Technology Engagement
        5      Team called the TET?
        6                   A.   Sometimes, yes.
        7                   Q.   And do any of those divisions,
        8      teams, or components interface directly with
        9      social media companies?
      10                    A.   The Technology Engagement Team does
      11       engage with social media companies.            The front
      12       office and senior leadership engage with social
      13       media companies, yes.
      14                    Q.   So what does the TET do to engage
      15       with social media companies?
      16                         MR. KIRSCHNER:     Objection, vague.
      17     BY MR. SAUER:
      18                    Q.   Can you summarize that for us?
      19                         MR. KIRSCHNER:     Objection, calling
      20       for a narrative.
      21     BY MR. SAUER:
      22                    Q.   If you understand the question you
      23       may answer.
      24                    A.   They hold meetings.
      25                    Q.   What do they discuss in the



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 30 of 363 PageID #:
                                   12309
                            DANIEL KIMMAGE 11/10/2022
                                                                          Page 30


        1      meetings?
        2                   A.   I'm not in the meetings that the
        3      Technology Engagement Team holds with the social
        4      media companies.
        5                   Q.   Do you have any understanding of
        6      what they discuss in the meetings?
        7                   A.   Yeah, the -- the -- the general
        8      thrust would be information exchange.
        9                   Q.   And what -- what kind of
      10       information is exchanged?
      11                    A.   Primarily, the tools and techniques
      12       that are adversaries.        So malign actors like the
      13       ones I listed, like Russia and China, how are
      14       they using propaganda and disinformation.
      15                    Q.   Is there discussion of technologies
      16       that can be used to combat disinformation in
      17       those meetings?
      18                    A.   There certainly could be, tools,
      19       for example.
      20                    Q.   And is there a discussion of, you
      21       know, content posted on social media that might
      22       be of concern to the GEC, that's discussed with
      23       social media companies in those meetings?
      24                    A.   I think that would be rare.        The
      25       focus of the discussion would be at a higher



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 31 of 363 PageID #:
                                   12310
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 31


        1      conceptual level.          It would be:     How are these
        2      actors doing what they do, not so much specific
        3      pieces of content.
        4                   Q.    But do you think there may be rare
        5      conversations where specific pieces of content
        6      are discussed, of concern?
        7                   A.    Yes, I -- I couldn't rule it out.
        8                   Q.    Okay.    And do you know of any
        9      specific instance where that was done in these
      10       TET meetings with social media companies?
      11                    A.    No.
      12                    Q.    How about the front office
      13       engagement with social media companies that you
      14       referred to, what's the nature of that?
      15                    A.    It's primarily relationship
      16       building.         So at the more senior level the
      17       engagements that I would hold, the meetings I
      18       would hold, it would be really relationship
      19       building to facilitate better communication at
      20       the working level.
      21                    Q.    So who would be present at a
      22       meeting like that, on your side?
      23                    A.    On our side, it would be the acting
      24       coordinator or the coordinator if -- or the
      25       appointed coordinator, probably one or two of



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 32 of 363 PageID #:
                                   12311
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 32


        1      the deputies, because there are deputy
        2      coordinators, maybe a team chief, and then,
        3      potentially, a member of a team with relevant
        4      substantive expertise.
        5                   Q.   How frequently do those kinds of
        6      meetings occur where someone at the coordinator
        7      level and others are meeting directly with the
        8      social media platforms?
        9                   A.   Every few months, can b e
      10       quarterly, but sometimes less than quarterly.
      11                    Q.   What kind of topics are discussed
      12       at those meetings?
      13                    A.   The tools and techniques of our
      14       adversaries would probably be the number one
      15       topic.       So what are the campaigns we see,
      16       foreign propaganda actors, like Russia, China,
      17       Iran or terrorist organizations, what campaigns
      18       are they conducting, what tools are they using,
      19       potentially which narratives they're promoting.
      20                         And we would be in listening mode
      21       for anything the companies wanted to share.
      22                    Q.   And you say what the companies
      23       wanted to share, what sort of information might
      24       that be?
      25                    A.   My recollection is that it was



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 33 of 363 PageID #:
                                   12312
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 33


        1      fairly minimal.
        2                   Q.   Can you think of an instance where
        3      that happened, you referred to it just now?
        4                   A.   They would also be looking for
        5      Chinese disinformation campaigns, fairly general
        6      information along those lines.
        7                   Q.   And so they might flag for you, the
        8      GEC representatives, content that they see on
        9      their platforms that their concerns may be
      10       originating from malign state actors?
      11                         MR. KIRSCHNER:     Objection, assumes
      12       evidence not in record.
      13     BY MR. SAUER:
      14                    Q.   You may answer if you understand
      15       the question.
      16                    A.   I don't recall discussions of
      17       specific content.       These would be higher-level
      18       discussions along the lines of a campaign with a
      19       narrative, but not specific content that would
      20       be a part of the campaign.
      21                    Q.   So they would not be flagging
      22       specific posts, for example, but they might be
      23       saying, hey, there's a narrative about, you
      24       know, at a high-level description that's --
      25       that's trending on their platform, something



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                                   12313
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 34


        1      like that?
        2                   A.    Yes.
        3                   Q.    Do you remember specific instances
        4      where that kind of conversation occurred?
        5                   A.    No.
        6                   Q.    But you have the understanding that
        7      that sort of thing would happen?
        8                   A.    Yes, general discussions of
        9      campaigns.
      10                    Q.    And then on your side would you
      11       also be discussing such campaigns?
      12                    A.    Yes.
      13                    Q.    And flagging them for them; is that
      14       fair to say?
      15                    A.    Yes.   But I wouldn't use the word
      16       flagging.         Flagging is generally associated with
      17       specific content, that was generally not the
      18       focus of our discussions, certainly not the ones
      19       that I conducted.
      20                    Q.    So what discussions -- let me take
      21       a concrete example, for example, that's in some
      22       of the GECs online materials.
      23                          I take it there was a campaign back
      24       in the 1980s, from Russia and malign actors, to
      25       try and accuse the United States of



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 35 of 363 PageID #:
                                   12314
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 35


        1      manufacturing the AIDS virus in a laboratory in
        2      the 1970s when, in fact, there's demonstrable
        3      scientific evidence that it emerged in the
        4      1950s, so this is kind of a Russian lie.
        5                        Is that at the sort of level of
        6      specificity that you might be raising these
        7      kinds of issues in these meetings with social
        8      media platforms?
        9                        MR. KIRSCHNER:     Objection, vague,
      10       ambiguous.
      11     BY MR. SAUER:
      12                    Q.   If you understand, you may answer.
      13                    A.   Yes, that is the -- the -- the
      14       level of detail.
      15                    Q.   Yeah, and I'm not asking -- I'm not
      16       asking for a, hey, anything current.
      17                    A.   Mm-hmm.
      18                    Q.   But that would be the nature of
      19       information, you might sit down with them and
      20       say, hey, look, here's a malign foreign actor,
      21       Russia, they are pushing this narrative out on
      22       social media platforms using bots or whatever,
      23       and, you know, here's the nature of the
      24       narrative, and this is something to be on the
      25       lookout for; is that a fair characterization of



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 36 of 363 PageID #:
                                   12315
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 36


        1      how those discussions go?
        2                   A.      Yes, with the caveat that we might
        3      not say:          Be on the lookout, it might be just
        4      what we're seeing.           Our interactions were not
        5      directive with social media companies.
        6                   Q.      What's the purpose of advising them
        7      of those narratives of concern, from your side?
        8                   A.      The purpose is to deepen their
        9      understanding of the actions of malign actors
      10       seeking to harm the national security in the
      11       United States, in line with the GEC's
      12       congressional mandate.
      13                    Q.      Is there a concern or is there an
      14       indention that for particularly malign
      15       narratives, that once they're advised of them
      16       they might be equipped to enforce their content
      17       standards against users or bots who post those
      18       narratives?
      19                    A.      Could you clarify the question?
      20                    Q.      Is part of the purpose of raising
      21       these narratives to inform the social media
      22       companies on how they might apply their content
      23       modulation policies against that kind of
      24       content?
      25                            MR. KIRSCHNER:     Objection,



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 37 of 363 PageID #:
                                   12316
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 37


        1      ambiguous.
        2    BY MR. SAUER:
        3                   Q.   You may answer, if you understand.
        4                   A.   No.   Our purpose was not to effect
        5      internal decisions at the social media
        6      companies.        Our purpose was to deepen their
        7      understanding of the actions of malign actors.
        8                   Q.   And this -- these meetings occur
        9      every few months; is that fair to say?
      10                    A.   At the senior level, every few
      11       months.
      12                    Q.   How often do they occur with the
      13       TET level?
      14                    A.   More frequently, but I don't know
      15       the exact frequency.
      16                    Q.   Does the GEC engage in any
      17       activities where the intention is to influence
      18       or -- or at least propose to social media
      19       companies that certain content might not be
      20       posted on their platforms?
      21                         MR. KIRSCHNER:      Objection,
      22       compound.
      23     BY MR. SAUER:
      24                    Q.   You may respond, if you answer --
      25                    A.   No.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 38 of 363 PageID #:
                                   12317
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 38


        1                   Q.   -- if you understand?
        2                   A.   The GEC does not seek to influence
        3      the decisions of the social media companies.
        4                   Q.   Does a CE -- GEC seek to provide
        5      information that might inform those decisions?
        6                   A.   No.   The GEC is not looking to
        7      inform specific decisions.          These are general
        8      conversations about what we are seeing in the
        9      environment.       They're not geared toward
      10       decisions that the social media companies may or
      11       may not make.
      12                    Q.   And are you aware of any instances,
      13       whether in the context of these meetings or any
      14       other context, where the GEC has been involved
      15       in, you know, raising concerns to social media
      16       companies, whether directly or indirectly, about
      17       content posted on their platforms?
      18                         MR. KIRSCHNER:     Objection,
      19       compound.
      20                    A.   Yes, I can recall one specific
      21       instance --
      22                    Q.   Can you tell me about that?
      23                    A.   -- that -- with myself.
      24                    Q.   Sorry, I didn't mean to interrupt.
      25                         Can you tell me about that?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 39 of 363 PageID #:
                                   12318
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 39


        1                   A.   Yes.   I believe this was in 2018,
        2      but I don't have the records in front of me.              I
        3      was informed by a colleague that there was a
        4      security situation in a middle eastern country
        5      where demonstrators or protesters were using a
        6      social media platform to communicate, and the
        7      Department was concerned for the safety of its
        8      personnel.
        9                        And this was a concern that was
      10       being tracked in realtime, at the highest levels
      11       of the State Department.         And that was the one
      12       time that I recall that I did communicate
      13       directly to a social media platform or
      14       representative that this was an ongoing concern.
      15       I was very specific in my interactions, simply
      16       saying that this is a realtime situation where
      17       we believe that the safety of our personnel is
      18       at stake, and I would simply ask that you review
      19       the activity on these accounts to make a
      20       determination in line with your own terms of
      21       service.
      22                         I did not ask for anything to be
      23       removed, but I did have a direct interaction
      24       about specific content motivated by security
      25       concerns about the safety of our people.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 40 of 363 PageID #:
                                   12319
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 40


        1                   Q.   Were those posts foreign or
        2      domestic?
        3                   A.   All foreign.
        4                   Q.   And what action was taken, to your
        5      knowledge, by the social media platforms?
        6                   A.   I don't know what specific action.
        7      They did not report back to me.
        8                   Q.   You mentioned that you, personally,
        9      engaged in that interaction.          Are you aware of
      10       others in the GEC having any interactions of
      11       that nature, where there's a discussion with
      12       social media platforms about specific content of
      13       concern?
      14                    A.   No, I'm not.
      15                    Q.   You're not aware of any other
      16       personnel within your -- the GEC doing that on
      17       any other occasion?
      18                    A.   There were other personnel involved
      19       in this interaction, but not beyond this
      20       interaction.
      21                    Q.   How many personnel are at the GEC?
      22                    A.   I -- I believe it's between one and
      23       two hundred now.
      24                    Q.   Okay.   And do they all ultimately
      25       report to you, in your role as principal deputy



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 41 of 363 PageID #:
                                   12320
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 41


        1      coordinator?
        2                   A.   No.   I'm -- I'm currently serving
        3      as a senior advisor, so I'm not in a -- in a
        4      direct management role.
        5                        When I was the acting coordinator,
        6      they would have -- I would have been responsible
        7      for the entire office.         They would not have
        8      reported directly to me.         There's a chain of
        9      command
      10                         And, you know, when I was the
      11       principal deputy some would report to me, but
      12       ultimately it would be the appointed coordinator
      13       who was the head of the office.
      14                    Q.   Are -- how much knowledge do you
      15       have of the office's activities in your role of
      16       senior advisor?         Do you have a good overview of
      17       everything the office is doing or do you only
      18       really oversee or, you know, get involved in
      19       smaller portions of it?
      20                    A.   Currently, only in small portions.
      21       I don't have an oversight role.
      22                    Q.   What are the -- what are those
      23       smaller portions that you're involved in?
      24                    A.   Strategic issues of interest to the
      25       acting coordinator.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 42 of 363 PageID #:
                                   12321
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 42


        1                   Q.    Can you, without getting into too
        2      much detail, can you tell us whether any of
        3      those issues involved interaction with social
        4      media platforms?
        5                   A.    No, they do not.
        6                   Q.    Your answer is:      No, they do not?
        7                   A.    No.
        8                   Q.    But are you still participating in
        9      these, you know, few monthly meetings with the
      10       social media platforms?
      11                    A.    No.
      12                    Q.    That was something you did when you
      13       were acting coordinator and deputy acting
      14       coordinator?
      15                    A.    Yes, only in my capacity as acting
      16       coordinator or principal deputy coordinator.
      17                    Q.    And that was a role that you held
      18       from the beginning of 2017 until -- until about
      19       a year ago or about 14 months ago?
      20                    A.    Until June 2021.
      21                          MR. SAUER:     Let me give you a
      22       document.         Let's call this Exhibit 1.
      23                          (Exhibit No. 1 was marked for
      24       identification.)
      25                          MR. KIRSCHNER:      Mr. Sauer, do you



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 43 of 363 PageID #:
                                   12322
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 43


        1      only have one extra copy for us?
        2                        MR. SAUER:    No, we've got two extra
        3      copies.
        4                        MR. KIRSCHNER:     Do you mind?
        5                        MR. SAUER:    Yeah, that's fine.
        6      That's fine.
        7    BY MR. SAUER:
        8                   Q.   Do you recognize this document?
        9                   A.   Can you clarify what that means?
      10                    Q.   Have you ever seen it before?
      11                    A.   No.
      12                    Q.   So if you see at the top, it's a --
      13       appears to be a White House press release from
      14       January 28, 2016; right?
      15                    A.   Mm-hmm.
      16                    Q.   Is that right?
      17                    A.   Yes.
      18                    Q.   And it describes, I believe, the
      19       creation by executive order of the Global
      20       Engagement Center in the beginning of 2016;
      21       right?
      22                         MR. KIRSCHNER:     Objection, assuming
      23       facts not in evidence.         Can the witness have an
      24       opportunity to look at the document?
      25                         MR. SAUER:    Sure.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 44 of 363 PageID #:
                                   12323
                            DANIEL KIMMAGE 11/10/2022
                                                                          Page 44


        1    BY MR. SAUER:
        2                   Q.   And if it helps, if I can direct
        3      your attention to the second sentence of the
        4      second paragraph?
        5                   A.   Mm-hmm.
        6                   Q.   Talks about how the Department of
        7      Homeland Security and the Department of Justice
        8      will announce the establishment of a countering
        9      violent extremism task force; correct?
      10                    A.   Yes.
      11                    Q.   And then it goes on to say:        The
      12       State Department will establish the Global
      13       Engagement Center; is that fair to say?
      14                    A.   Yes.
      15                    Q.   So is this, to your understanding,
      16       the beginning of how the GEC got going, created
      17       by executive order in 2016?
      18                         MR. KIRSCHNER:     Objection,
      19       speculative.
      20     BY MR. SAUER:
      21                    Q.   If you know?
      22                    A.   There was an executive order in
      23       2016 that established the Global Engagement
      24       Center.       Subsequently, there was a provision in
      25       the national defense authorization act that



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 45 of 363 PageID #:
                                   12324
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 45


        1      created the Global Engagement Center in its
        2      current iteration.
        3                   Q.   So in other words, there was a
        4      precursor that was created by executive order,
        5      and then the 2017 NDAA gave it specific
        6      statutory authorization?
        7                   A.   Yes.   They're separate -- separate
        8      documents.
        9                   Q.   This press release goes on to
      10       say -- do you see the sentence in that paragraph
      11       beginning:        Additionally?
      12                    A.   Yes.
      13                    Q.   Today, some of the most senior
      14       officials from the White House and across the
      15       President's national security team are meeting
      16       in Silicon Valley with representatives from a
      17       number of leading technology companies?
      18                    A.   Yes.
      19                    Q.   Do you have any understanding of
      20       what the nature of those meetings was?
      21                    A.   No.
      22                    Q.   Were you involved in the GEC in
      23       this iteration prior to 2017?
      24                    A.   No.    I was on detail in the Office
      25       of Policy Planning at this time.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 46 of 363 PageID #:
                                   12325
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 46


        1                   Q.    But from the beginning, at least,
        2      it appears there was some aspect of the GEC's
        3      mission that involved interacting with social
        4      media platforms?
        5                         MR. KIRSCHNER:      Objection, assuming
        6      evidence.         That's not in the record.
        7    BY MR. SAUER:
        8                   Q.    Fair to say?
        9                   A.    I don't see a connection between
      10       the meeting in Silicon Valley, here, and the
      11       establishment of the Global Engagement Center.
      12       I -- could you explain what the connection is?
      13                    Q.    Do you -- are you aware of any
      14       connection --
      15                    A.    I'm not.
      16                    Q.    -- between the GEC and interactions
      17       with social media platforms?
      18                    A.    I'm not aware of any connection
      19       between the establishment of the Global
      20       Engagement Center through the executive order or
      21       the Global Engagement Center in its iteration
      22       then, and then in the senior officials from the
      23       White House meeting in Silicon Valley the Global
      24       Engagement Center is not a part of the White
      25       House.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 47 of 363 PageID #:
                                   12326
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 47


        1                         This sentence talks about, you
        2      know, White House national security team, I
        3      don't know whether the Global Engagement Center
        4      was involved in that.
        5                   Q.    Let me ask you this:     How -- how --
        6      how -- you've been there since the beginning of
        7      2017, during all that time have there been
        8      interactions with social media companies to
        9      discuss narratives and things like that?
      10                    A.    I -- I don't believe it was across
      11       the entire time.         The initial period was really
      12       focused on setting up the office.           So there
      13       weren't -- there weren't a lot of outside
      14       meetings.         I don't recall when, exactly, they
      15       began.
      16                    Q.    Did you ever have a conversation
      17       with social media companies where you encouraged
      18       them to speed up the removal of posts that they
      19       posted online?
      20                    A.    No.
      21                          MR. SAUER:     Let's do B.
      22                          Let me give you another document.
      23       This will be, I think, labeled Exhibit 2.
      24                          (Exhibit No. 2 was marked for
      25       identification.)



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 48 of 363 PageID #:
                                   12327
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 48


        1    BY MR. SAUER:
        2                   Q.   And is this a report from USA Today
        3      dated February 9th, 2018, discussing the Global
        4      Engagement Center?
        5                   A.   Yes.
        6                   Q.   And you're quoted in this article,
        7      aren't you, in there, in the second paragraph?
        8                        MR. KIRSCHNER:     Objection.     I would
        9      like to have an opportunity to read this
      10       article, as well, before -- before going forward
      11       on this.
      12                         MR. SAUER:    If you're going to read
      13       the entirety of every document we're going to be
      14       here a long time.
      15                         MR. KIRSCHNER:     Just to be able to
      16       put eyes on the document, just --
      17                         MR. SAUER:    I tell you what, when I
      18       get to a question that is of concern, and we
      19       need some time, let me know.          But --
      20                         MR. KIRSCHNER:     You just give at
      21       least the witness a little bit of time to
      22       familiarize himself with the document?
      23     BY MR. SAUER:
      24                    Q.   Well, let me ask this:       Do you
      25       recall giving an interview to the USA Today in



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 49 of 363 PageID #:
                                   12328
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 49


        1      around February of 2018 or giving comments to
        2      them?
        3                   A.   I -- I -- I don't recall it
        4      specifically, but I gave -- I did a fair amount
        5      of media engagement, so I -- I see the
        6      interview, yes.
        7                   Q.   And do you see there, on the second
        8      paragraph of this, where it talks about how
        9      there's an agreement to transfer 40 million
      10       dollars from the Defense Department to more
      11       fully fund the GEC?
      12                    A.   Mm-hmm.
      13                    Q.   You remember that incident, I'm
      14       sure.
      15                    A.   Yes.
      16                    Q.   And do you remember talking to the
      17       media about that?
      18                    A.   I don't recall speaking to the
      19       media specifically about the funding transfer.
      20                    Q.   Two paragraphs down from that,
      21       there's a reference to Stephen Goldstein, the
      22       State Department Undersecretary for Public
      23       Diplomacy, describing the Center's job; is that
      24       fair to say?
      25                    A.   Yes.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 50 of 363 PageID #:
                                   12329
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 50


        1                   Q.   Do you remember getting involved in
        2      a conversation with reporters with
        3      Mr. Goldstein?
        4                   A.   I don't recall whether
        5      Undersecretary Goldstein and I did a joint or
        6      separate engagement with USA Today for this
        7      interview.
        8                   Q.   Okay.     Can you turn to the next
        9      page of this article.
      10                    A.   Mm-hmm.
      11                    Q.   Actually, turn in two pages, to the
      12       third page of the document.
      13                    A.   Okay.
      14                    Q.   There is a freestanding paragraph
      15       that begins:      Some of that work has already
      16       begun, Kimmage and Goldstein said; do you see
      17       where it says that?
      18                    A.   Yes.
      19                    Q.   And then immediately below that,
      20       there's a quote from Goldstein, that said:              Top
      21       managers have been working with other government
      22       agency, the White House, and technology
      23       companies, quote, encouraging them to help us in
      24       this fight; correct?
      25                    A.   That is Undersecretary Goldstein's



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 51 of 363 PageID #:
                                   12330
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 51


        1      quote, correct.
        2                   Q.   And do you remember him saying
        3      that?
        4                   A.   I -- I -- I don't.      I don't know
        5      whether I was there when he said that.
        6                   Q.   Okay.   And then it goes on to say
        7      he, which I take it refers to Goldstein, met
        8      with executives in Google, in January, and
        9      Twitter in February, and plans to meet with
      10       Facebook; correct?
      11                    A.   Yes.
      12                    Q.   And were you present at those
      13       meetings?
      14                    A.   I don't recall being present at
      15       those meetings.
      16                    Q.   Okay.   And it goes on to say:        They
      17       discussed shutting down bots, thousands of
      18       automated accounts that spew misleading
      19       information; correct?
      20                    A.   Yes.
      21                    Q.   So that --
      22                    A.   Correct.
      23                    Q.   -- would be a discussion of taking
      24       content down from a social media platform;
      25       correct?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 52 of 363 PageID #:
                                   12331
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 52


        1                   A.   Can I clarify?     This is
        2      Undersecretary Goldstein's engagement.             I wasn't
        3      present there.          I can't speak to the content of
        4      his engagement.
        5                   Q.   You don't remember whether or not
        6      you were present for those meetings?
        7                   A.   I don't.
        8                   Q.   You don't recall?
        9                        Do you recall having any specific
      10       recollection of what's discussed here?
      11                    A.   No.
      12                    Q.   Okay.    And then he goes on to say
      13       that he discussed with Google, Twitter, and
      14       plans to discuss with Facebook to speed up the
      15       removal of posts and videos that target US
      16       audiences; correct?
      17                         MR. KIRSCHNER:     Objection, assumes
      18       evidence not in the record.          These are not
      19       quotes.       These are paraphrases.
      20     BY MR. SAUER:
      21                    Q.   That's what the article reports him
      22       as saying; correct?
      23                    A.   That's what the article reports him
      24       as saying, correct.
      25                    Q.   Not with quotes around it, but as a



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 53 of 363 PageID #:
                                   12332
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 53


        1      summary; correct?
        2                   A.   Correct, as a summary.
        3                   Q.   Do you remember any conversations
        4      from that timeframe where there was a discussion
        5      of speeding up the removal of posts between
        6      anyone associated with the State Department and
        7      any social media platform?
        8                   A.   I don't recall any conversations
        9      between myself, at the GEC, and social media
      10       companies about speeding up the removal of
      11       posts.
      12                    Q.   Do you recall anyone from the State
      13       Department telling you that they had a
      14       conversation with a social media platform about
      15       speeding up the removal of posts?
      16                    A.   No.     I recall Undersecretary
      17       Goldstein engaging with the companies, and I
      18       don't remember all of the details.            I -- I -- I
      19       don't remember what he said he discussed with
      20       them.
      21                    Q.   Okay.    And you -- you don't recall
      22       whether you were personally present when those
      23       meetings occurred?
      24                    A.   I don't believe I was, but I
      25       don't -- I don't -- I don't recall being



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 54 of 363 PageID #:
                                   12333
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 54


        1      present, no.
        2                   Q.   How about anyone else, other than
        3      Secretary Goldstein, Undersecretary Goldstein,
        4      have you ever had a discussion with anyone else
        5      at the State Department that discussed, for
        6      example, talking to social media platforms about
        7      speeding up the removal of posts?
        8                   A.   I don't recall any conversation
        9      with others at the State Department about
      10       specifically speeding up the removal of posts.
      11                    Q.   How about any kind of removal of
      12       posts, any discussion, other than the incident
      13       you described earlier, obviously, in 2018?
      14                    A.   Outside of the very specific
      15       context of this is what I would describe as an
      16       exceptional case involving a threat, I don't
      17       recall specific discussions of meetings with
      18       social media companies about speeding up the
      19       removal of posts.
      20                    Q.   How about making sure -- or how
      21       about taking steps to stop bots from -- from
      22       spreading disinformation?
      23                    A.   I don't recall conversations about
      24       taking steps.      We would talk about foreign
      25       actors use of things like bots, but not to



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 55 of 363 PageID #:
                                   12334
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 55


        1      encourage some type of action, it would be
        2      really for a -- to inform.          So I don't recall
        3      conversations about taking steps.
        4                   Q.   Would you -- do you recall
        5      conversations about informing social media
        6      companies that bots are spreading a certain kind
        7      of disinformation or narrative?
        8                   A.   I do recall conversations about
        9      Chinese use of bots to spread propaganda
      10       narratives.
      11                    Q.   Do you know whether the use of bots
      12       would violate the social media platforms content
      13       violations policies?
      14                    A.   I don't know, no.
      15                    Q.   Are you aware of anyone at the
      16       State Department, including the GEC, going
      17       through intermediaries to indirectly flag or
      18       raise content concerns with social media
      19       platforms?
      20                    A.   Could -- could you clarify?
      21                    Q.   Well, are you aware of any instance
      22       where someone at a social media platform -- or
      23       sorry -- someone at the GEC may have gone to
      24       some third party on the understanding that that
      25       third party might convey a concern about content



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 56 of 363 PageID #:
                                   12335
                            DANIEL KIMMAGE 11/10/2022
                                                                          Page 56


        1      on the social media platform to the social media
        2      platform?
        3                   A.   I -- no, I can't speak to every
        4      engagement that someone at the State Department
        5      might have had.
        6                   Q.   Are you aware of any engagements of
        7      that nature that I described?
        8                   A.   No, not that I can think of.
        9                        MR. SAUER:    Can you get C?
      10                         Let's call this Exhibit 3.
      11                         (Exhibit No. 3 was marked for
      12       identification.)
      13                         MR. KIRSCHNER:     Mr. Sauer, so to
      14       clarify the record, now -- never mind.             I see
      15       you're -- are you identifying this as USA Today,
      16       as the -- the URL is not USA Today, so both for
      17       Exhibit 2 and assume you'll also mention for
      18       Exhibit 3, is it because there's a USA Today in
      19       parenthetical next to the author?            I just want
      20       to make sure I understand.
      21                         MR. SAUER:    Yeah, that's all I'm
      22       referring to.
      23                         MR. KIRSCHNER:     Okay.
      24     BY MR. SAUER:
      25                    Q.   Then can you take a quick look at



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 57 of 363 PageID #:
                                   12336
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 57


        1      this article by Oren Dorell, who is indicated in
        2      parentheses as from USA Today?
        3                   A.   Mm-hmm.
        4                   Q.   And is this one dated September --
        5      sorry -- February 13th, 2018, so just a few days
        6      after Exhibit 2?
        7                   A.   Yes.
        8                   Q.   Does this article, if you turn to
        9      page 2, also refer to you and quote you?
      10                    A.   Yes, I see my name.
      11                    Q.   Yeah, and in the middle of the
      12       second page, you see where you're quoted as
      13       saying:       We're now a coordinating body and
      14       incubator of ideas; right?
      15                    A.   Yes.
      16                    Q.   Okay.     And then below that it says:
      17       How does the Center do that?          And then it says:
      18       The Center's 66 employees coordinate with US
      19       agencies, such as the FBI and the Department of
      20       Homeland Security, to target the American
      21       audience; correct?
      22                    A.   Yes, that's what this says.
      23                    Q.   Is that a fair description of -- of
      24       what you told them at the time, do you think?
      25                    A.   No, it's not.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 58 of 363 PageID #:
                                   12337
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 58


        1                   Q.   Why -- what's unfair about that?
        2                   A.   The Global Engagement Center does
        3      not target American audiences.
        4                   Q.   Okay.    How does it coordinate with
        5      US agencies at FBI and the Department of
        6      Homeland Security?
        7                   A.   It meets with them periodically.
        8                   Q.   How often do those meetings occur?
        9                   A.   At the senior level, every few
      10       months, I would say.
      11                    Q.   And then at what other levels?
      12                    A.   At the working level, you would
      13       have regular engagement through the National
      14       Security Council on a much more frequent basis,
      15       because you would have officials from all
      16       agencies there.         But maybe every few weeks at
      17       the working level.
      18                    Q.   So every few weeks, under the aegis
      19       of the National Security Agency, there would be
      20       coordination between the GEC, the FBI, and
      21       the -- and the DHS; correct?
      22                    A.   No.
      23                         MR. KIRSCHNER:     Objection.     I was
      24       going to say, mischaracterizes the evidence.
      25                    A.   No.     You said National Security



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 59 of 363 PageID #:
                                   12338
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 59


        1      Agency, that's a component of the intelligence
        2      community.
        3                        The meetings I would refer to would
        4      be through the National Security Council.
        5                   Q.   I got you.
        6                   A.   Which periodically convene all the
        7      agencies within the National Security Complex.
        8                   Q.   Are there any other forms of direct
        9      coordination between the FBI and DHS and GEC?
      10                    A.   Yes.   There are periodic meetings
      11       and there are interagency forums where
      12       representatives of those agencies would be
      13       present.
      14                    Q.   How often do those occur?
      15                    A.   Every few weeks or months.
      16                    Q.   And who -- who -- not -- I don't
      17       want their names, but what sort of personnel
      18       from the GEC are participating in these
      19       meetings?
      20                    A.   Clarification, could you clarify,
      21       at the senior level or the working level?
      22                    Q.   Well, why don't we start with the
      23       senior level.      Who at the senior level, you
      24       know, by title, would be participating in those
      25       kinds of meetings with the FBI and DHS, outside



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 60 of 363 PageID #:
                                   12339
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 60


        1      the aegis of the NEC and meetings you referred
        2      to earlier.
        3                   A.   At the senior level it would be the
        4      coordinator, either acting or appointed, and
        5      potentially the principal deputy coordinator.
        6      Those would be the senior-level meetings.              And
        7      at the working level, probably a team director
        8      from the Global Engagement Center.
        9                   Q.   Which team would typically do that?
      10       Would that be the TET or the I2C2 or who would
      11       be doing that?
      12                    A.   It would be entirely dependent on
      13       the focus of the meting.         If a meeting is
      14       focused on Russia, it would be the Russia team.
      15       Generally, it would be threat-actor focused.
      16                    Q.   Threat-actor focused?
      17                    A.   Threat-actor focused, so Russia,
      18       China, counterterrorism.
      19                    Q.   If you turn back to that article --
      20       let me ask this:       Those meetings you described,
      21       are they on an as-needed basis or is there a
      22       kind of standing or recurring meeting between
      23       GEC and FBI and DHS?
      24                         MR. KIRSCHNER:     Objection, vague.
      25                    A.   I -- I don't recall any standing



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 61 of 363 PageID #:
                                   12340
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 61


        1      meeting with FBI.         There were standing internal
        2      forums, where both GEC and potentially FBI or
        3      DHS would be there, but it wasn't a specific
        4      meting for the GEC and that agency to
        5      coordinate.       They would be there as part of a
        6      larger group.
        7                   Q.   Okay.   What -- what sorts of
        8      discussions would they have at a meeting like
        9      that?    You know, can you characterize the sorts
      10       of discussions that would occur in those kinds
      11       of meetings?
      12                    A.   I would describe them as
      13       threat-actor focused.         So it would be the
      14       actions of a specific foreign threat actor and
      15       then the coordination of what the interagency
      16       would do in response.
      17                    Q.   And would -- would content on
      18       social media platforms be discussed at those
      19       meetings as part of a threat-actor focus?
      20                    A.   Generally, the focus would be on
      21       the threat actor, potentially with mention of
      22       social media.      Outside of a specific threat you
      23       would generally not focus on content, specific
      24       pieces of content, with the exception of, for
      25       example in counterterrorism, something that



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 62 of 363 PageID #:
                                   12341
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 62


        1      would be threat related.
        2                   Q.   How about these narratives, for
        3      example, you said there might be a Russia
        4      meeting where that involves the GEC and the FBI
        5      and DHS, or a China-focused meeting, suppose
        6      Russia and malign actors are pushing narratives
        7      on social media, would that be discussed at
        8      these meetings?
        9                        MR. KIRSCHNER:     Objection,
      10       speculative, and calling for a hypothetical.
      11     BY MR. SAUER:
      12                    Q.   If you know?
      13                    A.   Are you asking about a specific
      14       meeting?
      15                    Q.   Well, more generally, is that
      16       something that has come up from time to time, to
      17       your knowledge?
      18                    A.   Russian narratives would come up in
      19       the context of a meeting.
      20                    Q.   And would those be -- are there
      21       scenarios where GEC actors are briefing the FBI
      22       and DHS on Russian narratives?
      23                    A.   I don't know that the GEC would be
      24       the lead briefer.       It would really depend on the
      25       meeting and the context.         You might have the



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 63 of 363 PageID #:
                                   12342
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 63


        1      intelligence community, for example, lead with a
        2      briefing.
        3                        There are subject matter experts at
        4      the GEC who can speak to that.            I can't say who
        5      briefed what at a -- at a specific meeting.
        6                   Q.   But you -- you're aware, at least,
        7      that narratives from threat actors on social
        8      media have been discussed at those meetings?
        9                        MR. KIRSCHNER:     Objection, assuming
      10       evidence not in the record.
      11                    A.   Yes, it's part of the GEC's
      12       congressional mandate to identify the propaganda
      13       and disinformation of malign foreign actors and
      14       a significant amount of that is structured
      15       around narratives, yes.
      16                    Q.   Okay.   So -- so it would be -- it
      17       would be, I take it, sort of routine practice
      18       for GEC staff to brief the FBI about a malign
      19       foreign narrative or brief DHS about a malign
      20       foreign narrative that they've identified?
      21                         MR. KIRSCHNER:     Objection, assumes
      22       evidence not in the record.
      23     BY MR. SAUER:
      24                    Q.   Go ahead.
      25                    A.   No, I don't recall it being routine



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 64 of 363 PageID #:
                                   12343
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 64


        1      practice.          The GEC met infrequently with the
        2      FBI.    I don't recall any specific meetings with
        3      the FBI.          They would be present at interagency
        4      forums, but there were no specific meetings I
        5      can recall where the GEC would meet with the FBI
        6      to brief them on narratives.
        7                   Q.      How about DHS, did the GEC meet
        8      with DHS to -- and at least as part of that
        9      meeting inform them about malign foreign
      10       narratives?
      11                    A.      So there were meetings with DHS at
      12       the senior level.          I don't recall whether
      13       narratives were discussed.             I don't believe that
      14       narratives would have been a focus for the
      15       meetings with DHS.
      16                    Q.      Who is at these meetings at the
      17       senior level, on your side?
      18                    A.      I recall meetings with DHS with the
      19       appointed coordinator, where I was present in my
      20       role as the principal deputy.
      21                    Q.      Who else on the GEC side?
      22                    A.      On the GEC side, you would have one
      23       or potentially two of the other deputies, the
      24       team chiefs, and then maybe some individuals
      25       from the -- what we call the threat team, so the



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 65 of 363 PageID #:
                                   12344
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 65


        1      China or the Russia team, with relevant subject
        2      matter expertise.
        3                   Q.   And who would participate on the
        4      DHS side?
        5                   A.   On the DHS side, it would be the --
        6      the principal, and then -- I don't recall the
        7      people on the DHS side.         I believe -- yeah --
        8                   Q.   What does that mean, the principal?
        9                   A.   The principal is the highest level
      10       official involved in the meeting.
      11                    Q.   So who would -- what would the
      12       title of that person be at these meetings?
      13                    A.   I -- I believe it would -- I'm -- I
      14       don't recall whether we had a meeting with the
      15       undersecretary for CISA, the -- the center
      16       for -- the Cyber and Infrastructure Security
      17       Agency, or whether it was the official below
      18       that.
      19                         There's also a team at DHS that
      20       deals with disinformation.          So I don't -- it
      21       would have been either the undersecretary or
      22       someone more junior --
      23                    Q.   Okay.
      24                    A.   -- who was a principal for DHS.
      25                    Q.   I'm sorry, finish.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 66 of 363 PageID #:
                                   12345
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 66


        1                   A.   So it would be either the
        2      undersecretary or the people below that.             I -- I
        3      believe there was at least one meeting involving
        4      the GEC coordinator and the DHS undersecretary.
        5                   Q.   And when you said undersecretary,
        6      and you referred to CISA?
        7                   A.   Right.
        8                   Q.   So for clarity of the record, CISA
        9      is the Cyber Security and Infrastructure
      10       Security Agency within DHS; correct?
      11                    A.   Yes.     Yes.
      12                    Q.   And the person you described as the
      13       undersecretary, is that the director of CISA?
      14                    A.   Yes.
      15                    Q.   Okay.    And who was that person who
      16       was at the meetings, was that Director Krebs or
      17       Director Easterly?
      18                    A.   It would have been Director Krebs
      19       in the period, that I recall.
      20                    Q.   Okay.    Do you know how many
      21       meetings there were at the
      22       director-to-coordinator level with CISA?
      23                    A.   I believe there was at least one.
      24                    Q.   Do you know if there were more than
      25       one?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 67 of 363 PageID #:
                                   12346
                            DANIEL KIMMAGE 11/10/2022
                                                                          Page 67


        1                   A.   I -- I -- I don't recall.        There
        2      may have been.       I don't recall.
        3                   Q.   What would the timeframe of these
        4      meetings have been?
        5                   A.   It would have been between 2019 and
        6      2021.
        7                   Q.   So at some point you had one or
        8      more meetings in a three-year period?
        9                   A.   I -- I -- I --
      10                    Q.   You had at least one, but maybe
      11       more meetings with the CISA director sometime in
      12       2019, 2020 or 2021?
      13                    A.   Yeah, there were one or more
      14       meetings during the two-year period when the GEC
      15       had an appointed coordinator.
      16                    Q.   When was that?
      17                    A.   That would have been between
      18       February 2019 and February 2021, so that
      19       two-year period.
      20                    Q.   Okay.   Do you remember anywhere
      21       within that two-year range when that meeting
      22       occurred?
      23                    A.   I believe it was 2020, but I'm --
      24       I -- I -- I don't remember.
      25                    Q.   Do you recall what, generally, was



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 68 of 363 PageID #:
                                   12347
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 68


        1      discussed at that meeting?
        2                   A.   I don't recall the full agenda.
        3                        The primary purpose was information
        4      sharing and update on the GEC, what is the GEC
        5      focused on, what is it doing, what are its major
        6      activities.
        7                        And then I don't recall what the --
        8      the CISA part of the agenda was, but the -- I
        9      would describe the primary focus as information
      10       sharing.
      11                    Q.   When you say information sharing,
      12       were you trying to set up or establish a
      13       coordination or communicating relationship
      14       between the two agencies, GEC and CISA?
      15                    A.   Could you clarify what you mean by
      16       coordinating or communicating relationship?
      17                    Q.   Well, let me rephrase that
      18       question.
      19                         In that meeting, did you propose
      20       ongoing communication or coordination between
      21       GEC and CISA?
      22                         MR. KIRSCHNER:     Objection to the
      23       extent that this calls for privilege
      24       information, that's deliberative, I would
      25       instruct the witness not to answer.            To the



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 69 of 363 PageID #:
                                   12348
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 69


        1      extent you can answer the question without
        2      revealing privileged information, you can go for
        3      it.
        4                   A.   The GEC's congressional mandate
        5      strongly encourages ongoing communication with
        6      all of the agencies that are engaged on
        7      propaganda and disinformation by foreign actors.
        8                   Q.   Is there -- is there ongoing
        9      communication between the GEC and CISA?
      10                    A.   I don't know, now.      There were
      11       periodic meetings, they were not very frequent.
      12       But how would you define ongoing?
      13                    Q.   Well, you used the word, how would
      14       you define it?       You referred to on -- you said
      15       your statutory mandate requires ongoing
      16       communication, and I asked whether there is
      17       ongoing communication with CISA.
      18                         Can you describe what kind of
      19       communication with CISA occurred during the
      20       period of your knowledge, that five-year period
      21       when you were acting coordinator?
      22                    A.   So I was acting coordinator for two
      23       years, and then I was the principal deputy for
      24       two.    And there were -- there was at least one
      25       senior-level and potentially more senior-level



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 70 of 363 PageID #:
                                   12349
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 70


        1      engagements every few months, I would say.
        2                   Q.   When you say more senior-level
        3      engagements every few months, who would have
        4      participated in those?
        5                   A.   The senior-level engagements, as I
        6      said, would involve the coordinator, the acting
        7      coordinator, the appointed coordinator, and the
        8      principal deputy, those are the senior-level
        9      engagements.
      10                    Q.   Okay.   So senior-level engagements
      11       would include you --
      12                    A.   Yes.
      13                    Q.   -- and then the CISA director;
      14       correct?
      15                    A.   Yes.
      16                    Q.   And you said those engagements
      17       would occur every few months?
      18                         MR. KIRSCHNER:     Objection, assuming
      19       evidence not in the record, and
      20       mischaracterizing his testimony?
      21     BY MR. SAUER:
      22                    Q.   Is that correct, those would occur
      23       every few months?
      24                    A.   Every few months, I know we had at
      25       least one meeting, and there were at -- there



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 71 of 363 PageID #:
                                   12350
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 71


        1      may have been two, so every few months, yeah.
        2                   Q.   One meeting or two over a four-year
        3      period or every few months, those seem different
        4      to me, can you clarify?
        5                   A.   Sure.   I think the aim was to meet
        6      every few months.         I don't know that we achieved
        7      that.
        8                   Q.   How about at the staff level,
        9      below, you're -- I think we've been talking
      10       about the principal level --
      11                    A.   Yeah.
      12                    Q.   -- in these interactions between
      13       GEC and CISA, how about at the staff level?
      14                    A.   At the staff level, outside of the
      15       NSC process, I -- I don't recall how frequently
      16       GEC representatives met with the -- the
      17       disinformation office within CISA.
      18                    Q.   When you say the disinformation
      19       office within CISA, is that the team that's been
      20       described as the mis-dis- and mal information
      21       team?
      22                    A.   I believe that's the current name
      23       for it, yes.
      24                    Q.   And did it previously have a name
      25       that was something like the countering -- in any



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 72 of 363 PageID #:
                                   12351
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 72


        1      event, so when you're talking --
        2                   A.   Right.
        3                   Q.   -- about this -- earlier, when you
        4      referred to how there was a meeting with either
        5      the director or the director of the
        6      misinformation group --
        7                   A.   Mm-hmm.
        8                   Q.   -- that's a reference to what
        9      became -- came to be known and still is known as
      10       the mis-dis- and mal information team; correct?
      11                    A.   Yes.     Yes.
      12                    Q.   Who was the director or who was the
      13       head of that group?
      14                    A.   I don't recall.
      15                    Q.   Were there ongoing interactions
      16       between GEC staff and -- in that mis-dis- and
      17       mal information team?
      18                         MR. KIRSCHNER:     Objection,
      19       speculative.
      20                    A.   I believe there were interactions.
      21       I don't recall how frequent they were or how
      22       ongoing.
      23                    Q.   Do you know what was discussed in
      24       those interactions, generally?
      25                    A.   Specifically, no, generally,



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 73 of 363 PageID #:
                                   12352
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 73


        1      information sharing.
        2                   Q.   Okay.   What kind of information was
        3      shared?
        4                   A.   The actions of the major malign
        5      foreign propaganda and disinformation actors
        6      as -- as -- as part of the GEC's mandate.
        7                   Q.   So it would be discussions of
        8      the -- you know, sorts of narratives that are
        9      being pushed by malign foreign actors?
      10                         MR. KIRSCHNER:     Objection, assumes
      11       evidence not in the record.
      12     BY MR. SAUER:
      13                    Q.   Is that fair to say?
      14                    A.   It could be anything from the plans
      15       of those actors to the activities.            I can't
      16       speak to the nature of the discussions.             I
      17       wasn't part of them.
      18                    Q.   Okay.   Do you know who participated
      19       in those on the GEC side?
      20                    A.   No, I don't.     I don't.
      21                    Q.   Can you stick with Exhibit 3,
      22       there, right in that same middle of the second
      23       page, we talked about how the center's 66
      24       employees coordinate with US agencies, such as
      25       the FBI and the Department of Homeland Security;



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 74 of 363 PageID #:
                                   12353
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 74


        1      correct?
        2                   A.   Yes, that's what the paragraph
        3      says.
        4                   Q.   And then the -- the news article
        5      goes on to say:         To target the American
        6      audience; correct?
        7                   A.   Yes, that's what the news article
        8      says.
        9                   Q.   And you -- you don't think that's a
      10       fair characterization of what you would have
      11       said to them at the time?
      12                    A.   No.   That's an inaccurate
      13       characterization of the GEC's mission and focus.
      14                    Q.   Does the GEC's mission and focus
      15       include concern about foreign narratives that
      16       are pushed on social media that get replicated
      17       by domestic speakers?
      18                         So suppose, for example, Russia is
      19       pushing the narrative that the US government
      20       invented the AIDS virus in a lab in 1970, and
      21       they pushed that out through media or social
      22       media, and it gets re-tweeted by, you know,
      23       domestic actors, is that a point of concern for
      24       the GEC?
      25                         MR. KIRSCHNER:     Objection, calls



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 75 of 363 PageID #:
                                   12354
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 75


        1      for a hypothetical.
        2    BY MR. SAUER:
        3                   Q.   If you know.
        4                   A.   The GEC's concern is with the
        5      actions of foreign propaganda actors.             The GEC's
        6      concern stops there.          It doesn't extend to the
        7      speech of Americans.
        8                   Q.   Okay.    So if American -- like,
        9      Americans pick up, for example, a malign foreign
      10       narrative, is that something that you would --
      11       the GEC would track?
      12                         MR. KIRSCHNER:     Objection.
      13     BY MR. SAUER:
      14                    Q.   That, oh, this is getting traction
      15       in the -- you know, in the American social media
      16       sphere?
      17                         MR. KIRSCHNER:     Objection,
      18       speculative, hypothetical.
      19                    A.   No.     The GEC does not track the
      20       American social media sphere.
      21                    Q.   Okay.    So you don't pay attention
      22       to what's being said on Facebook and Twitter and
      23       whether or not they are -- whether or not these
      24       malign foreign narratives are kind of spilling
      25       over into what Americans are saying on Facebook



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 76 of 363 PageID #:
                                   12355
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 76


        1      and Twitter and YouTube and so forth?
        2                        MR. KIRSCHNER:     Objection,
        3      ambiguous.
        4    BY MR. SAUER:
        5                   Q.   If you -- is that correct?
        6                   A.   No.    The GEC's focus is on foreign
        7      propaganda and disinformation.
        8                   Q.   Would the GEC ever discuss with
        9      social media platforms in these various
      10       interactions issues about whether or not malign
      11       foreign narratives have been replicated in
      12       domestic speech?
      13                    A.   No.    That would not be the GEC's
      14       focus.       I can't speak to what the social media
      15       companies may raise or how they raise it, but
      16       that would not be the GEC's focus.
      17                    Q.   How about CISA, is that something
      18       that CISA might focus on, to your knowledge?
      19                    A.   I can't speculate about CISA's
      20       focus.
      21                    Q.   CISA is C-I-S-A; correct?
      22                         Do you know what CISA's mission is?
      23                    A.   It's -- I assume it's listed on
      24       their website.          I'm not going to try to
      25       reproduce it.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 77 of 363 PageID #:
                                   12356
                            DANIEL KIMMAGE 11/10/2022
                                                                           Page 77


        1                   Q.   I'm just asking if you know.         Do
        2      you have a general understanding of what they're
        3      concerned with?
        4                   A.   It's primarily cyber security
        5      focused.
        6                   Q.   And how about the mis-dis- and mal
        7      information team, do you know what their focus
        8      is?
        9                        MR. KIRSCHNER:     Objection,
      10       speculative.
      11     BY MR. SAUER:
      12                    Q.   If you know.
      13                    A.   I don't recall their precise
      14       mission within -- within CISA.            It was a small
      15       team.
      16                    Q.   How about more generally, do you
      17       have a general understanding of what that team
      18       focuses on?
      19                         MR. KIRSCHNER:     Objection,
      20       speculative.
      21     BY MR. SAUER:
      22                    Q.   If you know.
      23                    A.   Disinformation and misinformation
      24       as it pertains to cyber and infrastructure
      25       security.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 78 of 363 PageID #:
                                   12357
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 78


        1                   Q.   And does that include
        2      misinformation and disinformation that come from
        3      domestic actors?
        4                        MR. KIRSCHNER:     Objection,
        5      speculative.
        6                   A.   I don't know.
        7                   Q.   So you don't know whether the
        8      mis-dis- and mal information team focuses
        9      exclusively on foreign disinformation or whether
      10       its concern with disinformation extends to sort
      11       of disinformation propagated by domestic
      12       speakers?
      13                    A.   I'm not going to speculate about
      14       the focus of a team at another agency.
      15                    Q.   I'm not asking you to speculate.
      16       I'm just asking you to answer if you know.              What
      17       do you know?
      18                    A.   I don't recall what their specific
      19       focus was within the CISA mandate.
      20                    Q.   Same paragraph there in paragraph
      21       three, under:      How does the center do that.
      22                    A.   Mm-hmm.
      23                    Q.   The next sentence goes on to say
      24       that it, meaning the GEC, works with social
      25       media companies that have been used to spread



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 79 of 363 PageID #:
                                   12358
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 79


        1      foreign propaganda; correct?
        2                   A.   Correct, that's what the sentence
        3      says.
        4                   Q.   And is that -- I take it they're
        5      attributing that sentence to you in this
        6      article; correct?
        7                        MR. KIRSCHNER:     Objection, assumes
        8      evidence not in the record.
        9    BY MR. SAUER:
      10                    Q.   Is that your understanding?
      11                    A.   I don't see that here.
      12                    Q.   Okay.   Well, let me ask you this:
      13       Did you tell a reporter that the GEC works with
      14       social media companies that have been used to
      15       spread foreign propaganda?
      16                    A.   I wouldn't characterize it as works
      17       with, I would characterize it as meets with,
      18       periodically, social media companies, that, you
      19       know, have been used to spread foreign
      20       propaganda.
      21                    Q.   Okay.   And does the GEC still do
      22       that to this day?
      23                    A.   I believe that the -- the meetings
      24       continue, yes.
      25                    Q.   Do you know who -- who is attending



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 80 of 363 PageID #:
                                   12359
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 80


        1      those meetings nowadays?
        2                   A.   No.
        3                   Q.   Do you know who attended meetings
        4      like that during 2021, meetings between social
        5      media platforms and GEC personnel?
        6                   A.   So the senior-level meetings would
        7      have involved me and one or more of the deputy
        8      coordinators, the chiefs of the relevant teams,
        9      and then working-level people with relevant
      10       subject matter expertise.
      11                    Q.   And I think you may have talked
      12       about this earlier, but how often would those
      13       meetings occur in 2021, specifically?
      14                    A.   I believe with the aim was for
      15       quarterly meetings.        I don't know that they
      16       always happened on a quarterly basis.
      17                    Q.   And what social media platforms
      18       were met with?
      19                    A.   I believe we had meetings with
      20       Twitter and maybe Facebook or Google.
      21                    Q.   How about YouTube.      Google is -- I
      22       think owns YouTube.        Was that a YouTube-related
      23       meeting?
      24                    A.   I don't -- I don't recall.
      25                    Q.   How about Parler?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 81 of 363 PageID #:
                                   12360
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 81


        1                   A.   I don't recall meeting with Parler.
        2      I don't believe we met with them.
        3                   Q.   How about LinkedIn?
        4                   A.   I don't recall a meeting with
        5      LinkedIn.
        6                   Q.   How are these meetings done, is it
        7      all on a big Zoom call, or do you guys fly to
        8      San Francisco or do you meet with their -- you
        9      know, their -- their D.C. people, like, who --
      10       who -- where do they occur?
      11                    A.   Sure.   Before COVID the meetings
      12       would be generally at the GEC offices in
      13       Washington, D.C.; in 2021, it would have been
      14       over Zoom or a virtual platform.
      15                    Q.   Okay.   And would there be, for
      16       example, would there be, you know, on people's
      17       calendars electronic invites to those Zoom
      18       meetings?
      19                    A.   I believe so, yes.
      20                    Q.   Would that include your calendar?
      21                    A.   Yes.
      22                    Q.   Okay.   So if you were to look at
      23       your calendar for 2021, you could probably
      24       figure out which social media platforms you met
      25       with and how often; fair to say?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 82 of 363 PageID #:
                                   12361
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 82


        1                        MR. KIRSCHNER:     Objection,
        2      mischaracterizes evidence, assumes evidence not
        3      in the record.
        4                   A.   Yes.
        5                   Q.   Okay.     So you said, like, for
        6      example, in the 2021 timeframe the goal was to
        7      meet with them quarterly, and you can't remember
        8      whether or not you met that goal; correct?
        9                   A.   Yeah, yeah, I don't -- I don't
      10       remember whether we ever had a recurring
      11       quarterly meeting on the calendar.
      12                    Q.   And that you believe you met with
      13       Twitter and Facebook; correct?
      14                    A.   Yes.
      15                    Q.   Possibly met with YouTube and,
      16       slash, Google?
      17                    A.   Possibly.
      18                    Q.   Do you remember any other social
      19       media platforms that you've ever met with?
      20                    A.   In 2021?
      21                    Q.   Well, we'll start with 2021, yeah.
      22                    A.   No, I -- I -- I recall meeting with
      23       Twitter.
      24                    Q.   Mm-hmm.
      25                    A.   And possibly with the other



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 83 of 363 PageID #:
                                   12362
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 83


        1      companies you mentioned.          I do not recall any
        2      other meetings with -- with big social media
        3      companies.
        4                   Q.   How about little social media
        5      companies?
        6                   A.   With social media companies.
        7                   Q.   How about others at -- at -- others
        8      at the GEC, are you aware of them meeting with
        9      social media companies?
      10                    A.   No.     It wouldn't -- normally they
      11       wouldn't share every single meeting with me.
      12                    Q.   Okay.    Are you generally aware that
      13       such meetings occurred, that you were not
      14       participating in, during the 2021 timeframe?
      15                    A.   Yes.
      16                    Q.   Okay.    Who would have participated
      17       in meeting with social media companies then?
      18                    A.   Representatives of the Technology
      19       Engagement Team, and then relevant members of
      20       what we call the threat team, so the Russia
      21       China, Iran, or counterterrorism teams.
      22                    Q.   Do you know what social media
      23       companies were met with?
      24                    A.   No.
      25                    Q.   And do you know what kind of



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 84 of 363 PageID #:
                                   12363
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 84


        1      threats were discussed?
        2                   A.   The -- I -- I don't know the
        3      specific threats that were discussed, no.
        4                   Q.   Starting with focusing on your
        5      meetings --
        6                   A.   Mm-hmm.
        7                   Q.   -- at any of your meetings, where
        8      it was foreign generated election-related
        9      disinformation discussed with social media
      10       platforms?
      11                    A.   I don't recall any discussion of
      12       election-related threats in my 2021 meetings.
      13                    Q.   How about in earlier meetings, how
      14       about in 2019, 2020, at any time did you have a
      15       meeting with the social media platform where
      16       election-related disinformation was discussed?
      17                    A.   I don't recall a meeting focused on
      18       election-related disinformation or propaganda.
      19       The companies may have briefed on some of the
      20       steps they were taking.          They spoke about this
      21       publicly, as well.          But I don't recall the GEC
      22       introducing anything election-related.
      23                    Q.   What do the companies say about
      24       election-related disinformation?
      25                    A.   I don't recall the specifics, just



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 85 of 363 PageID #:
                                   12364
                            DANIEL KIMMAGE 11/10/2022
                                                                          Page 85


        1      that they were focused on it and taking steps.
        2                   Q.   Did they tell what steps they were
        3      taking?
        4                   A.   I don't recall the specifics.
        5                   Q.   Did those steps that they were
        6      taking include steps relating to content
        7      modulation?
        8                   A.   Not that I recall.        I believe it
        9      would have been more along the lines of -- I
      10       believe there was media coverage of, like, a war
      11       room or -- or things like that.
      12                         MR. KIRSCHNER:      Mr. Sauer, just in
      13       terms of timing, what do you think?              We've been
      14       going for about an hour.
      15                         MR. SAUER:     I'm fine with a short
      16       break now.        Let's keep it real short.       Are you
      17       guys okay with that?
      18                         MR. KIRSCHNER:      Yeah.
      19                         MR. SAUER:     Let's go off the
      20       record.
      21                         MR. KIRSCHNER:      Do a five-minute
      22       break.
      23                         THE WITNESS:      Okay.
      24                         THE VIDEOGRAPHER:         Just one second.
      25                         MR. KIRSCHNER:      Then we'll go for



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 86 of 363 PageID #:
                                   12365
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 86


        1      another 45 minutes or an hour.
        2                        MR. SAUER:     Let's hold it for five
        3      minutes.
        4                        MR. KIRSCHNER:      Yeah, okay.
        5                        MR. SAUER:     Are we off the record?
        6                        THE VIDEOGRAPHER:        The time is
        7      11:10 a.m.        We're off the record.
        8                        (Recess.)
        9                        THE VIDEOGRAPHER:        The time is
      10       11:21 a.m.        We are back on the record.        Please
      11       proceed.
      12     BY MR. SAUER:
      13                    Q.   Mr. Kimmage, who is Alexis Frisbee?
      14                    A.   Alexis Frisbee is a member of the
      15       Technology Engagement Team the Global Engagement
      16       Center.
      17                    Q.   That's the TET, as we've called it?
      18                    A.   Yes.
      19                    Q.   At what -- what's her -- what's her
      20       title within that team?
      21                    A.   I don't recall her title.
      22                    Q.   Is she the head of the team or is
      23       she a member of the team?
      24                    A.   No.    She's not the head of the
      25       team.     She's a member of the team.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 87 of 363 PageID #:
                                   12366
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 87


        1                   Q.   Are you aware of her communicating
        2      with social media platforms?
        3                   A.   I believe she helped to set up
        4      meetings, yes.
        5                   Q.   Okay.   And did she have
        6      communications with them or did she just set up
        7      the meetings?
        8                   A.   The communication I'm aware of
        9      would be in the context of setting up a meeting.
      10                    Q.   So you're aware that she set up a
      11       meeting with what social media platform?
      12                    A.   I don't recall.
      13                    Q.   Was it more than one?
      14                    A.   I -- I don't recall.
      15                    Q.   What was the timeframe of that,
      16       setting up that meeting?
      17                    A.   I believe it would have been 2021.
      18                    Q.   Do you know whether she
      19       participated in the meetings that she set up?
      20                    A.   I -- I don't recall.
      21                    Q.   Who -- who would have participated
      22       in the meetings that she set up or who did
      23       participate in the meeting or meetings that she
      24       set up?
      25                    A.   Sure.   In the -- we've already been



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 88 of 363 PageID #:
                                   12367
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 88


        1      through this, I believe, the acting coordinator,
        2      one or more of the deputies, the team chiefs
        3      from some of the threat teams, and then some
        4      working-level staff with relevant subject matter
        5      expertise.
        6                   Q.   So did she set up all of the
        7      meetings that you described as aspire to be
        8      quarterly in 2021 or did she set up one
        9      particular one?
      10                    A.   I -- I -- I don't know.       The -- the
      11       coordinator doesn't normally know who sets up
      12       the meetings.
      13                    Q.   How do you know she set up that one
      14       or more?
      15                         MR. KIRSCHNER:     Objection, assuming
      16       evidence not in record.
      17     BY MR. SAUER:
      18                    Q.   If you know?
      19                    A.   I believe she -- she -- she helped
      20       to set up at least one meeting.
      21                    Q.   What makes you think that?        What do
      22       you remember about that?
      23                    A.   She was on the Technology
      24       Engagement Team.
      25                    Q.   Do you remember any specific issue



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 89 of 363 PageID #:
                                   12368
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 89


        1      that -- that was discussed in the meeting she
        2      set up?
        3                   A.   The -- the agenda, you know, we --
        4      we went over would have been an update on what
        5      the Global Engagement Center is seeing in the
        6      environment, some of the potentially relevant
        7      analysis that the Global Engagement Center would
        8      be engaged in, and then information sharing with
        9      whatever the social media company wanted to
      10       share.
      11                    Q.   Do you know if this was a
      12       Russia-specific meeting or a China-specific
      13       meeting or an Isis-specific meeting?
      14                    A.   I don't recall the 2021 meetings as
      15       being focused on a specific threat actor.
      16                    Q.   What were they more focused on?
      17                    A.   I believe it would have been across
      18       the board, so here's what China is potentially
      19       up to, here's what Russian propaganda
      20       disinformation is, I don't recall the specific
      21       agenda, but I don't believe it was limited to a
      22       single threat actor.
      23                    Q.   Okay.   Were there other threat
      24       actors that were discussed in those 2021
      25       meetings, besides, I think you mentioned, Russia



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 90 of 363 PageID #:
                                   12369
                            DANIEL KIMMAGE 11/10/2022
                                                                         Page 90


        1      and China?
        2                   A.   Potentially, I just don't recall
        3      the specific agenda.
        4                   Q.   Do you recall election-related
        5      issues being discussed in any of those meetings?
        6                   A.   Could you --
        7                        MR. KIRSCHNER:     Objection.     I'm
        8      sorry, I was going to say, objection, vague.
        9                   A.   Could you clarify what you mean be
      10       election-related.
      11                    Q.   Well, do you remember the word
      12       election coming up?        And by election I mean an
      13       American election.
      14                    A.   Right.
      15                    Q.   So I'm not asking about
      16       disinformation that relates to an election
      17       conducted in what passes for elections in some
      18       of these threat actor states, but was there any
      19       discussion that related to an American election
      20       or elections?
      21                    A.   I don't recall any discussions in
      22       American elections in my 2021 meetings with
      23       social media companies.
      24                    Q.   How about discussion of mis- or
      25       disinformation that relates to American



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 91 of 363 PageID #:
                                   12370
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 91


        1      electoral processes or American elections?
        2                   A.   I don't recall any discussion
        3      related to American elections in my 2021
        4      meetings.
        5                   Q.   Who is Samaruddin K. Stewart, also
        6      known as Sam Stewart?
        7                   A.   Sam Stewart was also a member of
        8      the Technology Engagement Team.
        9                   Q.   What was his role on that team?
      10                    A.   His role was to facilitate
      11       engagement with social media companies.
      12                    Q.   When was he -- when did he work for
      13       the GEC?
      14                    A.   I don't recall the specific dates
      15       of his employment.
      16                    Q.   Is he still there?
      17                    A.   No, I don't believe so.
      18                    Q.   Do you know when he left?
      19                    A.   No.
      20                    Q.   Do you know what timeframe he
      21       worked, would it have been back in the 2017/2018
      22       timeframe, 2019/2020?
      23                    A.   I believe it was later, sort of
      24       2019 to 2021.
      25                    Q.   Okay.   And do you know what,



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 92 of 363 PageID #:
                                   12371
                            DANIEL KIMMAGE 11/10/2022
                                                                          Page 92


        1      exactly, he did for the TET?
        2                   A.      He helped to set up meetings and
        3      establish contact with social media companies
        4      and technology companies.
        5                   Q.      How did he do that?
        6                           MR. KIRSCHNER:     Objection,
        7      speculative.
        8                   A.      E-mails, meetings, phone calls.
        9                   Q.      Okay.   Where was he based?
      10                    A.      I believe he was based in
      11       Washington, D.C., and -- and potentially
      12       elsewhere.          I don't recall exactly where he was
      13       based.       This overlaps with the COVID period, and
      14       I don't -- I don't recall.
      15                    Q.      Do you -- were you included in any
      16       of the e-mails, meetings, and phone calls he had
      17       with social media platforms?
      18                            MR. KIRSCHNER:     Objection,
      19       speculative.
      20                    A.      I don't recall any specific
      21       e-mails.          I may have been included on the
      22       scheduling e-mail, but I don't recall any
      23       specific e-mails.
      24                            MR. SAUER:    Okay.     Can I have G as
      25       in goat.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 93 of 363 PageID #:
                                   12372
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 93


        1                        And we're going to hand you a
        2      document that's going to be labeled Exhibit 4.
        3                        (Exhibit No. 4 was marked for
        4      identification.)
        5                        THE WITNESS:     Okay.
        6    BY MR. SAUER:
        7                   Q.   And is this a media report by
        8      Robert K. Ackerman, dated September 4th, 2020?
        9                        MR. KIRSCHNER:     Objection, assumes
      10       evidence not in the record, speculative.
      11                    A.   Yes.
      12                    Q.   And if you look in the second page
      13       there, there's a reference to Lea Gabrielle; do
      14       you see that?
      15                         MR. KIRSCHNER:     I would just ask, I
      16       don't want to stay here for an hour reading
      17       documents, but can we give the witness a couple
      18       minutes to familiarize himself with the document
      19       before proceeding with questions?
      20                         MR. SAUER:     Sure.     If he needs time
      21       he can ask for it.
      22     BY MR. SAUER:
      23                    Q.   Do you see a reference to Lea
      24       Gabrielle?
      25                         MR. KIRSCHNER:     Well, he -- he



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 94 of 363 PageID #:
                                   12373
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 94


        1      hasn't looked up.        He's still looking at the
        2      documented.       Can you ask the witness if he's
        3      ready to answer questions about the document
        4      when he has an opportunity to look at it first?
        5    BY MR. SAUER:
        6                   Q.   Do you know who Lea Gabrielle is?
        7                   A.   Yes.
        8                   Q.   And who is she?
        9                   A.   She was the appointed coordinator
      10       of the Global Engagement Center from February
      11       2019 to February 2021.
      12                    Q.   So is she a -- I take it you
      13       reported directly to her; right?
      14                    A.   Yes.
      15                    Q.   And you were the principal deputy
      16       coordinator?
      17                    A.   Yes.
      18                    Q.   So you worked closely with her
      19       during that time period?
      20                    A.   Yes.
      21                    Q.   If you flip to the second page, can
      22       you go down to the -- it's basically the third
      23       full paragraph from the bottom, there's a
      24       paragraph that begins with:          These three
      25       adversaries?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 95 of 363 PageID #:
                                   12374
                            DANIEL KIMMAGE 11/10/2022
                                                                         Page 95


        1                        MR. KIRSCHNER:     Objection.     The
        2      witness still hasn't identified whether he's
        3      ready to proceed with the questions.            I would
        4      please ask counsel to give an opportunity for
        5      the witness to be able to familiarize himself
        6      with the document before proceeding with
        7      questions.
        8                        MR. SAUER:    He hasn't asked me for
        9      more time.
      10     BY MR. SAUER:
      11                    Q.   But do you see the paragraph I'm
      12       referring to?      That's my only question.
      13                    A.   Yes.
      14                    Q.   Okay.   And do you see in the second
      15       sentence of that paragraph, in the first
      16       sentence it refers to Gabrielle's nightmare
      17       scenario is propaganda that can lead to, among
      18       other things, public health problems; right?
      19                    A.   Yes.
      20                    Q.   And then, in the third sentence, it
      21       says:    The GEC is countering disinformation on
      22       the spread of COVID-19; correct?
      23                    A.   Yes.
      24                    Q.   What steps did the GEC take to
      25       counter the spread of disinformation on the



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 96 of 363 PageID #:
                                   12375
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 96


        1      spread of COVID-19 --
        2                        MR. KIRSCHNER:     Objection, assumes
        3      evidence not in the record.
        4    BY MR. SAUER:
        5                   Q.   -- if any.
        6                   A.   So the GEC tracked propaganda and
        7      disinformation by foreign actors, such as Russia
        8      and China, that was related to the pandemic.
        9      And the GEC worked with partners to counter the
      10       effects of that abroad, outside the United
      11       States.
      12                    Q.   Okay.   What were -- what were
      13       the -- what was the nature of COVID-related
      14       disinformation that originated from, like,
      15       Russia and China?
      16                    A.   The nature of it would have been
      17       false narratives about the origins of the
      18       pandemic, for example, blaming the United States
      19       or implicating the US government.
      20                         Some of it would have been related
      21       to the efficacy of, for example, vaccines that
      22       the Russian government was developing.
      23                         And the modes of dissemination
      24       would have been various.         They could involve
      25       bots, they could involve official media.             There



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 97 of 363 PageID #:
                                   12376
                            DANIEL KIMMAGE 11/10/2022
                                                                         Page 97


        1      was a whole ecosystem of, for example, Russia
        2      propaganda, Russian propaganda actors.
        3                   Q.      Tell me about that ecosystem of
        4      Russia.       You mentioned China and Russia, so
        5      let's start with Russia.            You said Russia had
        6      misinformation or disinformation about the
        7      efficacy of vaccines.            What was the nature of
        8      that disinformation?
        9                   A.      The nature of the disinformation
      10       would have been to denigrate the effectiveness
      11       of western-developed vaccines and to promote the
      12       effectiveness of Russian-developed vaccines.
      13                    Q.      Okay.    And how is that propa- --
      14       those kinds of narratives promulgated?
      15                    A.      The --
      16                            MR. KIRSCHNER:     I was going to say,
      17       objection, mischaracterizes evidence, and also
      18       assumes evidence not in the record.
      19                    A.      They would utilize the standard
      20       toolbox of Russian propaganda and disinformation
      21       efforts.          So everything from official statements
      22       by senior Russian officials to Russian
      23       state-funded or controlled media outlets,
      24       proxies, online tools, like bots.            It would be a
      25       whole suite of tools that researchers have



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 98 of 363 PageID #:
                                   12377
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 98


        1      documented as -- as being part of this Russian
        2      propaganda and disinformation toolbox.
        3                   Q.   And what steps did the GEC take to
        4      combat those tools?
        5                        MR. KIRSCHNER:     Objection, assumes
        6      evidence not in the record.
        7                   A.   The primary step, the primary
        8      focus, was to expose this effort through things
        9      like a public report that the Global Engagement
      10       Center released on the pillars of Russian
      11       disinformation and the ecosystem that Russia
      12       used to promote it.
      13                    Q.   Were there any -- you say that was
      14       the primary focus, was there other aspects of
      15       that attempt to counter this Russian
      16       disinformation?
      17                    A.   Yes.   The GEC would act along the
      18       major lines of effort that I've described.              So
      19       it would conduct analysis along the lines of
      20       that report, it would coordinate within the US
      21       government, and it would work with partners to
      22       counter the propaganda and disinformation
      23       abroad.
      24                    Q.   What kind of partners?
      25                    A.   Nongovernmental organizations,



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 99 of 363 PageID #:
                                   12378
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 99


        1      foreign governments, research organizations.
        2                   Q.   And what kind of work would be done
        3      with those partners or was done?
        4                   A.   Research on Russian propaganda
        5      narratives, research on the resonance, the
        6      substance, interactions with foreign governments
        7      on what they're tracking, for example.
        8                   Q.   Were there any interaction with
        9      social media companies about these kinds of
      10       Russian disinformation related to COVID-19
      11       vaccines?
      12                    A.   I believe that -- that it would
      13       have come up in some of the meetings that I
      14       described with the social media companies, yes.
      15                    Q.   So you believe that in those
      16       meetings with social media companies, that you
      17       described as occurring in 2021, there was
      18       discussion of Russian disinformation campaigns
      19       related to COVID-19?
      20                    A.   I don't recall in 2021.       I believe
      21       it was more of a pressing topic a little
      22       earlier, when the pandemic was at its height.
      23                    Q.   So that would have been in 2020,
      24       most likely?
      25                    A.   2020, for example.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 100 of 363 PageID #:
                                    12379
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 100


        1                   Q.   How about other -- were there other
        2       Russia-originated COVID disinformation
        3       campaigns, other than the efficacy of -- the
        4       relative efficacy of Russian and American
        5       vaccines?
        6                   A.   Yes.   I believe there were Russian
        7       narratives about the origins of the virus.
        8       There were false allegations about US government
        9       research facilities.        The -- the -- there would
       10       be a wide array of propaganda narratives.
       11                   Q.   What -- what would be the -- what
       12       was the nature of the origins of the virus
       13       disinformation from Russia?
       14                   A.   I -- I don't recall the specific
       15       narratives.      I believe there were some that --
       16       that alleged a US government role.
       17                   Q.   What sort of role?
       18                   A.   US government funded research or --
       19       or -- or some US government role along the lines
       20       of the campaign in the 1980s that you
       21       referenced.
       22                   Q.   So there was a Russian
       23       disinformation campaign that suggested that the
       24       US government had some role in creating the
       25       COVID-19 virus?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 101 of 363 PageID #:
                                    12380
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 101


        1                   A.   There were multiple Russian
        2       disinformation campaigns, involving a large
        3       number of narratives, and that would have been
        4       one of the narratives.
        5                   Q.   Was that another narrative that was
        6       discussed in those 2020 timeframe meetings with
        7       social media platforms?
        8                        MR. KIRSCHNER:     Objection,
        9       mischaracterizes testimony, assumes evidence not
       10       in the record.
       11                   A.   I don't recall.
       12                   Q.   Now, you do remember that the
       13       Russian disinformation about vaccine efficacy
       14       was discussed in those meetings; fair to say?
       15                   A.   I don't recall any specific
       16       discussions.     I -- it's entirely within the
       17       realm of possibility, discussed Russian
       18       narratives.      I don't recall the specific
       19       narratives.
       20                   Q.   Okay.   So you believe that you may
       21       well have discussed Russian narratives in those
       22       2020 meetings with the social media platforms as
       23       it pertains to COVID?
       24                   A.   Yes, it's possible.
       25                   Q.   And you don't remember which



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 102 of 363 PageID #:
                                    12381
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 102


        1       specific Russian narratives were discussed?
        2                   A.   No, I don't.
        3                   Q.   How about Chinese narratives that
        4       relate to COVID.      You referred to those earlier.
        5       What are those?
        6                   A.   So those would be also focused on
        7       the origins of the virus, also touting China's
        8       effective response to the -- to the pandemic,
        9       and contrasting that favorably to other
       10       countries, including the United States on --
       11       those would be two Chinese narratives related to
       12       the pandemic.
       13                   Q.   What did the Chinese disinformation
       14       say about the origins of the virus?
       15                   A.   I don't recall, specifically.         I
       16       believe that it was also insinuating, in some
       17       cases, a non-Chinese origin of the virus, much
       18       along the lines -- along the lines of what
       19       Russian propaganda insinuated.
       20                   Q.   Did it insinuate a US government
       21       role or an American role of the origins of the
       22       virus?
       23                   A.   I don't recall the specific
       24       narratives, no.
       25                   Q.   Do you know whether those Chinese



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 103 of 363 PageID #:
                                    12382
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 103


        1       narratives were discussed in relation to the
        2       social media companies?
        3                   A.   I don't recall the narratives.          I
        4       believe we were focused on some of the
        5       techniques that China was using, a little bit
        6       more than the content of the narratives, so
        7       botnets, for example.
        8                   Q.   So did you, for example, tell them
        9       that the Chinese were using bots to spread
       10       narratives?
       11                   A.   I don't know whether we told them.
       12       I know that we discussed Chinese use of bots.
       13                   Q.   Okay.   What did you say about the
       14       Chinese use of bots?
       15                   A.   That they were using them.
       16                   Q.   Okay.   And how about Russia, what
       17       was discussed about Russian disinformation, to
       18       your recollection?
       19                   A.   I believe it would have been the
       20       narratives, and that it would -- that I already
       21       mentioned.
       22                   Q.   So with respect to Russia,
       23       narratives were discussed, whereas, with respect
       24       to China, to your recollection, techniques were
       25       discussed, like using bots as opposed to



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 104 of 363 PageID #:
                                    12383
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 104


        1       narratives?
        2                   A.   Yes, because one of the notable
        3       features of the pandemic was that China began to
        4       adopt techniques that we had previously really
        5       only seen Russia use.        So, for example, Russia
        6       has been documented in many reports as using
        7       aggressive online tactics, proxies, bots,
        8       trolls.      China had not been as active in that
        9       way.
       10                        And so during the pandemic we began
       11       to see both the convergence of narratives
       12       between China and Russia and a convergence of
       13       techniques.
       14                        So those were things that -- that
       15       we and other researchers were seeing during the
       16       pandemic.
       17                   Q.   See, when you say a convergence,
       18       you mean a convergence between what Russia and
       19       China are both doing?
       20                   A.   Yes, a convergence both of
       21       narratives and the techniques for disseminating
       22       those narratives.
       23                   Q.   And maybe this piggybacks on -- if
       24       you can look back at that document, the very
       25       next sentence or the next part of that sentence,



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 105 of 363 PageID #:
                                    12384
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 105


        1       it says:         The GEC is countering disinformation
        2       on the spread of COVID-19 and China already has
        3       tried to discredit US vaccine efforts; do you
        4       see that?
        5                   A.      Yes.
        6                   Q.      Do you recall narratives from China
        7       that were trying to discredit US vaccine
        8       efforts?
        9                   A.      I don't recall specific narratives,
       10       but I do recall that China was disseminating
       11       narratives that tried to discredit US vaccine
       12       efforts.
       13                   Q.      Do you know if those were similar
       14       to the Russian narratives that you described a
       15       moment ago?
       16                   A.      I believe that they -- they were,
       17       they may have differed in some specifics, but
       18       yes.
       19                   Q.      And were those narratives about
       20       vaccine efficacy discussed in the meetings with
       21       social media platforms during, as you said, the
       22       height of the pandemic?
       23                   A.      I -- I don't recall the specific
       24       discussions.
       25                   Q.      So you don't know for sure, is that



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 106 of 363 PageID #:
                                    12385
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 106


        1       something that could well have been raised in
        2       those meetings?
        3                        MR. KIRSCHNER:     Objection,
        4       speculative.
        5                   A.   Yes, it is.
        6                        MR. SAUER:    Can you get H?
        7                        Let's hand you a document that
        8       we're going to label Exhibit 5.
        9                        (Exhibit No. 5 was marked for
       10       identification.)
       11    BY MR. SAUER:
       12                   Q.   Do you recognize Exhibit 5?
       13                   A.   I do.
       14                   Q.   And is this a GEC special report
       15       called:      Pillars of Russia's Disinformation and
       16       Propaganda Ecosystem?
       17                   A.   Yes.
       18                   Q.   And this report, I think, was
       19       singled out for particular praise in your recent
       20       OIG report; is that fair to say?
       21                   A.   I believe so.
       22                   Q.   Can you turn to page 8.        You see
       23       how I'm kind of turning it sideways, and there's
       24       five graphics.
       25                        On the far right graphic, under



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 107 of 363 PageID #:
                                    12386
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 107


        1       Cyber Enabled Disinformation, what is cyber
        2       enabled disinformation?
        3                   A.   It's using cyber tools to
        4       disseminate disinformation.
        5                   Q.   And what -- what are some examples
        6       of cyber enabled disinformation by foreign
        7       actors?
        8                   A.   So these would be listed beneath
        9       it, for example, hacking into a system, taking
       10       data out of that system and releasing it into an
       11       online environment, that would be an example of
       12       cyber enabled disinformation.
       13                   Q.   Okay.   And so could you give
       14       example of when that's ever happened, without
       15       straying into any sensitive areas?
       16                   A.   I believe an example would be
       17       the -- I believe this is documented in either
       18       the senate intelligence committee report or
       19       another congressional report would be the
       20       Russian hacking of the DNC e-mails, and then the
       21       subsequent release, that would be an example of
       22       a hack and release operation.
       23                   Q.   Okay.   So -- and that's -- that's
       24       what happened in 2016, I believe?
       25                   A.   I believe so.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 108 of 363 PageID #:
                                    12387
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 108


        1                   Q.   That's a situation where Russian
        2       foreign actors just hacked into the DNC's
        3       e-mails and then publicly released them on
        4       Wikileaks or something like that; right?
        5                   A.   Yes.
        6                   Q.   Or they publicly released them in
        7       some form, it's fair to say?
        8                   A.   Publicly released them in some
        9       form.
       10                   Q.   Is that a disinformation campaign?
       11       How is that a form of disinformation?
       12                   A.   It can be if the information is
       13       altered, it can be if the context is
       14       misrepresented, it -- it -- it depends very much
       15       on the context.
       16                   Q.   Can you -- are there other examples
       17       of hack and release operations that the GEC has
       18       tracked?
       19                        MR. KIRSCHNER:     Objection,
       20       mischaracterizes evidence, assumes evidence not
       21       in the record.
       22                   A.   The GEC did not track any of the
       23       2016, it hadn't been established with the
       24       mandate to do so.
       25                   Q.   Are there examples of hack and



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 109 of 363 PageID #:
                                    12388
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 109


        1       release operations since then, that the GEC has
        2       focused on?
        3                   A.   Not that I recall right now.         You
        4       know, this -- this is focused on the techniques,
        5       not specific operations.
        6                   Q.   And without identifying any
        7       specific operations, from your five-year period
        8       at GEC, do you recall any hack and release
        9       operations, other than the 2016 hack by Russians
       10       of the DNC's e-mails?
       11                   A.   Without getting into specifics, I
       12       do recall internal discussions about Russian
       13       hacking, yes.
       14                   Q.   Okay.   It was -- were the
       15       discussions of Russian hacking that relate to
       16       incidents other than the 2016 hacking incident
       17       that you described?
       18                   A.   Yes.
       19                   Q.   Okay.   I don't want to get into
       20       specifics, but what -- in what timeframe were
       21       you focused, if you can say, what timeframe was
       22       there other concerns about specific issues of
       23       potential Russian hacking?
       24                   A.   Concern over Russian hacking would
       25       have been ongoing throughout the period of the



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 110 of 363 PageID #:
                                    12389
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 110


        1       GEC's mandate.
        2                   Q.   How about, is there any -- other
        3       than a general concern for it arising from
        4       obviously a very high profile hack that you
        5       referred to, was there concern that other
        6       incidents of hacking and releasing may have
        7       occurred?
        8                   A.   Yes, there was concern.
        9                   Q.   Okay.   And were there actual hack
       10       and release operations that succeeded?
       11       Presumably it's released, it's probably now a
       12       matter of public record if they did succeed.
       13                        MR. KIRSCHNER:     Objection, to the
       14       extent that this is calling for classified
       15       information, defer to the witness on this, but
       16       I -- I do want to make sure that we -- or law
       17       enforcement information, I want to make sure we
       18       stay clear of that.
       19                        So I will instruct the witness not
       20       to answer to the extent that this calls for
       21       classified or law enforcement material.
       22                   A.   The GEC, itself, doesn't have the
       23       tools to track things like hacking operations.
       24       We would have followed reporting from those
       25       who -- who did have those tools and those



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 111 of 363 PageID #:
                                    12390
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 111


        1       priorities.
        2                   Q.   Okay.   And you say is that public
        3       reporting or would that be internal government
        4       reporting?
        5                   A.   Potentially both.
        6                   Q.   What public reporting would you
        7       have followed?
        8                   A.   Media reports.
        9                   Q.   Do you remember media reports
       10       relating to Russian hacking that addressed any
       11       incident other than the 2016 DNC Russian hack?
       12                   A.   I don't recall anything specific,
       13       no.
       14                   Q.   You mentioned hack and release
       15       incidents in your report as a technique used by
       16       the Russians.      Did you have a basis for
       17       identifying that as a technique that they used,
       18       other than the 2016 DNC hack?
       19                        MR. KIRSCHNER:     Objection,
       20       mischaracterizing the evidence, the testimony.
       21                   A.   I -- I don't recall.       I didn't do
       22       the base -- basic research for this report.              I
       23       don't recall.
       24                   Q.   Do you know -- do you know what the
       25       basis was for identifying them in this report?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 112 of 363 PageID #:
                                    12391
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 112


        1       By them, I mean hack and release techniques.
        2                   A.   I believe it's footnote 16, here.
        3       So we could look in the report.
        4                   Q.   Yeah, can you flip to the next page
        5       where footnote 16 occurs?
        6                   A.   Mm-hmm.
        7                   Q.   It's page 9.
        8                        I think there's two things cited
        9       there, one is a US Department of Justice report
       10       on the investigation into Russian interference
       11       in the 2016 presidential election; do you see
       12       that?
       13                   A.   Yes.    Yes.
       14                   Q.   And does that refer to that 2016
       15       hack, high profile hack?
       16                   A.   Yes.
       17                   Q.   And then, underneath it, there's a
       18       government of the Netherlands, Netherlands
       19       defense intelligence and security service
       20       disrupts Russian cyber operation targeting OPCW.
       21                        Do you know what OPCW is?
       22                   A.   It's the organization for the --
       23       it's about chemical weapons.          It's a chemical
       24       weapons focused.
       25                   Q.   Okay.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 113 of 363 PageID #:
                                    12392
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 113


        1                   A.   I don't recall the exact acronym.
        2                   Q.   Gotcha.    Other than those two
        3       incidents cited in the footnote, can you recall
        4       any other incidents that would have supported
        5       the report's conclusion that hack and release is
        6       a disinformation technique used by Russia?
        7                   A.   No.
        8                   Q.   Do you remember any conversation
        9       you had with that technique of hack and release
       10       with any social media platform?
       11                   A.   No.
       12                   Q.   Do you recall that being discussed
       13       by any -- that technique, hack and release,
       14       being used by or being discussed by anyone else
       15       at the GEC in any social media platform?
       16                   A.   No.
       17                        MR. SAUER:    Let's do I.
       18                        And this is going to be labeled --
       19       I think we're on Exhibit 6.
       20                        (Exhibit No. 6 was marked for
       21       identification.)
       22    BY MR. SAUER:
       23                   Q.   Do you recall participating in an
       24       interview or panel discussion at the Brookings
       25       Institution on October 2nd, 2020?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 114 of 363 PageID #:
                                    12393
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 114


        1                   A.   Yes.
        2                   Q.   Okay.     And rather than play the
        3       entire video, we got a little excerpt here of
        4       comments you made about minute 29.
        5                   A.   Mm-hmm.
        6                   Q.   Can you look at that?       There's a
        7       question from Fiona Hill and then answered by
        8       you; correct?
        9                   A.   Yes.
       10                        MR. KIRSCHNER:     Objection, assuming
       11       evidence not in the record or lack of
       12       foundation.
       13    BY MR. SAUER:
       14                   Q.   This document --
       15                        MR. KIRSCHNER:     Let me just make
       16       the record clear.        Lack of foundation.
       17    BY MR. SAUER:
       18                   Q.   This document kind of reports you
       19       saying, in this online video on YouTube,
       20       basically discussing government coordination;
       21       fair to say?
       22                   A.   Yes.
       23                   Q.   And you say it doesn't have an
       24       exciting visible component; correct?
       25                   A.   Yes.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 115 of 363 PageID #:
                                    12394
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 115


        1                   Q.   And it consists of e-mails and
        2       phone calls and meetings; right?
        3                   A.   Yes.
        4                   Q.   And you say:     We are in close
        5       communication with our colleagues at DHS; right?
        6                        MR. KIRSCHNER:     Objection, lack of
        7       foundation.      We don't have the full context.
        8       Just objection to this entire line of
        9       questioning on this exhibit as lacking
       10       foundation.
       11    BY MR. SAUER:
       12                   Q.   And you go on to say:       We're in
       13       close communication with our colleagues at DHS;
       14       correct?
       15                   A.   Yes.
       16                   Q.   What was the nature of the
       17       communication that you're referring to there
       18       when you made this statement?
       19                   A.   E-mails.
       20                        MR. KIRSCHNER:     Objection, assuming
       21       evidence that's not in the record.
       22                   A.   E-mails, phone calls and meetings.
       23                   Q.   Okay.   What kind of coordination,
       24       back in that late 2020 timeframe, what kind of
       25       close communication was going on with colleagues



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 116 of 363 PageID #:
                                    12395
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 116


        1       at DHS?
        2                   A.   Communication related to the GEC's
        3       mandate to counter foreign propaganda
        4       misinformation.
        5                   Q.   Who at DHS was GEC communicating
        6       with?
        7                        MR. KIRSCHNER:     Objection, asked
        8       and answered.
        9                   A.   It would have been primarily the
       10       office, either -- I don't recall what it was
       11       called, at the time, but the task force or
       12       what's I believe now known as the
       13       misinformation, disinformation and
       14       mal-information office.
       15                   Q.   So that's the mis-dis- and mal
       16       information team we talked about earlier?
       17                   A.   Right.
       18                   Q.   And this October 2nd, 2020 is about
       19       a month before the 2020 election?
       20                   A.   Right.
       21                   Q.   Who was communicating between GEC
       22       and DHS in that timeframe?
       23                        MR. KIRSCHNER:     Objection, assuming
       24       evidence not in the record.
       25                   A.   I don't recall the specific staff



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 117 of 363 PageID #:
                                    12396
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 117


        1       members who would have done that.
        2                   Q.   Would you have been involved in
        3       those communications?
        4                   A.   Generally not, not the direct
        5       communications, no.
        6                   Q.   Do you remember what your basis was
        7       for saying that we're in close communication
        8       with our colleagues at DHS?
        9                        MR. KIRSCHNER:     Objection, assuming
       10       evidence not in the record, lack of foundation.
       11                   A.   It would have been meetings with
       12       the head of the relevant interagency team at the
       13       GEC or meetings where the person from that team
       14       would report on other agencies that they were in
       15       communication with, so they would list that
       16       we're in communication with DHS, for example.
       17                   Q.   Okay.   And do you -- I'm sorry, you
       18       may have answered this -- who at GEC is involved
       19       in these meetings?
       20                        MR. KIRSCHNER:     Objection, assuming
       21       evidence not in the record, mischaracterizes
       22       testimony, vague.
       23                   A.   It would be the staff from the I2C2
       24       or potentially someone with relevant subject
       25       matter expertise from one of the threat teams at



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 118 of 363 PageID #:
                                    12397
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 118


        1       GEC.
        2                   Q.   And do you know what was discussed
        3       in those meetings of close communication with
        4       DHS in the October 2020 timeframe?
        5                        MR. KIRSCHNER:     Objection,
        6       mischaracterizes his testimony, assumes evidence
        7       not in the record, lack of foundation.
        8                   A.   No, not specifically.
        9                   Q.   You just don't remember what was
       10       discussed in those meetings?
       11                        MR. KIRSCHNER:     Objection,
       12       mischaracterizes testimony, assumes evidence not
       13       in the record.
       14                   A.   It wouldn't be -- there wouldn't be
       15       any reason to report the content of a specific
       16       communication to the principal deputy
       17       coordinator.
       18                   Q.   Who would we have to ask to know
       19       what was said in those meetings?
       20                        MR. KIRSCHNER:     Objection,
       21       speculative.
       22                   A.   The staffers involved.
       23                   Q.   And you think those staffers would
       24       have been people in the TET or the I2C2 -- sorry
       25       -- I2C2?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 119 of 363 PageID #:
                                    12398
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 119


        1                         MR. KIRSCHNER:      Objection,
        2       speculative.
        3                   A.    It could be the I2C2 team, but it
        4       could be anyone with relevant subject matter
        5       expertise at the GEC.
        6                   Q.    Who was in charge of the I2C2 team
        7       at this time?
        8                   A.    I believe it was Stevie Hamilton,
        9       but it may have been somebody else.           I don't
       10       remember the exact dates of all of the heads of
       11       all the teams.
       12                   Q.    Is that a matter of public record
       13       who's in charge of the I2 -- I2C2 team?
       14                   A.    I don't believe so.      I don't think
       15       that the GEC provides information below the
       16       level of coordinator on who's in charge of which
       17       team.
       18                   Q.    Who has been in charge of the I2C2
       19       team during your tenure there?
       20                   A.    I believe it was Stevie Hamilton.
       21                   Q.    The whole time?
       22                   A.    I believe so.      There may have
       23       been -- there was a lot -- a lot of staff
       24       movement.        I believe it was Stevie Hamilton.
       25                   Q.    Do you remember anyone else being



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 120 of 363 PageID #:
                                    12399
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 120


        1       in charge of that team?
        2                   A.   I don't recall.
        3                   Q.   The next sentence in this Exhibit 6
        4       says:    With our colleagues at FBI, the Global
        5       Engagement Center has set up an interagency
        6       coordination cell; do you see that?
        7                   A.   Yes.
        8                   Q.   Is that a true statement?
        9                   A.   I believe that we set up an
       10       interagency coordination cell that was in
       11       contact with the FBI.        So I would -- I would --
       12       I would clarify it that way.
       13                   Q.   What is an interagency coordination
       14       cell?    I mean, what does that mean?
       15                   A.   So an interagency coordination cell
       16       is a team with, say, a number of members, and
       17       each one will be responsible for contact with
       18       one or more agencies in the interagency.
       19                        So you have an individual whose job
       20       it is to stay in contact with components in the
       21       intelligence community or the Department of
       22       Defense or DHS.         That's what an interagency
       23       coordination cell would be.
       24                   Q.   So someone whose who's tasked with
       25       remaining in fairly close contact with another



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 121 of 363 PageID #:
                                    12400
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 121


        1       close counterpart at another agency?
        2                   A.   Yes, with the clarification that it
        3       may be sporadic, it may be close, it could
        4       depend on events, it could depend on what's
        5       happening.       It can be difficult to predict how
        6       close it is.
        7                        The primary engagements for the
        8       Global Engagement Center were really with the
        9       Department of Defense and the intelligence
       10       community.
       11                   Q.   Without mentioning their names or
       12       by title, do you know who at the -- or role --
       13       do you know who at the GEC was involved in this
       14       interagency coordinating cell with -- with the
       15       FBI?
       16                   A.   No, I don't recall.
       17                   Q.   Do you know what team they would
       18       have been on?
       19                   A.   I believe it would have been the
       20       I2C2 team.
       21                   Q.   So you believe someone -- this
       22       interagency coordinating cell means someone at
       23       IC -- I2C2 is designated to be in -- in close
       24       contact with someone in the FBI?
       25                   A.   Yes, there would be someone with a



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 122 of 363 PageID #:
                                    12401
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 122


        1       portfolio that includes FBI for coordination.
        2                   Q.   And then who on the FBI side would
        3       they have -- did they coordinate with, to your
        4       knowledge?
        5                        MR. KIRSCHNER:     Objection,
        6       speculative.
        7    BY MR. SAUER:
        8                   Q.   And again, not names, I just want
        9       to know their title and role.
       10                   A.   I don't know their title.
       11                   Q.   Okay.   Do you know what their role
       12       would have been or what office or section they
       13       would have been involved in?
       14                        MR. KIRSCHNER:     Objection,
       15       speculative.
       16                   A.   I believe it would be the foreign
       17       influence task force at the FBI.
       18                   Q.   So you believe -- does that -- is
       19       that ongoing to this day, is there still an
       20       interagency coordinating cell between GEC and --
       21       can I call it the FITF?
       22                   A.   Sure.
       23                   Q.   The FBI?    Is that ongoing to this
       24       day?
       25                   A.   I believe there is an interagency



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 123 of 363 PageID #:
                                    12402
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 123


        1       cell at the GEC.      I don't know which other
        2       agencies it's in contact with now or the
        3       frequency of those contacts.
        4                   Q.   There is an interagency cell at the
        5       GEC, but you don't know whether or not that
        6       interagency cell is in contact with the FBI now?
        7                   A.   Yes, that's correct.
        8                   Q.   But I take it, they were in contact
        9       with the FBI during October of 2020, when you
       10       gave the talk at the Brookings Institute?
       11                        MR. KIRSCHNER:     Objection, assumes
       12       evidence not in the record, mischaracterizes
       13       testimony.
       14                   A.   I don't know whether they were in
       15       contact in October 2020.         But when I was giving
       16       these remarks the I2C2 would have had someone
       17       with FBI in their profile.         And if the
       18       circumstances required they would be in touch
       19       with a counterpart at the FBI.
       20                   Q.   Do you know whether there were any
       21       such communications during that timeframe?
       22                   A.   I don't.
       23                   Q.   And you go on to say:       So we are in
       24       constant communication, in the next sentence of
       25       Exhibit 6; do you see that?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 124 of 363 PageID #:
                                    12403
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 124


        1                   A.    Yes.
        2                         MR. KIRSCHNER:      Objection.
        3    BY MR. SAUER:
        4                   Q.    What's that a reference to, the
        5       constant communication?
        6                         MR. KIRSCHNER:      Objection, lack of
        7       foundation, assumes evidence not in the record.
        8    BY MR. SAUER:
        9                   Q.    On your understanding?
       10                   A.    It's a reference to the GEC's
       11       exercise of it's interagency coordination
       12       mandate, which requires communications with the
       13       relevant agencies.
       14                   Q.    And that's done through the I2C2's
       15       coordination cell to communicate with the FBI?
       16                   A.    Yes.   The I2C2 is specifically
       17       focused on interagency communication, but it
       18       could involve anyone with relevant subject
       19       matter expertise.
       20                   Q.    Do you know anyone -- let me ask
       21       you this:        Do you recall any issues that the GEC
       22       raised with the FBI's FITF at any time, without
       23       saying what the issues are, do you know whether
       24       there were issues that the GEC raised with the
       25       FITF?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 125 of 363 PageID #:
                                    12404
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 125


        1                   A.   I don't recall any specific issues,
        2       no.
        3                   Q.   Is it possible that they did and
        4       you just don't remember or do you believe that
        5       they never did raise an issue with the FITF?
        6                        MR. KIRSCHNER:     Objection,
        7       speculative.
        8                   A.   It's possible that they raised an
        9       issue with the FBI, yes.
       10                   Q.   And they being someone within the
       11       I2C2?
       12                   A.   Yes.
       13                   Q.   Okay.   But you just don't know what
       14       sort of communication?
       15                   A.   No, I don't.
       16                        MR. KIRSCHNER:     Objection,
       17       mischaracterizes testimony.
       18    BY MR. SAUER:
       19                   Q.   More generally -- sorry, you can
       20       answer that question.
       21                   A.   I -- I don't recall.
       22                   Q.   Okay.   Do you recall any
       23       interaction, any substantive interaction,
       24       between FITF and the GEC?
       25                   A.   I don't recall any substantive



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 126 of 363 PageID #:
                                    12405
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 126


        1       interaction.       There were just a lot of different
        2       meanings.        I don't recall anything specific and
        3       substantive.
        4                   Q.    Did you ever interact with FITF?
        5                   A.    I believe I may have been in the
        6       context of an interagency meeting with -- with
        7       representatives of I think they call it FITF or
        8       FITF, but I don't recall any specific meetings.
        9                   Q.    Was that a -- when you say an
       10       interagency meeting, was there a -- an
       11       essentially GEC/FITF meeting?
       12                   A.    I don't recall a GEC/FITF meeting.
       13       I mean a broader interagency meeting, where one
       14       of the representatives would have been FBI, for
       15       example.
       16                   Q.    Do you know who's in charge of
       17       FITF?
       18                   A.    I don't know who's in charge of
       19       FITF, no.
       20                   Q.    Other than what we've just now
       21       talked about, are you aware of any interactions
       22       between GEC and FITF?
       23                   A.    I'm not aware of any specific
       24       interactions.       As I said, in the interagency,
       25       it's entirely possible that we would have been



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 127 of 363 PageID #:
                                    12406
                            DANIEL KIMMAGE 11/10/2022
                                                                         Page 127


        1       in meetings together, yes.
        2                   Q.      Do you remember anything about
        3       those meetings?
        4                           MR. KIRSCHNER:     Objection,
        5       mischaracterizes testimony and assumes evidence
        6       not in the record.
        7                   A.      I don't recall any specific items
        8       involving FITF, no.
        9                           MR. SAUER:    Let me give you another
       10       exhibit.         I've got this one.     I think this is
       11       going to be 7, right?
       12                           (Exhibit No. 7 was marked for
       13       identification.)
       14                           MR. KIRSCHNER:     Counsel, do you
       15       know how long you're going to spend on this
       16       exhibit?         I'm just trying to think in terms of a
       17       possible lunch break.
       18                           MR. SAUER:    Oh, well, if we go for
       19       about five minutes?
       20                           MR. KIRSCHNER:     Okay.
       21                           MR. SAUER:    We can revisit it.      I'm
       22       not sure, but once we're done with this exhibit
       23       why don't we raise that?
       24                           MR. KIRSCHNER:     Okay.   I just
       25       didn't know if you were going to spend an hour



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 128 of 363 PageID #:
                                    12407
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 128


        1       on one exhibit.          I just --
        2                         MR. SAUER:     My exhibits are like my
        3       children.        I love them all equally.
        4    BY MR. SAUER:
        5                   Q.    Mr. Kimmage, I've handed -- you've
        6       been handed Exhibit 7, which is excerpts from
        7       the second amended complaint in this case.
        8                         Have you ever reviewed the second
        9       amended complaint?
       10                   A.    Yes, I have looked at this.
       11                   Q.    So you've seen this before, this
       12       document before, or you've seen the big
       13       document, this is obviously only 14 pages of the
       14       162 page?
       15                   A.    Yes.
       16                   Q.    Fair to say you've seen it before?
       17                   A.    Yes.
       18                   Q.    Can you flip to page 117?
       19                   A.    Mm-hmm.
       20                   Q.    And look at paragraph 396.
       21                   A.    Mm-hmm.
       22                   Q.    And there's a -- there's an
       23       allegation in paragraph 396 that says:            Pursuant
       24       to third-party subpoena, Twitter has identified
       25       personnel associated with the State Department's



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 129 of 363 PageID #:
                                    12408
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 129


        1       Global Engagement Center, including Alexis
        2       Frisbee and Daniel Kimmage, as likely involved
        3       in communications with Twitter about censorship
        4       and/or content modulation on issues such as
        5       election integrity, vaccines/COVID
        6       misinformation, and related subjects; do you see
        7       that?
        8                   A.   I see that.
        9                   Q.   Do you know what -- if -- to the
       10       extent Twitter said that about you, do you know
       11       what they were referring to?          Do you remember
       12       any meetings with Twitter?
       13                        MR. KIRSCHNER:     Objection, lack of
       14       foundation.
       15    BY MR. SAUER:
       16                   Q.   Let's start with the first
       17       question.
       18                        Do you remember meetings with
       19       Twitter?
       20                   A.   I recall at least one meeting with
       21       Twitter.
       22                   Q.   Do you remember any other meetings
       23       besides the one?
       24                   A.   Yes, I recall at least two meetings
       25       with Twitter.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 130 of 363 PageID #:
                                    12409
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 130


        1                   Q.   Okay.   Do you recall any besides
        2       those two?
        3                   A.   No, I do not.
        4                   Q.   When did those meetings occur?
        5                   A.   One was in 2021, and one would have
        6       been before the pandemic.
        7                   Q.   Would that have been in 2019 or
        8       late 2020?
        9                   A.   Potentially 2019 or even 2018.          I
       10       don't recall the date.
       11                   Q.   Okay.   The 2021 meeting, let's
       12       start with that, what -- what -- do you know
       13       what time of year that happened?
       14                   A.   It would have been in the spring, I
       15       believe.
       16                   Q.   Do you remember more specifically
       17       what date it was?
       18                   A.   No, I don't.
       19                   Q.   Would that be reflected on your
       20       official calendar?
       21                   A.   I believe it would be, yes.
       22                   Q.   Do you know who attended that
       23       meeting?
       24                   A.   It would be the acting coordinator,
       25       me, in that capacity, then one or more of the



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 131 of 363 PageID #:
                                    12410
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 131


        1       deputy coordinators, team chiefs from the Global
        2       Engagement Center, and working-level staff with
        3       relevant subject matter expertise.
        4                   Q.   So a significant number of
        5       individuals on the GEC side were at that
        6       meeting?
        7                        MR. KIRSCHNER:     Objection,
        8       mischaracterizes testimony, assumes evidence not
        9       in the record.
       10                   A.   How would you define significant?
       11                   Q.   Well, how many people on the GEC
       12       side would you estimate?
       13                   A.   Between five and ten.
       14                   Q.   Okay.   And that included you and
       15       you were then acting coordinator?
       16                   A.   Yes, in 2021, from February to
       17       June, yes.
       18                   Q.   And then the deputy coordinator was
       19       there, too?
       20                   A.   I believe so.
       21                   Q.   Who was that?
       22                   A.   At the time, it would have been
       23       Leah Bray.
       24                   Q.   And then the team chief, who's
       25       that?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 132 of 363 PageID #:
                                    12411
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 132


        1                   A.   Patricia Watts, the Technology
        2       Engagement Team.
        3                   Q.   So that was a TET team?
        4                   A.   The TET, right.
        5                   Q.   And was there anyone else from the
        6       TET there?
        7                   A.   I believe Alexis Frisbee.
        8                   Q.   Okay.    How about -- you mentioned
        9       subject matter experts?
       10                   A.   Right.
       11                   Q.   Who -- do you remember -- I don't
       12       necessarily want their -- well, let me ask this:
       13       What unit did they come from?
       14                   A.   I don't recall for the 2021
       15       meeting.
       16                   Q.   Do you know was Russia maybe?
       17                   A.   I simply don't remember who all the
       18       GEC personnel were.
       19                   Q.   Okay.    And then who was present at
       20       that meeting on the Twitter side?
       21                   A.   I -- I don't remember the
       22       individual.
       23                   Q.   There's only one person?
       24                   A.   No, there were others, but I don't
       25       remember their names.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 133 of 363 PageID #:
                                    12412
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 133


        1                   Q.   Okay.   Do you remember what their
        2       roles were within Twitter?
        3                   A.   I believe it was the -- the sort of
        4       assurance or compliance.         I don't recall the
        5       exact name of the component within Twitter.
        6                   Q.   When you say assurance or
        7       compliance, what is that, a member of the trust
        8       and safety team?
        9                   A.   It may have been, yes.
       10                   Q.   Does that sound right to you, at
       11       least?
       12                        MR. KIRSCHNER:     Objection,
       13       speculative.
       14                   A.   Yes.
       15                   Q.   If you know?     Is that a yes?
       16                   A.   Yes.
       17                   Q.   To the best of your recollection,
       18       someone from the trust and safety team was
       19       there?
       20                   A.   Yes.
       21                   Q.   Do you know if it was a man or a
       22       woman?
       23                   A.   No.
       24                   Q.   And you -- you -- do you believe
       25       there were other members of Twitter there or



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 134 of 363 PageID #:
                                    12413
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 134


        1       Twitter officials?
        2                   A.   Yes.
        3                   Q.   How many, would you say?
        4                   A.   Fewer than on our side.
        5                   Q.   Were they -- so maybe less than
        6       five?
        7                   A.   Yes.
        8                   Q.   And there would be a -- on your
        9       official calendar, if there were an -- there's
       10       an invite for this meeting; correct?
       11                   A.   Yes.
       12                   Q.   And that would reflect all the
       13       participants; fair to say?
       14                        MR. KIRSCHNER:     Objection,
       15       speculative.
       16                   A.   I -- I --
       17                        MR. KIRSCHNER:     Lack of foundation.
       18                   A.   I don't know how the invite is
       19       structured --
       20                   Q.   Okay.
       21                   A.   -- and what it reflects.
       22                   Q.   Let me ask you this:       Were there
       23       other individuals from Twitter, there?            Do you
       24       remember any of their names?
       25                   A.   No.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 135 of 363 PageID #:
                                    12414
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 135


        1                   Q.   Do you remember any of their roles
        2       within Twitter?
        3                   A.   I believe their roles were in
        4       the -- the trust and safety area.
        5                   Q.   So there would be multiple Twitter
        6       officials from the trust and safety group there?
        7                   A.   Yes, I believe so.
        8                   Q.   How about any other area of
        9       Twitter, you know, did anyone else attend that
       10       wasn't a trust and safety person?
       11                   A.   Not that I recall.
       12                   Q.   Who asked for this meeting, was
       13       it -- did GEC ask for it or did Twitter ask for
       14       it?
       15                   A.   I -- I don't recall where the exact
       16       impetus came from, which side initiated, which
       17       side asked for the meeting.
       18                   Q.   Okay.   Was this a recurring meeting
       19       or was it kind of a standalone meeting that had
       20       been set up to address a specific topic?
       21                   A.   As I said, we had -- we hoped to
       22       set up recurring quarterly meetings.            I don't
       23       recall whether this one was -- was a
       24       continuation, as in whether the same people were
       25       there from our side.        I was only recently in the



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                                    12415
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 136


        1       role of acting coordinator, because before that
        2       there was an appointed coordinator.
        3                   Q.   Who was that?
        4                   A.   That was Lea Gabrielle, the
        5       appointed coordinator before the --
        6                   Q.   Okay.    So what was discussed in
        7       this meeting?
        8                   A.   So as I said, in this meeting the
        9       GEC would provide an overview of what it was
       10       seeing in terms of foreign propaganda and
       11       disinformation.      And Twitter would, to the
       12       extent that they felt comfortable sharing
       13       information, would discuss similar topics.
       14                   Q.   And you said would?
       15                   A.   Right.
       16                   Q.   Did you -- you said you would
       17       provide it, and they would share, in fact,
       18       did -- did you guys do that?
       19                   A.   I recall that we gave an overview.
       20       I don't recall the specifics of what Twitter
       21       presented.
       22                   Q.   What did -- what did you get an
       23       overview of?
       24                        MR. KIRSCHNER:     Objection, calls
       25       for a narrative response.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 137 of 363 PageID #:
                                    12416
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 137


        1                   A.    I believe it was an overview of the
        2       major actions by malign foreign actors, like
        3       Russia, China, and terrorist organizations.
        4                   Q.    Do you remember what was discussed
        5       about that?
        6                   A.    I -- I -- I don't.
        7                   Q.    Who was the principal speaker in
        8       this meeting, on your side, or was there?
        9                   A.    The -- the GEC side had multiple
       10       speakers.        I believe I kicked things off with
       11       sort of very general remarks, and then there
       12       were -- there were other -- other speakers at
       13       the GEC.
       14                   Q.    Did Alexis Frisbee talk?
       15                   A.    I don't -- I don't recall whether
       16       she had a speaking role.
       17                   Q.    Who -- who else talked, to your
       18       recollection?
       19                   A.    I -- I don't recall the specifics
       20       of the meeting.
       21                   Q.    Okay.    You don't remember how many
       22       people talked?
       23                   A.    No, I don't.
       24                   Q.    Do you remember any content about
       25       the conversation?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 138 of 363 PageID #:
                                    12417
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 138


        1                   A.   No, I don't remember the specifics.
        2                   Q.   I think if you look back to
        3       paragraph 396, there's a specific reference to
        4       certain topics.
        5                   A.   Mm-hmm.
        6                   Q.   Election integrity, is that
        7       something that was discussed at this meeting?
        8                        MR. KIRSCHNER:     Objection, vague.
        9    BY MR. SAUER:
       10                   Q.   If you remember.
       11                   A.   I don't -- I don't recall.
       12                   Q.   Do you remember anything said at
       13       the meeting that would have related to elections
       14       in any way?
       15                   A.   I don't recall.
       16                   Q.   How about vaccine/COVID
       17       misinformation, do you remember anything that
       18       would have related to that in a spring 2021
       19       meeting with Twitter?
       20                   A.   I -- I -- I just don't recall the
       21       specifics of the meeting.
       22                   Q.   How about your own statements of
       23       the meeting, do you remember anything that you
       24       said at this meeting?        I know you said earlier
       25       you kicked things off, it sounds like you



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 139 of 363 PageID #:
                                    12418
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 139


        1       introduced some speakers; did you say anything
        2       else at the meeting?
        3                   A.   I don't recall the specifics.         I
        4       would have introduced our team, and talked a bit
        5       about sort of general trends and propaganda and
        6       disinformation, but I don't -- I simply don't
        7       recall the specifics.
        8                   Q.   So you don't remember anything
        9       specific about what you personally said in that
       10       2021 meeting?
       11                   A.   No, I don't.     I would have been
       12       doing multiple meetings every day.           I just don't
       13       recall the specifics.
       14                   Q.   And you say multiple meetings every
       15       day, is that with social media platforms in this
       16       timeframe?
       17                   A.   No, no, it would have just been
       18       multiple meetings in my capacity as the acting
       19       coordinator.
       20                   Q.   Did you have a similar meeting to
       21       this one, with Facebook or YouTube or any
       22       others?
       23                   A.   I believe we had meetings with
       24       either Facebook or Google or both.           I don't
       25       remember the specifics, but there were -- I



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 140 of 363 PageID #:
                                    12419
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 140


        1       believe there were meetings with Facebook and
        2       Google.
        3                   Q.   Would they be in that same
        4       timeframe?
        5                   A.   They would be in the same period
        6       when I was the acting coordinator, yes.
        7                   Q.   So in the spring 2021 timeframe?
        8                   A.   Yes.
        9                   Q.   And I think you testified earlier
       10       that you were acting coordinator from February
       11       to --
       12                   A.   June.
       13                   Q.   -- June?     Okay.
       14                        And you believe you had at least
       15       one meeting with Facebook and Google that was
       16       similar to this meeting with Twitter that we
       17       have been talking about?
       18                        MR. KIRSCHNER:       Objection,
       19       mischaracterizes testimony.
       20                   A.   I believe we -- we -- we met with
       21       them, yes.
       22                        MR. SAUER:    Apparently I didn't
       23       mischaracterize it.
       24                        MR. KIRSCHNER:       Those were
       25       different statements.         He said something



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 141 of 363 PageID #:
                                    12420
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 141


        1       different than what you said.
        2    BY MR. SAUER:
        3                   Q.   Did you have a similar meeting with
        4       Facebook and Google, during this timeframe, that
        5       was similar to the meeting you had with Twitter?
        6                   A.   I believe so, I don't recall the
        7       specifics of which -- which company we met with.
        8                   Q.   So you're not sure whether you met
        9       with Facebook?
       10                   A.   I believe we did.       I don't -- I
       11       don't recall, exactly.         I believe we met with
       12       Facebook.
       13                   Q.   Do you remember who at Facebook you
       14       met with or what their roles were?
       15                   A.   I don't remember the individual.          I
       16       believe it was a similar area.           I don't remember
       17       what it was called at Facebook.          But it was a
       18       similar -- similar to the component at Twitter,
       19       the assurance or safety part of Facebook.
       20                   Q.   Right.   So at Twitter we described
       21       it as the trust and safety team --
       22                   A.   Right.
       23                   Q.   -- correct?
       24                   A.   Yes.
       25                   Q.   And then at Facebook you believe



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 142 of 363 PageID #:
                                    12421
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 142


        1       you met with the analogous component of Facebook
        2       in your meeting in 2021; fair to say?
        3                   A.   Yes, I believe it was the analogous
        4       component.
        5                   Q.   But you don't remember exactly how
        6       they described it, but it had similar
        7       responsibility to the Twitter trust and safety
        8       team; correct?
        9                   A.   I don't recall how they described
       10       it, and I don't know what its internal
       11       responsibilities are at Facebook.
       12                   Q.   Okay.   Okay.    But you believe it
       13       was the similar or analogous component to the
       14       Twitter trust and safety team; fair to say?
       15                   A.   I believe so, it may have been
       16       public policy, that was another component.
       17                   Q.   How about Payton Iheme, is that a
       18       name you recognize from Facebook?
       19                   A.   No.
       20                   Q.   And then you also had -- believe
       21       you had a meeting with Google or, slash, YouTube
       22       in that same timeframe?
       23                   A.   I believe so, yes.
       24                   Q.   And would that have been with the
       25       same components, the kind of trust and safety



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 143 of 363 PageID #:
                                    12422
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 143


        1       type component at YouTube/Google?
        2                   A.   I believe it would have been
        3       analogous component, yes.
        4                   Q.   Okay.    Do you know how many
        5       representatives came from Facebook to your
        6       meeting?
        7                        MR. KIRSCHNER:       Objection, assumes
        8       evidence not in the record.
        9                   A.   No.     A handful.
       10                   Q.   Okay.    And then on the GEC side,
       11       did you have a -- a series of -- or sorry -- did
       12       you bring similar people on the GEC side to that
       13       Facebook meeting?
       14                        MR. KIRSCHNER:       Again, objection,
       15       assumes evidence not in the record.
       16                   A.   Yes, I believe the lineup would
       17       have been similar.
       18                   Q.   Have you taken any steps, since you
       19       read this document for the first time, to
       20       refresh your recollection about these meetings?
       21                   A.   No.
       22                   Q.   Have you reviewed any documents in
       23       preparation for your deposition.
       24                   A.   No.
       25                   Q.   So you read this, but you didn't go



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 144 of 363 PageID #:
                                    12423
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 144


        1       check and see, oh, did I have a meeting with
        2       Twitter?         You didn't take any steps to refresh
        3       your recollection to try and see what was
        4       discussed at that meeting?
        5                   A.      No, I did not.
        6                   Q.      And you haven't reviewed a single
        7       document in preparation for your testimony
        8       today?
        9                   A.      No.    I looked at this when it came
       10       out.
       11                   Q.      How about vaccine COVID
       12       misinformation, we talked about that statement
       13       in paragraph 396, about election integrity, how
       14       about vaccine COVID misinformation, is that
       15       something that may have come up in those
       16       meetings -- that meeting with Twitter, to start
       17       with?
       18                   A.      Yes.   It's -- it's possible, I -- I
       19       don't recall the specifics.
       20                   Q.      And what kind of vaccine/COVID
       21       misinformation might have come up?
       22                   A.      The Global Engagement Center would
       23       be looking at disinformation narratives or
       24       campaigns by foreign actors, like Russia, China,
       25       on -- on -- on COVID.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 145 of 363 PageID #:
                                    12424
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 145


        1                   Q.   And do you remember that coming up
        2       in these meetings?
        3                   A.   I don't recall whether it
        4       specifically came up at this meeting.            I simply
        5       don't recall.
        6                   Q.   Do you recall whether there were
        7       any e-mails that relate to these meetings,
        8       setting them up or having a follow-up or
        9       anything like that?
       10                        MR. KIRSCHNER:     Objection,
       11       speculative.
       12                   A.   I recall a scheduling invite,
       13       that's what I recall.
       14                   Q.   For all three of them?
       15                        MR. KIRSCHNER:     Objection, assumes
       16       evidence not in the record.
       17                   A.   I -- I recall scheduling, I believe
       18       the Twitter and maybe the Facebook meeting,
       19       because I had to click on a link for the Zoom
       20       part of the meeting.
       21                   Q.   Oh, right.    But as far as
       22       Google/YouTube you're not sure if you had a
       23       calendar invite?
       24                   A.   I -- I -- I just don't recall
       25       everything on the calendar.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 146 of 363 PageID #:
                                    12425
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 146


        1                   Q.   You inferred, also, to a meeting
        2       with Twitter in 2019.        Can you tell me about
        3       that meeting?
        4                   A.   I believe it was in an initial
        5       meeting, after they had set up, like, a policy
        6       office in -- in -- in D.C., and I don't remember
        7       the individual's name, but it was sort of a -- a
        8       meet and greet meeting.
        9                   Q.   Okay.   You personally attended
       10       that?
       11                   A.   Yes.
       12                   Q.   Were you then acting coordinator or
       13       principal deputy coordinator?
       14                   A.   I don't recall whether I was the
       15       acting coordinator or the principal deputy.              I
       16       would have been one of those two positions,
       17       depending on the date.
       18                   Q.   Do you know who attended that
       19       meeting, other than you?
       20                   A.   No, I don't.
       21                   Q.   Do you know who attended that
       22       meeting for Twitter?
       23                   A.   I -- I don't recall the person's
       24       name.
       25                   Q.   Did you have similar meetings in



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 147 of 363 PageID #:
                                    12426
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 147


        1       that timeframe with any other social media
        2       platforms?
        3                   A.   I don't recall specific meetings.
        4       I recall the meeting with -- with Twitter, but I
        5       don't -- I don't recall other specific meetings.
        6                   Q.   Why does that one stand out in your
        7       mind?
        8                   A.   I just remember that Twitter had a
        9       new person in Washington, and they were, I
       10       think, sort of making the rounds and introducing
       11       themselves.
       12                   Q.   Okay.   Turning back to the 2021
       13       meeting, I think I asked you earlier if you knew
       14       whether the GEC had initiated that or whether
       15       Twitter had initiated that, I mean, I've asked
       16       you a bunch of questions about that, does that
       17       jog your recollection at all?
       18                   A.   I -- I don't know who specifically
       19       initiated the -- the request for a meeting.
       20                   Q.   Do you know whether there was a
       21       specific threat that led to the meeting, that
       22       one side or the other wanted to raise a specific
       23       issue, and that's what led to the meeting?
       24                   A.   No, I don't -- I don't believe it
       25       was -- was based on a specific threat.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 148 of 363 PageID #:
                                    12427
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 148


        1                   Q.   And -- and you believe there were
        2       multiple speakers on the GEC side discussing
        3       different kinds of threats?
        4                        MR. KIRSCHNER:     Objection, assumes
        5       evidence not in the record, mischaracterizes
        6       testimony.
        7                   A.   There were multiple speakers not
        8       necessarily addressing threats.          These meetings
        9       were not threat-focused, they were more general
       10       than that.
       11                   Q.   What were they focused on?
       12                   A.   Propaganda narratives disseminated
       13       by foreign actors, like Russia and China.
       14                   Q.   Okay.   And do you remember what
       15       narratives were discussed?
       16                        MR. KIRSCHNER:     Objection, assumes
       17       evidence not in the record, mischaracterizes
       18       testimony.
       19                   A.   I -- I don't recall the specific
       20       Russian or Chinese campaigns we would have been
       21       discussing in the spring of 2021.
       22                   Q.   Do you believe you were discussing
       23       Russian and Chinese disinformation campaigns at
       24       that meeting in 2021 with Twitter?
       25                        MR. KIRSCHNER:     Objection,



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 149 of 363 PageID #:
                                    12428
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 149


        1       speculative.
        2                   A.   Yes, I -- I believe we would have,
        3       we would have discussed those, yes.
        4                   Q.   Would you also have discussed
        5       techniques, like, for example, the techniques
        6       that are discussed in the report that we showed
        7       you earlier on Russian disinformation
        8       techniques?
        9                   A.   Yes.
       10                   Q.   How many -- you said there would be
       11       multiple speakers, so to speak, from GEC at the
       12       Twitter meeting, how many were there on the GEC
       13       side?
       14                        MR. KIRSCHNER:     Objection,
       15       speculative.
       16                   A.   I believe I answered this, between
       17       five and ten.
       18                   Q.   Oh, yes, I think you did.        You said
       19       there were five attendees?
       20                   A.   On the GEC side.
       21                   Q.   Right.   Right.    Did everybody talk?
       22       Like, did everybody give a little presentation?
       23       Was there three of them?         That's my question.
       24                   A.   I don't know whether everybody
       25       talked.      I know that two or three definitely



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 150 of 363 PageID #:
                                    12429
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 150


        1       would have talked.
        2                       MR. KIRSCHNER:      Counsel, we've been
        3       going for about fifteen minutes when you said
        4       five minutes.      So I do want to wrap up this line
        5       of questioning and then take a break, but I --
        6       how much longer do you have?
        7                       MR. SAUER:     Why don't we take a
        8       break now, and then we can decide over lunch
        9       whether we've wrapped up the line of
       10       questioning.
       11                       For the record, I did not say five
       12       minutes.    I said I didn't know how long it would
       13       go.
       14                       So I'm fine taking a break.          We're
       15       at a lunch time.
       16                       MR. KIRSCHNER:      Just let's call it
       17       1:30 to get actually started.
       18                       MR. SAUER:     I would rather start at
       19       1:15.    I don't want to -- I do want to
       20       accommodate the --
       21                       THE VIDEOGRAPHER:        Want to go off
       22       the record?
       23                       MR. SAUER:     Go ahead.     Are we off
       24       the record?
       25                       THE VIDEOGRAPHER:        The time is



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 151 of 363 PageID #:
                                    12430
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 151


        1       12:23 p.m.       We're off the record.
        2                        (Recess.)
        3                        THE VIDEOGRAPHER:        The time is 1:33
        4       p.m.   We're back on the record.          Please proceed.
        5                        MR. KIRSCHNER:       I'd like to just
        6       ask a couple quick clarifying questions for
        7       Mr. Kimmage.
        8                        MR. SAUER:     Okay.
        9                               EXAMINATION
       10    BY MR. KIRSCHNER:
       11                   Q.   So Mr. Kimmage, do you remember
       12       when counsel asked you if you looked at any
       13       documents to refresh your recollection in
       14       preparation for this deposition?
       15                   A.   Yes.
       16                   Q.   I just wanted to ask:        Do you, upon
       17       further memory, remember looking at any
       18       documents in preparation of this deposition?
       19                   A.   Yes.
       20                   Q.   And do you know -- do you remember
       21       what those documents were?
       22                   A.   I believe they were court
       23       documents.
       24                        MR. KIRSCHNER:       Okay.
       25    ///



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 152 of 363 PageID #:
                                    12431
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 152


        1                             EXAMINATION
        2    BY MR. SAUER:
        3                   Q.   What documents did you review?
        4                   A.   The amended complaint, I believe.
        5                   Q.   Anything else?
        6                   A.   Court -- some other court document,
        7       I don't remember precisely which.
        8                   Q.   What did you read in them?
        9                   A.   Versions of the same charges that
       10       are here.
       11                        MR. SAUER:    Can we have K?
       12    BY MR. SAUER:
       13                   Q.   Did you read a motion for a
       14       preliminary injunction?
       15                   A.   I don't recall, exactly.
       16                   Q.   Did you read a joint statement on
       17       depositions?
       18                   A.   I don't recall.
       19                   Q.   Did you read anything other than
       20       court documents that are publicly filed in
       21       preparation for your testimony today?
       22                   A.   No, I didn't read anything else in
       23       preparation for the testimony.
       24                        MR. SAUER:    I think you're being
       25       handed what's going to be marked Exhibit 8.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 153 of 363 PageID #:
                                    12432
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 153


        1                        (Exhibit No. 8 was marked for
        2       identification.)
        3                        MR. KIRSCHNER:     Oh, I have it.
        4    BY MR. SAUER:
        5                   Q.   Do you recognize this document?
        6                   A.   Yes.
        7                   Q.   So is this from the website of the
        8       Technology Engagement Team within GEC?
        9                   A.   It -- it -- yes, it looks like it.
       10                   Q.   Or it's a description of the
       11       Technology Engagement Team online?
       12                   A.   Mm-hmm.
       13                   Q.   Here on the third page there is a
       14       paragraph there on Silicon Valley engagement;
       15       correct?
       16                   A.   Mm-hmm.    Yes.
       17                   Q.   And it states that in December 2019
       18       GEC/TET established a Silicon Valley location;
       19       correct?
       20                   A.   Yes.
       21                   Q.   Are you familiar with that
       22       location?
       23                   A.   Yes, I believe it was an
       24       individual.
       25                   Q.   Is that a location related to just



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 154 of 363 PageID #:
                                    12433
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 154


        1       one person?
        2                   A.   Yes.
        3                   Q.   Who's that person?
        4                   A.   I believe it was Sam, I can't
        5       remember the last name.
        6                   Q.   Stewart?
        7                   A.   Stewart, yes.
        8                   Q.   So earlier when you testified that
        9       you thought he worked in D.C. is it possible
       10       that that was incorrect?
       11                   A.   He did work in D.C., and then for
       12       some portion of that he was also in California,
       13       I believe.
       14                   Q.   How long was there a Silicon Valley
       15       location?
       16                   A.   I don't -- I don't recall how long
       17       he was actually physically located in Silicon
       18       Valley.
       19                   Q.   Is it -- is someone still there
       20       today?
       21                   A.   I don't believe so, no.
       22                   Q.   And this is on your website now;
       23       fair to say?
       24                   A.   I haven't reviewed it.       I'm not
       25       aware.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 155 of 363 PageID #:
                                    12434
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 155


        1                   Q.   Do you know how long that Silicon
        2       Valley location, consisting of one person, was
        3       in operation?
        4                   A.   No, I don't recall.
        5                   Q.   And the purpose of the Silicon
        6       Valley location, according to your website, is
        7       to facilitate public/private coordination and
        8       broker constructive engagements between the US
        9       government and the tech sector, as well as
       10       academia and research; correct?
       11                   A.   Yes, that's correct.
       12                   Q.   And the tech sector there, is that
       13       a reference, in whole or in part, to social
       14       media platforms?
       15                        MR. KIRSCHNER:     Objection,
       16       speculative.
       17    BY MR. SAUER:
       18                   Q.   If you know.
       19                   A.   It would include potentially social
       20       media companies, among other -- other -- other
       21       tech-related things out there.
       22                   Q.   Does your Silicon Valley engagement
       23       person talk to social media platforms?
       24                        MR. KIRSCHNER:     Objection,
       25       speculative, assumes evidence not in the record.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 156 of 363 PageID #:
                                    12435
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 156


        1    BY MR. SAUER:
        2                   Q.   If you know.
        3                   A.   Yes.
        4                   Q.   What -- what -- what kinds of
        5       conversations did they have or what kind of
        6       engagement did they conduct?
        7                   A.   Primarily information sharing.
        8                   Q.   What kind of information?
        9                   A.   Information sharing related to the
       10       Global Engagement Center's mission to counter
       11       foreign propaganda and disinformation.
       12                   Q.   And that next sentence there says:
       13       The goal is to increase collaboration that
       14       results in identifying, exposing, and defending
       15       against foreign adversarial propaganda and
       16       disinformation; correct?
       17                   A.   Yes, that's what it says.
       18                   Q.   What's involved in defending a --
       19       collaborating with social media platforms to
       20       defend against disinformation?
       21                   A.   Primarily exchanging information to
       22       deepen their understanding of the actions of
       23       foreign propaganda and disinformation actors.
       24                   Q.   I'm sorry, say that again.         I
       25       apologize.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 157 of 363 PageID #:
                                    12436
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 157


        1                   A.   Sure.   Primarily deepening their
        2       understanding of the actions, the tools,
        3       techniques of foreign propaganda and
        4       disinformation actors.
        5                   Q.   So mostly it's GEC educating the
        6       tech companies on those tools and methods?
        7                   A.   Not necessarily, I can't
        8       characterize what the balance is --
        9                   Q.   Okay.
       10                   A.   -- in the engagements.
       11                   Q.   But the purpose, from your
       12       perspective, is to educate them on tools and
       13       methods of dissemination of foreign propaganda
       14       and disinformation?
       15                        MR. KIRSCHNER:     Objection,
       16       mischaracterizes testimony.
       17    BY MR. SAUER:
       18                   Q.   Is that fair to say?
       19                   A.   Not necessarily.        That would be the
       20       primary focus, from the GEC side, but they may
       21       also educate us based on what they are seeing.
       22       It's -- I can't characterize the exact breakdown
       23       of the information sharing.
       24                   Q.   It's a two-way street, then?
       25                   A.   Potentially, yes.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 158 of 363 PageID #:
                                    12437
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 158


        1                   Q.   Why do you want them educated, them
        2       being social media platforms?            Why do you want
        3       them to be educated on tools and methods for the
        4       propagation of foreign disinformation?
        5                   A.   We want them to understand how
        6       foreign propaganda and disinformation actors are
        7       trying to exploit the platforms to disseminate
        8       propaganda and disinformation.
        9                   Q.   Why do you want them to understand
       10       that?
       11                   A.   We want them to understand it
       12       because they are the ones who are the owners of
       13       the platforms.
       14                   Q.   Okay.   So why do you want the
       15       owners of the platforms to understand that?
       16                   A.   Because it's part of the Global
       17       Engagement Center's mission to increase overall
       18       awareness of propaganda and disinformation by
       19       malign actors.
       20                   Q.   If they are aware of those foreign
       21       malign tools and methods, are they more likely,
       22       on your view, to take their own defensive
       23       actions against them?
       24                        MR. KIRSCHNER:     Objection,
       25       speculative.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 159 of 363 PageID #:
                                    12438
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 159


        1                   A.    I -- I can't speculate about the
        2       actions that the social media companies may or
        3       may not take.       We would not ask them to do
        4       anything.        Our -- the extent of our engagement
        5       would be to share insights, but not to ask them
        6       to do something.
        7                   Q.    Has the GEC ever asked a social
        8       media platform to do something with respect to
        9       content, other than the 2018 threat you
       10       described this morning?
       11                         MR. KIRSCHNER:      Objection,
       12       hypothetical, hypothetical, assumes facts not in
       13       evidence.
       14                   A.    Not that I'm aware of.
       15                         MR. SAUER:     Can I have L?
       16                         You're going to be handed a
       17       document we're -- I think we're going to call
       18       Exhibit 9.
       19                         (Exhibit No. 9 was marked for
       20       identification.)
       21    BY MR. SAUER:
       22                   Q.    Do you see this document?
       23                   A.    I do.
       24                   Q.    And this is a collection of e-mails
       25       we received from the government -- I'm sorry --



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 160 of 363 PageID #:
                                    12439
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 160


        1       we received from the social media platform
        2       LinkedIn, that include Samaruddin K. Stewart; do
        3       you see that?
        4                   A.   I do.
        5                   Q.   Okay.   Do you know -- do you know
        6       whether Mr. Stewart was reaching out to social
        7       media platforms to schedule meetings?
        8                   A.   I believe he was.
        9                   Q.   And was he scheduling meetings with
       10       just LinkedIn or other meetings?           I mean, sorry,
       11       other social media platforms?
       12                   A.   I believe it would be others, as
       13       well.
       14                   Q.   Do you know which others he did
       15       this with?
       16                   A.   No, I don't recall the -- the list.
       17                   Q.   Do you know if he met with Twitter?
       18                   A.   I -- I don't know, no.
       19                   Q.   Do you know if he met with
       20       Facebook?
       21                   A.   I don't know his meeting schedule,
       22       no.
       23                   Q.   Okay.   You don't know, same
       24       question as to other social media platforms,
       25       your answer is you don't know any of them?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 161 of 363 PageID #:
                                    12440
                            DANIEL KIMMAGE 11/10/2022
                                                                         Page 161


        1                   A.    Not that I don't know them.        I
        2       simply I don't know what his meeting schedule
        3       was, I wouldn't have kept track of his schedule.
        4                   Q.    Were you generally aware that he
        5       was setting up meetings with multiple social
        6       media platforms?
        7                   A.    Yes.
        8                   Q.    Did he do that at your direction?
        9                   A.    He did that as part of his job to
       10       facilitate engagement.
       11                   Q.    And was he on the TET?
       12                   A.    I believe so, yes.
       13                   Q.    And I believe -- turn back that
       14       last exhibit -- was he basically the Silicon
       15       Valley location that was talked about on your
       16       website?
       17                   A.    Yes, I believe so.
       18                   Q.    On the second page of this
       19       document, the one bearing Bates page 10342 --
       20       high level, did you participate in any of the
       21       meetings that Mr. Stewart set up with social
       22       media platforms?
       23                   A.    I believe, yeah, I participated in
       24       meetings.        I don't know if he was the one who
       25       set them up.       I don't know the full, like, all



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 162 of 363 PageID #:
                                    12441
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 162


        1       the mechanics.
        2                   Q.   Okay.    Do you know who participated
        3       in his meetings, other than himself?
        4                   A.   No.
        5                   Q.   Okay.    Looking at this, this second
        6       page, the one at the top, February 5th, 2020, he
        7       initially reached out to Paul Rockwell at
        8       LinkedIn; correct?        Do you see that in the
        9       middle of the page?
       10                   A.   Yes, I see that.
       11                   Q.   Do you know who Paul Rockwell is?
       12                   A.   No.
       13                   Q.   Would it surprise you if he's the
       14       vice president and head of trust and safety for
       15       LinkedIn?
       16                   A.   No.     I don't know his position.
       17                   Q.   Okay.    Was -- I know you testified
       18       earlier that your Twitter meeting in 2021 dealt
       19       with their trust and safety team; correct?
       20                   A.   Right.
       21                   Q.   And then your analogous meetings
       22       you had with Facebook and possibly Google, in
       23       the same timeframe, were also are the trust and
       24       safety teams or their equivalents at those other
       25       entities; correct?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 163 of 363 PageID #:
                                    12442
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 163


        1                   A.   Yes.
        2                   Q.   Was Mr. Stewart told to reach out
        3       to the trust and safety team at LinkedIn?
        4                   A.   I don't believe we instructed him
        5       or I didn't instruct him on which individuals or
        6       teams to contact.
        7                   Q.   Okay.   And he, in this e-mail in
        8       February of 2020, reaches out to Paul Rockwell
        9       and says he's a senior advisor for the GEC
       10       working out of Silicon Valley; correct?
       11                   A.   Yes, I see that.
       12                   Q.   So that corroborates your
       13       understanding that he's in the Silicon Valley
       14       location, so to speak; correct?
       15                   A.   Yes.
       16                   Q.   And he says that he's in -- his
       17       agency's got interest in countering
       18       disinformation in foreign state and non-state
       19       propaganda; right?
       20                   A.   That's what the e-mail says.
       21                   Q.   Yeah, what's non-state propaganda?
       22                   A.   That would be a terrorist
       23       organization, for example.
       24                   Q.   Got you.    Okay.
       25                        And he links in the GEC's website;



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 164 of 363 PageID #:
                                    12443
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 164


        1       correct?
        2                   A.   Yes.
        3                   Q.   He talks about, let's explore
        4       shared interest and alignment of mutual goals
        5       regarding the challenge; do you know what he's
        6       talking about there?
        7                        MR. KIRSCHNER:     I apologize, where
        8       are you reading from?
        9                        MR. SAUER:     Next paragraph down in
       10       his e-mail, so it's the very last paragraph on
       11       this page.
       12    BY MR. SAUER:
       13                   Q.   Your time permitting, I'd like to
       14       schedule a meeting to discuss -- or a phone call
       15       to discuss, to explore shared interests and
       16       alignment of mutual goals regarding the
       17       challenge; right?
       18                   A.   Mm-hmm.
       19                   Q.   What's he -- what are these shared
       20       interests and alignment of mutual goals?
       21                        MR. KIRSCHNER:     Objection,
       22       speculative.
       23    BY MR. SAUER:
       24                   Q.   If you know.
       25                   A.   Shared interests regarding



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 165 of 363 PageID #:
                                    12444
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 165


        1       countering disinformation in foreign state and
        2       non-state propaganda.
        3                   Q.   And what are your mutual goals with
        4       the social media companies on that front?
        5                        MR. KIRSCHNER:     Again, objection,
        6       speculative.
        7                   A.   As I stated, sharing our
        8       understanding of the tools, techniques, and
        9       campaigns of these foreign propaganda and
       10       disinformation actors.
       11                   Q.   Is it a goal of the GEC that those
       12       foreign disinformation not spread in the United
       13       States on social media; is that a goal of the
       14       GEC?
       15                   A.   The GEC's goals are not related to
       16       this space within the United States.            The GEC is
       17       looking at foreign propaganda and
       18       disinformation.
       19                   Q.   The GEC is not interested in the
       20       propagation of disinformation in the United
       21       States; correct?
       22                   A.   The GEC is focused on the
       23       campaigns, the actions, the tools and techniques
       24       of foreign propaganda and disinformation actors,
       25       like Russia and China.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 166 of 363 PageID #:
                                    12445
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 166


        1                   Q.   If you go to the top of this page,
        2       there's some other LinkedIn people on this
        3       e-mail, Patrick Corrigan; do you see that?
        4                   A.   Yes.
        5                   Q.   Do you know who he is?
        6                   A.   No.
        7                   Q.   Would it surprise you if he's the
        8       vice president for legal and digital safety?
        9                   A.   Okay.
       10                   Q.   Yeah, and then Nicole Isaac, is she
       11       a trust strategist at LinkedIn?
       12                   A.   I don't know her -- her job title.
       13                   Q.   But it seems like the people at
       14       LinkedIn are all members of the trust and safety
       15       team, would that be consistent with -- if I may
       16       finish the question -- would that be consistent
       17       with other meetings that you talked about, where
       18       you were meeting with people on their trust and
       19       safety teams from these entities?
       20                        MR. KIRSCHNER:     Objection,
       21       speculative, and then compound.
       22                   A.   Yes.
       23                   Q.   If you flip to the next page, page
       24       343, there's a reference to him setting up a
       25       face-to-face meeting in February or March?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 167 of 363 PageID #:
                                    12446
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 167


        1                   A.   Okay.
        2                   Q.   Do you know if that meeting
        3       occurred?
        4                   A.   I don't.
        5                   Q.   Was it -- was it his common
        6       practice to have oral face-to-face meetings
        7       instead of, you know, kind of written exchanges
        8       with -- with the social media platforms?
        9                        MR. KIRSCHNER:     Objection, calls
       10       for speculation.
       11    BY MR. SAUER:
       12                   Q.   If you know.
       13                   A.   I don't know how, exactly, he
       14       conducted his engagement.
       15                   Q.   Turning a couple pages back to page
       16       345, Bates page 345, a woman called Diana Patel
       17       agrees to the meeting with him on the LinkedIn
       18       side; right?
       19                        MR. KIRSCHNER:     Objection, lack of
       20       foundation.
       21    BY MR. SAUER:
       22                   Q.   If you look there at the top level
       23       e-mail on the chain, the top of the page:             Hi
       24       Sam --
       25                   A.   Okay.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 168 of 363 PageID #:
                                    12447
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 168


        1                   Q.   -- thanks for reaching out; do you
        2       see that?
        3                   A.   Yes, I do.
        4                   Q.   And he was responded to by Diana
        5       Patel; correct?
        6                   A.   Yes.
        7                   Q.   What her title, according to the
        8       e-mail?
        9                   A.   Head of threat prevention.
       10                   Q.   And under that?
       11                   A.   Trust and safety.
       12                   Q.   So she was the head of threat
       13       prevention for the trust and safety team at
       14       LinkedIn?
       15                        MR. KIRSCHNER:     Objection,
       16       speculative.
       17                   A.   Yes, according to the e-mail.
       18                   Q.   Okay.     Can you flip ahead to the
       19       page marked 351?
       20                   A.   Mm-hmm.
       21                   Q.   And this is a follow-up e-mail in
       22       March that Mr. Stewart sent to the LinkedIn
       23       trust and safety team after he had the oral
       24       meeting; correct?
       25                        He says:     Hello, Diana, it was nice



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 169 of 363 PageID #:
                                    12448
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 169


        1       meeting you and your colleagues recently, at the
        2       beginning of the e-mail; correct?
        3                        MR. KIRSCHNER:     Objection,
        4       speculative, lack of foundation.
        5                   A.   Yes.
        6                   Q.   And he discussed about being happy
        7       to continue the engagement with them; is that
        8       right?
        9                        MR. KIRSCHNER:     Again, objection,
       10       speculative, lack of foundation.
       11                   A.   Where does it say that?
       12                   Q.   Second sentence of the second
       13       paragraph, as mentioned, the GEC has begun
       14       sharing information, when appropriate, with
       15       companies in the technology industry, and I
       16       would be happy to continue the engagement with
       17       you; correct?
       18                   A.   Yes.
       19                   Q.   Lower down he gives some links and
       20       he links to something called the disinfo-cloud.
       21       What's the disinfo-cloud?
       22                   A.   It was an information sharing
       23       platform for -- on tools to counter propaganda
       24       and disinformation.
       25                   Q.   What sort of tools were discussed



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 170 of 363 PageID #:
                                    12449
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 170


        1       on that, are these computer programs or, you
        2       know, what kind of tools are we talking about,
        3       hammers and chisels?
        4                   A.   No, I believe they were sort of
        5       computer analytic tools.
        6                   Q.   What kind of tools?
        7                   A.   I -- I wasn't an active user of the
        8       platform, but as I understand it, they were sort
        9       of analytical tools.
       10                   Q.   Just help me, as someone who's not
       11       super tech savvy, what is an analytical tool?
       12                   A.   Sure.
       13                   Q.   I just don't understand what it
       14       means.
       15                   A.   An analytical tool would help -- a
       16       tool that could identify coordinated inauthentic
       17       activity on a social media platform by a foreign
       18       disinformation actor.
       19                   Q.   So did you say it could coordinate
       20       inauthentic activity?
       21                   A.   No.     No.
       22                   Q.   Okay.
       23                   A.   I said:       A tool that could identify
       24       coordinated inauthentic activity by a foreign
       25       propaganda and disinformation actor, like China



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 171 of 363 PageID #:
                                    12450
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 171


        1       or Russia.
        2                   Q.   Yeah, what's coordinated
        3       inauthentic activity, is that, like, bots?
        4                   A.   Yeah, it's -- it's -- it's -- it's
        5       fake activity that is being coordinated for a
        6       purpose.
        7                   Q.   And I think some of your materials
        8       talk about how you -- they would create fake
        9       accounts of people who don't exist and give
       10       them, you know, real looking pictures; is that
       11       another example of coordinated fake activity?
       12                   A.   It could be, you'd need to look at
       13       the specifics more.
       14                   Q.   Okay.   What -- what do the tools do
       15       to -- to identify coordinated specific activity?
       16                   A.   I'm not a software expert.         I don't
       17       know how they work internally.
       18                   Q.   Who was posting on that website or
       19       is it a website or what is it, exactly?
       20                   A.   It's a website.      It's a -- it's a
       21       platform that, as I understand, you can log into
       22       and see examples of tools.
       23                   Q.   Okay.   And who -- who can log into
       24       it, is it open to the public or is it only for
       25       social media platforms or how does it work?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 172 of 363 PageID #:
                                    12451
                            DANIEL KIMMAGE 11/10/2022
                                                                         Page 172


        1                   A.   I believe it was for US government
        2       tool developers and I believe some researchers,
        3       and it would be not anyone, but you would have
        4       to, I think, send in a request and then be
        5       approved for -- for -- for access.
        6                   Q.   It was -- was it a -- a GEC
        7       initiative?
        8                   A.   I believe so, yes.      Yes.
        9                   Q.   And was it funded by GEC?
       10                   A.   I believe so, yes.
       11                   Q.   Do you know who participated in it,
       12       who had access to the platform?
       13                   A.   I don't have the full list of all
       14       the participants.
       15                   Q.   What kinds of participants?         I
       16       think you mentioned earlier there would be tech
       17       platforms could do that?
       18                        MR. KIRSCHNER:     Objection,
       19       mischaracterizing testimony.
       20                   A.   It was, I believe, tool developers,
       21       government agencies, and I believe researchers.
       22       I don't have the full -- full list.
       23                   Q.   And it got discontinued; correct or
       24       is it still up and running?
       25                   A.   I -- I don't recall.       I believe it



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 173 of 363 PageID #:
                                    12452
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 173


        1       was up and running when I left for -- for
        2       training.
        3                   Q.   Left for?
        4                   A.   For training in National Defense
        5       University.
        6                   Q.   Okay.     So you were being trained at
        7       National Defense?        I thought you were teaching,
        8       but you were --
        9                   A.   No, no, no, I was in a master's
       10       program there.
       11                   Q.   Oh, congratulations.
       12                        Okay.     Whose team ran the
       13       disinfo-cloud or runs it, I guess, if we don't
       14       know if it's still up and running.
       15                   A.   The Technology Engagement Team.
       16                   Q.   That's the TET?
       17                   A.   Yes.
       18                   Q.   Can you flip ahead to the last page
       19       of the document, 406?
       20                   A.   Mm-hmm.
       21                   Q.   And there is a calendar invite here
       22       between Mr. Stewart and a series of recipients
       23       on the LinkedIn side; do you see that?
       24                   A.   Yes.
       25                   Q.   And the subject of the meeting is:



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 174 of 363 PageID #:
                                    12453
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 174


        1       LinkedIn and GEC countering disinformation and
        2       propaganda; correct?
        3                   A.   Yes.
        4                   Q.   And it looks like the participants
        5       in the LinkedIn side are Patrick Corrigan;
        6       correct?
        7                   A.   Yes.
        8                   Q.   And is he the VP of legal and
        9       digital strategy for LinkedIn?
       10                        MR. KIRSCHNER:     Objection, lack of
       11       foundation, speculative.
       12    BY MR. SAUER:
       13                   Q.   If you know.
       14                   A.   I don't know his position.
       15                   Q.   And then Paul Rockwell, the vice
       16       president of trust and safety, is on there?
       17                        MR. KIRSCHNER:     Objection, same,
       18       speculative, lack of foundation.
       19    BY MR. SAUER:
       20                   Q.   On the line below, if you know?
       21                   A.   Yes, I see the name.
       22                   Q.   Ousman Jobe; do you know who that
       23       is?
       24                   A.   No, I do not.
       25                   Q.   Nicole Tarasoff, directly below?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 175 of 363 PageID #:
                                    12454
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 175


        1                   A.   What's the question?
        2                   Q.   Oh, do you see her name there?
        3                   A.   Yes.
        4                   Q.   Do you know if she's the director
        5       of content policy at LinkedIn?
        6                   A.   I don't know her position.
        7                   Q.   And then there's a bunch of people
        8       with state e-mails on this; do you see them
        9       there?
       10                   A.   Yes.
       11                   Q.   Without reading their names into
       12       the record, do you know who they are?
       13                   A.   I recognize one, two, three of the
       14       names.
       15                   Q.   What are their roles in -- in --
       16       within state or within GEC?
       17                   A.   As of the date of this e-mail, I
       18       was already in National Defense University, so I
       19       don't know exactly what their roles were at that
       20       time.
       21                   Q.   What are -- what roles did you
       22       understand them to have at some time?
       23                   A.   I believe one was on the China
       24       team.
       25                   Q.   Which one is that, in terms of



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 176 of 363 PageID #:
                                    12455
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 176


        1       order?      I see one --
        2                   A.   I believe it's the first name.
        3                   Q.   Okay.     I got you.
        4                   A.   And one, I believe, was on the
        5       Russia team.
        6                   Q.   Uh-h8h, and which one is that in
        7       the order?
        8                   A.   It is the penultimate name.
        9                   Q.   Okay.     And do you recognize the
       10       other ones?
       11                   A.   I recognize the second name.
       12                   Q.   What's the role of that person?
       13                   A.   I don't recall the precise role.
       14                   Q.   Okay.     Do you know what this
       15       meeting is about on July 29th, 2021?
       16                   A.   No.
       17                   Q.   Do you have any -- any reason to
       18       think there would be a counter -- countering
       19       disinformation meeting on July 29th of 2021?
       20                        MR. KIRSCHNER:     Objection.
       21    BY MR. SAUER:
       22                   Q.   And any specific topic that might
       23       have come up in that timeframe, anything like
       24       that?
       25                        MR. KIRSCHNER:     Objection,



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 177 of 363 PageID #:
                                    12456
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 177


        1       speculative.
        2                   A.   I was no longer involved in the
        3       day-to-day operations of the Global Engagement
        4       Center in -- on July 29th, 2021.
        5                        MR. SAUER:    Can I have M?
        6                        And so we're handing you what's
        7       been marked as Exhibit 10.
        8                        (Exhibit No. 10 was marked for
        9       identification.)
       10    BY MR. SAUER:
       11                   Q.   Do you recognize these e-mails, at
       12       all, e-mails between people at the State
       13       Department and CISA regarding a program for
       14       African CSIRTs?
       15                   A.   And what do you mean by recognize?
       16                   Q.   Well, have you seen them before?
       17                   A.   I don't -- I don't believe so.          I
       18       don't think I was on these e-mails.
       19                   Q.   What's a CSIRT?
       20                   A.   I -- a CSIRT?
       21                   Q.   Do you know what that stands for?
       22                        If you look at the very first page,
       23       in the very first paragraph:          We're looking
       24       forward to having you speak at the workshop on
       25       disinformation and misinformation --



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 178 of 363 PageID #:
                                    12457
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 178


        1                   A.   I'm --
        2                   Q.   -- for African CSIRTs next Tuesday.
        3                   A.   No.   There are a lot of acronyms in
        4       government.      I don't actually recognize this one
        5       off the top of my head.
        6                   Q.   Computer security incident response
        7       team, is that a -- is that what it stands for,
        8       do you think?
        9                        MR. KIRSCHNER:     Objection,
       10       speculative.
       11    BY MR. SAUER:
       12                   Q.   If you know.
       13                   A.   It sounds plausible.
       14                   Q.   And then the other people, on the
       15       state side, participating here, are they members
       16       of the GEC, do you know?         If you look at that
       17       name at the very top, who's sending this e-mail,
       18       kind of organizing the conference, is that a GEC
       19       person?
       20                        MR. KIRSCHNER:     Objection, assuming
       21       evidence not in the record.
       22                   A.   I -- I don't recognize the person
       23       who it's from.
       24                   Q.   How about down there in the -- down
       25       there in the cc line, second line, far right, I



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 179 of 363 PageID #:
                                    12458
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 179


        1       see Samaruddin K. Stewart?
        2                   A.   Yes.
        3                   Q.   Yeah, at that time he was still a
        4       GEC person; fair to say?
        5                   A.   Yes.    Yes.
        6                   Q.   Is he gone now?
        7                   A.   I believe so, yes.
        8                   Q.   Okay.     And then directly below him,
        9       there's another state person; is that a person
       10       associated with GEC?
       11                   A.   I -- I don't know.
       12                   Q.   Were you familiar with this or do
       13       you recall this particular program?
       14                   A.   I -- I don't recall this particular
       15       program.
       16                   Q.   And I guess that we've been talking
       17       about in May of 2021, were you at GEC then or
       18       were you at National Defense University?
       19                   A.   I was still at GEC in May.
       20                   Q.   Okay.     Third page of this --
       21                   A.   Mm-hmm.
       22                   Q.   -- if you go to the bottom of the
       23       page, it's the one marked 12/1/96; do you see
       24       that?
       25                   A.   Yes.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 180 of 363 PageID #:
                                    12459
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 180


        1                   Q.   There's a personnel state there who
        2       I think was the original sender on the first
        3       page; is that a name -- I take it that's a name
        4       you do not recognize?
        5                   A.   No, I don't.
        6                   Q.   So you do not know if she's
        7       associated with GEC?
        8                        MR. KIRSCHNER:     Objection, asked
        9       and answered.
       10                   A.   No.
       11                   Q.   And --
       12                        MR. KIRSCHNER:     Clarify the record,
       13       he's saying -- just -- because he said no on
       14       that question is he does not know, not that
       15       the -- the person is not -- I just thought for
       16       all our purposes it was a little bit of --
       17    BY MR. SAUER:
       18                   Q.   Do you know whether that person is
       19       associated with the GEC?
       20                   A.   I do not know whether that person
       21       is associated with the GEC.
       22                   Q.   Just looking at what she wrote
       23       here, on May 10th:        Hello all, one more set of
       24       answers from participants, these in response to
       25       the question:      What topics do you hope the



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 181 of 363 PageID #:
                                    12460
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 181


        1       workshop will cover; correct?
        2                   A.   Okay.
        3                   Q.   And if you go down to the bottom
        4       bullet point on this page, if you go to the top
        5       one it's about how to combat mis- and
        6       disinformation; correct?
        7                   A.   Yes, that's WHAT it says.
        8                   Q.   And how to mitigate it once viral;
        9       correct?
       10                   A.   Yes.
       11                   Q.   Bottom -- bottom bullet point,
       12       there, says:     Slow response to incidences
       13       escalated to service providers; right?
       14                   A.   That's what it says.
       15                   Q.   So that's an expression of concern
       16       that the service providers aren't responding
       17       when people are raising concerns about content
       18       on their platforms?
       19                        MR. KIRSCHNER:     Objection,
       20       speculative.
       21    BY MR. SAUER:
       22                   Q.   Is that what it seems to say?
       23                   A.   I don't see a reference to content.
       24                   Q.   So what incidences might be
       25       escalated to service providers that don't relate



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 182 of 363 PageID #:
                                    12461
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 182


        1       to content on their platforms?
        2                        MR. KIRSCHNER:     Objection,
        3       hypothetical and speculative.
        4    BY MR. SAUER:
        5                   Q.   You may answer.
        6                   A.   Slow connectivity, malfunctions on
        7       the platform, any number of things.           I don't see
        8       any reference to specify what type of incidents,
        9       here.
       10                   Q.   Okay.   Can you turn to the next
       11       page?
       12                        There's a reference there at the
       13       top bullet point to fact checking techniques and
       14       how to identify disinformation and
       15       misinformation; correct?
       16                   A.   Yes.
       17                   Q.   Does GEC work with any
       18       fact-checking organizations?
       19                   A.   Yes, I believe it does.
       20                   Q.   What -- what does it do?        What sort
       21       of work does it do with fact-checking
       22       organizations?
       23                   A.   I believe the GEC has supported
       24       fact-checking organizations outside of the
       25       United States.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 183 of 363 PageID #:
                                    12462
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 183


        1                   Q.   Has the GEC ever supported
        2       fact-checking organizations inside the United
        3       States?
        4                   A.   I don't believe so.
        5                   Q.   Has the GEC ever worked with
        6       fact-checking organizations that are used as
        7       fact-checkers by social media platforms, like
        8       Twitter, Facebook, Google and so forth?
        9                        MR. KIRSCHNER:     Objection, vague.
       10                   A.   What do you mean by used by?
       11                   Q.   Well, do the social media platforms
       12       consult with the fact checkers on their own?
       13                        MR. KIRSCHNER:     Objection,
       14       speculative.
       15                   A.   I don't know what the social media
       16       companies do with fact-checkers.
       17                   Q.   What fact-checkers do you work
       18       with?
       19                   A.   I believe the Pointer Institute is
       20       the only one I recall.        I don't recall the --
       21       the specific organizations.
       22                   Q.   Where is that?     Where is that
       23       located?
       24                   A.   I don't recall.
       25                   Q.   Is that a foreign or domestic



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 184 of 363 PageID #:
                                    12463
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 184


        1       fact-checking organization?
        2                   A.   I don't -- I don't recall.         I don't
        3       recall anything beyond the name.
        4                   Q.   Okay.   How do you remember that?
        5       In what connection do you remember that name?
        6                   A.   I remember it coming up in either a
        7       meeting or a document.        I don't remember the
        8       specific context.
        9                   Q.   Do you remember how GEC works with
       10       them?
       11                   A.   No, I don't remember the specifics.
       12                   Q.   Do you have any understanding of
       13       how GEC works with fact-checking organizations,
       14       in general?
       15                   A.   I believe it would be identifying
       16       an organization that works in a location where a
       17       foreign propaganda disinformation actor, like
       18       Russia or China, would be active and supporting
       19       them in some fashion.
       20                   Q.   What kind of fashion?
       21                   A.   Support could range from a grant or
       22       a financial support to information sharing or
       23       training in tools and techniques.
       24                   Q.   Okay.   So information sharing,
       25       would that be identifying narratives and things



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 185 of 363 PageID #:
                                    12464
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 185


        1       like that, that they should be aware of?
        2                   A.   I -- I don't know what the
        3       specific, you know, information sharing would
        4       be.
        5                   Q.   So you don't know what kind of
        6       information would be shared between GEC and
        7       international fact-checking organizations or any
        8       fact-checking organization; fair to say?
        9                   A.   No.   I wasn't involved in the
       10       direct back and forth, so I can't speak to
       11       the -- to the specifics.
       12                   Q.   Who was involved on GEC's side, by
       13       title?
       14                   A.   I don't know.
       15                   Q.   Do you know what team would have
       16       engaged -- engages with fact-checking
       17       organizations?
       18                   A.   It would have been one of the three
       19       nation-state focus teams, so probably the
       20       Russian, China, or Iran team.
       21                   Q.   Next bullet point down, second one
       22       on the page:      Proven techniques to take down
       23       these articles.        Does that, in the effectiveness
       24       of fake news checkers, right, so the topics
       25       being raised by this State Department person for



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 186 of 363 PageID #:
                                    12465
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 186


        1       discussion from, I take it, the CSIRT
        2       participants about how to take down these
        3       articles relating to misinformation and
        4       disinformation; correct?
        5                        MR. KIRSCHNER:     Objection,
        6       mischaracterizes.        Well, lack of foundation and
        7       assumes evidence not in the record and
        8       mischaracterizes document.
        9    BY MR. SAUER:
       10                   Q.   Is that what it says?
       11                   A.   Yes, that's what it says.
       12                   Q.   Okay.   And does GEC -- you talk a
       13       lot about tools and techniques, does GEC have
       14       information about how to take down -- techniques
       15       to take down these articles?
       16                   A.   No, not generally, the GEC doesn't
       17       flag and take things down.
       18                   Q.   Do you know what this state
       19       official is referring to when she talks about
       20       proven techniques to take down these articles?
       21                   A.   No.
       22                        MR. KIRSCHNER:     Objection,
       23       speculative.
       24                   A.   No, I don't -- I don't see the
       25       context.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 187 of 363 PageID #:
                                    12466
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 187


        1                   Q.    Okay.    Lower on down there,
        2       international takedown requests, three bullet
        3       points down; correct?
        4                   A.    Yes, I see that.
        5                   Q.    Do you know what that refers to?
        6                   A.    I don't see the additional -- any
        7       additional context here.
        8                   Q.    So you don't know what -- are
        9       you -- are you aware of there being
       10       international -- international takedown requests
       11       presented to social media platforms?
       12                   A.    I'm aware that international
       13       governments would sometimes reach out with
       14       requests.        I know that it's an issue.      It's not
       15       one that generally involve the GEC.
       16                   Q.    What are -- what are international
       17       governments?
       18                   A.    Government of any other country.
       19                   Q.    Okay.    So a government of a foreign
       20       country?
       21                   A.    A foreign government might reach
       22       out to a social media company.
       23                   Q.    And ask them to take something
       24       down?
       25                   A.    Yes.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 188 of 363 PageID #:
                                    12467
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 188


        1                   Q.   But you're saying GEC doesn't do
        2       that?
        3                   A.   No.     No.   That's what I believe
        4       this refers to, international takedown requests.
        5       So a request from a foreign government to a
        6       social media company to -- to remove something.
        7                        MR. SAUER:     Can you give me N?
        8                        I think this is going to be Exhibit
        9       11 that you're being handed.
       10                        (Exhibit No. 11 was marked for
       11       identification.)
       12    BY MR. SAUER:
       13                   Q.   Do you have Exhibit 11 in front of
       14       you?
       15                   A.   I do.
       16                   Q.   And this is an e-mail chain or
       17       actually it's against multiple e-mail chains,
       18       involving CISA and the GEC, from 2020; correct?
       19                   A.   Yes.
       20                   Q.   Okay.     The bottom of the first
       21       page, you see there's an e-mail from a state
       22       official called Alex Dempsey; do you see that?
       23                   A.   I do.
       24                   Q.   Who's Alex Dempsey?
       25                   A.   I believe he's on the I2C2 team, so



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 189 of 363 PageID #:
                                    12468
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 189


        1       the interagency coordination cell.
        2                   Q.   So he's a GEC official?        Sorry --
        3                   A.   Yes, yes, I believe he's a member
        4       of the GEC.
        5                   Q.   And if you flip to the second page,
        6       it looks like he has flagged a, quote, disinfo
        7       campaign on YouTube targeting a DS officer;
        8       what's a DS officer, do you know?
        9                   A.   I believe it would be diplomatic
       10       security.
       11                   Q.   What's a diplomatic security
       12       officer?
       13                   A.   A member of the Diplomatic Security
       14       Office of the State Department.
       15                   Q.   So would that be somebody working
       16       in an embassy abroad or here in Washington,
       17       D.C.?
       18                   A.   It could be either.
       19                   Q.   But it's a state employee of some
       20       kind?
       21                   A.   Yes.
       22                   Q.   And is involved -- says:        Claiming
       23       she brought COVID-19 to something in an athletic
       24       competition; right?
       25                   A.   Right.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 190 of 363 PageID #:
                                    12469
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 190


        1                   Q.   Yeah, and without mentioning this
        2       person's name, he identifies, who, what, when,
        3       where, and why; right?
        4                        MR. KIRSCHNER:     Objection, vague,
        5       assuming evidence not in the record.
        6    BY MR. SAUER:
        7                   Q.   Well, I'm just reading, who, what,
        8       when, where and why, from Mr. Dempsey's e-mail;
        9       do you see that?
       10                   A.   Yes, I do.
       11                        MR. KIRSCHNER:     I don't see the
       12       why.
       13                   A.   I see, who, what, when, where and
       14       why, yes.
       15                   Q.   Okay.   And then the where is
       16       online, and he links a YouTube video?
       17                   A.   Yes.
       18                   Q.   And what is a targeted
       19       disinformation campaign against a state
       20       official; correct?
       21                   A.   Yes.
       22                   Q.   And then, down there in the why, it
       23       talks about there's a false narrative being
       24       pushed online about this person, and there's a
       25       YouTube channel run by Americans falsely



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 191 of 363 PageID #:
                                    12470
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 191


        1       claiming that she is, quote, patient zero, and
        2       that as a US army reservist she brought COVID-19
        3       to Wuhan during an athletic competition;
        4       correct?
        5                   A.   Yes.
        6                   Q.   Is there a theory out there that
        7       COVID-19 originated or spread at an
        8       international athletic competition in Wuhan
        9       during the fall of 2019?
       10                   A.   Apparently, according to the -- to
       11       the -- to the information here.
       12                   Q.   Okay.    And so Mr. Dempsey, of the
       13       GEC, forwarded this to CISA; right?           Do you know
       14       who Robert Schaul is?
       15                   A.   No.
       16                   Q.   He's called Rob.
       17                   A.   No.
       18                   Q.   Do you know who Brian Scully is?
       19                   A.   I believe Brian Scully was either
       20       at or was the head of the disinformation office
       21       at CISA.
       22                   Q.   That's what we've described earlier
       23       as the mis-dis- and mal information team?
       24                   A.   Right.    The -- it was initially, I
       25       think, a task force, and it was subsequently



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 192 of 363 PageID #:
                                    12471
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 192


        1       renamed as the mis-dis- and mal information
        2       team.
        3                   Q.   And Brian Scully here, about a
        4       third of the way down the first page, has a
        5       CISA.DHS.gov e-mail address; correct?
        6                   A.   Yes, correct.
        7                   Q.   So Alex Dempsey's e-mail is taken
        8       by Brian Scully, at CISA, and forwarded to two
        9       Facebook officials; correct?
       10                   A.   Yes.
       11                   Q.   They have FB.com e-mails there?
       12                   A.   Yes.
       13                   Q.   And Scully says to these two
       14       officials:       Please see the below reporting from
       15       our State Department GEC colleagues, Global
       16       Engagement Center colleagues, that's your unit;
       17       right?
       18                   A.   Yes, that's the Global Engagement
       19       Center.
       20                   Q.   Okay.    About a disinformation on
       21       YouTube targeting a diplomatic security officer;
       22       correct?
       23                   A.   Yes.
       24                   Q.   And then one of the Facebook
       25       officials responds, and says:             Thank you so much



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 193 of 363 PageID #:
                                    12472
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 193


        1       for this.        Have flagged for our internal teams;
        2       correct?
        3                   A.    Yes.
        4                   Q.    And so this was a -- a report from
        5       the GEC to CISA about a disinformation campaign
        6       run by Americans; correct?
        7                         MR. KIRSCHNER:      Objection, lack of
        8       foundation, speculative.
        9    BY MR. SAUER:
       10                   Q.    According to the -- according to
       11       the bold paragraph Y on the second page?
       12                         MR. KIRSCHNER:      Again, objection,
       13       lack of foundation.
       14                   A.    It says here that the channel is
       15       run by Americans.        I don't know about the
       16       campaign.
       17                   Q.    So it's the content that he's
       18       complaining about is on a channel, a YouTube
       19       channel, run by Americans; correct?
       20                   A.    That's what the e-mail says, yes.
       21                   Q.    And this gets sent to CISA, who
       22       forwards it onto Facebook, who says:            We have
       23       flagged this for our internal teams; correct?
       24                         MR. KIRSCHNER:      Objection,
       25       speculative, lack of foundation.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 194 of 363 PageID #:
                                    12473
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 194


        1    BY MR. SAUER:
        2                   Q.   Is that what the e-mail says?
        3                   A.   The e-mail went from the Global
        4       Engagement Center to CISA to Facebook.
        5                   Q.   Okay.   And CISA described itself on
        6       its website as, quote, routing disinformation
        7       concerns to social media platforms?
        8                        MR. KIRSCHNER:     Objection,
        9       speculative.
       10                   A.   I don't know how they describe
       11       themselves on their website.
       12                   Q.   Were you aware of this incident
       13       when it happened?
       14                   A.   I don't -- I believe I was aware of
       15       the YouTube video.       I don't know that I was
       16       aware or on the e-mails here.            I -- I do recall
       17       the disinformation involving a diplomatic
       18       security officer.        I do recall that.
       19                   Q.   And this incident in 2020 is
       20       different than the 2018 incident you described
       21       this morning, where you discussed there was a
       22       threat to the life of someone abroad; right?
       23                   A.   They are separate incidents.
       24                   Q.   Yeah, this is two years later, it's
       25       a completely different incident.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 195 of 363 PageID #:
                                    12474
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 195


        1                   A.   Completely different.
        2                   Q.   Were you aware -- what was your
        3       knowledge of this incident when it happened?
        4       Did they ask you for authority to flag this for
        5       CISA or did you hear about it afterwards?             What
        6       was your knowledge at the time?
        7                   A.   I believe I was aware that there
        8       was a disinformation campaign involving a
        9       diplomatic security officer.          I don't see myself
       10       on these e-mails, and I don't recall whether I
       11       was in the internal discussion that led to this
       12       chain.
       13                   Q.   Did you authorize anyone to raise
       14       this with CISA so that they could flag it for a
       15       social media platforms?
       16                   A.   I don't -- I don't recall that.
       17                   Q.   Do you know one way or the other
       18       whether you did that?
       19                   A.   I -- I -- I don't recall.
       20                   Q.   If you flip ahead through this
       21       e-mail chain --
       22                   A.   Mm-hmm.
       23                   Q.   -- see the next page, 7671.
       24                   A.   Okay.     Mm-hmm.
       25                   Q.   Scully, at CISA, takes the same



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 196 of 363 PageID #:
                                    12475
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 196


        1       e-mail chain and forwards it onto Twitter, as
        2       well; correct?
        3                         MR. KIRSCHNER:      Objection, lack of
        4       foundation.
        5                   A.    I -- I see that here.
        6                   Q.    Yeah, and -- and Twitter just
        7       responds:        Thank you, Brian; correct?
        8                   A.    Yes.
        9                   Q.    Then flip ahead to page 7675.
       10                   A.    Okay.
       11                   Q.    This is the Alex Dempsey e-mail
       12       raising this, who what.          When, where, and why,
       13       is forwarded by Scully onto Google, as well;
       14       right?
       15                         MR. KIRSCHNER:      Again, objection,
       16       lack of foundation.
       17    BY MR. SAUER:
       18                   Q.    The top of the page, without
       19       mentioning the name, it's Brian Scully is
       20       forwarding this Alex Dempsey e-mail to a third
       21       social media platform, someone with a Google.com
       22       e-mail address; correct?
       23                   A.    Yes.
       24                   Q.    And that cover page, it says:
       25       Please see below, reporting from colleagues at



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 197 of 363 PageID #:
                                    12476
                            DANIEL KIMMAGE 11/10/2022
                                                                          Page 197


        1       the State Department, Global Engagement Center,
        2       about disinformation on YouTube regarding a
        3       diplomatic security officer; correct?
        4                   A.   Yes.
        5                   Q.   And then it goes on to say:         It
        6       does appear the FBI has been notified --
        7       notified, so you may also have heard from them;
        8       correct?
        9                   A.   Yes.
       10                   Q.   Was this incident -- did the GEC
       11       notify the FBI of this incident?
       12                        MR. KIRSCHNER:     Object.     Go on.
       13                   A.   I don't know.
       14                   Q.   Do you remember that, at all?
       15                   A.   I -- I don't recall.
       16                   Q.   You don't remember any discussions
       17       with the FBI?      I know you say you remember this
       18       incident, at some level.         Do you remember any
       19       interaction with the FBI relating to it?
       20                   A.   I remember the incident.        I don't
       21       recall which interagency entities were
       22       contacted.
       23                   Q.   Okay.   Some were, though, obviously
       24       CISA?
       25                        MR. KIRSCHNER:     Objection,



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 198 of 363 PageID #:
                                    12477
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 198


        1       mischaracterizing testimony.
        2    BY MR. SAUER:
        3                   Q.   Yes or no?
        4                   A.   I'm seeing these e-mails, but I
        5       wasn't on these e-mails.
        6                   Q.   And you don't remember them?
        7                   A.   I wasn't on these e-mails.
        8                   Q.   Do you -- did you authorize the
        9       sending of e-mails like this, with respect to
       10       this incident?
       11                   A.   I don't --
       12                        MR. KIRSCHNER:     Object.     I was
       13       going to say, objection, asked and answered.
       14    BY MR. SAUER:
       15                   Q.   If you know.
       16                   A.   I don't recall.
       17                   Q.   Looking down here at the bottom of
       18       this page, it's another copy of the same Alex
       19       Dempsey e-mail to Rob Schaul.            I can't remember
       20       if you said, do you know who Rob Schaul is?
       21                   A.   No, I do not.
       22                   Q.   And he says:     Rob, our leadership
       23       has asked that we share the below information
       24       with our IA counterparts; right?
       25                   A.   Yes.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 199 of 363 PageID #:
                                    12478
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 199


        1                   Q.   What's -- who's our leadership, do
        2       you know?
        3                   A.   Under the why, I see listed:
        4       Special envoy, Lea Gabrielle, who would have
        5       been the highest ranking official in the office
        6       at that time.      So if she authorized it my
        7       authorization wouldn't be necessary.
        8                   Q.   Okay.   Do you know if Lea
        9       Gabrielle -- I think you testified about her
       10       earlier -- you would have been reporting
       11       directly to her, at this time; right?
       12                   A.   Yes.
       13                   Q.   So we're talking about March 25th,
       14       2020, she was the acting coordinator?
       15                   A.   She was the appointed coordinator.
       16       She was not acting, she was the coordinator.
       17                   Q.   And you were principal deputy
       18       coordinator at the time?
       19                   A.   Yes.
       20                   Q.   And as you say, it looks like Lea
       21       Gabrielle -- in other words, you interpreted --
       22       let me ask you this, and I don't know what you
       23       interpret -- what do you remember?           Do you
       24       remember Lea Gabrielle authorizing people to
       25       flag this for CISA and the FBI?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 200 of 363 PageID #:
                                    12479
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 200


        1                   A.   I do not know.
        2                   Q.   And you don't know who,
        3       specifically, our leadership is, do you?
        4                   A.   I don't know what "our leadership"
        5       refers to here.      Down under the why it refers to
        6       special envoy, Lea Gabrielle.
        7                   Q.   Here in the first sentence, could
        8       that be you or you don't remember?
        9                   A.   It could be, it doesn't specify
       10       what "our leadership" means.
       11                   Q.   And you don't remember whether you
       12       made any authorization about this?
       13                   A.   I don't.
       14                   Q.   And that later made sense, it talks
       15       about share them with our IA counterparts; do
       16       you know what IA stands for?
       17                   A.   Interagency.
       18                   Q.   Okay.   Are you aware of any other
       19       situations where anyone at the GEC flagged
       20       content on a YouTube channel run by Americans to
       21       CISA or a social media platform or the FBI as a
       22       disinformation campaign to be combatted?
       23                   A.   No, I'm not.
       24                   Q.   This is the only incident that you
       25       can recall at this time?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 201 of 363 PageID #:
                                    12480
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 201


        1                        MR. KIRSCHNER:     Objection,
        2       mischaracterizing testimony.
        3                   A.   I'm seeing this in these e-mails,
        4       but I wasn't on these e-mails.           I recall the --
        5       the video and the campaign.         I don't recall
        6       the -- the interagency communications here.
        7                   Q.   That whole campaign about the virus
        8       being spread at an international athletic
        9       competition in Wuhan, was that one of the
       10       China-related false narratives you talked about
       11       earlier?
       12                   A.   I believe it was a minor, like, a
       13       sub-narrative, because it involved, like, an
       14       athletic competition.        But it wasn't one of the
       15       major narratives.
       16                   Q.   How about as -- was it a Russian
       17       narrative?
       18                   A.   I don't recall it as a Russian
       19       narrative.
       20                   Q.   You don't recall it as a major
       21       Chinese narrative or a Russian narrative?
       22                        MR. KIRSCHNER:     Objection,
       23       mischaracterizes testimony.
       24                   A.   I don't recall it as this.         I
       25       recall it as a minor narrative.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 202 of 363 PageID #:
                                    12481
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 202


        1                   Q.   Have you ever heard of the Election
        2       Integrity Partnership?
        3                   A.   Yes.
        4                   Q.   What is that?
        5                   A.   I -- I don't recall the exact
        6       specifics of -- of what it was.
        7                   Q.   What have you heard about it?
        8                   A.   I read the section in the
        9       complaint.
       10                   Q.   Independent of the complaint, do
       11       you have any knowledge of the Election Integrity
       12       Partnership?
       13                   A.   Independent of the complaint, I
       14       recall that it was an entity that someone at the
       15       GEC was in contact with, that's -- that's --
       16       that's the extent.
       17                   Q.   Who was -- who at the GEC was in
       18       contact with it?
       19                   A.   I believe -- I believe it was -- I
       20       believe it was a member of the Russia team.
       21       I -- I think it may have been George Beebe on
       22       the Russia -- George Beebe on the Russia team.
       23                   Q.   How do you spell Beebe?
       24                   A.   B-e-e-b-e.
       25                   Q.   B-e-e-b-e, first name George?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 203 of 363 PageID #:
                                    12482
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 203


        1                   A.   George.
        2                   Q.   G-e-o-r-g-e?
        3                   A.   Right.
        4                   Q.   What makes you think it was him?
        5                   A.   I seem to remember he was the
        6       individual who -- who -- who was engaged with
        7       the -- what did you call it, the Election
        8       Integrity Partnership, right?
        9                   Q.   Yes.
       10                   A.   Okay.
       11                   Q.   I'll call it the EIP from now on.
       12                   A.   Okay.
       13                   Q.   You remember that he was engaged in
       14       that, how did you know that?          How did you know
       15       he was engaged in that?
       16                   A.   I think it was sort of reported at
       17       a meeting.       I don't recall the exact context.
       18                   Q.   Do you know who authorized him to
       19       be involved in it?
       20                   A.   No, I don't know who -- who -- who
       21       authorized it.
       22                   Q.   Do you know what the nature of his
       23       involvement was, like, what did he do with
       24       respect to the EIP?
       25                   A.   No.     I know he had some



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 204 of 363 PageID #:
                                    12483
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 204


        1       communication with him.        I don't know the
        2       specifics of his involvement.
        3                   Q.   Okay.   Do you know what the EIP
        4       was?
        5                   A.   Only broadly, that it was a
        6       partnership to counter, I think, our -- our --
        7       our involvement would have been foreign
        8       propaganda and disinformation focused on the
        9       election or elections.        I don't recall.
       10                   Q.   Do you know what Mr. Beebe or
       11       whoever it was -- I take it you think it was
       12       Mr. Beebe, but you're not sure?
       13                   A.   I think it was him, but I'm not
       14       sure.
       15                   Q.   Okay.   Whoever it was involved,
       16       your understanding is they would be involved in
       17       flagging foreign disinformation relating to the
       18       election?
       19                        MR. KIRSCHNER:     Objection, assuming
       20       evidence not in the record, mischaracterizes
       21       testimony.
       22                   A.   I -- I -- I don't recall the exact
       23       nature of their involvement.
       24                   Q.   Okay.   So you -- earlier, when you
       25       said:    Our involvement would have been --



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 205 of 363 PageID #:
                                    12484
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 205


        1                   A.   Right.
        2                   Q.   -- flagging foreign disinformation
        3       or raising foreign disinformation concerns,
        4       what's your basis for that?
        5                   A.   I said:    Our involvement would have
        6       been related to foreign propaganda.
        7                   Q.   Okay.
        8                   A.   And the basis for that is the GEC's
        9       mandate.
       10                   Q.   In other words, that's what the GEC
       11       does, generally, but you don't have any specific
       12       knowledge with respect to what Mr. Beebe did?
       13                   A.   No, I don't recall anything
       14       specific about what he did.
       15                   Q.   Do you know who authorized the GEC
       16       to be involved in the EIP, at all?
       17                        MR. KIRSCHNER:     Objection, assumes
       18       evidence not in the record.
       19                   A.   I don't.
       20                   Q.   Did someone authorize it or did
       21       Mr. Beebe just kind of do it on his own?
       22                   A.   I don't recall who -- who
       23       authorized it.
       24                   Q.   Yeah, okay.
       25                        MR. SAUER:    Can I have P?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 206 of 363 PageID #:
                                    12485
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 206


        1                        This is going to be, I think,
        2       Exhibit 12.      Is that right, 12?
        3                        (Exhibit 12 was marked for
        4       identification.)
        5                        MR. KIRSCHNER:     Mr. Sauer, just --
        6       the water's now starting to drip towards the
        7       table.      Do you want to take a two-minute break
        8       to wipe off the --
        9                        MR. SAUER:    That didn't work very
       10       well.
       11                        MR. KIRSCHNER:     We can get a
       12       napkin.     I won't put this one in my manilla
       13       folder.
       14                        MR. SAUER:    You should have rubber
       15       bands.
       16                        MR. KIRSCHNER:     We're going to ask
       17       the witness to read the entire document, and
       18       that will be the seven hours.
       19                        I'm joking, but I do want to allow
       20       the witness, when you have something -- when you
       21       have something that you're asking, specifically,
       22       to have -- allow the witness to have sufficient
       23       time to understand the context.
       24                        MR. SAUER:    That's okay, only a few
       25       pages that are --



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 207 of 363 PageID #:
                                    12486
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 207


        1                        MR. KIRSCHNER:     Okay.
        2    BY MR. SAUER:
        3                   Q.   Have you seen this report before?
        4                   A.   I believe I've seen the cover of
        5       it.
        6                   Q.   Okay.   In what connection did you
        7       see the cover of it?
        8                   A.   It may have been a news thing.          I
        9       don't recall the exact context.
       10                   Q.   Was it in context of a GEC meeting
       11       or was it just, you know, seeing it somewhere
       12       else?
       13                   A.   It could have been both.
       14                   Q.   Okay.   You just don't remember?
       15                   A.   I don't.    I think I did see media
       16       coverage, and it may also have come up at a GEC
       17       meeting.
       18                   Q.   And is this the report that the EIP
       19       did about its activities in 2020, with respect
       20       to disinformation on social media?
       21                   A.   Yes, that's what it appears to be.
       22                   Q.   It's quite a lengthy report, about
       23       292 pages; fair to say?
       24                   A.   Yes.
       25                   Q.   Before today, have you read any of



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 208 of 363 PageID #:
                                    12487
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 208


        1       this?
        2                   A.   I had glanced at the -- I think the
        3       executive summary.
        4                   Q.   When did you do that?
        5                   A.   I don't recall.      I think it may
        6       have been when it came out, but I don't recall
        7       exactly.
        8                   Q.   And when it came out, I think, is
        9       that identified on the second page or this only
       10       says 2021, third page, I think it says it came
       11       out in June 15th, 2021?
       12                   A.   June 15th, 2021.
       13                   Q.   Do you think you looked at it at
       14       that time?
       15                   A.   Or maybe after that, that was
       16       almost exactly when I was leaving the Global
       17       Engagement Center.
       18                   Q.   Did you look at it more recently,
       19       like, for example, before your testimony today?
       20                   A.   I think I looked at the -- the --
       21       the -- like the front, the cover.
       22                   Q.   The cover?
       23                   A.   Yeah.
       24                   Q.   You may have --
       25                   A.   I did not read the whole report.          I



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 209 of 363 PageID #:
                                    12488
                            DANIEL KIMMAGE 11/10/2022
                                                                         Page 209


        1       did not read the whole report.
        2                   Q.   Well, let me -- let me kind of walk
        3       you through some questions, and obviously if you
        4       haven't read it before, you know, if you don't
        5       know the answer, if you don't know, let me know.
        6                        But just -- can you go to page V,
        7       the first page of the executive summary, little
        8       Roman five.
        9                   A.   Okay.
       10                   Q.   There's a -- in the bottom
       11       paragraph there, there's a statement that the
       12       EIP -- this is the EIP talking about its own
       13       activities, quote, bridge the gap between
       14       government and civil society, end quote, help to
       15       strengthen platform standards for combatting an
       16       election-related misinformation.
       17                        Do you know -- do you have any
       18       knowledge of helping strengthen platform
       19       standards for combatting disinformation?
       20                        MR. KIRSCHNER:     Objection, vague.
       21    BY MR. SAUER:
       22                   Q.   Do you know what they're talking
       23       about there?
       24                   A.   No.     I'm not going to -- I -- I --
       25       I can't interpret beyond the words here.             I



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 210 of 363 PageID #:
                                    12489
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 210


        1       don't know.
        2                   Q.   Okay.   Higher up in the page, it
        3       says:    Dozens of federal agencies support this
        4       effort, including CISA.         Do you know if CISA's
        5       involved in the EIP?
        6                        MR. KIRSCHNER:     Objection,
        7       speculative.
        8    BY MR. SAUER:
        9                   Q.   If you know.
       10                   A.   I don't know any of the specifics
       11       of CISA's involvement with the EIP.
       12                   Q.   Next page, page little Roman six,
       13       at the very top, it talks about how the EIP was
       14       formed to enable realtime information exchange
       15       between election officials, government agencies,
       16       and others, including social media platforms;
       17       correct?
       18                   A.   That's what it says, yes.
       19                   Q.   Do you know of any other
       20       arrangements for realtime information exchange
       21       between government agencies and social media
       22       platforms?
       23                   A.   What -- what -- could you -- could
       24       you be more specific?
       25                   Q.   Well, can you think of anything



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 211 of 363 PageID #:
                                    12490
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 211


        1       that you would describe as a realtime
        2       information exchange between government
        3       officials and social media platforms, any
        4       arrangement?
        5                   A.   Well, what do you mean by realtime?
        6                   Q.   Well, stuff that's -- anything that
        7       raises concerns as they're occurring on social
        8       media?
        9                   A.   I'm not aware of any standing
       10       arrangement like that at the GEC.           I can't speak
       11       to other parts of government.
       12                   Q.   At the bottom of this page, there's
       13       bullet points, you see there's four bullet
       14       points there, and the last one is:
       15       Delegitimization of election results; do you see
       16       that?
       17                   A.   Yes.
       18                   Q.   It talks about content aiming to
       19       delegitimize election results on the basis of
       20       false or misleading claims; right?
       21                   A.   Yes.
       22                   Q.   Are you aware of Mr. Beebe raising
       23       concerns about delegitimization of election
       24       results?
       25                   A.   No, I don't -- no, I'm not aware.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 212 of 363 PageID #:
                                    12491
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 212


        1                   Q.   Or anyone else at GEC raising those
        2       kinds of concerns to the EIP?
        3                        MR. KIRSCHNER:     Objection, lack of
        4       foundation.
        5                   A.   No, I'm not aware of any of the
        6       specifics of interactions between GEC members
        7       and the EIP.
        8                   Q.   Next paragraph down, last line of
        9       the page, it says:       Of the tickets we, the EIP,
       10       processed 72 percent were related to
       11       delegitimization of the election; correct?
       12                   A.   That's what it says.
       13                   Q.   So it sounds like it was processing
       14       complaints that had to do with attacking the
       15       legitimacy of the 2020 election?
       16                        MR. KIRSCHNER:     Objection, lack of
       17       foundation.
       18                   A.   That's what it says here, yes.
       19                        MR. KIRSCHNER:     John, we've been --
       20       Mr. Sauer, we've been going over an hour, so we
       21       should take a break sometime soon.
       22                        MR. SAUER:     That's fine with me.
       23                        THE WITNESS:     Yeah, let's take a --
       24                        MR. SAUER:     That's fine.     If the
       25       witness wants a break, we can do it.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 213 of 363 PageID #:
                                    12492
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 213


        1                        Can we keep it at five minutes or
        2       so?
        3                        MR. KIRSCHNER:     Yeah.
        4                        MR. SAUER:    Let's keep moving
        5       forward.
        6                        THE VIDEOGRAPHER:       The time is 2:31
        7       p.m.   We are off the record.
        8                        (Recess.)
        9                        THE VIDEOGRAPHER:       The time is 2:40
       10       p.m.   We're back on the record.         Please proceed.
       11    BY MR. SAUER:
       12                   Q.   Still in Exhibit 12, can you flip
       13       ahead to page XI little Roman 11.
       14                   A.   Okay.
       15                   Q.   Do you see there's a note there
       16       that lists about 15 social media platforms?
       17                   A.   Yes.
       18                   Q.   Eyeballing that list, are you aware
       19       of anyone from the GEC interacting with anyone
       20       from any of those social media platforms in
       21       connection with the EIP?
       22                        MR. KIRSCHNER:     Objection, lack of
       23       foundation, speculative.
       24                   A.   I'm not aware of any specific GEC
       25       interactions related both to the EIP and the



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 214 of 363 PageID #:
                                    12493
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 214


        1       platforms listed here.
        2                   Q.   Okay.    So you anticipate my next
        3       question is:      You don't know of anyone at GEC
        4       reaching out to EIP in connection with any of
        5       these platforms; fair to say?
        6                   A.   I -- I don't have any information
        7       about anyone at the GEC reaching out to these
        8       platforms in connection with the EIP.
        9                   Q.   Do you have any specific
       10       information about GEC's involvement in the EIP?
       11                   A.   Not that I recall.      I recall a
       12       general engagement with the EIP.           I don't recall
       13       the specifics of it.
       14                   Q.   Do you recall anything other than
       15       the fact that there was a general engagement
       16       with the EIP?
       17                   A.   No.     I recall the GEC was engaging
       18       with the partnership, but I don't -- I don't
       19       recall any specifics.
       20                   Q.   And do you know -- I know you
       21       mentioned Mr. Beebe?
       22                   A.   Right.
       23                   Q.   Do you know if there was more than
       24       one person or whether it was just one person?
       25                   A.   I remember his name in connection



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 215 of 363 PageID #:
                                    12494
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 215


        1       with it, and we also had an individual who --
        2       who liaised on election-related issues, but I
        3       don't recall whether she engaged with the EIP.
        4                   Q.   Who -- what was her name?
        5                   A.   Her name was Adele Ruppe.
        6                   Q.   And is she still there at the GEC?
        7                   A.   No.
        8                   Q.   Why did she -- why did she engage
        9       on election issues?       You said she engaged on
       10       election issues, tell us what that involves?
       11                   A.   She would attend interagency
       12       meetings on safeguarding the security of the
       13       elections.
       14                   Q.   Okay.   And what agencies did she
       15       meet with?
       16                   A.   I -- I don't recall, it would be
       17       probably the full range of national security
       18       agencies.
       19                   Q.   And you say she attended
       20       interagency meetings on safeguarding the
       21       security of elections.        Were those American
       22       elections, specifically?
       23                   A.   Yes, I believe so.
       24                   Q.   So we're not talking about
       25       elections in foreign countries.          She was on



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 216 of 363 PageID #:
                                    12495
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 216


        1       meetings that discussed safeguarding the
        2       security of American elections; is that right?
        3                   A.   Yes, I believe so.
        4                   Q.   And -- and you think she may have
        5       had some connection or involvement with the EIP?
        6                        MR. KIRSCHNER:     Objection,
        7       mischaracterizes testimony.
        8                   A.   I -- I simply don't know.
        9                   Q.   You don't know?      How did -- and
       10       maybe I'm just forgetting.         How did -- why did
       11       you bring up her name just now, because you
       12       thought she might have had that interaction?
       13                   A.   Because she was the other -- she
       14       was the GEC person who held the portfolio on
       15       election security-related issues.
       16                   Q.   Okay.   What else was involved in
       17       that portfolio, the election security portfolio
       18       for GEC, other than going to interagency
       19       meetings with other federal agencies?
       20                   A.   I believe it was almost entirely
       21       focused on interagency meetings.
       22                   Q.   Do you know if she raised concerns
       23       about election security in those meetings or did
       24       she merely listen?
       25                        MR. KIRSCHNER:     Objection,



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 217 of 363 PageID #:
                                    12496
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 217


        1       speculative.
        2    BY MR. SAUER:
        3                   Q.   If you know.
        4                   A.   I don't know the exact nature of
        5       her interactions in those meetings.
        6                   Q.   What other activities, if any, does
        7       the GEC conduct with respect to election
        8       security?
        9                        MR. KIRSCHNER:     Objection, vague,
       10       ambiguous.
       11                   A.   The GEC, as I recall, was primarily
       12       in listening mode, on occasion it might discuss,
       13       you know, general Russian or Chinese or other,
       14       you know, foreign disinformation actors.             And as
       15       I've noted, the narratives are the tools and
       16       techniques that they use.
       17                   Q.   And would those be narratives,
       18       tools and techniques that relate to kind of
       19       destabilizing or disrupting American domestic
       20       elections?
       21                        MR. KIRSCHNER:     Objection.
       22    BY MR. SAUER:
       23                   Q.   If you know.
       24                   A.   I don't recall any specific
       25       narratives.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 218 of 363 PageID #:
                                    12497
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 218


        1                   Q.   Okay.     And you don't know whether
        2       that individual with the election security
        3       portfolio for GEC had any direct involvement
        4       with the EIP?
        5                   A.   I don't, no.
        6                   Q.   But you think that she may have
        7       because of the nature -- just because of the
        8       nature of her portfolio, this was
        9       election-related, she was the election person,
       10       therefore, she may have been involved in this?
       11                   A.   Yes, that's possible.
       12                   Q.   Next page, XII little Roman 12.
       13                   A.   Mm-hmm.
       14                   Q.   List of contributors at the very
       15       bottom, it says that the EIP would like to thank
       16       Matthew Masterson; do you know who he is?
       17                   A.   No, I don't.
       18                   Q.   Have you ever heard that name
       19       before, to your recollection?
       20                   A.   I don't know.      Is he listed in the
       21       complaint?       I don't -- I don't -- I don't really
       22       know.
       23                   Q.   Okay.     I was just curious if you
       24       know.
       25                   A.   No.     No idea.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 219 of 363 PageID #:
                                    12498
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 219


        1                   Q.    Okay.     Next page, XIII, little
        2       Roman 13.        There's acknowledgments which are
        3       basically thanking the people who funded the
        4       EIP.
        5                   A.    Mm-hmm.
        6                   Q.    Do you know who funded the EIP?
        7                   A.    No, I don't.
        8                   Q.    Okay.     And there's four -- four
        9       entities involved in it; were you aware of that,
       10       that are listed here?
       11                         MR. KIRSCHNER:      Can you point us to
       12       where you're referring to?
       13    BY MR. SAUER:
       14                   Q.    Digital Research Forensic Lab of
       15       the Atlantic Council, in bold, Graphika, in
       16       bold, Stanford Internet Observatory, in bold,
       17       and university of Washington Center For an
       18       Informed Public, in bold; do you see those four
       19       entities?
       20                         MR. KIRSCHNER:      All right.
       21                   A.    Yes.
       22                   Q.    Were you aware that they were
       23       involved in the EIP?
       24                   A.    I'm only seeing this here, I
       25       don't -- I don't recall who was involved in the



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 220 of 363 PageID #:
                                    12499
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 220


        1       EIP.
        2                   Q.   Okay.   Well, then, down at the
        3       bottom of the page, last sentence, third line
        4       from the bottom, researchers who contributed to
        5       the EIP also received partial support from the
        6       US National Science Foundation; correct?
        7                   A.   I -- I see that in here.
        8                   Q.   So that's government funding, at
        9       least in part, for the EIP; correct?
       10                        MR. KIRSCHNER:     Objection, lack of
       11       foundation.
       12    BY MR. SAUER:
       13                   Q.   Is that what it says?
       14                        MR. KIRSCHNER:     Speculation.
       15                   A.   I see what it -- that's what it
       16       says here, yes.
       17                   Q.   Were you aware of -- are you aware
       18       of government funding for the EIP from any other
       19       source?
       20                   A.   No.
       21                   Q.   Are you aware of government funding
       22       for the EIP from any State Department source?
       23                   A.   No.
       24                   Q.   Are you aware of government funding
       25       or support for the EIP from anyone at CISA?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 221 of 363 PageID #:
                                    12500
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 221


        1                   A.   No.
        2                   Q.   Generally speaking, you -- you
        3       don't know who funded it, essentially; is that
        4       fair to say?
        5                   A.   Yes, I don't know.
        6                   Q.   Were there ever any discussions at
        7       State about funding it or supporting it, that
        8       you recall?
        9                   A.   I don't recall any discussions
       10       about funding or supporting it.
       11                   Q.   If you flip ahead a few pages, to
       12       Arabic page 2, do you see at the beginning of
       13       the second full paragraph, where it says:             The
       14       initial idea?
       15                   A.   Mm-hmm.
       16                   Q.   The initial idea for the
       17       partnership, that's the EIP, came from four
       18       students that the Stanford Internet Observatory
       19       funded to complete volunteer internships at CISA
       20       at the Department of Homeland Security; correct?
       21                        MR. KIRSCHNER:     Objection, lack of
       22       foundation.
       23    BY MR. SAUER:
       24                   Q.   Is that what it says?
       25                   A.   I see that, yes, that's what it



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 222 of 363 PageID #:
                                    12501
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 222


        1       says.
        2                   Q.   Okay.   And then, were you aware of
        3       CISA interns originating the idea for this EIP?
        4                   A.   No, I was not.
        5                   Q.   Were you -- did anyone at the State
        6       Department contribute to the origination of --
        7       of EIP?
        8                        MR. KIRSCHNER:     Objection, lack of
        9       foundation.
       10                   A.   I'm not aware of any State
       11       Department involvement.
       12                   Q.   So it appears that it was partly
       13       funded by the government, and that it was -- the
       14       idea was originated by government workers at the
       15       time; correct?
       16                        MR. KIRSCHNER:     Objection, lack of
       17       foundation.
       18    BY MR. SAUER:
       19                   Q.   Is that what it says?
       20                   A.   I --
       21                        MR. KIRSCHNER:     Objection,
       22       mischaracterizing testimony.
       23                   A.   I -- I see what it says here.
       24                   Q.   Yeah.   Go down further in that
       25       paragraph, and specifically that's what it says;



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 223 of 363 PageID #:
                                    12502
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 223


        1       right?      It says that it was originated by people
        2       who were working for CISA at the time; correct?
        3                        MR. KIRSCHNER:      Objection, asked
        4       and answered, mischaracterizing the evidence.
        5    BY MR. SAUER:
        6                   Q.   Is that what it says?
        7                   A.   It says that:      Stanford funded the
        8       students to complete internships, not that CISA
        9       funded them.      It says the Stanford Internet
       10       Observatory funded to complete.
       11                   Q.   Right, the internships were funded.
       12                   A.   By Stanford.
       13                   Q.   Right.    And they were volunteer
       14       internships at CISA.        So CISA interns who were
       15       funded by Stanford --
       16                   A.   Right.
       17                   Q.   -- originated the idea for the EIP?
       18       I'm just asking if that's what it says.
       19                   A.   Yes, that is what it says here,
       20       yes.
       21                   Q.   Okay.    Lower down on in the same
       22       paragraph:       This is especially true; do you see
       23       that sentence?       Actually, immediately before
       24       that, it says:       No government agency in the
       25       United States has the explicit mandate to



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 224 of 363 PageID #:
                                    12503
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 224


        1       monitor and correct mis and disinformation;
        2       correct?
        3                   A.   Yes.
        4                   Q.   And it goes on to say:       This is
        5       especially true for election disinformation that
        6       originates from within the United States, which
        7       would likely be excluded from law enforcement
        8       action under the First Amendment and not
        9       appropriate for study by intelligence agencies
       10       restricted from operating inside the United
       11       States; correct?
       12                   A.   That's what it says, yes.
       13                   Q.   Okay.   And are you aware of any
       14       discussions at GEC of, you know, setting up a
       15       collaboration with nongovernmental third parties
       16       to engage in activities that the GEC would be
       17       prohibited from engaging in under the First
       18       Amendment?
       19                        MR. KIRSCHNER:     Objection, to the
       20       extent this is asking for attorney-client
       21       information, I would instruct the witness not to
       22       answer, to the extent you can answer without --
       23    BY MR. SAUER:
       24                   Q.   Yeah, I'm not asking for anything
       25       the lawyers told you in the context of



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 225 of 363 PageID #:
                                    12504
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 225


        1       representing you.       I'm just asking for
        2       conversations within the GEC about working with
        3       outside third parties to conduct activities that
        4       the GEC could not do because of First Amendment
        5       restrictions.
        6                        MR. KIRSCHNER:     Again, objection,
        7       I'm instructing the witness not to answer to
        8       include any attorney-client communication within
        9       the Department of State about what can and
       10       cannot be done.
       11                        MR. SAUER:     I'm not asking for
       12       that.
       13                        Go ahead.
       14                        MR. KIRSCHNER:     Well, no, I'm
       15       instructing him not to answer about -- about
       16       attorney-client communication, to the extent he
       17       can answer that is outside of any legal
       18       advice --
       19                        THE WITNESS:     Right.
       20                        MR. KIRSCHNER:     -- received in the
       21       context of this question, he can answer.
       22                   A.   Outside of legal advice, I'm not
       23       aware of any conversations at the GEC that would
       24       involve any infringement on First Amendment
       25       rights.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 226 of 363 PageID #:
                                    12505
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 226


        1                   Q.   Flip ahead to page 6, Arabic 6.
        2                        Do you see there's a kind of list
        3       of the goals of the Election Integrity
        4       Partnership?
        5                   A.   Yes.
        6                   Q.   Are you aware of the GEC having any
        7       input in the formulation of their goals?
        8                        MR. KIRSCHNER:     Objection,
        9       speculative, asked and answered.
       10    BY MR. SAUER:
       11                   Q.   Are you aware?
       12                   A.   No, I'm not aware of any GEC input
       13       into these goals.
       14                   Q.   Bottom left corner of this page, of
       15       this diagram, you see it says:           Flag policy
       16       violations for platforms; correct?
       17                   A.   Yes.
       18                   Q.   Okay.   Are you aware of anyone at
       19       the GEC working with EIP to flag policy
       20       violations for platforms?
       21                        MR. KIRSCHNER:     Objection,
       22       speculative, asked and answered.
       23                   A.   No, I'm not aware.
       24                   Q.   Flip ahead to page 8, it talks
       25       about how the EIP tracked its analysis topics



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 227 of 363 PageID #:
                                    12506
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 227


        1       and engaged it with outside stakeholder
        2       organizations using an internal ticketed work
        3       flow management system; correct?
        4                   A.   Where is this?
        5                   Q.   I'm sorry, very bottom, full
        6       paragraph?
        7                   A.   Okay.
        8                   Q.   Second sentence -- or sorry --
        9       first sentence there.
       10                   A.   Okay.
       11                   Q.   Third sentence, there, goes on to
       12       say:   Tickets were submitted by trusted external
       13       stakeholders, as detailed in section 1 -- sorry,
       14       1.4 and internal EIP analyst; do you see that?
       15                   A.   I do see that.
       16                   Q.   Do you know who the trusted
       17       external stakeholders were who were submitting
       18       tickets to the EIP?
       19                        MR. KIRSCHNER:     Objection,
       20       speculative, asked and answered.
       21    BY MR. SAUER:
       22                   Q.   Do you know?
       23                   A.   No, I do not.
       24                   Q.   Now, there's a reference there to
       25       section 1.4 on page 11, right?           There it



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 228 of 363 PageID #:
                                    12507
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 228


        1       identifies external stakeholders; correct?
        2                   A.   Yes.
        3                   Q.   And there it starts saying:         The
        4       EIP served as a connector for many stakeholders
        5       and so forth; right?
        6                   A.   Mm-hmm.
        7                   Q.   The next sentence, which is on page
        8       12, first full sentence on page 12, said:
        9       External stakeholders included government, civil
       10       society, social media companies and news media
       11       companies; correct?
       12                   A.   Yes.
       13                   Q.   Okay.     And so the external
       14       stakeholders include some governmental entities
       15       correct?
       16                   A.   Yes.
       17                   Q.   According to the report?
       18                        Is the GEC one of them?
       19                        MR. KIRSCHNER:     Objection, lack of
       20       foundation, speculative.
       21                   A.   I -- I see the GEC listed here,
       22       yes.
       23                   Q.   Down there under four, you're
       24       getting ahead of me, down there under four,
       25       major stakeholder groups; right?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 229 of 363 PageID #:
                                    12508
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 229


        1                   A.   Yes.
        2                   Q.   And those external stakeholders are
        3       the ones listed in the reports as government
        4       partners, quote, could create tickets or send
        5       notes to EIP analysts, and they used these
        6       procedures to flag incidents or emerging
        7       narrative to be assessed for EIP analysis?
        8                        MR. KIRSCHNER:     Objection,
        9       mischaracterizes evidence, lack of foundation.
       10    BY MR. SAUER:
       11                   Q.   Do you see where it says that in
       12       the first sentence, in the first full paragraph
       13       of this page, exactly as I read it?
       14                   A.   I do see that.
       15                   Q.   Was the GEC one of those government
       16       partners who could create tickets or send notes
       17       to EIP analysts and use those procedures to flag
       18       incidents or emerging narratives?
       19                        MR. KIRSCHNER:     Objection,
       20       speculative.
       21    BY MR. SAUER:
       22                   Q.   Do you know?
       23                   A.   I don't know, beyond what's written
       24       here.
       25                   Q.   Okay.   And down there in the middle



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 230 of 363 PageID #:
                                    12509
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 230


        1       of the diagram, in the middle, where it
        2       identifies four major stakeholder groups, the
        3       first one is government; right?
        4                   A.   Yes.
        5                   Q.   And there's three partners listed,
        6       the elections infrastructure, ISAC; do you know
        7       what that is?
        8                   A.   No, I don't.
        9                   Q.   And CISA; correct?
       10                   A.   Yes.
       11                   Q.   And then GEC; correct?
       12                   A.   Yes.
       13                   Q.   So GEC is at least identified in
       14       this report as a major stakeholder group;
       15       correct?
       16                   A.   It's listed as a member of a major
       17       stakeholder group, yes.
       18                   Q.   Right, right, right, it's one of
       19       three members of a major stakeholder group.              And
       20       the report says that external stakeholders,
       21       trusted stakeholders, include government;
       22       correct, up there at the top?
       23                   A.   Yes.
       24                   Q.   And that those stakeholders,
       25       including government partners, could submit



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 231 of 363 PageID #:
                                    12510
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 231


        1       tickets to the EIC; right?
        2                   A.   Yes.
        3                        MR. KIRSCHNER:     Objection, lack of
        4       foundation.
        5    BY MR. SAUER:
        6                   Q.   Did anyone authorize -- do you
        7       remember anyone authorizing anyone at GEC to
        8       submit tickets to the EIP?
        9                        MR. KIRSCHNER:     Objection, lack of
       10       foundation, mischaracterizes evidence.
       11                   A.   No, I don't recall that.
       12                   Q.   Did you authorize that?
       13                   A.   I don't recall authorizing it.
       14                   Q.   Who was that?     Who was in charge
       15       of -- like, who was in charge of GEC during the
       16       period from, you know, the three months prior to
       17       the 2020 election?
       18                   A.   It would have been coordinator Lea
       19       Gabrielle.
       20                   Q.   Okay.   Do you know if she ever
       21       issued any orders about the GEC of any kind.
       22                   A.   If she issued any orders about the
       23       GEC of any kind?
       24                   Q.   Yeah, do you know if she did?         Do
       25       you know if she gave any directive to anyone --



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 232 of 363 PageID #:
                                    12511
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 232


        1       sorry -- do you know if she gave any directive
        2       to anyone at GEC about EIP of any kind?
        3                   A.   No, I don't.
        4                   Q.   Can you turn to the next page.
        5                        Do you see how there's a section
        6       there called EI-ISAC?
        7                   A.   Yes.
        8                   Q.   Do you know what EI-ISAC is?
        9                   A.   No.
       10                   Q.   There, it says:      The election
       11       infrastructure information sharing and analysis
       12       center -- analysis center, which is run by The
       13       Center For Internet Security; do you know what
       14       that is?
       15                   A.   No, I do not.
       16                   Q.   Are you aware of any relationship
       17       between The Center For Internet Security and
       18       CISA?
       19                   A.   No.
       20                   Q.   Can you turn to page 17, talks
       21       about using platforms, in the middle of the
       22       page, under there it says:         The EIP established
       23       relationships with social media platforms to
       24       facilitate flagging of incidents for evaluation
       25       when content or behavior appeared to violate



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 233 of 363 PageID #:
                                    12512
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 233


        1       platform policies; correct?
        2                   A.   Yes.
        3                   Q.   So the EIP wanted to facilitate
        4       flagging of incidents for evaluation when there
        5       appeared to be a content modulation policy; is
        6       that what it's saying?
        7                        MR. KIRSCHNER:     Objection, lack of
        8       foundation.
        9                   A.   No.     It's saying flagging of
       10       incidents for evaluation when content or
       11       behavior appeared to violate platform policies;
       12       it doesn't say anything about modulation.
       13                   Q.   Okay.     Are you aware of anyone at
       14       the GEC flagging incidents for evaluation of any
       15       kind for -- for social media platforms?
       16                        MR. KIRSCHNER:     Objection to form.
       17    BY MR. SAUER:
       18                   Q.   Let me rephrase that.
       19                        Are you aware of anyone at the GEC,
       20       quote, flagging of incidents for evaluation for
       21       social media platforms in any way?
       22                   A.   Not that I recall.
       23                   Q.   Can you flip ahead to page 27?
       24                   A.   Mm-hmm.
       25                   Q.   If you see under key findings, it



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 234 of 363 PageID #:
                                    12513
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 234


        1       says:    We processed 639 in-scope tickets?
        2                   A.   Yes.
        3                   Q.   And then it says, 72 percent of
        4       these tickets were related to delegitimizing the
        5       election results; correct?
        6                   A.   Yes.
        7                   Q.   Then down at the bottom, it says:
        8       35 percent of the URLs we shared with Facebook,
        9       Instagram, Twitter, TikTok and YouTube were
       10       either labeled removed or soft blocked; correct?
       11                   A.   I see that, yes.
       12                   Q.   So their data indicates that they
       13       processed hundreds of tickets, 72 percent of
       14       them related to delegitimizing of election
       15       results; correct?
       16                   A.   Yes.
       17                   Q.   And then some sort of action was
       18       taken by the social media platforms, either
       19       labeling, removing, or soft blocking 35 percent
       20       of them?
       21                        MR. KIRSCHNER:     Objection, lack of
       22       foundation, speculative.
       23                   A.   Yes, I see that sentence.
       24                   Q.   Did GEC have any involvement in
       25       seeking the soft blocking, removal or -- or --



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 235 of 363 PageID #:
                                    12514
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 235


        1       or other action against any content on the
        2       internet?
        3                        MR. KIRSCHNER:     Objection,
        4       speculative, asked and answered.
        5                   A.   I'm not -- I don't know of any GEC
        6       actions of that type.
        7                   Q.   Can you go to page 30?       And I've
        8       got a kind of internal communication, electronic
        9       communication chain here, between the government
       10       partner, a platform partner, and EIP member; do
       11       you see that?
       12                   A.   I do.
       13                   Q.   And the government -- the platform
       14       partner and government partner are redacted over
       15       the person who was actually participating in the
       16       conversation; do you know who those were?
       17                        MR. KIRSCHNER:     Objection,
       18       speculative.
       19                   A.   No, I don't.
       20                   Q.   Could you go to page 33?        Do you
       21       see in the second paragraph there, at the
       22       bottom, there's a reference to the
       23       gatewaypundit.com?
       24                   A.   Where is this?
       25                   Q.   Second paragraph, last sentence.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 236 of 363 PageID #:
                                    12515
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 236


        1                   A.   Yes, I see that.
        2                   Q.   And it says:     The top
        3       misinformation-spreading websites were the far
        4       right forum theDonald.win, blah, blah, blah,
        5       blah, blah, and the gatewaypundit.com, a far
        6       right news website?
        7                   A.   I see that.
        8                   Q.   Have you ever heard of the
        9       gatewaypundit.com?
       10                   A.   I may have.     I don't -- I don't
       11       recall any details.
       12                   Q.   Have you ever heard it discussed in
       13       any meetings with any government officials?
       14                   A.   No, I don't recall.
       15                   Q.   And would it surprise you to learn
       16       that it's cited 49 times in this report?
       17                        MR. KIRSCHNER:     Objection, lack of
       18       foundation, speculative.
       19                   A.   I -- I have no -- it doesn't
       20       surprise me or not surprise me.
       21                   Q.   Do you know -- do you remember any
       22       discussion of any kind relating to the
       23       gatewaypundit and social media content relating
       24       to the elections?
       25                   A.   No, I don't.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 237 of 363 PageID #:
                                    12516
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 237


        1                   Q.   You don't?
        2                        Could you go to page 35.        Do you
        3       see there, right above the bold heading, tickets
        4       by fact-checking URLs, there's a paragraph?
        5                   A.   Yes.
        6                   Q.   And the report states that last, we
        7       coded tickets based on whether they additionally
        8       related to COVID-19 narratives, or had an
        9       element of foreign interference; correct?
       10                   A.   Yes.
       11                   Q.   And it says -- remember, there were
       12       639 tickets referred to earlier; do you recall
       13       that?
       14                   A.   Yes.
       15                   Q.   And it says:     Interestingly, just
       16       one percent of the tickets related to COVID-19,
       17       and less than one percent related to foreign
       18       interference; correct?
       19                   A.   Yes.
       20                   Q.   So if less than one percent related
       21       to foreign interference, it seems that over 99
       22       percent of what the EIP was doing with its
       23       tickets related to stuff that's kind of outside
       24       what you've described as the mission of GEC; is
       25       that fair to say?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 238 of 363 PageID #:
                                    12517
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 238


        1                        MR. KIRSCHNER:     Objection, lack of
        2       foundation, speculative, asked and answered.
        3    BY MR. SAUER:
        4                   Q.   Is that -- is that fair to say?
        5                   A.   No, because a foreign-originated
        6       narrative can relate to anything.           This is just
        7       talking about the narratives are related to
        8       foreign interference.        A COVID-related narrative
        9       could originate with a foreign malign influence
       10       factor.      This doesn't tell you anything about
       11       that, so no, I would -- I would disagree.
       12                   Q.   So you think that GEC could flag
       13       things for the EIP that wouldn't be related to a
       14       foreign interference?
       15                        MR. KIRSCHNER:     Objection,
       16       mischaracterizes testimony.
       17                   A.   No.   What I said is that a foreign
       18       disinformation narrative does not necessarily
       19       have to be related to foreign interference.              The
       20       Russian propaganda and disinformation is not
       21       about Russian interference.         It could be about
       22       COVID, it can be about anything.
       23                        The foreign actor behind it, and
       24       the subject of foreign interference, those two
       25       things are not equivalent.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 239 of 363 PageID #:
                                    12518
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 239


        1                        You cannot conclude that 99 percent
        2       of the narratives had no relation to a foreign
        3       actor just because they weren't related to
        4       foreign interference.         They could be about
        5       anything and still originate with the foreign
        6       actor.
        7                   Q.   I got you.    So -- so that's a
        8       distinction between the originator of the
        9       narrative and the content of the narrative, fair
       10       to say, that you're drawing?
       11                   A.   Yes.
       12                   Q.   Okay.   So foreign interference
       13       tickets would relate to foreign -- I take it
       14       foreign interference in elections or -- go
       15       ahead.
       16                   A.   The subject of the narrative in the
       17       foreign or non-foreign origination, the nexus to
       18       a foreign actor, are not necessarily related.
       19                        You can't draw a conclusion about a
       20       nexus to a foreign actor and, therefore, the GEC
       21       mandate, based on the focus of the narrative.
       22                   Q.   So, in other words, you could have
       23       a COVID narrative that's false, has nothing to
       24       do with foreign interference, but it might be of
       25       concern to the GEC because it originated with



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 240 of 363 PageID #:
                                    12519
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 240


        1       China or Russia, for example?
        2                   A.   Correct.
        3                   Q.   And there could be other
        4       narratives, as well.
        5                        Why don't you flip ahead to --
        6       let's flip ahead to page 38.
        7                   A.   Okay.
        8                   Q.   Do you see the graph there at the
        9       top of the part of the page, a bar graph?
       10                   A.   Yes.
       11                   Q.   And it says:     Percent of tickets by
       12       organization flagged; right?
       13                   A.   Yes.
       14                   Q.   And GEC's kind of there in the
       15       middle, right, indicating that something between
       16       zero and ten percent of tickets were flagged by
       17       the GEC?
       18                   A.   Well, it's in the middle of the
       19       graph, but it seems to be quite far down, if you
       20       add up the percentages.
       21                   Q.   Right.     What's below Facebook and
       22       Twitter, for example, and well below the EE at
       23       ISAC; correct?
       24                   A.   Yes.
       25                   Q.   But it looks like that bar is



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 241 of 363 PageID #:
                                    12520
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 241


        1       somewhere between zero and ten; right?
        2                   A.   It looks like it's between zero and
        3       five.
        4                   Q.   Yeah, I agree with that, too.
        5                        Do you have any idea what was being
        6       flagged by GEC for the EIP?
        7                   A.   No, I don't.
        8                   Q.   Okay.   Turn to the next page, just
        9       a number there, do you see in the -- towards the
       10       bottom of the page, in the second to last
       11       paragraph, there's reference to a web scraping
       12       tool and how they ran it on all 4,832 URLs in
       13       the tickets; right?
       14                   A.   Yes, I see that.
       15                   Q.   So the 639 tickets involved a lot
       16       more than 639 URLs; correct?
       17                        MR. KIRSCHNER:     Objection,
       18       speculative.
       19                   A.   The relationship between the
       20       tickets and URLs is not clear to me here.
       21                   Q.   Page 42, can you turn ahead to
       22       that, bottom of the page, concerns by reporting
       23       collaborators, correct, very last sentence?
       24       Other groups that it reported tickets include
       25       the State Department's Global Engagement Center;



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 242 of 363 PageID #:
                                    12521
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 242


        1       correct?
        2                   A.   Yes, I see that.
        3                   Q.   And again, you have no idea what
        4       those were; is that fair to say?
        5                   A.   I don't know what they were.
        6                   Q.   Do you know how this reporting was
        7       done, do you know if there was, like, an online
        8       kind of platform to do it, that you logged into
        9       or --
       10                   A.   I -- I don't know anything about
       11       the -- the mechanics.
       12                   Q.   Okay.   Later, in page 51, you need
       13       to read it, there's a reference to general
       14       concerns relating to mail-in ballots, it says:
       15       That constituted the most prominent type of
       16       misinformation assessed in the months leading up
       17       to election day.
       18                        Have you ever heard discussions of
       19       that in the GEC in any connection?
       20                   A.   No.
       21                   Q.   So you -- you -- you're not aware
       22       of any discussions or conversations within the
       23       GEC about, you know, disinformation relating to
       24       the security of voting by mail?
       25                   A.   No, I'm not.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 243 of 363 PageID #:
                                    12522
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 243


        1                   Q.   Including such disinformation that
        2       might have originated as a foreign narrative or
        3       anything like that?
        4                   A.   No, I'm not aware of any
        5       discussions within the GEC about disinformation
        6       narratives related to mail-in ballots.
        7                   Q.   Are you aware of any narratives
        8       relating to mail-in ballots that are
        9       disinformation?
       10                        MR. KIRSCHNER:      Objection, vague.
       11    BY MR. SAUER:
       12                   Q.   You can answer.
       13                   A.   I believe there were Russian
       14       narratives on the overall integrity of the
       15       elections.       I don't recall all the specifics.
       16                   Q.   Do you know what the -- generally,
       17       what those narratives said?
       18                   A.   I -- I don't recall the specifics.
       19                   Q.   Were those narratives discussed
       20       within the Russia team that you mentioned
       21       Mr. Beebe is a member of?
       22                   A.   I -- I don't know what the internal
       23       discussions of the Russia team were.
       24                   Q.   Do you remember anything about what
       25       they said about those narratives?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 244 of 363 PageID #:
                                    12523
                            DANIEL KIMMAGE 11/10/2022
                                                                          Page 244


        1                           MR. KIRSCHNER:     Objection, asked
        2       and answered.
        3                   A.      No, I do not.
        4                   Q.      If you flip way ahead, to page 183,
        5       the very middle paragraph of that page, it
        6       discusses there incident-related tweet data;
        7       correct?
        8                           MR. KIRCHNER:     Objection.
        9                   A.      Which paragraph is this?
       10                   Q.      Are you on page 183?
       11                   A.      Yes.
       12                   Q.      It's the last paragraph before the
       13       heading:         Facebook and Instagram data
       14       collection?
       15                   A.      Yes, I see that.
       16                   Q.      And there it talks about -- earlier
       17       I talked about how there were, you know,
       18       thousands of URLs, talks about number of tweets
       19       affected, that last number is 21,897,364 tweets;
       20       correct?
       21                   A.      Yes, I see the number.
       22                   Q.      And is that the -- is that a scope
       23       of how many tweets were affected by the -- or
       24       considered by the EIP's tickets?
       25                           MR. KIRSCHNER:     Objection, lack of



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 245 of 363 PageID #:
                                    12524
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 245


        1       foundation, speculative.
        2                   A.   It says that their incident-related
        3       tweet data included -- the relationships are not
        4       entirely clear to me -- included 5,888,771
        5       tweets and retweets from ticket status -- from
        6       ticket status IDs directly, 1,094,115 tweets and
        7       retweets, collected first from ticket URLs, and
        8       14,914,478 from key word searches, for a total
        9       of 21,897,364 tweets.        It's not entirely clear
       10       to me what that means.
       11                   Q.   Can you flip ahead to page 211.
       12       There's a chapter six called policy.
       13                   A.   Mm-hmm.
       14                   Q.   And there in the first paragraph,
       15       in the third line, it says:         During the 2020
       16       election all the major platforms made
       17       significant changes to election integrity
       18       policies; correct?
       19                   A.   Yes, I see the sentence.
       20                   Q.   And without, you know, going to all
       21       the tabs, also in the report they talk about how
       22       the EIP actually kind of pushed for those
       23       changes; is that right?
       24                        MR. KIRSCHNER:     Objection, lack of
       25       foundation.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 246 of 363 PageID #:
                                    12525
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 246


        1                   A.   I haven't read the full report.
        2                   Q.   Are you aware of public statements
        3       to that effect, that the EIP advocated for more
        4       restrictive election-integrity policies at the
        5       major social media platforms?
        6                   A.   No, I didn't track the EIP's public
        7       statements.
        8                   Q.   Do you have any knowledge of the
        9       GEC being involved in advocating for more
       10       restrictive content modulation policies with
       11       respect to elections at social media platforms?
       12                   A.   No.
       13                   Q.   Do you have any knowledge of anyone
       14       at the GEC being involved in any kind of, you
       15       know, advocacy or argument relating to content
       16       modulation policies of any kind?
       17                        MR. KIRSCHNER:     Objection, vague,
       18       ambiguous.
       19                   A.   Do you mean advocating to change
       20       their policies?
       21                   Q.   Correct.
       22                   A.   No.
       23                   Q.   How about any discussion of content
       24       modulation policies at the GEC in any
       25       connection?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 247 of 363 PageID #:
                                    12526
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 247


        1                        MR. KIRSCHNER:     Objection, vague,
        2       ambiguous.
        3                   A.   Can I ask you to clarify?        I
        4       haven't heard the term:        Content modulation,
        5       before.      I've heard content moderation.
        6                   Q.   Why don't we use content
        7       moderation, then.
        8                   A.   Okay.
        9                   Q.   You understand -- to you, what does
       10       content moderation policy mean?
       11                   A.   I'm not going to define -- I don't
       12       know how the social media companies define that,
       13       specifically.
       14                   Q.   How do you understand it as a -- go
       15       ahead.
       16                   A.   Their terms of service.
       17                   Q.   And are they, in particular, their
       18       terms of service as it permits them to either
       19       de-emphasize, block, remove, or de-platform
       20       content that they deem to be inappropriate, is
       21       that content moderation?
       22                   A.   I -- I -- I don't know the
       23       specifics for each company, but it's, I believe,
       24       how they -- how they determine what is
       25       appropriate and inappropriate content on their



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 248 of 363 PageID #:
                                    12527
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 248


        1       platform.
        2                   Q.   And then -- and then take action
        3       against inappropriate content; correct?
        4                   A.   Potentially.
        5                   Q.   Okay.    And can I, for the purpose
        6       of my next line of questions with you, can we
        7       use it that way, as referring to the policies of
        8       the social media platforms by which they
        9       determine what's appropriate and inappropriate
       10       content, and potentially take some kind of
       11       action against inappropriate content?
       12                   A.   With the caveat that I don't know
       13       specifically how the companies, themselves,
       14       define it.
       15                   Q.   Sure.    And my only question is:
       16       Are you aware of that general issue, which we
       17       were calling content moderation policies, being
       18       discussed at the GEC in any connection?
       19                   A.   No.     The GEC didn't engage on the
       20       specifics of their content moderation policies.
       21                   Q.   Were there ever any discussions
       22       within the GEC about content moderation policies
       23       and how they might apply to, say, Russian, you
       24       know, originated narratives?
       25                        MR. KIRSCHNER:     Objection.      To the



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 249 of 363 PageID #:
                                    12528
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 249


        1       extent this is asking for deliberative
        2       information within the GEC, I instruct the
        3       witness not to answer on privileged grounds.              To
        4       the extent you can answer without getting into
        5       internal deliberations, you may answer.
        6    BY MR. SAUER:
        7                   Q.   For starters, can you identify
        8       whether you're aware of any such conversations
        9       without identifying the content of such
       10       conversations.
       11                   A.   I'm not aware of conversations
       12       specifically focused on content moderation
       13       policies at specific social media companies.
       14                   Q.   Other than specifically focused,
       15       are you aware of conversations or discussions
       16       that address that issue in any way?
       17                   A.   I think the only context would be
       18       the platforms periodically released public
       19       statements on campaigns they identified and
       20       things that they took down.         And we looked at
       21       those public statements like -- like -- like
       22       everybody else.
       23                        But that wasn't focussed on the
       24       moderation policies.        It was focused on how they
       25       were looking at foreign propaganda and



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 250 of 363 PageID #:
                                    12529
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 250


        1       disinformation actors.
        2                   Q.   Do you remember a specific public
        3       statement of that kind, like, did Facebook ever
        4       say, hey, we've decided to take down, you know,
        5       allegations that the US government manufactured
        6       AIDS in a lab in the 1970s?
        7                   A.   No, because each platform releases
        8       them regularly.         I don't remember a specific
        9       one, no.
       10                   Q.   So it happens frequently?
       11                   A.   (Nodding.)
       12                   Q.   And that's something -- sorry, it
       13       happens frequently?
       14                   A.   Yes, it -- I don't remember the
       15       frequency at each social media company, but
       16       they -- they release them periodically.
       17                   Q.   Why do you track that information?
       18                        MR. KIRSCHNER:     Objection,
       19       assuming -- mischaracterizing testimony and
       20       vague.      You said:    "That information."
       21    BY MR. SAUER:
       22                   Q.   Why do you track the information
       23       that is released by the social media companies?
       24                   A.   It's publicly-released information
       25       that's also covered in the media, and we look at



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 251 of 363 PageID #:
                                    12530
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 251


        1       it to stay informed about the tools, techniques,
        2       and campaigns of foreign propaganda and
        3       disinformation actors.
        4                   Q.   Do you know whether the EIP is
        5       still functioning?
        6                   A.   I don't.
        7                   Q.   Do you know if they had activities
        8       that relate to the 2022 election that just
        9       finished on Tuesday?
       10                   A.   I don't.
       11                   Q.   And do you know whether they plan
       12       to have, you know, activity with respect to
       13       future elections, like 2024?
       14                   A.   No.
       15                   Q.   Do you know if GEC is still
       16       involved in the EIP in any capacity?
       17                        MR. KIRSCHNER:     Objection, assumes
       18       evidence not on record, lack of foundation,
       19       vague.
       20    BY MR. SAUER:
       21                   Q.   Do you know?
       22                   A.   No.
       23                   Q.   You do not know?
       24                   A.   I do not.
       25                   Q.   For example, Mr. Beebe, is he still



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 252 of 363 PageID #:
                                    12531
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 252


        1       at GEC?
        2                   A.   I believe he is.
        3                   Q.   And then the other lady you
        4       mentioned, I can't remember her name.
        5                   A.   Adele Ruppe is no longer at the
        6       GEC.
        7                   Q.   She's no longer at the GEC?          And
        8       you don't know if either they or anyone else is
        9       still interacting with EIP in any way?
       10                   A.   I don't, no.
       11                        MR. KIRSCHNER:     If you're done with
       12       that exhibit, then can we take a five-minute
       13       break?
       14                        MR. SAUER:     Yeah, sure.     Yeah.
       15       Yeah.     I'll go through the remaining exhibits
       16       during the break and see what we can do to move
       17       forward.
       18                        MR. KIRSCHNER:     All right.      Do you
       19       have a sense -- sorry, let's go off the record
       20       first.
       21                        THE VIDEOGRAPHER:       All right.     The
       22       time is 3:21 p.m.       We are off the record.
       23                        (Recess.)
       24                        THE VIDEOGRAPHER:       The time is 3:31
       25       p.m.     We're back on the record.       Please proceed.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 253 of 363 PageID #:
                                    12532
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 253


        1                        MR. SAUER:    You're being handed
        2       Exhibit 13, it's just a one-pager.
        3                        (Exhibit No. 13 was marked for
        4       identification.)
        5    BY MR. SAUER:
        6                   Q.   And this is a website called
        7       Facebook Content Requests, that says that this
        8       portal is for on-boarded partner requests
        9       pertaining to content issues at Facebook and
       10       Instagram; have you ever seen a website like
       11       this?
       12                   A.   I don't believe so.
       13                   Q.   Are you familiar with anyone at GEC
       14       having authority to use a website that provides
       15       a kind of privileged or sort of line of
       16       communication with social media platform?
       17                        MR. KIRSCHNER:     Objection, lack of
       18       foundation, speculative.
       19    BY MR. SAUER:
       20                   Q.   Are you aware of any?
       21                   A.   I -- I'm not aware of any specific
       22       individual at GEC, no.
       23                   Q.   Have you ever heard of the phrase:
       24       Partner support portal?
       25                   A.   No, not before you just used it.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 254 of 363 PageID #:
                                    12533
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 254


        1                   Q.   Okay.   Are you aware of certain
        2       social media platforms having lines of
        3       electronic communication or websites that their
        4       partners can log into to report issues relating
        5       to content on their platforms?
        6                   A.   Yes, I'm aware that there are
        7       portals where users can -- or anyone can report
        8       issues, I believe.
        9                   Q.   Are you aware of anyone at the GEC
       10       using any such portal?
       11                   A.   I'm not aware of any -- I'm not
       12       aware of any specific instance of someone using
       13       a portal like that.
       14                   Q.   Are you aware of any discussions
       15       with the FBI about a Russian hack and leak
       16       operation that was anticipated to occur in late
       17       2020?
       18                        MR. KIRSCHNER:     Objection.      To the
       19       extent this is calling for law enforcement
       20       activity, and Mr. Kimmage is aware of any such
       21       law enforcement activity, I would instruct the
       22       witness not to answer.
       23                        To the extent you can answer
       24       without engaging in discussion of law
       25       enforcement or other deliberative information,



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 255 of 363 PageID #:
                                    12534
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 255


        1       you may answer.
        2                   A.   I'm not aware of any specific
        3       discussion.      Could you be more specific?
        4                   Q.   Sure.    Did you hear, at any time,
        5       that the FBI had raised any kind of concerns
        6       relating to a Russian hack and leak operation or
        7       hack and release operation is, I think, how you
        8       described it earlier, in 2020?
        9                        MR. KIRSCHNER:      Again, same
       10       objection.       To the extent this is calling for
       11       internal deliberations or a law enforcement
       12       information that is privileged, I instruct the
       13       witness not to answer.         To the extent that you
       14       can answer without revealing potential
       15       privileged information, you may proceed.
       16                   A.   I don't recall, and I can't speak
       17       for FBI's concerns and activities in the period.
       18                   Q.   Do you recall -- do you recall
       19       there being any concern, in any quarter, about a
       20       hack and release operation that the Russians
       21       might employ in the 2020 election cycle?
       22                        MR. KIRSCHNER:      Again, I instruct
       23       the witness -- object.         I instruct the witness,
       24       to the extent that this is calling for law
       25       enforcement information or even classified



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 256 of 363 PageID #:
                                    12535
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 256


        1       information, I instruct the witness not to
        2       answer.
        3                        To the extent the witness can
        4       answer without divulging such information, the
        5       witness may proceed.
        6                   A.   Given that reporting would have
        7       potentially occurred through classified
        8       channels, I don't feel that I can answer that
        9       in -- in open discussion.
       10                   Q.   Let me -- let me tease that out a
       11       little bit.
       12                        So are you withholding any
       13       information, in response to my question, because
       14       of the instruction -- the conditional
       15       instruction you received from your counsel.
       16                   A.   No.   I'm not aware of any specific,
       17       but because communication on topics like this
       18       would have occurred generally through classified
       19       channels I don't feel that I can answer that
       20       here.
       21                   Q.   So your answer to my question is,
       22       no, you're not withholding any information on
       23       the grounds of privilege in responding to my
       24       question?
       25                   A.   No.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 257 of 363 PageID #:
                                    12536
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 257


        1                   Q.   That is not your answer?        Sorry,
        2       let's --
        3                   A.   Could you clarify that?
        4                   Q.   I just want to know, we've had -- I
        5       asked you a question.
        6                   A.   Right.
        7                   Q.   And your lawyer said:       To the
        8       extent that your answer raises classified
        9       information or law enforcement information I
       10       instruct you not to answer.
       11                        And you said -- I'm not clear
       12       whether you know of something that relates to a
       13       hack and leak operation, but you're not going to
       14       tell me because you received a privilege
       15       instruction?
       16                   A.   Right.
       17                   Q.   Or you don't know anything.
       18                        Those are two totally different
       19       answers?
       20                   A.   Right.
       21                   Q.   And I'm not asking for the content
       22       of any such communication.
       23                   A.   Right.
       24                   Q.   Right?   Because we get to that in a
       25       minute.      I just want to know if there is such



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 258 of 363 PageID #:
                                    12537
                            DANIEL KIMMAGE 11/10/2022
                                                                            Page 258


        1       communication.
        2                   A.   I'm not aware of anything specific.
        3                   Q.   Okay.    So you're not withholding
        4       any information from me on grounds of privilege
        5       in response to that question?
        6                   A.   I'm not withholding anything
        7       specific.
        8                   Q.   So you're not aware of any concern
        9       raised in any quarter about a Russian hack and
       10       release operation with respect to the 2020
       11       election?
       12                   A.   Could you be more specific?           Is
       13       there a specific operation?
       14                   Q.   Well, if you've read our complaint
       15       you may know there's allegations relating -- or
       16       read some of our pleadings, at least -- you may
       17       know there's allegations that there were
       18       communications to certain social media platforms
       19       from the federal government that said:            We
       20       anticipate a Russian hack and release operation
       21       in October of 2020.
       22                        So remember, there was the 2016
       23       hack and release operation, we talked about
       24       before; right?
       25                   A.   Right.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 259 of 363 PageID #:
                                    12538
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 259


        1                   Q.   And are you aware of any -- let me
        2       put it this way:       Are you aware of any
        3       communication between any federal official, in
        4       any social media platform, that related to any
        5       concern about a Russian hack and release
        6       operation that might or might be planned for the
        7       2020 election cycle?
        8                   A.   Are you asking about GEC?
        9                   Q.   No.   I'm asking about any federal
       10       official, when I said any federal official.
       11                   A.   I can't speak for any federal
       12       official.
       13                   Q.   I'm asking you:      Do you know of
       14       any, are you aware?
       15                   A.   I'm note aware of any.
       16                   Q.   How about GEC, are you aware of any
       17       GEC communication with any social media platform
       18       about any concern or anticipated Russian hack
       19       and release operation with respect to the 2020
       20       election?
       21                   A.   I don't recall any GEC
       22       communications about Russian hack and release
       23       operations.
       24                   Q.   How about State Department, any
       25       communication from State Department?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 260 of 363 PageID #:
                                    12539
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 260


        1                   A.   I can't speak for the entire
        2       department.
        3                   Q.   Okay.
        4                   A.   I'm not aware.
        5                   Q.   Are you aware?
        6                   A.   Nom I'm not aware.
        7                   Q.   Are you aware -- how about CISA or
        8       DHS, are you aware of any communication or
        9       anything like that from that quarter?
       10                   A.   I can't speak to their
       11       communications.
       12                   Q.   Are you aware?
       13                   A.   I'm not aware of any.
       14                   Q.   And how about the FBI, are you
       15       aware of any communications from FBI or FTIF to
       16       any social media platform that relates to that?
       17                   A.   I'm not aware, no.
       18                        MR. SAUER:    Can you give me S?
       19                        You're being handed Exhibit 14.
       20                        (Exhibit No. 14 was marked for
       21       identification.)
       22    BY MR. SAUER:
       23                   Q.   Do you recognize this document?
       24                   A.   Yes.
       25                   Q.   And what is it?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 261 of 363 PageID #:
                                    12540
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 261


        1                   A.   It's a transcript of a talk I gave
        2       in 2021.
        3                   Q.   And was this at the Washington
        4       Institute For Near East Policy?
        5                   A.   Yes.
        6                   Q.   The bottom of the first page, you
        7       talk about:      Technology is woven into virtually
        8       aspects of this problem and you're trying to --
        9       trying to stay ahead of the curve; right?
       10                   A.   Yes.
       11                   Q.   And spilling onto the next page,
       12       you talk about counter-disinformation
       13       technologies and their implementation?
       14                   A.   Yes.
       15                   Q.   At what -- what are those?         What
       16       are the counter-disinformation technologies that
       17       you're talking about there and their
       18       implementation?
       19                   A.   So as I detailed earlier, they
       20       could be software that would help to identify
       21       coordinated inauthentic activity by a foreign
       22       propaganda and disinformation.
       23                   Q.   Any -- anything else, other than
       24       tracking propaganda and disinformation?
       25                   A.   There's a wide array of



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 262 of 363 PageID #:
                                    12541
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 262


        1       technologies.      I -- I can't list them all.         I
        2       can -- there -- there are many different
        3       technologies that can be applied to the problem.
        4                   Q.   Can you give me a better picture of
        5       what they're like?        I know we had some type of
        6       discussion of this earlier, and I didn't come
        7       away with any --
        8                   A.   Sure.
        9                   Q.   -- real grasp of what these
       10       technologies are?
       11                   A.   Right.
       12                   Q.   And I'm not a techie person.
       13                   A.   Sure.
       14                   Q.   But can you clarify that, at all?
       15                   A.   So with the caveat that I'm also
       16       not a technology expert, it would be, you know,
       17       a tool that could analyze data to cast light on
       18       how Russia or China is trying to manipulate
       19       online discourse, it could be a tool that raises
       20       awareness, for example, a game that people play,
       21       to understand how disinformation is introduced
       22       by a foreign actor, something that raises their
       23       awareness, it could be a tool like that, for
       24       example.
       25                        It could be an interactive website



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 263 of 363 PageID #:
                                    12542
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 263


        1       that shows Chinese investments in the tech
        2       sector, for example, to show how Chinese
        3       influence is expanding in the tech sector.             And
        4       that is a -- computed as a technology-driven
        5       tool that helps to counter propaganda and
        6       disinformation, because, of course, China's
        7       propaganda is that they're not doing this, in
        8       fact, they are doing this.
        9                        And when you're casting light on it
       10       with, for example, a data rich website that
       11       would show that, you're countering their
       12       propaganda.
       13                   Q.   Lower down on that page, second
       14       paragraph from the bottom --
       15                   A.   Mm-hmm.
       16                   Q.   -- you talk -- you talk about their
       17       work, your work in the context of the COVID
       18       crisis; correct?
       19                   A.   Yes.
       20                   Q.   And you -- you talk about how they
       21       would -- COVID involved a new wave of propaganda
       22       and disinformation; right?
       23                   A.   Where does it say that?
       24                   Q.   I'm paraphrasing, it rapidly became
       25       clear that this would be an issue of global



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 264 of 363 PageID #:
                                    12543
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 264


        1       consequence, not simply in the scope of the
        2       crisis but also in our area of propaganda and
        3       disinformation; correct?
        4                   A.    Yes.
        5                   Q.    Okay.    And you talked about Russia
        6       pushing conspiracy theories.           Do you know what
        7       those were?       What were you talking about there?
        8                   A.    Yeah, as I detailed earlier, they
        9       were propaganda narratives and disinformation
       10       narratives about the origins of the virus, about
       11       the efficacy of US and Western-developed
       12       vaccines, about the efficacy of Russian
       13       vaccines.        These were propaganda narratives that
       14       Russia sought to use in the context of the
       15       pandemic.
       16                   Q.    And you go on to say:      We saw the
       17       Peoples Republic of China suggesting various
       18       false and nefarious narratives about the origin
       19       of the virus.       Do you remember what -- is that
       20       right?
       21                   A.    Yes.
       22                   Q.    Do you remember what those
       23       narratives were or are?
       24                   A.    Some of them alleged a US role.         I
       25       don't recall the specifics, but along the lines



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 265 of 363 PageID #:
                                    12544
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 265


        1       of the notorious KGB operation alleging a US
        2       government role in the creation of the AIDS
        3       virus, there were Chinese propaganda narratives
        4       that suggested some sort of US role, and there
        5       were Russian narratives that suggested the same
        6       things.
        7                   Q.   What was that -- what role did
        8       China say or --
        9                   A.   Right.
       10                   Q.   -- Chinese actors say that the US
       11       had in the origin of the virus?
       12                        MR. KIRSCHNER:     Objection, calls
       13       for a narrative response.
       14                   A.   With the caveat that I don't recall
       15       all the specifics, it would be that US medical
       16       research led to the creation of a virus.
       17                        There are many different
       18       narratives, it would be alleging some nefarious
       19       US government role.
       20                   Q.   That the government -- so you said
       21       US medical research funded by the government, is
       22       that a narrative that the Chinese propagated?
       23                        MR. KIRSCHNER:     Objection,
       24       mischaracterizes testimony.
       25                   A.   It -- it's a narrative that I know



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 266 of 363 PageID #:
                                    12545
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 266


        1       Russian propagandists have used.           I don't recall
        2       whether Chinese propagandists used that specific
        3       narrative discussion.        I know Russian
        4       propagandists did.
        5                   Q.   What Chinese-specific narratives do
        6       you remember about the origins of the virus?
        7       You've got a robust reference to them here, and
        8       I just wonder if I can get my head around what
        9       you're talking about.
       10                   A.   The primary Chinese narratives, as
       11       I recall, were really about how well China
       12       responded to the pandemic compared to Western
       13       countries.       But I also recall that they disputed
       14       and suggested alternative theories for the
       15       emergence of the virus.         And some of them
       16       alleged a nefarious US government role.
       17                   Q.   Do you remember what that role was
       18       that they alleged?
       19                   A.   No, I don't remember the specifics.
       20                   Q.   What did they say about -- what did
       21       these narratives say about the first thing you
       22       said, which had to do with how the Chinese
       23       response was more successful?
       24                   A.   It would be touting how well -- how
       25       quickly China responded, how effectively they



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 267 of 363 PageID #:
                                    12546
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 267


        1       responded, and contrasting that with, for
        2       example, Western countries, like Italy, that
        3       struggled, initially, in dealing with the virus.
        4                   Q.   Was that -- was that disinformation
        5       is, in fact, false that China did a better job
        6       of responding to the virus?
        7                   A.   This would be more propaganda,
        8       where they are selectively highlighting things
        9       that are not necessarily false, but in the
       10       context or misleading.        So this is the
       11       distinction between propaganda and
       12       disinformation.
       13                   Q.   Can you flip to the next page.
       14                   A.   Mm-hmm.
       15                   Q.   At the top there, very top of the
       16       page, at the bottom of that first paragraph, you
       17       say:   Finally, we provided rapid response grants
       18       to local organizations on the front lines,
       19       fighting the adversarial narratives of the COVID
       20       info-demic, as some have called it.
       21                        What's -- what's involved there?
       22                   A.   I believe we had a program with
       23       several embassies abroad, where we provided
       24       rapid response grants to foreign organizations
       25       fighting, generally, Russian and propaganda --



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 268 of 363 PageID #:
                                    12547
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 268


        1       Chinese propaganda and disinformation in their
        2       local environments.
        3                   Q.   So those grants went to foreign --
        4       foreign entities abroad?
        5                   A.   Yes.
        6                   Q.   And what -- what sorts of entities
        7       would get them, would they be, like, local news
        8       stations or who was fighting the COVID
        9       info-demic abroad?
       10                   A.   Generally, they would be civil
       11       society organizations or potentially research
       12       organizations.
       13                   Q.   What's a civil society
       14       organization?
       15                   A.   A non-governmental organization
       16       that is focused on a particular issue.
       17                   Q.   Halfway down this page, at the
       18       bottom and that middle paragraph, you say:             I
       19       would note in the counterterrorism context an
       20       increasing focus on racially and ethnically
       21       motivated violent extremism REMVE, what are you
       22       talking about there, what are you referring to?
       23                   A.   I'm referring to extremist
       24       organizations that are promoting white supremacy
       25       or similar racial and racially and ethnically



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 269 of 363 PageID #:
                                    12548
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 269


        1       motivated narratives to justify violent
        2       extremism.
        3                   Q.   And are those -- is that something
        4       that the GEC kind of tracks or monitors or pays
        5       attention to?
        6                        MR. KIRCHNER:     Objection,
        7       mischaracterizes the testimony.
        8    BY MR. SAUER:
        9                   Q.   That's a question, is it
       10       something --
       11                   A.   The counterterrorism team at the
       12       Global Engagement Center looks at violent
       13       extremist organizations abroad and how they seek
       14       to recruit people.
       15                        And as there has been an upswing in
       16       the activity of groups focused on racially and
       17       ethnically motivated violent extremism the
       18       Global Engagement Center's counterterrorism team
       19       has begun to look at those groups.
       20                   Q.   Are you saying those -- those --
       21       are those strictly groups abroad or does that
       22       include domestic violent extremist groups?
       23                   A.   Those are groups abroad.
       24                   Q.   Okay.   Do you -- does Global
       25       Engagement Center have any role with respect to



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 270 of 363 PageID #:
                                    12549
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 270


        1       tracking or paying attention to domestic
        2       racially or ethnically motivated violent
        3       extremist groups?
        4                   A.   No, it does not.
        5                   Q.   What agency does that?
        6                        MR. KIRSCHNER:     Objection.
        7    BY MR. SAUER:
        8                   Q.   If you know.
        9                        MR. KIRSCHNER:     Lack of foundation,
       10       speculative.
       11                   A.   The -- the federal law enforcement
       12       and federal and local law enforcement agencies.
       13                   Q.   Turning to the next page, in that
       14       second to last paragraph in the second line,
       15       there's another reference to the -- the
       16       disinfo-cloud, and you describe it as sharing
       17       findings and information on disinformation
       18       related challenges; correct?
       19                   A.   Yes.
       20                   Q.   And it describes a platform, and I
       21       guess you're saying this in early 2021; right?
       22                   A.   Mm-hmm.
       23                   Q.   It describes a platform as having
       24       1200 members, and has assessed 70 tools; right?
       25                        Do you know who those members were?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 271 of 363 PageID #:
                                    12550
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 271


        1       It's a lot of members, is this just anyone who
        2       wants to access that web page, who seeks and
        3       receives authority to do so?
        4                   A.   So as I explained earlier, the
        5       members of the disinfo-cloud would include some
        6       representatives of government agencies, some
        7       developers in the tech sector, and I believe
        8       some researchers, as well.
        9                   Q.   And you go on, later in that
       10       paragraph, to say:       We have established a
       11       liaison in Silicon Valley with the purpose of
       12       sharing lessons learned and developing two-way
       13       communications about foreign disinformation and
       14       propaganda with our partners in the technology
       15       industry; correct?
       16                   A.   Yes.
       17                   Q.   Is that a reference to the -- the
       18       Silicon Valley location we talked about earlier?
       19                   A.   Yes, it is.
       20                   Q.   So that's a reference, essentially,
       21       to Mr. Stewart --
       22                   A.   Yes, it is.
       23                   Q.   -- right?
       24                        Is there anything else that falls
       25       in that bucket of a two-way liaison with Silicon



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 272 of 363 PageID #:
                                    12551
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 272


        1       Valley?
        2                   A.   Could you clarify?
        3                   Q.   Well, your -- your statement there,
        4       about -- about establishing a liaison in Silicon
        5       Valley and developing two-way communications
        6       with technology companies, is that referring to
        7       anything other than Mr. Stewart being located
        8       out there, as we talked about earlier?
        9                   A.   The two-way communications would
       10       involve more than just Mr. Stewart, but the
       11       liaison position was, of course, developed for
       12       that purpose.
       13                   Q.   And that -- so that liaison you're
       14       referring to is, in fact, Mr. Stewart and these
       15       remarks?
       16                   A.   Yes.
       17                   Q.   And I can't remember, I think you
       18       said he's gone now, he's not at GEC anymore or
       19       do you not remember?
       20                   A.   Yes, I believe he's left the GEC.
       21                   Q.   Did someone replaced him out in
       22       Silicon Valley, is someone liaising there now?
       23                   A.   There -- I don't think -- there is
       24       no one from the GEC who is based in Silicon
       25       Valley now.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 273 of 363 PageID #:
                                    12552
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 273


        1                   Q.   Was Mr. Stewart the last one or did
        2       someone else -- did anyone else ever hold that
        3       role of the Silicon Valley liaison based out in
        4       California?
        5                   A.   I don't think anyone held the role
        6       based in California.
        7                   Q.   Other than Mr. Stewart, you mean?
        8                        Mr. Stewart was based in
        9       California, wasn't he?        He said that in e-mails.
       10                   A.   Yes.    I believe he was the only GEC
       11       employee to be based in California.
       12                   Q.   When you're talking about these
       13       liaison with tech companies, is part of the
       14       purpose there to, you know, partner with tech
       15       companies to stop the spread of disinformation
       16       online?
       17                        MR. KIRSCHNER:     Objection.
       18                   A.   No.    No.   The purpose is, as stated
       19       here, to share lessons and develop two-way
       20       communications.         The actions that they take are
       21       for the tech companies.        The GEC is sharing
       22       lessons learned, information about the
       23       techniques, the campaigns, the narrative of
       24       foreign propaganda and disinformation actors.
       25                   Q.   Is it a purpose of GEC, more



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 274 of 363 PageID #:
                                    12553
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 274


        1       generally, to, you know, partner with private
        2       tech firms to stop the spread of disinformation
        3       on social media?
        4                   A.   It's the purpose of the GEC to
        5       engage with the tech industry and other partners
        6       to counter propaganda and disinformation.             It's
        7       not dictating a specific action that they would
        8       take.
        9                   Q.   But is it a purpose that you said
       10       to counter?
       11                   A.   Yes.
       12                   Q.   Yet earlier described counter can
       13       involve a number of things, one thing, counter
       14       can be a reputation, for example; right?
       15                   A.   Yes.
       16                   Q.   And your disinformation bulletins
       17       refer to difficulties and talk about Lithuania
       18       and so forth.
       19                        Another way of countering
       20       disinformation might be, as you say, in some of
       21       those bulletins, to attack credibility of the
       22       person spreading it, right, that would another
       23       way to counter?
       24                        And the third way to counter would
       25       be to stop it from spreading in the first place,



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 275 of 363 PageID #:
                                    12554
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 275


        1       right?      Those are three different things?
        2                   A.   That's correct.        Those are three
        3       different things.        You can also raise awareness.
        4       You can conduct what's called an inoculation
        5       campaign by making people aware of the types of
        6       campaigns.       The -- these are all tools in the
        7       toolbox.
        8                   Q.   Okay.    And as one of those tools
        9       that could be in the toolbox to stop the spread?
       10                        MR. KIRSCHNER:      Objection, vague.
       11                        MR. SAUER:     Just asking.
       12                        MR. KIRSCHNER:      Well, I don't know
       13       what you're asking.
       14                        MR. SAUER:     Okay.
       15                   A.   Can you clarify what you mean by
       16       stop the spread?
       17                   Q.   What does that mean to you, to stop
       18       the spread of disinformation on social media?
       19                   A.   It could cover a huge range of
       20       things.      It could -- if there's an effective
       21       refutation out there, that people read and find
       22       compelling, they may stop sharing the propaganda
       23       and disinformation that could stop the spread.
       24       I -- could you clarify what you mean by it?
       25                        MR. SAUER:     Why don't you give me



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 276 of 363 PageID #:
                                    12555
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 276


        1       T?
        2                        Why don't we look at Exhibit 15.
        3                        (Exhibit No. 15 was marked for
        4       identification.)
        5    BY MR. SAUER:
        6                   Q.   Have you seen this document before?
        7                   A.   Yes, I believe so.
        8                   Q.   Were you involved in drafting it?
        9                   A.   I was not involved in drafting it.
       10                   Q.   Did you have any input into its
       11       formulation?
       12                   A.   I believe I reviewed it, but I
       13       didn't -- I didn't draft it or formulate it.
       14                   Q.   When you reviewed it, did you
       15       provide any input or edits or suggestions?
       16                   A.   I don't recall whether I provided
       17       input or suggestions.
       18                   Q.   And this is titled:       Functional
       19       Bureau Strategy for the Global Engagement
       20       Center; right?
       21                   A.   Yes.
       22                   Q.   And it's dated May 17 of 2022, this
       23       year?
       24                   A.   Yes.
       25                   Q.   Who did draft this?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 277 of 363 PageID #:
                                    12556
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 277


        1                   A.   I don't know.
        2                   Q.   Is it a -- and it's on the GEC's
        3       website; right?
        4                   A.   Actually, let correct what I just
        5       said.     If this was released in May 17, 2022, I
        6       may not actually have reviewed this version.
        7       This is a document that I believe is
        8       periodically updated.           And just because I was
        9       not at the Global Engagement Center in -- in
       10       2022 I don't think that I would have reviewed
       11       this.     I would have reviewed a previous version,
       12       so I didn't notice the date until just now.
       13                   Q.   So this date would have been when
       14       you were at the National Defense University?
       15                   A.   Yes.    Yes.
       16                   Q.   Okay.   Well, can you turn to -- how
       17       about to the -- it's labeled page 2 of 17, it's
       18       really the fourth page of the document.
       19                   A.   Okay.
       20                   Q.   And then there's a paragraph two
       21       there that starts in the middle of the page,
       22       called:      Counter-disinformation technology?
       23                   A.   Yes.
       24                   Q.   And it talks about how technology
       25       plays an important role in the problems and



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 278 of 363 PageID #:
                                    12557
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 278


        1       solutions of propaganda and disinformation.
        2                        And the GEC works with government
        3       and private sector stakeholders to identify the
        4       needs and available tools to counter foreign
        5       propaganda and disinformation; correct?
        6                   A.   Yes, that's what it says.
        7                   Q.   Is that all a fair and accurate
        8       description of GEC's mission or goals?
        9                   A.   Yes, I believe so.
       10                   Q.   And the next sentence says:
       11       Wherever possible, the GEC promotes integration
       12       of appropriate technology or technologies to
       13       support the mission; do you know what that's
       14       talking about?
       15                   A.   With the caveat that I was not --
       16       with the caveat that I don't believe I was
       17       involved in the drafting or approval of this
       18       document, I -- I believe it's a reference to
       19       using technology to carry out the GEC's mission
       20       of countering propaganda and disinformation by
       21       foreign state and non-state actors.
       22                   Q.   And the next sentence says:         The
       23       GEC also partners with private technology
       24       companies to stop the spread of disinformation
       25       on social media; correct?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 279 of 363 PageID #:
                                    12558
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 279


        1                   A.   That's what it says, yes.
        2                   Q.   What's it referring to?
        3                        MR. KIRSCHNER:     Objection,
        4       speculative.
        5    BY MR. SAUER:
        6                   Q.   How does the GEC partner with
        7       social media companies or private technology
        8       companies to stop the spread of disinformation
        9       on social media?
       10                   A.   I believe that would be through
       11       meetings to discuss -- to share information
       12       about the tools and techniques and campaigns and
       13       narratives of foreign propaganda and
       14       disinformation actors, to deepen the
       15       understanding of those campaigns and actors for
       16       the technology companies.
       17                   Q.   How does deepening their
       18       understanding help stop the spread of
       19       disinformation?
       20                   A.   It can help them to identify, for
       21       example, coordinated inauthentic activity or to
       22       understand what these actors are trying to
       23       achieve, to understand the types of narratives
       24       they are promoting, to understand the -- the --
       25       the actors, the proxies, the tools, for example,



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 280 of 363 PageID #:
                                    12559
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 280


        1       as listed in the Pillars of Disinformation
        2       report, the elements in the Russian propaganda
        3       ecosystem.         All of those things are important
        4       elements of understanding the problem.
        5                   Q.      And so it promotes -- it's -- I
        6       think you said it helps them identify certain
        7       aspects of the problem and understand aspects of
        8       the problem.
        9                           How, if the search or the
       10       technology companies identify and understand
       11       those aspects of the problem, does that stop the
       12       spread of anything?
       13                           MR. KIRSCHNER:     Objection,
       14       speculative.
       15                   A.      Solving a problem has to start with
       16       understanding the problem, the elements of the
       17       problem.         The Global Engagement Center has an
       18       important function, it's laid out in its
       19       congressional legislation to identify and -- and
       20       track what foreign propaganda and disinformation
       21       actors are doing, and releasing, for example, a
       22       public report on what Russian propaganda is
       23       promoting that doesn't, in and of itself, stop
       24       it, but it equips people, it equips, you know,
       25       potentially technology companies to better



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 281 of 363 PageID #:
                                    12560
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 281


        1       understand it so that they can take whatever
        2       actions they would take to -- to -- to stop the
        3       spread.
        4                   Q.   What actions could technology
        5       companies possibly take to stop the spread once
        6       they've been educated with this understanding
        7       you described?
        8                        MR. KIRSCHNER:     Objection,
        9       speculative.
       10                   A.   I -- I can't speculate about all
       11       the things a technology company can do.
       12                   Q.   Well, what do you -- your document
       13       or GEC's document says:        We partner with them to
       14       stop the spread.         You've recounted, in detail,
       15       how you educate them and advance their
       16       understanding and identification.           I don't get
       17       the next step, how does it stop the spread?
       18                        MR. KIRSCHNER:     Objection, asked
       19       and answered.
       20                   A.   You know, with the caveat that I
       21       don't believe I was involved in drafting --
       22                   Q.   Sure.
       23                   A.   -- this document, including the
       24       specific wording of stop the spread, but, for
       25       example, you can label state-owned media as



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 282 of 363 PageID #:
                                    12561
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 282


        1       being state-owned media.         I know that some
        2       social media companies have labeled Russia today
        3       as this is a Russian state-owned entity.
        4                        And by labeling it, and, for
        5       example, this is something that's listed in the
        6       Pillars of Disinformation report that the GEC
        7       released, you can then label that, and as people
        8       see that, hopefully they'll be less likely to
        9       forward it or share it, and that will help to
       10       stop the spread.
       11                   Q.   So applying labels, the -- in other
       12       words, GEC doesn't apply labels to anything on
       13       social media; correct?
       14                   A.   No.
       15                   Q.   But it gives information to the
       16       tech companies, and then they apply labels to
       17       things or they can, if they want to, apply
       18       labels to things to help stop the spread; is
       19       that a fair characterization?
       20                   A.   In the case that I mentioned, the
       21       GEC is not giving the information specifically
       22       to tech companies.       The Pillars of
       23       Disinformation report was a public report that
       24       anyone can access, anyone all over the world,
       25       including a tech company, can access.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 283 of 363 PageID #:
                                    12562
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 283


        1                   Q.   Yeah, but that's your example.          I'm
        2       really talking about what they're saying here in
        3       the document, where it talks about partnering
        4       with private technology companies, that Russian
        5       disinformation report, that was made available
        6       to the whole world.       That's not a specific
        7       partnership with a private technology company;
        8       correct?
        9                        I'm wondering how partnering a
       10       private technology companies, and having these
       11       meetings, like you're meeting with Twitter in
       12       2021, and the other meetings that Mr. Stewart
       13       set up and so forth, how do those -- and you
       14       described that those meetings are involved in a
       15       kind of information sharing and educational
       16       function, how do they stop the spread?
       17                   A.   Just to repeat, they help to deepen
       18       the understanding so that a technology company,
       19       just like a user, can take action.           And they
       20       take whatever action they deem is necessary.
       21       The Global Engagement Center does not tee up
       22       actions for social media companies to take.
       23                   Q.   Did Mr. Dempsey ever tee up an
       24       action for a social media company to take?
       25                   A.   I -- I -- I don't know about



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 284 of 363 PageID #:
                                    12563
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 284


        1       Mr. Dempsey.
        2                   Q.   Alex Dempsey?
        3                   A.   Alex Dempsey.
        4                   Q.   Do you remember him from the 2020
        5       e-mail chain we talked about earlier?
        6                   A.   I -- I don't believe that chain
        7       teed up an action.       I don't believe it
        8       recommended an action.
        9                   Q.   So you don't view that Alex Dempsey
       10       chain as teeing up an action; is that fair to
       11       say?
       12                        MR. KIRSCHNER:     Objection,
       13       mischaracterizing the evidence.
       14                        MR. SAUER:    I'm asking what he --
       15       how he views the evidence.
       16    BY MR. SAUER:
       17                   Q.   You do not view that Alex Dempsey
       18       is teeing up an action for social media
       19       companies?
       20                        MR. KIRSCHNER:     Objection, lack of
       21       foundation, mischaracterizing the evidence.
       22                        MR. SAUER:    I'm asking how he views
       23       the evidence.
       24                   A.   Well, did it request a specific
       25       action?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 285 of 363 PageID #:
                                    12564
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 285


        1                   Q.   I'm asking you whether you viewed
        2       it as teeing up an action.
        3                   A.   I don't recall that it requested a
        4       specific action.
        5                   Q.   So do you view it as not teeing up
        6       something for -- for a specific action?
        7                        MR. KIRSCHNER:     Objection, asked
        8       and answered.      That's just --
        9                   A.   I don't recall it requesting a
       10       specific action.
       11                   Q.   Is it your view that if there's a
       12       meeting between the GEC and social media
       13       platforms, where no specific action is
       14       requested, then you haven't teed up anything for
       15       action?
       16                   A.   Yes.   I don't -- I don't believe
       17       that the GEC requested specific actions of
       18       social media companies.
       19                   Q.   Could the GEC give social media
       20       companies, for example, a briefing about how
       21       content on their platforms is, you know,
       22       violative of their platform policies, without
       23       requesting removal?
       24                        MR. KIRSCHNER:     Objection, vague.
       25                   A.   The GEC would not brief a social



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 286 of 363 PageID #:
                                    12565
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 286


        1       media company on their policies.
        2                   Q.   Would it brief them on information
        3       that -- that would relate to violations of their
        4       policies?
        5                   A.   Could you be -- could you clarify
        6       that.
        7                   Q.   Let me ask the question
        8       differently.
        9                        Did anyone associated with the GEC
       10       ever flag information -- or I'm sorry -- flag
       11       content on a social media platform with the
       12       intent of alerting them to information that
       13       violates their policies?
       14                        MR. KIRSCHNER:     Objection,
       15       speculative and vague, ambiguous.
       16                   A.   The only specific example that I
       17       recall is the one that I gave you earlier, about
       18       a threat to US personnel at a facility abroad.
       19                   Q.   That's the 2018 example you talked
       20       about?
       21                   A.   Yeah, I believe it occurred in
       22       2018.
       23                   Q.   Do any of the -- there was a
       24       reference in your previous statements to the 70
       25       tools on the disinfo-cloud.         Did any of those



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 287 of 363 PageID #:
                                    12566
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 287


        1       tools relate to -- to content modulation in any
        2       way or, I'm sorry, content moderation?
        3                   A.   Right.
        4                   Q.   Using the definition that you and I
        5       agreed to a little while ago, do any of those
        6       tools have any relationship with content
        7       moderation?
        8                   A.   I'm not familiar with the specifics
        9       of all the tools.
       10                   Q.   You don't know what -- are you
       11       aware of any tools that do relate to content
       12       moderation?
       13                   A.   None that I can recall.
       14                   Q.   Are you aware of any tools that
       15       would, if used by a social media platform, make
       16       it easier for them to identify content to
       17       moderate?
       18                        MR. KIRSCHNER:     Objection, vague,
       19       ambiguous, speculative.
       20                   A.   I don't know enough about the
       21       specifics of how they conduct content moderation
       22       to say what tools would or would not be useful.
       23                   Q.   Some of the tools, at least, are
       24       designed to assess content that's out there on
       25       social media and try to identify foreign malign



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 288 of 363 PageID #:
                                    12567
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 288


        1       narratives within it; right?
        2                         MR. KIRSCHNER:     Objection, lack of
        3       foundation.
        4    BY MR. SAUER:
        5                   Q.    I thought that's what you said
        6       earlier, can you tell me?
        7                   A.    I don't recall.     I was giving an
        8       example of what might be a tool.           I don't recall
        9       the specific tools on the platform.
       10                   Q.    So you don't recall the specifics
       11       of any tool on that platform; is that right?
       12                   A.    No.     I was not an active user of
       13       the platform, no.
       14                         MR. SAUER:    Can I have W?
       15                         I think it's going to be Exhibit 16
       16       or 17?      16.
       17                         (Exhibit No. 16 was marked for
       18       identification.)
       19                         MR. KIRSCHNER:     Sorry, you said?
       20                         MR. SAUER:    Yeah, is this -- I
       21       think we're on 16.
       22                         MR. KIRSCHNER:     Yeah, 16.
       23    BY MR. SAUER:
       24                   Q.    Do you see this exhibit?
       25                   A.    I do.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 289 of 363 PageID #:
                                    12568
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 289


        1                   Q.   It's October 17, 2022 remarks to
        2       the press by Secretary Blinken, the Secretary of
        3       State?
        4                   A.   Yes.
        5                   Q.   Were you aware that he made these
        6       comments or is this --
        7                   A.   Not these specific comments, no.
        8                   Q.   Can you turn to the second page?
        9                   A.   Okay.
       10                   Q.   Second full paragraph, after a
       11       paragraph discussing collaborations with
       12       Stanford, and partnerships with Silicon Valley
       13       and so forth, the Secretary says:           We also have
       14       to be the ones who are at the table who are
       15       helping to shape the rules, the norms, and the
       16       standards by which technology is used.
       17                        Do you know what the Secretary's
       18       referring to there?
       19                        MR. KIRSCHNER:     Objection,
       20       speculative.
       21    BY MR. SAUER:
       22                   Q.   Do you know?
       23                   A.   I -- I don't know specifically.          I
       24       believe he's referring to international
       25       organizations.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 290 of 363 PageID #:
                                    12569
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 290


        1                   Q.   Okay.   So why don't you -- what do
        2       international organizations do to help shape the
        3       rules, the norms, and standards by which
        4       technology is used?
        5                   A.   I'm not specifically familiar with,
        6       the GEC was not a policy and is not a policy
        7       shop.    So I'm not specifically familiar with the
        8       international organizations that shape the rules
        9       and norms.
       10                   Q.   Are you aware of any efforts by the
       11       GEC to help shape the rules, the norms, and
       12       standards by which technology is used?
       13                   A.   As I said, the GEC is not a -- a
       14       policy shop.     I don't -- it does not have the
       15       lead on -- on policy issues like this.
       16                   Q.   Are you aware of any role of the
       17       GEC, at all, on that?
       18                   A.   To the extent that the GEC has a
       19       role, I think it would be informing the
       20       discussion through insight into the actions of
       21       malign propaganda and disinformation actors.
       22       It's not a policy office.
       23                   Q.   How about elsewhere in the State
       24       Department, what -- what -- what State
       25       Department office would be involved in helping



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 291 of 363 PageID #:
                                    12570
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 291


        1       to shape the rules, the norms, and the standards
        2       by which technology is used?
        3                        MR. KIRSCHNER:     Objection,
        4       speculative.
        5                   A.   I -- I believe there's a new
        6       office, I don't recall the name.           There's a
        7       change in this area.        I -- I -- you would have
        8       to ask my colleagues at the department, but I
        9       believe there is a new office for --
       10       specifically for technology policy.
       11                   Q.   Was there a predecessor to that
       12       office that you're familiar with?
       13                   A.   I believe that previously there
       14       were two offices, and I don't -- I don't -- I
       15       don't recall the specifics.         We were not a
       16       policy shop or a direct participant in policy
       17       debates.
       18                   Q.   That technology policy office, is
       19       it involved in interfacing with social media
       20       platforms?
       21                        MR. KIRSCHNER:     Objection,
       22       speculative.
       23                   A.   I -- I -- I don't know what their
       24       interactions are.
       25                   Q.   Can you flip ahead three more



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 292 of 363 PageID #:
                                    12571
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 292


        1       pages?
        2                        Sorry.
        3                        On the fifth page of the document,
        4       do you see there, there's a question from
        5       someone called Janelle, where she asks:
        6       Stanford is one of the leading institutions to
        7       combat misinformation research and pointing out
        8       propaganda narratives and how they spread.
        9                        Are you familiar with Stanford
       10       having that role?
       11                        MR. KIRSCHNER:     Objection,
       12       speculative.
       13                   A.   I'm familiar with the Stanford -- I
       14       think it's called the Stanford Internet
       15       Observatory.
       16                   Q.   Is that the SIO?
       17                   A.   Yes.
       18                   Q.   What do you know about them?         How
       19       are you familiar with them?
       20                   A.   I'm familiar with them as a -- a
       21       well-known research organization, like the -- I
       22       think there's the Oxford Internet Institute.
       23       There are a number of these research entities.
       24                   Q.   Does GEC work with the SIO or the
       25       Stanford Internet Observatory in any way?



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 293 of 363 PageID #:
                                    12572
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 293


        1                   A.   I don't recall whether we have a
        2       specific interaction with -- specific
        3       partnership with the Stanford Internet
        4       Observatory.
        5                   Q.   So you don't know if there's
        6       anything -- in what connection are you familiar
        7       with them?
        8                   A.   My general familiarity with the
        9       researchers and research in the field.
       10                   Q.   How do you get familiar with the
       11       researchers in the field?         Do you read the
       12       reports or do people in GEC talk about stuff
       13       that they're saying?         Does GEC rely on their
       14       reports in the research that it does or explain
       15       that?
       16                        MR. KIRSCHNER:     Objection,
       17       ambiguous, vague.
       18                        MR. SAUER:     And compound.
       19                        MR. KIRSCHNER:     And compound.
       20       Thank you.
       21                        THE WITNESS:     I -- I --
       22    BY MR. SAUER:
       23                   Q.   Go ahead.
       24                   A.   I follow the news on -- and
       25       research on issues related to the GEC's mandate.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 294 of 363 PageID #:
                                    12573
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 294


        1       And I note some of the research institutes that
        2       are -- that are -- that are producing it.
        3                   Q.   But do you know of any direct
        4       involvement between any GEC people and the
        5       Stanford Internet Observatory?
        6                   A.   I don't recall whether there was a
        7       direct partnership.       I simply don't recall.
        8                   Q.   How about the Atlantic Research
        9       Council, have you ever heard of them?
       10                   A.   The Atlantic Council.
       11                   Q.   Yeah, Atlantic Council?
       12                   A.   All right.
       13                   Q.   Who are they, exactly?
       14                   A.   It's a Washington, D.C.-based think
       15       tank.
       16                   Q.   Is it government funded or
       17       privately funded or do you know?
       18                   A.   It's a mix, I believe.
       19                   Q.   Okay.   And do you have any -- does
       20       GEC have relationship with them?
       21                   A.   So I'm recused from -- starting in,
       22       I think, early 2019 my wife is an employee at
       23       the Atlantic Council, so I recused myself from
       24       any Atlantic Council-related discussions in
       25       2019.    She's at the Eurasia Center at the



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 295 of 363 PageID #:
                                    12574
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 295


        1       Atlantic Council.
        2                   Q.    Okay.    How about Graphika, with a
        3       K, are you familiar with that?
        4                   A.    Yes, I am familiar with that.
        5                   Q.    What are they, exactly?
        6                   A.    I believe that they're a private
        7       sector entity that does research in this area.
        8                   Q.    Are they based in D.C., or where
        9       are they based?
       10                   A.    I don't recall where they're based.
       11                   Q.    Does it -- are you aware of GEC
       12       having a relationship with Graphika?
       13                   A.    I don't recall whether GEC has a
       14       direct relationship with Graphika.
       15                   Q.    Okay.    How are you familiar with
       16       them?
       17                   A.    I'm familiar with their general
       18       research.        I believe they released public
       19       reports and I would see those the way I would
       20       see reports that the Stanford Internet
       21       Observatory would release.
       22                   Q.    Any other -- any other direct
       23       relationship between GEC and -- and them?
       24                   A.    Not that I recall.
       25                   Q.    Turning back to the document here



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 296 of 363 PageID #:
                                    12575
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 296


        1       on the fifth page, the reporter asked the
        2       Secretary:       How do you envision the cooperation
        3       between the State Department and institutions
        4       like Stanford, and combatting the spread of
        5       propaganda, and how does this fit within the
        6       recently released national security strategy;
        7       correct?
        8                   A.   Yes.
        9                   Q.   And the Secretary talks about
       10       Stanford doing remarkable work on that, and we
       11       want to be sure we're benefitting it, because
       12       it's a day-to-day battle of combatting
       13       misinformation and disinformation; right?
       14                   A.   Right.
       15                   Q.   And then he refers specifically to
       16       your unit; right?         He says:   We have something
       17       called the Global Engagement Center that's
       18       working on this every single day; correct?
       19                   A.   Yes.
       20                   Q.   And that work is inspired by work
       21       that's being done in academia, academia,
       22       including here at Stanford, as well as, where
       23       appropriate, collaborations; right?
       24                   A.   Yes.
       25                   Q.   So is he talking about your work,



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 297 of 363 PageID #:
                                    12576
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 297


        1       the GEC's work, being inspired by work being
        2       done at Stanford?
        3                        MR. KIRSCHNER:     Objection,
        4       speculative.
        5                   A.   I -- I believe he's talking about
        6       academic research that helps to inform the work
        7       of the Global Engagement Center.
        8                   Q.   And are there collab- -- when he
        9       talks about appropriate collaborations, are you
       10       aware of any collaborations between the GEC and
       11       academia?
       12                        MR. KIRSCHNER:     Objection,
       13       speculative.
       14    BY MR. SAUER:
       15                   Q.   Including, but not limited to,
       16       Stanford?
       17                   A.   The GEC engages regularly with
       18       researchers on foreign propaganda and
       19       disinformation, some of whom are in academic
       20       institutions.
       21                   Q.   Including the SIO, Stanford
       22       Internet Observatory?
       23                   A.   I believe so, I'm not aware of the
       24       specifics of the interactions with all the
       25       institutions, but yes, like the SIO.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 298 of 363 PageID #:
                                    12577
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 298


        1                   Q.   But you believe there are --
        2       Mr. Kimmage, you don't know specifically whether
        3       there's direct interaction with the SIO, but
        4       generally it's overdue for the GEC to have
        5       direction interactions with research
        6       institutions like the SIO?
        7                        MR. KIRSCHNER:      Objection, vague,
        8       assumes evidence not in record.
        9    BY MR. SAUER:
       10                   Q.   Correct?
       11                   A.   The GEC stays abreast of current
       12       research in -- in the field, and meets
       13       periodically with the researchers, yes.
       14                   Q.   Okay.     And then the Secretary goes
       15       on to say:       One of the things we have to do is
       16       to make sure that we're using technology,
       17       itself, to deal with some of the downsides of
       18       technology when it's misused, including when it
       19       comes to misinformation and disinformation?
       20                   A.   Mm-hmm.
       21                   Q.   Do you know what he's talking
       22       about, how is the State Department using -- or
       23       the GEC, which he's referred to two sentences
       24       earlier -- using technology, itself, to deal
       25       with the downsides of technology when it comes



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 299 of 363 PageID #:
                                    12578
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 299


        1       to misinformation and disinformation?
        2                        MR. KIRSCHNER:     Objection,
        3       speculative.
        4                   A.   So I don't know, specifically, what
        5       the Secretary is referring to, here, but the
        6       Technology Engagement Team at the Global
        7       Engagement Center engages with people who are
        8       developing tools that would help to identify and
        9       counter propaganda disinformation.           I believe
       10       those are the types of engagements that he's
       11       referring to.
       12                        MR. KIRSCHNER:     Counsel, do you
       13       know how much longer?
       14                        MR. SAUER:    Why don't we take a
       15       five-minute break.
       16                        MR. KIRSCHNER:     Okay.
       17                        MR. SAUER:    And I will use that
       18       time to see whether and to what extent I have
       19       more to go over.
       20                        THE VIDEOGRAPHER:       The time is 4:19
       21       p.m.   We're off the record.
       22                        (Recess.)
       23                        THE VIDEOGRAPHER:       The time is 4:32
       24       p.m.   We're back on the record.         Please proceed.
       25                        MR. SAUER:    We have -- plaintiffs



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 300 of 363 PageID #:
                                    12579
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 300


        1       have no further questions for this witness at
        2       the time.
        3                       MR. KIRSCHNER:      The defendants have
        4       no questions, either.        And we believe that this
        5       is closed.     And this is Mr. Kimmage's --
        6       completion of Mr. Kimmage's deposition for this
        7       case.
        8                       MR. SAUER:     His first deposition
        9       for this case.
       10                       MR. KIRSCHNER:      No, this is the
       11       close of his deposition, and that we would
       12       object to any other further reopening of his
       13       deposition.
       14                       MR. SAUER:     If that issue ever
       15       comes up, I'm sure we'll take it up at that
       16       time.    So is that the end?
       17                       THE VIDEOGRAPHER:        With that --
       18                       MR. KIRSCHNER:      Before -- before
       19       the close of it, we would like to read and
       20       review the transcript for him to -- and sign
       21       before --
       22                       MR. SAUER:     Sure.     And we're going
       23       to be asking for expedited, if that's available.
       24       I know I'd asked for Monday, I don't know if
       25       that's feasible.



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 301 of 363 PageID #:
                                    12580
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 301


        1                        THE REPORTER:     It's fine.
        2                        MR. SAUER:    Thanks.
        3                        THE VIDEOGRAPHER:       Okay.   And with
        4       that, that concludes the deposition of Daniel
        5       Kimmage.     The time is 4:33 p.m.       We're off the
        6       record.
        7                        (Signature having not been waived,
        8       the deposition of DANIEL KIMMAGE was concluded
        9       at 4:33 p.m.)
       10                    ACKNOWLEDGMENT OF DEPONENT
       11                   I, DANIEL KIMMAGE, do hereby acknowledge
       12    that I have read and examined the foregoing
       13    testimony, and the same is a true, correct and
       14    complete transcription of the testimony given by
       15    me and any corrections appear on the attached
       16    Errata sheet signed by me.
       17
       18    ____________________           ____________________
       19           (DATE)                    (SIGNATURE)
       20
       21
       22
       23
       24
       25



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 302 of 363 PageID #:
                                    12581
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 302


        1                CERTIFICATE OF SHORTHAND REPORTER
        2                   I, Cassandra E. Ellis, Registered
        3    Professional Reporter, the officer before whom the
        4    foregoing proceedings were taken, do hereby
        5    certify that the foregoing transcript is a true
        6    and correct record of the proceedings; that said
        7    proceedings were taken by me stenographically and
        8    thereafter reduced to typewriting under my
        9    supervision; and that I am neither counsel for,
       10    related to, nor employed by any of the parties to
       11    this case and have no interest, financial or
       12    otherwise, in its outcome.
       13                   IN WITNESS WHEREOF, I have hereunto set
       14    my hand this 14th day of November 2022.
       15
       16
       17    ____________________________________________
       18    CASSANDRA E. ELLIS, CSR-HI, CSR-VA, CCR-WA, RPR,
       19    CRR
       20    REALTIME SYSTEMS ADMINISTRATOR
       21    NOTARY PUBLIC
       22
       23
       24
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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 303 of 363 PageID #:
                                    12582
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 303


        1                                 LEXITAS LEGAL
        2
        3    November 14, 2022
        4
        5    ADAM KIRSCHNER, ESQUIRE
             DEPARTMENT OF JUSTICE
        6    1100 L STREET, NORTHWEST
             WASHINGTON, D.C. 20530
        7
        8    IN RE: STATE OF MISSOURI, et al. v. JOSEPH R.
                    BIDEN, JR. , et al.
        9
       10    Dear ADAM KIRSCHNER:

       11    Please find enclosed your copies of the deposition of
       12    DANIEL KIMMAGE taken on November 10, 2022 in the
       13    above-referenced case. Also enclosed is the original
       14    signature page and errata sheets.

       15    Please have the witness read your copy of the
       16    transcript, indicate any changes and/or corrections
       17    desired on the errata sheets, and sign the signature
       18    page before a notary public.

       19    Please return the errata sheets and notarized
       20    signature page within 30 days to our office at 1608
       21    Locust Street, Kansas City, MO 64108 for filing.

       22    Sincerely,
       23
       24    Lexitas Legal
       25    Enclosures



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 304 of 363 PageID #:
                                    12583
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 304


        1                               ERRATA SHEET
        2    Witness Name: DANIEL KIMMAGE
        3    Case Name: STATE OF MISSOURI, et al. v. JOSEPH R.
                        BIDEN, JR. , et al.
        4    Date Taken: NOVEMBER 10, 2022

        5    Page #_____       Line #_____
        6    Should read:      ____________________________________
        7    Reason for change:       ______________________________
        8
        9    Page #_____       Line #_____
       10    Should read:      ____________________________________
       11    Reason for change:       ______________________________
       12
       13    Page #_____       Line #_____
       14    Should read:      ____________________________________
       15    Reason for change:       ______________________________
       16
       17    Page #_____       Line #_____
       18    Should read:      ____________________________________
       19    Reason for change:       ______________________________
       20
       21    Page #_____       Line #_____
       22    Should read:      ____________________________________
       23    Reason for change:       ______________________________
       24
       25    Witness Signature:       ______________________________



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 305 of 363 PageID #:
                                    12584
                            DANIEL KIMMAGE 11/10/2022
                                                                        Page 305


        1    STATE OF _______________)
        2
        3    COUNTY OF ______________)
        4
        5    I, DANIEL KIMMAGE, do hereby certify:
        6             That I have read the foregoing deposition;
        7             That I have made such changes in form
        8    and/or substance to the within deposition as might
        9    be necessary to render the same true and correct;
       10             That having made such changes thereon, I
       11    hereby subscribe my name to the deposition.
       12             I declare under penalty of perjury that the
       13    foregoing is true and correct.
       14             Executed this _____ day of _______________,
       15    20___, at ___________________________.
       16
       17
       18
       19                                 __________________________
       20                                 DANIEL KIMMAGE
       21
       22                                 __________________________
       23                                 NOTARY PUBLIC
       24    My Commission Expires:

       25



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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 306 of 363 PageID #:
                                    12585
                            DANIEL KIMMAGE 11/10/2022

            A         301:11         156:22         262:22          249:16
      a.k.a 3:5      ACKNOWLE...     157:2         actors 27:3     addressed
      a.m 13:18       301:10         158:23         27:9,15         111:10
       20:13 86:7    acknowle...     159:2          28:8 30:12     addressing
       86:10          219:2          165:23         31:2 32:16      148:8
      AARON 1:12     Acquisition     235:6          33:10          Adele 215:5
      abide 21:25     11:14          273:20         34:24 36:9      252:5
       22:1          acronym         281:2,4        37:7 54:25     ADEYEMO
      able 48:15      113:1          283:22         62:6,21         12:24
       95:5          acronyms        285:17         63:7,13        Administ...
      above-re...     178:3          290:20         69:7 73:5       11:3,11
       303:13        act 25:24      active 104:8    73:9,15        Administ...
      abreast         44:25          170:7          74:23 75:5      7:7 14:8
       298:11         98:17          184:18         78:3 89:24      302:20
      abroad 96:10   acting 11:25    288:12         96:7 97:2      adopt 104:4
       98:23          12:13         actively        107:7          advance
       189:16         22:10          27:13          108:2           281:15
       194:22         25:11         activities      137:2          adversarial
       267:23         31:23 41:5     26:10,16       144:24          27:3
       268:4,9        41:25          27:2 37:17     148:13          156:15
       269:13,21      42:13,13       41:15 68:6     156:23          267:19
       269:23         42:15 60:4     73:15          157:4          adversaries
       286:18         69:21,22       207:19         158:6,19        30:12
      academia        70:6 88:1      209:13         165:10,24       32:14
       155:10         130:24         217:6          217:14          94:25
       296:21,21      131:15         224:16         250:1          advice
       297:11         136:1          225:3          251:3           225:18,22
      academic        139:18         251:7          265:10         advised
       297:6,19       140:6,10       255:17         273:24          36:15
      access 172:5    146:12,15     activity        278:21         advising
       172:12         199:14,16      39:19          279:14,15       36:6
       271:2         action 40:4     170:17,20      279:22,25      advisor 2:15
       282:24,25      40:6 55:1      170:24         280:21          3:9 4:18
      accommodate     224:8          171:3,5,11     290:21          5:4 12:6,7
       150:20         234:17         171:15        actual 110:9     41:3,16
      accounts        235:1          251:12        ADAM 15:13       163:9
       39:19          248:2,11       254:20,21      303:5,10       Advisory
       51:18          274:7          261:21        Adam.kir...      9:19
       171:9          283:19,20      269:16         15:21          advocacy
      accurate        283:24         279:21        add 240:20       246:15
       278:7          284:7,8,10    actor 35:20    additional      advocated
      accuse 34:25    284:18,25      61:14,21       187:6,7         246:3
      achieve         285:2,4,6      89:15,22      addition...     advocating
       279:23         285:10,13      90:18          45:11           246:9,19
      achieved        285:15         170:18,25      237:7          aegis 58:18
       71:6          actions 36:9    184:17        address          60:1
      Ackerman        37:7 61:14     238:23         135:20         AFCEA 17:21
       93:8           73:4 75:5      239:3,6,18     192:5          Affairs 3:1
      acknowledge     137:2          239:20         196:22          8:6 11:7


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 307 of 363 PageID #:
                                    12586
                            DANIEL KIMMAGE 11/10/2022

       16:15          150:23         137:14         75:15,20        23:16,21
      African         168:18        alignment       90:13,19        26:20
       177:14         173:18         164:4,16       90:22,25        29:23
       178:2          195:20         164:20         91:1,3          33:14
      agencies        196:9         allegation      100:4           35:12 37:3
       57:19 58:5     213:13         128:23         102:21          37:24 42:6
       58:16 59:7     221:11        allegations     215:21          68:25 69:1
       59:12          225:13         100:8          216:2           78:16 94:3
       68:14 69:6     226:1,24       250:5          217:19          110:20
       73:24          228:24         258:15,17     Americans        125:20
       117:14         233:23        alleged         75:7,9,25       160:25
       120:18         239:15         100:16         190:25          182:5
       123:2          240:5,6        264:24         193:6,15        209:5
       124:13         241:21         266:16,18      193:19          224:22,22
       172:21         244:4         alleging        200:20          225:7,15
       210:3,15       245:11         265:1,18      amount 49:4      225:17,21
       210:21         247:15        Allergy 2:13    63:14           243:12
       215:14,18      261:9          2:18          analogous        249:3,4,5
       216:19         291:25        ALLIANCE        142:1,3,13      254:22,23
       224:9          293:23         16:2,5         143:3           255:1,13
       270:12        AIDS 35:1      ALLISON 10:3    162:21          255:14
       271:6          74:20         allow 21:24    analysis         256:2,4,8
      agency 4:11     250:6          206:19,22      89:7 98:19      256:19,21
       4:14 50:22     265:2         altered         226:25          257:1,8,10
       58:19 59:1    aim 71:5        108:13         229:7          answered
       61:4 65:17     80:14         alternative     232:11,12       114:7
       66:10         aiming          266:14        analyst          116:8
       78:14          211:18        AMANDA 15:15    227:14          117:18
       121:1         AISHA 6:22     Amanda.k...    analysts         149:16
       223:24        al 20:5,6       15:23          229:5,17        180:9
       270:5          303:8,8       ambiguous      analytic         198:13
      agency's        304:3,3        35:10 37:1     170:5           223:4
       163:17        Al-Queda        76:3          analytical       226:9,22
      agenda 68:2     27:7           217:10         170:9,11        227:20
       68:8 89:3     ALEJANDRO       246:18         170:15          235:4
       89:21 90:3     3:13           247:2         analytic...      238:2
      Agent 7:22     alerting        286:15         27:9            244:2
      aggressive      286:12         287:19        analyze          281:19
       104:7         Alex 188:22     293:17         262:17          285:8
      ago 42:19,19    188:24        amended        analyzes        answers
       105:15         192:7          18:12          27:2            180:24
       287:5          196:11,20      128:7,9       and/or 12:7      257:19
      agree 241:4     198:18         152:4          129:4          Anthony 2:10
      agreed 287:5    284:2,3,9     Amendment       303:16          19:15
      agreement       284:17         224:8,18       305:8          anticipate
       14:2 49:9     Alexis 12:16    225:4,24      ANDREW 5:1       214:2
      agrees          86:13,14      American       announce         258:20
       167:17         129:1          57:20 58:3     44:8           anticipated
      ahead 63:24     132:7          74:5 75:8     answer 17:15     254:16


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 308 of 363 PageID #:
                                    12587
                            DANIEL KIMMAGE 11/10/2022

       259:18         20:13          281:18        assume 56:17     295:1
      anymore        Arabic          285:7          76:23          attached
       272:18         221:12         296:1         assumes          17:8 18:2
      apologize       226:1          300:24         33:11           19:2
       156:25        area 135:4,8   asking 23:16    52:17           301:15
       164:7          141:16         23:16          63:21          attack
      Apparently      264:2          24:21          73:10 79:7      274:21
       140:22         291:7          35:15,16       82:2 93:9      attacking
       191:10         295:7          62:13 77:1     96:2 97:18      212:14
      appear 197:6   areas 107:15    78:15,16       98:5 101:9     attempt
       301:15        argument        90:15          108:20          98:15
      appearances     246:15         206:21         118:6,12       attend 135:9
       20:18         arising         223:18         123:11          215:11
      appeared        110:3          224:20,24      124:7          attended
       232:25        army 191:2      225:1,11       127:5           80:3
       233:5,11      arrangement     249:1          131:8           130:22
      appears         211:4,10       257:21         143:7,15        146:9,18
       43:13 46:2    arrangem...     259:8,9,13     145:15          146:21
       207:21         210:20         275:11,13      148:4,16        215:19
       222:12        array 100:10    284:14,22      155:25         attendees
      applied         261:25         285:1          159:12          149:19
       262:3         article 48:6    300:23         186:7          attending
      apply 36:22     48:10 50:9    asks 292:5      205:17          79:25
       248:23         52:21,23      aspect 46:2     251:17         attention
       282:12,16      57:1,8        aspects         298:8           44:3 75:21
       282:17         60:19 74:4     98:14         assuming         269:5
      applying        74:7 79:6      261:8          43:22 46:5      270:1
       282:11        articles        280:7,7,11     63:9 70:18     Attorney 1:6
      appointed       185:23        aspire 88:7     88:15           1:9 15:4
       31:25          186:3,15      assess          114:10         attorney...
       41:12 60:4     186:20         287:24         115:20          224:20
       64:19         as-needed      assessed        116:23          225:8,16
       67:15 70:7     60:21          229:7          117:9,20       attributing
       94:9 136:2    asked 23:22     242:16         178:20          79:5
       136:5          69:16 95:8     270:24         190:5          audience
       199:15         116:7         ASSISTANCE      204:19          57:21 74:6
      appropriate     135:12,17      13:3           250:19         audiences
       169:14         147:13,15     Assistant      assurance        52:16 58:3
       224:9          151:12         5:7 7:3        133:4,6        author 56:19
       247:25         159:7          9:9            141:19         authority
       248:9          180:8         Associate      athletic         195:4
       278:12         198:13,23      11:6           189:23          253:14
       296:23         223:3         associated      191:3,8         271:3
       297:9          226:9,22       34:16 53:6     201:8,14       authoriz...
      approval        227:20         128:25        Atlantic         25:24
       278:17         235:4          179:10         219:15          44:25 45:6
      approved        238:2          180:7,19       294:8,10        199:7
       172:5          244:1          180:21         294:11,23       200:12
      approxim...     257:5          286:9          294:24         authorize


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 309 of 363 PageID #:
                                    12588
                            DANIEL KIMMAGE 11/10/2022

       195:13         233:13,19    167:15          Beebe 202:21      91:17,23
       198:8          242:21       185:10           202:22,23        92:10
       205:20         243:4,7      213:10           204:10,12        99:12,15
       231:6,12       246:2        252:25           205:12,21        99:20
      authorized      248:16       295:25           211:22           100:6,15
       199:6          249:8,11     299:24           214:21           101:20
       203:18,21      249:15      bad 23:10         243:21           102:16
       205:15,23      253:20,21   balance           251:25           103:4,19
      authorizing     254:1,6,9    157:8           began 47:15       105:16
       199:24         254:11,12   ballots           104:3,10         106:21
       231:7,13       254:14,20    242:14          beginning         107:16,17
      automated       255:2        243:6,8          20:3 24:1        107:24,25
       51:18          256:16      bands 206:15      42:18            112:2
      available       258:2,8     bar 240:9,25      43:20            116:12
       278:4          259:1,2,14  base 111:22       44:16            119:8,14
       283:5          259:15,16   based 10:24       45:11 46:1       119:20,22
       300:23         260:4,5,6    92:9,10,13       47:6 169:2       119:24
      aware 38:12     260:7,8,12   147:25           221:12           120:9
       40:9,15        260:13,15    157:21          begins 50:15      121:19,21
       46:13,18       260:17       237:7            94:24            122:16,18
       55:15,21       275:5        239:21          begun 50:16       122:25
       56:6 63:6      287:11,14    272:24           169:13           125:4
       83:8,12        289:5        273:3,6,8        269:19           126:5
       87:1,8,10      290:10,16    273:11          BEHALF 15:2       130:15,21
       126:21,23      295:11       295:8,9,10       15:12 16:2       131:20
       154:25         297:10,23   basic 111:22      16:13            132:7
       158:20        awareness    basically        behavior          133:3,24
       159:14         158:18       94:22            232:25           135:3,7
       161:4          262:20,23    114:20           233:11           137:1,10
       185:1          275:3        161:14          believe 39:1      139:23
       187:9,12                    219:3            39:17            140:1,14
       194:12,14           B      basics 21:13      40:22            140:20
       194:16        b 17:7 18:1  basis 58:14       43:18            141:6,10
       195:2,7         19:1 32:9   60:21            47:10            141:11,16
       200:18          47:21       80:16            53:24            141:25
       211:9,22      B-e-e-b-e     111:16,25        64:13 65:7       142:3,12
       211:25          202:24,25   117:6            65:13 66:3       142:15,20
       212:5         back 24:10    205:4,8          66:23            142:23
       213:18,24       24:16       211:19           67:23            143:2,16
       219:9,22        34:23 40:7 Bates 18:17       71:22            145:17
       220:17,17       60:19       18:20,21         72:20            146:4
       220:21,24       86:10       18:24            79:23            147:24
       222:2,10        91:21       161:19           80:14,19         148:1,22
       224:13          104:24      167:16           81:2,19          149:2,16
       225:23          115:24     battle            82:12 85:8       151:22
       226:6,11        138:2       296:12           85:10 87:3       152:4
       226:12,18       147:12     bearing           87:17 88:1       153:23
       226:23          151:4       161:19           88:19            154:4,13
       232:16          161:13     BECERRA 2:3       89:17,21         154:21


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 310 of 363 PageID #:
                                    12589
                            DANIEL KIMMAGE 11/10/2022

        161:12,13     299:9          237:3         breaks 24:3      175:7
        161:17,23     300:4         botnets         24:4           Bureau 3:5,5
        163:4        beneath         103:7         Brian 10:9       3:11 7:13
        170:4         107:8         bots 35:22      191:18,19       7:25 10:16
        172:1,2,8    benefitting     36:17          192:3,8         10:20 11:1
        172:10,20     296:11         51:17          196:7,19        19:12
        172:21,25    BENJAMIN        54:21,25      bridge           276:19
        175:23        5:21           55:6,9,11      209:13         BYRD 8:16
        176:2,4      best 24:22      96:25         brief 63:18
        177:17        133:17         97:24          63:19 64:6            C
        179:7        better 31:19    103:9,12       285:25         C 15:1 16:1
        182:19,23     262:4          103:14,25      286:2            16:1,17
        183:4,19      267:5          104:7         briefed 63:5      17:1 18:1
        184:15        280:25         171:3          84:19            19:1 20:1
        188:3,25     beyond 40:19   bottom 94:23   briefer           56:9
        189:3,9       184:3          179:22         62:24          C-I-S-A
        191:19        209:25         181:3,11      briefing          76:21
        194:14        229:23         181:11         21:24 22:3     calendar
        195:7        BHATTACH...     188:20         62:21 63:2       81:20,23
        201:12        1:11           198:17         285:20           82:11
        202:19,19    Biden 1:17      209:10        bring 143:12      130:20
        202:20        20:6 303:8     211:12         216:11           134:9
        207:4         304:3          218:15        broader           145:23,25
        215:23       big 81:7        220:3,4        126:13           173:21
        216:3,20      83:2           226:14        broadly         calendars
        243:13        128:12         227:5          204:5            81:17
        247:23       bit 48:21       234:7         broker 155:8    California
        252:2         103:5          235:22        Brookings         14:5
        253:12        139:4          241:10,22      18:10            154:12
        254:8         180:16         261:6          113:24           273:4,6,9
        267:22        256:11         263:14         123:10           273:11
        271:7        blah 236:4,4    267:16        brought         call 42:22
        272:20        236:4,5,5      268:18         189:23           56:10
        273:10       blaming        Box 15:6        191:2            64:25 81:7
        276:7,12      96:18         BRAD 11:19     bucket            83:20
        277:7        Blinken        Branch 2:25     271:25           122:21
        278:9,16      19:15          8:5           Budget 7:10       126:7
        278:18        289:2         Bray 11:24     building          150:16
        279:10       block 247:19    131:23         15:5 31:16       159:17
        281:21       blocked        break 85:16     31:19            164:14
        284:6,7       234:10         85:22         bullet 181:4      203:7,11
        285:16       blocking        127:17         181:11         called 29:5
        286:21        234:19,25      150:5,8,14     182:13           86:17
        289:24       board 4:23      206:7          185:21           106:15
        291:5,9,13    89:18          212:21,25      187:2            116:11
        294:18       body 57:13      252:13,16      211:13,13        141:17
        295:6,18     bold 193:11     299:15        bulletins         167:16
        297:5,23      219:15,16     breakdown       274:16,21        169:20
        298:1         219:16,18      157:22        bunch 147:16      188:22


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 311 of 363 PageID #:
                                    12590
                            DANIEL KIMMAGE 11/10/2022

       191:16         273:23         13:23 14:2     89:7 94:10      20:15
       232:6          275:6          20:16          98:10          certify
       245:12         279:12,15      302:2,18       120:5           302:5
       253:6         capacity       cast 262:17     121:8           305:5
       267:20         1:18,22,25    casting         129:1          chain 41:8
       275:4          2:4,11,23      263:9          131:2           167:23
       277:22         3:8,14,19     caveat 36:2     144:22          188:16
       292:5,14       3:24 4:7       248:12         177:4           195:12,21
       296:17         4:16,20        262:15         192:16,19       196:1
      calling         5:2,6,12       265:14         194:4           235:9
       29:19          5:17,22        278:15,16      197:1           284:5,6,10
       62:10          6:4,11,16      281:20         208:17         chains
       110:14         6:20,23       cc 178:25       219:17          188:17
       248:17         7:2,6,16      CCR-WA          232:12,12      challenge
       254:19         7:21 8:3,9     302:18         232:13,17       164:5,17
       255:10,24      8:13,17,21    CDC 8:7,11      241:25         challenges
      calls 26:17     9:1,8,13      CE 38:4         269:12,25       270:18
       68:23          9:17,23       cell 120:6      276:20         CHAN 7:20
       74:25 92:8     10:1,4,7       120:10,14      277:9          change
       92:16          10:10,13       120:15,23      280:17          246:19
       110:20         10:18,22       121:14,22      283:21          291:7
       115:2,22       11:5,13,20     122:20         294:25          304:7,11
       136:24         11:25 12:5     123:1,4,6      296:17          304:15,19
       167:9          12:12,17       124:15         297:7           304:23
       265:12         12:25 13:6     189:1          299:7          changes
      campaign        13:10         censorship     center's         245:17,23
       33:18,20       42:15          129:3          49:23           303:16
       34:23          130:25        Census 3:4,6    57:18           305:7,10
       100:20,23      139:18         3:11 10:16     73:23          channel
       108:10         251:16         10:19 11:1     156:10          190:25
       189:7         careful        center 12:3     158:17          193:14,18
       190:19         23:11          12:9,14,20     269:18          193:19
       193:5,16      carefully       19:13 22:8    Centers 2:20     200:20
       195:8          23:15          22:14          3:2            channels
       200:22        CAROL 2:22      23:25         certain          256:8,19
       201:5,7       carry 26:10     24:10 25:2     21:20          chapter
       275:5          26:25          25:8,21,22     37:19 55:6      245:12
      campaigns       278:19         26:10,25       138:4          characte...
       32:15,17      case 20:7       27:8,21        254:1           35:25
       33:5 34:9      24:21          28:2 43:20     258:18          74:10,13
       34:11          54:16          44:13,24       280:6           282:19
       99:18          128:7          45:1 46:11    certainly       characte...
       100:3          282:20         46:20,21       30:18           61:9 79:16
       101:2          300:7,9        46:24 47:3     34:18           79:17
       144:24         302:11         48:4 57:17    CERTIFICATE      157:8,22
       148:20,23      303:13         58:2 60:8      302:1          charge 119:6
       165:9,23       304:3          65:15         certified        119:13,16
       249:19        cases 102:17    78:21          14:3,4,5,7      119:18
       251:2         Cassandra       86:16 89:5     16:24           120:1


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 312 of 363 PageID #:
                                    12591
                            DANIEL KIMMAGE 11/10/2022

       126:16,18     China's         191:13,21      68:15 71:4      297:9,10
       231:14,15      102:7          192:8          90:9           collabor...
      charges         263:6          193:5,21       120:12          241:23
       152:9         China-fo...     194:4,5        180:12         colleague
      check 144:1     62:5           195:5,14       247:3           39:3
      checkers       China-re...     195:25         257:3          colleagues
       183:12         201:10         197:24         262:14          115:5,13
       185:24        China-sp...     199:25         272:2           115:25
      checking        89:12          200:21         275:15,24       117:8
       182:13        Chinese 33:5    210:4          286:5           120:4
      CHEEMA 6:3      55:9 102:3     220:25        clarifying       169:1
      chemical        102:11,13      221:19         151:6           192:15,16
       112:23,23      102:25         222:3         clarity 66:8     196:25
      chief 2:15      103:9,12       223:2,8,14    CLARKE 5:16      291:8
       2:23 7:17      103:14         223:14        classified      collected
       8:14 10:14     148:20,23      230:9          110:14,21       245:7
       32:2           201:21         232:18         255:25         collection
       131:24         217:13         260:7          256:7,18        159:24
      chiefs 64:24    263:1,2       CISA's 76:19    257:8           244:14
       80:8 88:2      265:3,10       76:22         clear 110:18    Columbia
       131:1          265:22         210:4,11       114:16          14:9
      children        266:2,10      CISA.DHS...     241:20         combat 30:16
       128:3          266:22         192:5          245:4,9         98:4 181:5
      China 27:4      268:1         CISA’s 10:7     257:11          292:7
       28:9 30:13    Chinese-...    cited 112:8     263:25         combating
       32:16          266:5          113:3         click 145:19     17:19
       60:18 65:1    chisels         236:16        Climate 4:17    combatted
       83:21          170:3         City 15:7      close 115:4      200:22
       89:18 90:1    CHOI 8:20       303:21         115:13,25      combatting
       96:8,15       CHRISTY 8:20   civil 16:2,5    117:7           209:15,19
       97:4 103:5    CHUZI 15:15     209:14         118:3           296:4,12
       103:24        circumst...     228:9          120:25         come 23:6
       104:3,8,12     123:18         268:10,13      121:1,3,6       24:9 62:16
       104:19        CISA 9:19,24   claiming        121:23          62:18 78:2
       105:2,6,10     10:2,5,11      189:22         300:11,19       99:13
       137:3          65:15 66:6     191:1         closed 300:5     132:13
       144:24         66:8,13,22    claims         closely          144:15,21
       148:13         67:11 68:8     211:20         94:18           176:23
       165:25         68:14,21      clarific...    coded 237:7      207:16
       170:25         69:9,17,19     23:21         collab-          262:6
       175:23         70:13          28:22          297:8          comes 25:23
       184:18         71:13,17       59:20         collabor...      298:19,25
       185:20         71:19          121:2          156:19          300:15
       240:1          76:17,18      clarify        collabor...     comfortable
       262:18         76:21          26:22          156:13          136:12
       264:17         77:14          36:19 43:9     224:15         coming 90:12
       265:8          78:19          52:1 55:20    collabor...      145:1
       266:11,25      177:13         56:14          289:11          184:6
       267:5          188:18         59:20          296:23         command 41:9


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 313 of 363 PageID #:
                                    12592
                            DANIEL KIMMAGE 11/10/2022

      comments     5:24 6:6          169:15        complaints       110:3,5,8
       49:1 114:4  6:13 8:10         183:16         212:14          181:15
       289:6,7     8:23 10:15        228:10,11     complete         239:25
      COMMERCE     11:17             247:12         221:19          255:19
       3:12        13:11 87:6        248:13         223:8,10        258:8
      Commission   117:3,5           249:13         301:14          259:5,18
       13:4        123:21            250:23        completely      concerned
       305:24      124:12            272:6          194:25          39:7 77:3
      Commissi...  129:3             273:13,15      195:1          concerning
       11:6,9      201:6             273:21        completion       21:17
      committee    258:18            278:24         300:6          concerns
       107:18      259:22            279:7,8,16    Complex 59:7     33:9 38:15
      common 167:5 260:11,15         280:10,25     compliance       39:25
      communicate  271:13            281:5          133:4,7         55:18
       39:6,12     272:5,9           282:2,16      component        109:22
       124:15      273:20            282:22         59:1            181:17
      communic... community          283:4,10       114:24          194:7
       27:17       59:2 63:1         283:22         133:5           205:3
      communic...  120:21            284:19         141:18          211:7,23
       68:13,16    121:10            285:18,20      142:1,4,13      212:2
       87:1 116:5 companies         company 89:9    142:16          216:22
       116:21      29:9,11,13        141:7          143:1,3         241:22
      communic...  29:15 30:4        187:22        components       242:14
       31:19       30:23             188:6          29:8            255:5,17
       68:20 69:5  31:10,13          247:23         120:20         conclude
       69:9,16,17  32:21,22          250:15         142:25          239:1
       69:19 87:8  36:5,22           281:11        compound        concluded
       115:5,13    37:6,19           282:25         37:22           301:8
       115:17,25   38:3,10,16        283:7,18       38:19          concludes
       116:2       45:17 47:8        283:24         166:21          301:4
       117:7,15    47:17             286:1          293:18,19      conclusion
       117:16      50:23            compared       computed         113:5
       118:3,16    53:10,17          266:12         263:4           239:19
       123:24      54:18 55:6       compelling     computer        concrete
       124:5,17    76:15             275:22         170:1,5         34:21
       125:14      78:25            competition     178:6          conditional
       204:1       79:14,18          189:24        conceptual       256:14
       225:8,16    83:1,3,5,6        191:3,8        31:1           conduct
       235:8,9     83:9,17,23        201:9,14      concern          98:19
       253:16      84:19,23         complaining     30:22 31:6      156:6
       254:3       90:23             193:18         36:7,13         217:7
       256:17      91:11 92:3       complaint       39:9,14         225:3
       257:22      92:4 99:9         18:12          40:13           275:4
       258:1       99:14,16          128:7,9        48:18           287:21
       259:3,17    103:2             152:4          55:25          conducted
       259:25      155:20            202:9,10       74:15,23        34:19
       260:8       157:6             202:13         75:4,6          90:17
      communic...  159:2             218:21         78:10           167:14
       3:10 5:14   165:4             258:14         109:24         conducting


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 314 of 363 PageID #:
                                    12593
                            DANIEL KIMMAGE 11/10/2022

       32:18         consult         247:10,20     contribu...     coordina...
      conference      183:12         247:21,25      218:14          28:15,18
       178:18        contact 92:3    248:3,10      Control 2:21     58:20 59:9
      Confiden...     120:11,17      248:11,17      3:3             61:15
       18:19,21       120:20,25      248:20,22     controlled       68:13,20
       18:23          121:24         249:9,12       97:23           114:20
      congratu...     123:2,6,8      253:7,9       convene 59:6     115:23
       173:11         123:15         254:5         convergence      120:6,10
      congress...     163:6          257:21         104:11,12       120:13,15
       25:23 26:5     202:15,18      285:21         104:17,18       120:23
       36:12         contacted       286:11         104:20          122:1
       63:12 69:4     197:22         287:1,2,6     conversa...      124:11,15
       107:19        contacts        287:11,16      34:4 47:16      155:7
       280:19         123:3          287:21,24      50:2 53:14      189:1
      connection     content 19:7   context         54:8 113:8     coordinator
       46:9,12,14     30:21 31:3     38:13,14       137:25          6:18 12:1
       46:18          31:5 33:8      54:15          235:16          12:13 22:8
       184:5          33:17,19       62:19,25      conversa...      22:10,11
       207:6          34:17          87:9           31:5 38:8       25:12,12
       213:21         36:16,22       108:13,15      53:3,8          25:16,17
       214:4,8,25     36:24          115:7          54:23 55:3      31:24,24
       216:5          37:19          126:6          55:5,8          31:25 32:6
       242:19         38:17          184:8          156:5           41:1,5,12
       246:25         39:24          186:25         225:2,23        41:25
       248:18         40:12          187:7          242:22          42:13,14
       293:6          51:24 52:3     203:17         249:8,10        42:16,16
      connecti...     55:12,18       206:23         249:11,15       60:4,5
       182:6          55:25          207:9,10      convey 55:25     64:19 66:4
      connector       61:17,23       224:25        cooperation      67:15
       228:4          61:24 85:6     225:21         296:2           69:21,22
      consequence     103:6          249:17        coordinate       70:6,7,7
       264:1          118:15         263:17         57:18 58:4      88:1,11
      considered      129:4          264:14         61:5 73:24      94:9,16
       244:24         137:24         267:10         98:20           118:17
      consistent      159:9          268:19         122:3           119:16
       166:15,16      175:5         continua...     170:19          130:24
      consisting      181:17,23      135:24        coordinated      131:15,18
       155:2          182:1         continue        170:16,24       136:1,2,5
      consists        193:17         79:24          171:2,5,11      139:19
       115:1          200:20         169:7,16       171:15          140:6,10
      conspiracy      211:18        continuo...     261:21          146:12,13
       264:6          232:25         25:7           279:21          146:15
      constant        233:5,10      contrasting    coordinates      199:14,15
       123:24         235:1          102:9          27:16           199:16,18
       124:5          236:23         267:1         coordina...      231:18
      constituted     239:9         contribute      57:13          coordina...
       242:15         246:10,15      222:6          68:16           32:2 80:8
      construc...     246:23        contributed     121:14,22       131:1
       155:8          247:4,5,6      220:4          122:20         copies 43:3


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 315 of 363 PageID #:
                                    12594
                            DANIEL KIMMAGE 11/10/2022

      copy 43:1    193:2,6,19        163:12         274:19         COVID 81:11
       198:18      193:23           Council         278:20          92:13
       303:15      196:2,7,22        58:14 59:4    counterpart      100:2
      corner       197:3,8           219:15         121:1           101:23
       226:14      210:17            294:9,10       123:19          102:4
      correct      212:11            294:11,23     counterp...      144:11,14
       25:14 28:3  220:6,9           295:1          198:24          144:25
       44:9 50:24  221:20           Council-...     200:15          238:22
       51:1,10,19  222:15            294:24        countert...      239:23
       51:22,25    223:2            counsel 6:21    28:10           263:17,21
       52:16,22    224:1,2,11        20:18 95:4     60:18           267:19
       52:24 53:1  226:16            127:14         61:25           268:8
       53:2 57:21  227:3             150:2          83:21          COVID-10 5:3
       58:21       228:1,11          151:12         268:19         Covid-19
       66:10       228:15            256:15         269:11,18       5:13,19
       70:14,22    230:9,11          299:12        countries        6:1,9,12
       72:10 74:1  230:15,22         302:9          27:4            6:17 95:22
       74:6 76:5   233:1            Counselor       102:10          96:1 99:10
       76:21 79:1  234:5,10          3:25           215:25          99:19
       79:2,6      234:15           counter         266:13          100:25
       82:8,13     237:9,18          17:13          267:2           105:2
       95:22       240:2,23          25:25 26:6    country 39:4     189:23
       114:8,24    241:16,23         27:14          187:18,20       191:2,7
       115:14      242:1             95:25 96:9    COUNTY 305:3     237:8,16
       123:7       244:7,20          98:15,22      couple 93:17    COVID-re...
       134:10      245:18            116:3          151:6           96:13
       141:23      246:21            156:10         167:15          238:8
       142:8       248:3             169:23        course 22:3     CRAWFORD
       153:15,19   263:18            176:18         263:6           2:22
       155:10,11   264:3             204:6          272:11         create 171:8
       156:16      270:18            263:5         court 1:1        229:4,16
       162:8,19    271:15            274:6,10       14:4 15:5      created
       162:25      275:2             274:12,13      20:9,15,20      44:16 45:1
       163:10,14   277:4             274:23,24      21:23 23:5      45:4
       164:1       278:5,25          278:4          151:22         creating
       165:21      282:13            299:9          152:6,6,20      100:24
       168:5,24    283:8            counter-...    Court's 22:3    creation
       169:2,17    296:7,18          261:12,16     COURTNEY         43:19
       172:23      298:10            277:22         5:11            265:2,16
       174:2,6     301:13           countering     cover 181:1     credibility
       181:1,6,9   302:6             19:10 44:8     196:24          274:21
       182:15      305:9,13          71:25          207:4,7        crisis
       186:4      corrections        95:21          208:21,22       263:18
       187:3       301:15            105:1          275:19          264:2
       188:18      303:16            163:17        coverage        CRR 302:19
       190:20     Corrigan           165:1          85:10          CSIRT 177:19
       191:4       166:3             174:1          207:16          177:20
       192:5,6,9   174:5             176:18        covered          186:1
       192:22     corrobor...        263:11         250:25         CSIRTs


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 316 of 363 PageID #:
                                    12595
                            DANIEL KIMMAGE 11/10/2022

       177:14       20:4 21:1       December        248:14          22:15
       178:2        21:7 129:2       153:17        definitely       27:18 39:7
      CSR-HI        301:4,8,11      decide 150:8    149:25          39:11 44:6
       302:18       303:12          decided        definition       44:7,12
      CSR-VA        304:2            250:4          287:4           49:10,22
       302:18       305:5,20        decisions      DEHMLOW 7:15     53:6,13
      curious      data 107:10       37:5 38:3     delegiti...      54:5,9
       218:23       234:12           38:5,7,10      211:15,23       55:16 56:4
      current 21:9  244:6,13        declare         212:11          57:19 58:5
       22:5 28:14   245:3            305:12        delegiti...      73:25
       35:16 45:2   262:17          deem 247:20     211:19          112:9
       71:22        263:10           283:20        delegiti...      120:21
       298:11      date 20:11       deepen 36:8     234:4,14        121:9
      currently     130:10,17        37:6          delibera...      177:13
       41:2,20      146:17           156:22         249:5           185:25
      curve 261:9   175:17           279:14         255:11          189:14
      CY1 7:23      277:12,13        283:17        delibera...      192:15
      cyber 65:16   301:19          deepening       68:24           197:1
       66:9 77:4    304:4            157:1          249:1           220:22
       77:24       dated 48:3        279:17         254:25          221:20
       107:1,1,3    57:4 93:8       defend         democracy        222:6,11
       107:6,12     276:22           156:20         18:8            225:9
       112:20      dates 91:14      DEFENDANT      demonstr...      259:24,25
      Cybersec...   119:10           15:12          35:2            260:2
       4:9,12      day 79:22        defendants     demonstr...      290:24,25
       9:18         122:19,24        13:13 20:7     39:5            291:8
      cycle 255:21  139:12,15        21:16         Dempsey 8:2      296:3
       259:7        242:17           300:3          188:22,24       298:22
                    296:18          defending       191:12          303:5
             D      302:14           156:14,18      196:11,20      Departme...
      D 15:3 16:1   305:14          defense 24:5    198:19          17:15
        18:1 19:1  day-to-day        24:11          283:23          128:25
        20:1        177:3            25:24          284:1,2,3       241:25
      D.C 15:19     296:12           44:25          284:9,17       Departme...
        16:7,18    days 57:5         49:10         Dempsey's        12:2
        81:9,13     303:20           112:19         190:8          depend 62:24
        92:11      de-empha...       120:22         192:7           121:4,4
        146:6       247:19           121:9         denigrate       dependent
        154:9,11   de-platform       173:4,7        97:10           60:12
        189:17      247:19           175:18        department      depending
        295:8      deal 298:17       179:18         2:6,8 3:12      146:17
        303:6       298:24           277:14         3:16 4:4       depends
      D.C.-based   dealing          defensive       4:24 7:12       108:14
        294:14      267:3            158:22         9:20 11:23     DEPONENT
      DANA 6:19    deals 65:20      defer 110:15    12:10,15        301:10
      Daniel 12:11 dealt 162:18     define 69:12    12:21,22       deposed
        13:16 14:1 Dear 303:10       69:14          15:17           22:19
        17:2,9     debates           131:10         16:13 18:4     deposition
        18:3 19:3   291:17           247:11,12      18:13           13:16 14:1


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 317 of 363 PageID #:
                                    12596
                            DANIEL KIMMAGE 11/10/2022

       19:3 20:4      99:14,17       272:11        differently     director
       20:17          105:14        developers      286:8           2:12 4:8
       21:17,19       109:17         172:2,20      difficult        4:21 5:8
       21:21          141:20         271:7          121:5           5:13,18,23
       143:23         142:6,9       developing     difficul...      6:5,12
       151:14,18      159:10         96:22          274:17          8:11,22
       300:6,8,11     191:22         271:12        digital 2:24     9:2,4,14
       300:13         194:5,20       272:5          5:9,18 7:8      10:23
       301:4,8        237:24         299:8          8:5,18 9:2      11:21 13:7
       303:11         255:8         DHS 3:22 4:3    9:5,14          13:11 60:7
       305:6,8,11     274:12         10:11          166:8           66:13,16
      depositions     281:7          58:21 59:9     174:9           66:17,18
       21:18          283:14         59:25          219:14          67:11
       152:17        describes       60:23 61:3    Diplomacy        70:13 72:5
      deputies        43:18          62:5,22        16:15           72:5,12
       32:1 64:23     270:20,23      63:19 64:7     49:23           175:4
       88:2          describing      64:8,11,15    diplomatic      director...
      deputy 5:7      49:23          64:18 65:4     189:9,11        66:22
       5:23 6:5      description     65:5,7,19      189:13         Directorate
       8:10,22        33:24          65:24 66:4     192:21          10:15
       9:4,9,14       57:23          66:10          194:17         disagree
       10:23 13:1     153:10         115:5,13       195:9           238:11
       22:7,10        278:8          116:1,5,22     197:3          disconti...
       25:12 32:1    designated      117:8,16      direct 25:24     172:23
       40:25          121:23         118:4          39:23 41:4     discourse
       41:11         designed        120:22         44:2 59:8       262:19
       42:13,16       287:24         260:8          117:4          discredit
       60:5 64:20    desired        diagram         185:10          105:3,7,11
       69:23 70:8     303:17         226:15         218:3          discuss
       80:7 94:15    destabil...     230:1          291:16          29:25 30:6
       118:16         217:19        Diana 167:16    294:3,7         47:9 52:14
       131:1,18      detail 35:14    168:4,25       295:14,22       76:8
       146:13,15      42:2 45:24    dictating       298:3           136:13
       199:17         281:14         274:7         direction        164:14,15
      describe       detailed       differed        161:8           217:12
       25:20          227:13         105:17         298:5           279:11
       26:15          261:19        difference     directive       discussed
       54:15          264:8          25:15          36:5            21:21
       61:12 68:9    details        different       231:25          30:22 31:6
       69:18          53:18          71:3 126:1     232:1           32:11
       194:10         236:11         140:25        directly         51:17
       211:1         determin...     141:1          29:8 32:7       52:10,13
       270:16         39:20          148:3          38:16           53:19 54:5
      described      determine       194:20,25      39:13 41:8      61:18 62:7
       54:13 56:7     247:24         195:1          94:13           63:8 64:13
       60:20          248:9          257:18         174:25          68:1 72:23
       66:12         develop         262:2          179:8           84:1,3,9
       71:20 88:7     273:19         265:17         199:11          84:16 89:1
       98:18         developed       275:1,3        245:6           89:24 90:5


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 318 of 363 PageID #:
                                    12597
                            DANIEL KIMMAGE 11/10/2022

       101:6,14      discussions      96:7,14       204:8,17        104:21
       101:17,21      33:16,18        97:6,8,9      205:2,3         105:10
       102:1          34:8,18,20      97:20 98:2    207:20         dissemin...
       103:1,12       36:1 54:17      98:11,16      209:19          21:19
       103:17,23      61:8,10         98:22         217:14          96:23
       103:25         73:7,16         99:10,18      224:1,5         157:13
       105:20         90:21           100:2,13      238:18,20      distinction
       113:12,14      101:16          100:23        242:23          239:8
       118:2,10       105:24          101:2,13      243:1,5,9       267:11
       136:6          109:12,15       102:13        250:1          District 1:1
       137:4          197:16          103:17        251:3           1:2 14:8
       138:7          221:6,9         105:1         261:22,24       20:9,9
       144:4          224:14          106:15        262:21         division 1:3
       148:15         242:18,22       107:1,2,4     263:6,22        2:25 7:24
       149:3,4,6      243:5,23        107:6,12      264:3,9         8:6 10:14
       169:6,25       248:21          108:10,11     267:4,12        20:10
       194:21         249:15          113:6         268:1          divisions
       216:1          254:14          116:13        270:17          27:20 28:5
       236:12         294:24          136:11        271:13          29:7
       243:19        Disease 2:20     139:6         273:15,24      divulging
       248:18         3:2             144:23        274:2,6,16      256:4
      discusses      Diseases         148:23        274:20         DNC 107:20
       244:6          2:14,19         149:7         275:18,23       111:11,18
      discussing     disinfo          156:11,16     278:1,5,20     DNC's 108:2
       34:11 48:3     189:6           156:20,23     278:24          109:10
       114:20        disinfo-...      157:4,14      279:8,14       docket 21:22
       148:2,21       169:20,21       158:4,6,8     279:19         document
       148:22         173:13          158:18        280:1,20        42:22 43:8
       289:11         270:16          163:18        282:6,23        43:24
      discussion      271:5           165:1,10      283:5           47:22
       30:15,20       286:25          165:12,18     290:21          48:13,16
       30:25         disinfor...      165:20,24     296:13          48:22
       40:11          4:22 17:23      169:24        297:19          50:12 93:2
       51:23 53:4     18:6 19:11      170:18,25     298:19          93:18 94:3
       54:4,12        26:1,2,7        174:1         299:1,9         95:6
       84:11          27:5,11,14      176:19       Disinformed      104:24
       90:19,24       30:14,16        177:25        18:8            106:7
       91:2 99:18     33:5 54:22      181:6        disputed         114:14,18
       113:24         55:7 63:13      182:14        266:13          128:12,13
       186:1          65:20 69:7      184:17       disrupting       143:19
       195:11         71:17,18        186:4         217:19          144:7
       236:22         73:5 76:7       190:19       disrupts         152:6
       246:23         77:23 78:2      191:20        112:20          153:5
       254:24         78:9,10,11      192:20       disseminate      159:17,22
       255:3          84:9,16,18      193:5         107:4           161:19
       256:9          84:24           194:6,17      158:7           173:19
       262:6          89:20           195:8        dissemin...      184:7
       266:3          90:16,25        197:2         148:12          186:8
       290:20         95:21,25        200:22       dissemin...      206:17


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 319 of 363 PageID #:
                                    12598
                            DANIEL KIMMAGE 11/10/2022

       260:23        drafting        92:16,21       288:6           210:4
       276:6          276:8,9        92:23          298:24         efforts
       277:7,18       278:17         107:20        early 270:21     17:12
       278:18         281:21         108:3          294:22          25:25
       281:12,13     draw 239:19     109:10        easier           97:21
       281:23        drawing         115:1,19       287:16          105:3,8,12
       283:3          239:10         115:22        East 261:4       290:10
       292:3         drip 206:6      145:7         Easterly 4:6    EI-ISAC
       295:25        Drug 11:2,10    159:24         66:17           232:6,8
      documented     DS 189:7,8      175:8         eastern 39:4    EIC 231:1
       94:2 98:1     due 22:3        177:11,12     ecosystem       EIP 203:11
       104:6         duly 21:2       177:18         18:6 97:1       203:24
       107:17                        192:11         97:3 98:11      204:3
      documents            E         194:16         106:16          205:16
       45:8 93:17    e 13:23 14:2    195:10         280:3           207:18
       143:22          15:1,1        198:4,5,7     edits 276:15     209:12,12
       151:13,18       16:1,1,1      198:9         educate          210:5,11
       151:21,23       16:24 17:1    201:3,4        157:12,21       210:13
       152:3,20        17:7 18:1     273:9          281:15          212:2,7,9
      doing 27:10      18:1 19:1    EAC 13:8,12    educated         213:21,25
       31:2 40:16      19:1 20:1    earlier         158:1,3         214:4,8,10
       41:17           20:1 32:9     54:13 60:2     281:6           214:12,16
       60:11 68:5      302:2,18      72:3 80:12    educating        215:3
       104:19        e-mail 18:19    84:13          157:5           216:5
       139:12          18:21,23      99:22         Education        218:4,15
       237:22          92:22         102:4          11:18           219:4,6,23
       263:7,8         163:7,20      116:16        educational      220:1,5,9
       280:21          164:10        138:24         283:15          220:18,22
       296:10          166:3         140:9         EE 240:22        220:25
      dollars          167:23        147:13        effect 37:4      221:17
       49:10           168:8,17      149:7          246:3           222:3,7
      domestic         168:21        154:8         effective        223:17
       40:2 74:17      169:2         162:18         102:8           226:19,25
       74:23           175:17        172:16         275:20          227:14,18
       76:12 78:3      178:17        191:22        effectively      228:4
       78:11           188:16,17     199:10         266:25          229:5,7,17
       183:25          188:21        201:11        effectiv...      231:8
       217:19          190:8         204:24         97:10,12        232:2,22
       269:22          192:5,7       237:12         185:23          233:3
       270:1           193:20        244:16        effects          235:10
      Dorell 57:1      194:2,3       255:8          96:10           237:22
      DORI 6:10        195:21        261:19        efficacy         238:13
      downsides        196:1,11      262:6          96:21 97:7      241:6
       298:17,25       196:20,22     264:8          100:3,4         245:22
      Dozens 210:3     198:19        271:4,18       101:13          246:3
      DR 1:10,12       284:5         272:8          105:20          251:4,16
       1:13 2:10     E-mail(s)       274:12         264:11,12       252:9
      draft 276:13     18:17         284:5         effort 98:8     EIP's 244:24
       276:25        e-mails 92:8    286:17         98:18           246:6


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 320 of 363 PageID #:
                                    12599
                            DANIEL KIMMAGE 11/10/2022

      either 25:11   election...     255:21       203:6,13          161:10
       60:4 65:21     84:8,12,16    employed      203:15            167:14
       66:1 72:4      84:18,22       302:10       215:3,9           169:7,16
       107:17         84:24 90:4    employee      227:1             173:15
       116:10         90:10          189:19      engagement         177:3
       139:24         209:16         273:11       5:15,25           192:16,18
       184:6          215:2          294:22       6:7,14            194:4
       189:18         218:9         employees     8:14,19           197:1
       191:19        elections       57:18        9:3,10            208:17
       234:10,18      90:17,20       73:24        12:3,8,14         214:12,15
       247:18         90:22 91:1    employment    12:19,20          241:25
       252:8          91:3           91:15        18:14             269:12,18
       300:4          138:13        enable        19:13 22:8        269:25
      election        204:9          210:14       22:14             276:19
       10:8 13:3      215:13,21     enabled       23:25             277:9
       19:5,6         215:22,25      107:1,2,6    24:10 25:2        280:17
       90:12,12       216:2          107:12       25:8,20,22        283:21
       90:13,16       217:20        enclosed      26:10,24          296:17
       90:19          230:6          303:11,13    27:8,21           297:7
       112:11         236:24        Enclosures    28:2,19           299:6,7
       116:19         239:14         303:25       29:4,10          engagements
       129:5          243:15        encourage     30:3 31:13        31:17 56:6
       138:6          246:11         55:1         43:20             70:1,3,5,9
       144:13         251:13        encouraged    44:13,23          70:10,16
       202:1,11      electoral       47:17        45:1 46:11        121:7
       203:7          91:1          encourages    46:20,21          155:8
       204:9,18      electronic      69:5         46:24 47:3        157:10
       210:15         81:17         encouraging   48:4 49:5         299:10
       211:15,19      235:8          50:23        50:6 52:2        engages
       211:23         254:3         enforce       52:4 56:4         185:16
       212:11,15     element         36:16        58:2,13           297:17
       215:9,10       237:9         enforcement   60:8 83:19        299:7
       216:15,17     elements        110:17,21    86:15,15         engaging
       216:23         280:2,4,16     224:7        88:24 89:5        53:17
       217:7         Ellis 13:23     254:19,21    89:7 91:8         214:17
       218:2,9        14:2 16:24     254:25       91:11             224:17
       224:5          20:14,16       255:11,25    94:10 98:9        254:24
       226:3          302:2,18       257:9        120:5            entire 41:7
       231:17        ELVIS 7:20      270:11,12    121:8             47:11
       232:10        embassies      engage 29:11  129:1             114:3
       234:5,14       267:23         29:12,14     131:2             115:8
       242:17        embassy         37:16        132:2             206:17
       245:16,17      189:16         215:8        144:22            260:1
       251:8         emerged 35:3    224:16       153:8,11         entirely
       255:21        emergence       248:19       153:14            60:12
       258:11         266:15         274:5        155:22            101:16
       259:7,20      emerging       engaged 40:9  156:6,10          126:25
      election...     229:6,18       69:6 89:8    158:17            216:20
       246:4         employ          185:16       159:4             245:4,9


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 321 of 363 PageID #:
                                    12600
                            DANIEL KIMMAGE 11/10/2022

      entirety        15:15,16     73:11 79:8  141:11               285:20
       48:13          16:3,4,14    82:2,2      142:5                286:16,19
      entities        303:5        88:16       152:15               288:8
       162:25        essentially   93:10 96:3  167:13              examples
       166:19         126:11       97:17,18    171:19               107:5
       197:21         221:3        98:6 101:9  175:19               108:16,25
       219:9,19       271:20       108:20,20   208:7,16             171:22
       228:14        establish     111:20      229:13              exception
       268:4,6        44:12        114:11      294:13               61:24
       292:23         68:12 92:3   115:21      295:5               exceptional
      entity         established   116:24     EXAMINATION           54:16
       202:14         44:23        117:10,21   17:2 21:3           excerpt 18:7
       282:3          108:23       118:6,12    151:9                114:3
       295:7          153:18       123:12      152:1               excerpts
      entry 21:22     232:22       124:7      examined              128:6
      environment     271:10       127:5       301:12              exchange
       38:9 89:6     establis...   131:8      example               30:8
       107:11         272:4        143:8,15    30:19                210:14,20
      environm...    establis...   145:16      33:22                211:2
       268:2          44:8 46:11   148:5,17    34:21,21            exchanged
      envision        46:19        155:25      54:6 61:25           30:10
       296:2         estimate      159:13      62:3 63:1           exchanges
      envoy 199:4     131:12       178:21      74:18 75:9           167:7
       200:6         et 20:5,6     186:7       81:16 82:6          exchanging
      equally         303:8,8      190:5       96:18,21             156:21
       128:3          304:3,3      204:20      97:1 99:7           exciting
      equipped       ethnically    205:18      99:25                114:24
       36:16          268:20,25    223:4       103:7,8             excluded
      equips          269:17       229:9       104:5                224:7
       280:24,24      270:2        231:10      107:9,11            exclusively
      equivalent     Eurasia       251:18      107:14,16            78:9
       238:25         294:25       284:13,15   107:21              Executed
      equivalents    evaluation    284:21,23   117:16               305:14
       162:24         232:24       298:8       126:15              executive
      ERIC 1:6        233:4,10    ex 1:5,8     149:5                7:10 13:7
       8:12           233:14,20   exact 37:15  163:23               25:16
      ERICA 11:4     event 72:1    113:1       171:11               43:19
      errata         events 121:4  119:10      208:19               44:17,22
       301:16        everybody     133:5       240:1,22             45:4 46:20
       303:14,17      149:21,22    135:15      251:25               208:3
       303:19         149:24       157:22      262:20,24            209:7
       304:1          249:22       202:5       263:2,10            executives
      escalated      evidence      203:17      267:2                51:8
       181:13,25      33:12 35:3   204:22      274:14              exercise
      especially      43:23 46:6   207:9       279:21,25            124:11
       223:22         52:18        217:4       280:21              exhibit 17:9
       224:5          58:24       exactly      281:25               17:10,14
      ESQUIRE 15:3    63:10,22     47:14 92:1  282:5                17:17,21
       15:13,14       70:19        92:12       283:1                18:3,4,7


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 322 of 363 PageID #:
                                    12601
                            DANIEL KIMMAGE 11/10/2022

       18:12,13       119:5          230:20       232:24            207:23
       18:16,19       124:19        extra 43:1,2  233:3             214:5
       18:23 19:3     131:3         extremism    facilities         221:4
       19:4,7,9      experts 63:3    17:13 44:9   100:9             237:25
       19:12,14       132:9          268:21      facility           238:4
       42:22,23      Expires         269:2,17     286:18            239:9
       47:23,24       305:24        extremist    fact 35:2          242:4
       56:10,11      explain         268:23       136:17            278:7
       56:17,18       46:12          269:13,22    182:13            282:19
       57:6 73:21     293:14         270:3        183:12            284:10
       93:2,3        explained      Eyeballing    214:15           fairly 24:6
       106:8,9,12     271:4          213:18       263:8             33:1,5
       113:19,20     explicit       eyes 48:16    267:5             120:25
       115:9          223:25                      272:14           Faith 10:24
       120:3         exploit              F      fact-che...       fake 17:19
       123:25         158:7         face-to-...   183:7,16          171:5,8,11
       127:10,12     explore         166:25       183:17            185:24
       127:16,22      164:3,15       167:6       fact-che...       fall 191:9
       128:1,6       expose 98:8    Facebook      182:18,21        falls 271:24
       152:25        exposing        19:7 51:10   182:24           false 96:17
       153:1          19:10          52:14        183:2,6           100:8
       159:18,19      156:14         75:22,25     184:1,13          190:23
       161:14        expression      80:20        185:7,8,16        201:10
       177:7,8        181:15         82:13        237:4             211:20
       188:8,10      extend 75:6     139:21,24   factor             239:23
       188:13        extends         140:1,15     238:10            264:18
       206:2,3        78:10          141:4,9,12 facts 43:23         267:5,9
       213:12        extent 68:23    141:13,17    159:12           falsely
       252:12         69:1           141:19,25   fair 24:1,23       190:25
       253:2,3        110:14,20      142:1,11     25:13            familiar
       260:19,20      129:10         142:18       34:14             153:21
       276:2,3        136:12         143:5,13     35:25 37:9        179:12
       288:15,17      159:4          145:18       44:13 46:8        253:13
       288:24         202:16         160:20       49:4,24           287:8
      exhibits        224:20,22      162:22       57:23             290:5,7
       128:2          225:16         183:8        73:13             291:12
       252:15         249:1,4        192:9,24     74:10             292:9,13
      exist 171:9     254:19,23      193:22       81:25             292:19,20
      expanding       255:10,13      194:4        101:14            293:6,10
       263:3          255:24         234:8        106:20            295:3,4,15
      expedited       256:3          240:21       108:7             295:17
       300:23         257:8          244:13       114:21           familiarity
      expert          290:18         250:3        128:16            293:8
       171:16         299:18         253:7,9      134:13           familiarize
       262:16        external 6:7   facilitate    142:2,14          48:22
      expertise       11:7           31:19        154:23            93:18 95:5
       32:4 65:2      227:12,17      91:10        157:18           far 106:25
       80:10 88:5     228:1,9,13     155:7        179:4             145:21
       117:25         229:2          161:10       185:8             178:25


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 323 of 363 PageID #:
                                    12602
                            DANIEL KIMMAGE 11/10/2022

       236:3,5        162:6         Fiona 114:7     299:15         focus 28:8
       240:19         163:8         firms 274:2    five-year        30:25
      fashion         166:25        first 94:4      69:20           34:18
       184:19,20     federal 7:13    95:15          109:7           60:13
      FAUCI 2:10      7:25 210:3     129:16        flag 33:7        61:19,20
      favorably       216:19         143:19         55:17           61:23
       102:9          258:19         176:2          186:17          64:14 68:9
      FB.com          259:3,9,10     177:22,23      195:4,14        74:13,14
       192:11         259:11         180:2          199:25          76:6,14,16
      FBI 57:19       270:11,12      188:20         226:15,19       76:18,20
       58:5,20       feel 256:8      192:4          229:6,17        77:7 78:14
       59:9,25        256:19         200:7          238:12          78:19 98:8
       60:23 61:1    felt 136:12     202:25         286:10,10       98:14
       61:2 62:4     Fewer 134:4     209:7         flagged          157:20
       62:21         field 293:9     224:8,17       189:6           185:19
       63:18 64:2     293:11         225:4,24       193:1,23        239:21
       64:3,5         298:12         227:9          200:19          268:20
       73:25         fifteen         228:8          240:12,16      focused
       120:4,11       150:3          229:12,12      241:6           47:12
       121:15,24     fifth 292:3     230:3         flagging         60:14,15
       122:1,2,17     296:1          245:7,14       33:21           60:16,17
       122:23        fight 50:24     252:20         34:13,16        61:13 68:5
       123:6,9,17    fighting        261:6          34:16           77:5 84:17
       123:19         267:19,25      266:21         204:17          85:1 89:15
       124:15         268:8          267:16         205:2           89:16
       125:9         figure 81:24    274:25         232:24          102:6
       126:14        filed 152:20    300:8          233:4,9,14      103:4
       197:6,11      filing         fit 296:5       233:20          109:2,4,21
       197:17,19      303:21        FITF 122:21    FLAHERTY 5:5     112:24
       199:25        Finally         124:22,25     flip 94:21       124:17
       200:21         267:17         125:5,24       112:4           148:11
       254:15        financial       126:4,7,8      128:18          165:22
       255:5          184:22         126:17,19      166:23          204:8
       260:14,15      302:11         126:22         168:18          216:21
      FBI's 124:22   find 275:21     127:8          173:18          249:12,14
       255:17         303:11        five 23:25      189:5           249:24
      FBI’s 7:18     findings        86:2           195:20          268:16
      FDA 11:18,22    233:25         106:24         196:9           269:16
      feasible        270:17         127:19         213:12         focuses
       300:25        fine 43:5,6     131:13         221:11          77:18 78:8
      features        85:15          134:6          226:1,24       focusing
       104:3          150:14         149:17,19      233:23          84:4
      February        212:22,24      150:4,11       240:5,6        focussed
       48:3 49:1      301:1          209:8          244:4           249:23
       51:9 57:5     finish 22:25    213:1          245:11         folder
       67:18,18       29:1 65:25     241:3          267:13          206:13
       94:10,11       166:16        five-minute     291:25         follow
       131:16        finished        85:21         flow 227:3       293:24
       140:10         251:9          252:12        fly 81:7        follow-up


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 324 of 363 PageID #:
                                    12603
                            DANIEL KIMMAGE 11/10/2022

       145:8          158:4,6,20    forms 59:8      220:6,11       front 28:13
       168:21         163:18        formulate       221:22          29:11
      followed        165:1,9,12     276:13         222:9,17        31:12 39:2
       110:24         165:17,24     formulation     228:20          165:4
       111:7          170:17,24      226:7          229:9           188:13
      following       183:25         276:11         231:4,10        208:21
       29:2           184:17        forth 76:1      233:8           267:18
      follows 21:2    187:19,21      183:8          234:22         FTIF 260:15
      Food 11:2,10    188:5          185:10         236:18         full 68:2
      footnote        204:7,17       228:5          238:2           94:23
       112:2,5        205:2,3,6      274:18         245:1,25        115:7
       113:3          215:25         283:13         251:18          161:25
      force 7:19      217:14         289:13         253:18          172:13,22
       44:9           237:9,17      forum 236:4     270:9           172:22
       116:11         237:21        forums 59:11    284:21          215:17
       122:17         238:8,9,14     61:2 64:4      288:3           221:13
       191:25         238:17,19     forward        four 24:16       227:5
      foregoing       238:23,24      23:17          211:13          228:8
       301:12         239:2,4,5      48:10          219:8,8,18      229:12
       302:4,5        239:12,13      177:24         221:17          246:1
       305:6,13       239:14,17      213:5          228:23,24       289:10
      foreign 7:18    239:18,20      252:17         230:2          fully 49:11
       26:1,6         239:24         282:9         four-year       function
       27:15          243:2         forwarded       71:2            280:18
       32:16          249:25         191:13        fourth           283:16
       35:20 40:1     251:2          192:8          277:18         Functional
       40:3 54:24     261:21         196:13        Francisco        19:12
       61:14          262:22        forwarding      7:24 81:8       276:18
       63:13,19       267:24         196:20        freestan...     functioning
       63:20 64:9     268:3,4       forwards        50:14           251:5
       69:7 73:5      271:13         193:22        frequency       fund 49:11
       73:9 74:15     273:24         196:1          37:15          funded 17:16
       75:5,9,24      278:4,21      foundation      123:3           100:18
       76:6,11        279:13         114:12,16      250:15          172:9
       78:9 79:1      280:20         115:7,10      frequent         219:3,6
       79:15,19       287:25         117:10         58:14           221:3,19
       84:8 96:7      297:18         118:7          69:11           222:13
       99:1,6        foreign-...     124:7          72:21           223:7,9,10
       107:6          238:5          129:14        frequently       223:11,15
       108:2         Forensic        134:17         32:5 37:14      265:21
       116:3          219:14         167:20         71:15           294:16,17
       122:16        forgetting      169:4,10       250:10,13      funding
       136:10         216:10         174:11,18     Frisbee          49:19
       137:2         form 108:7,9    186:6          86:13,14        220:8,18
       144:24         108:11         193:8,13       129:2           220:21,24
       148:13         233:16         193:25         132:7           221:7,10
       156:11,15      305:7          196:4,16       137:14         further
       156:23        formed          212:4,17      FRISBIE          151:17
       157:3,13       210:14         213:23         12:16           222:24


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 325 of 363 PageID #:
                                    12604
                            DANIEL KIMMAGE 11/10/2022

      Fuse 19:4        68:4,4,14      172:6,9     240:17            163:25
      future 18:9      68:21 69:9     174:1       241:6             165:15
       251:13          71:13,16       175:16      242:19,23         185:12
                       72:16          178:16,18   243:5             205:8
            G          73:19          179:4,10    246:9,14          214:10
      G 20:1 92:24     74:24          179:17,19   246:24            240:14
      G-e-o-r-g-e      75:11,19       180:7,19    248:18,19         277:2
        203:2          76:8 78:24     180:21      248:22            278:8,19
      Gabrielle        79:13,21       182:17,23   249:2             281:13
        93:13,24       80:5 81:12     183:1,5     251:15            293:25
        94:6 136:4     83:8 84:21     184:9,13    252:1,6,7         297:1
        199:4,9,21     91:13          185:6       253:13,22        GEC/FITF
        199:24         95:21,24       186:12,13   254:9             126:11,12
        200:6          96:6,9         186:16      259:8,16         GEC/TET
        231:19         98:3,17        187:15      259:17,21         153:18
      Gabrielle's      105:1          188:1,18    269:4            GECs 34:22
        95:16          106:14         189:2,4     272:18,20        general 1:7
      GALATAS 8:8      108:17,22      191:13      272:24            1:10 2:1
      GALEMORE         109:1,8        192:15      273:10,21         8:15 30:7
        10:21          110:22         193:5       273:25            33:5 34:8
      game 262:20      113:15         197:10      274:4             38:7 77:2
      gap 209:13       116:5,21       200:19      278:2,11          77:17
      gatewayp...      117:13,18      202:15,17   278:23            110:3
        236:23         118:1          205:10,15   279:6             137:11
      gatewayp...      119:5,15       207:10,16   282:6,12          139:5
        235:23         121:13         211:10      282:21            148:9
        236:5,9        122:20         212:1,6     285:12,17         184:14
      geared 38:9      123:1,5        213:19,24   285:19,25         214:12,15
      GEC 18:5         124:21,24      214:3,7,17  286:9             217:13
        27:24          125:24         215:6       290:6,11          242:13
        30:22 33:8     126:22         216:14,18   290:13,17         248:16
        37:16 38:2     131:5,11       217:7,11    290:18            293:8
        38:4,6,14      132:18         218:3       292:24            295:17
        40:10,16       135:13         224:14,16   293:12,13        GENERAL'S
        40:21          136:9          225:2,4,23  294:4,20          15:4
        44:16          137:9,13       226:6,12    295:11,13        generally
        45:22          143:10,12      226:19      295:23            25:20
        46:16          147:14         228:18,21   297:10,17         34:16,17
        49:11 53:9     148:2          229:15      298:4,11          60:15
        55:16,23       149:11,12      230:11,13   298:23            61:20,23
        58:20 59:9     149:20         231:7,15   GEC's 36:11        62:15
        59:18          153:8          231:21,23   46:2 63:11        67:25
        60:23 61:2     157:5,20       232:2       69:4 73:6         72:24,25
        61:4 62:4      159:7          233:14,19   74:13,14          77:16
        62:21,23       163:9          234:24      75:4,5            81:12
        63:4,18        165:11,14      235:5       76:6,13,16        83:12
        64:1,5,7       165:16,19      237:24      110:1             117:4
        64:21,22       165:22         238:12      116:2             125:19
        66:4 67:14     169:13         239:20,25   124:10            161:4


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 326 of 363 PageID #:
                                    12605
                            DANIEL KIMMAGE 11/10/2022

       186:16      global 12:2  143:25              106:8           50:21
       187:15       12:8,14,20  150:13,21           113:18          74:19
       205:11       19:13 22:8  150:23              115:25          96:19,22
       221:2        22:14       166:1               127:11,15       98:21
       243:16       23:24       179:22              127:25          100:8,16
       256:18       24:10 25:2  181:3,4             150:3           100:18,19
       267:25       25:7,20,22  197:12              152:25          100:24
       268:10       26:9,24     209:6               159:16,17       102:20
       274:1        27:8,21     222:24              188:8           111:3
       298:4        28:2 43:19  225:13              198:13          112:18
      generated     44:12,23    235:7,20            206:1,16        114:20
       84:8         45:1 46:11  237:2               209:24          155:9
      GEOFFREY      46:19,21    239:14              212:20          159:25
       9:25         46:23 47:3  247:14              216:18          172:1,21
      George        48:3 58:2   252:15,19           245:20          178:4
       202:21,22    60:8 86:15  264:16              247:11          187:18,19
       202:25       89:5,7      271:9               257:13          187:21
       203:1        94:10 98:9  293:23              288:15          188:5
      getting 42:1  120:4       299:19              300:22          209:14
       50:1 75:14   121:8      goal 82:6,8         Goldstein        210:15,21
       109:11       129:1       156:13              49:21 50:3      211:2,11
       228:24       131:1       165:11,13           50:5,16,20      220:8,18
       249:4        144:22     goals 164:4          51:7 53:17      220:21,24
      GINA 4:15     156:10      164:16,20           54:3,3          222:13,14
      give 23:3,7   158:16      165:3,15           Goldstein's      223:24
       27:1 42:21   177:3       226:3,7,13          50:25 52:2      228:9
       47:22        192:15,18   278:8              good 20:2        229:3,15
       48:20        194:3      goat 92:25           41:16           230:3,21
       93:17 95:4   197:1      goes 44:11          Google 51:8      230:25
       107:13       208:16      45:9 51:6           52:13           235:9,13
       127:9        241:25      51:16               80:20,21        235:14
       149:22       263:25      52:12 74:5          82:16           236:13
       171:9        269:12,18   78:23               139:24          250:5
       188:7        269:24      197:5               140:2,15        258:19
       260:18       276:19      224:4               141:4           265:2,19
       262:4        277:9       227:11              142:21          265:20,21
       275:25       280:17      298:14              162:22          266:16
       285:19       283:21     going 21:12          183:8           271:6
      given 256:6   296:17      28:25               196:13          278:2
       301:14       297:7       44:16              Google.com       294:16
      gives 169:19  299:6       48:10,12            196:21         governme...
       282:15      go 22:21     48:13              Google/Y...      25:25
      giving 48:25  23:17 36:1  55:16               145:22         governme...
       49:1         63:24 69:2  58:24              Gotcha 113:2     228:14
       123:15       85:19,25    76:24              Governance      governments
       282:21       94:22       78:13               4:22            99:1,6
       288:7        115:12      85:14 90:8         government       187:13,17
      glanced       123:23      93:1,2              17:12          grant 184:21
       208:2        127:18      97:16               27:17          granted


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 327 of 363 PageID #:
                                    12606
                            DANIEL KIMMAGE 11/10/2022

       21:23          111:11,14      195:3          282:9,18        221:20
      grants          111:18        happening       283:17         hope 180:25
       267:17,24      112:1,15       121:5          290:2,11       hoped 135:21
       268:3          112:15        happens         299:8          hopefully
      graph 240:8     113:5,9,13     250:10,13     helped 87:3      282:8
       240:9,19       254:15        happy 169:6     88:19 92:2     hour 85:14
      graphic         255:6,7,20     169:16        helping          86:1 93:16
       106:25         257:13        harm 27:5       209:18          127:25
      graphics        258:9,20       36:10          289:15          212:20
       106:24         258:23        Hawaii 14:3     290:25         hours 206:18
      Graphika        259:5,18      head 41:13     helps 44:2      House 1:23
       219:15         259:22         72:13          263:5           4:17 5:3
       295:2,12      hacked 108:2    86:22,24       280:6           5:10,13,18
       295:14        hacking         117:12         297:6           6:1,8,12
      grasp 262:9     107:9,20       162:14        HENRY 10:12      6:17,24
      greet 146:8     109:13,15      168:9,12      hereunto         9:6 17:10
      ground 22:22    109:16,23      178:5          302:13          43:13
      grounds         109:24         191:20        hey 33:23        45:14
       249:3          110:6,23       266:8          35:16,20        46:23,25
       256:23         111:10        heading         250:4           47:2 50:22
       258:4         HALE 9:25       237:3         HHS 8:19,24     HRSA 8:23
      group 61:6     Halfway         244:13         9:3,11,15      HSIANG 7:5
       72:6,13        268:17        heads 119:10   Hi 167:23       huge 275:19
       135:6         Hamilton       health 2:6,8   high 110:4      Human 2:7,9
       230:14,17      119:8,20       11:16          112:15         HUMPHREY
       230:19         119:24         95:18          161:20          5:16
      groups         hammers        hear 195:5     high-level      hundred
       228:25         170:3          255:4          33:24           40:23
       230:2         hand 93:1      heard 197:7    higher 30:25    hundreds
       241:24         106:7          202:1,7        210:2           234:13
       269:16,19      302:14         218:18        higher-l...     hypothet...
       269:21,22     handed 128:5    236:8,12       33:17           62:10 75:1
       269:23         128:6          242:18        highest          75:18
       270:3          152:25         247:4,5        39:10 65:9      159:12,12
      guess 173:13    159:16         253:23         199:5           182:3
       179:16         188:9          294:9         highligh...
       270:21         253:1         height 99:22    267:8                I
      guys 81:7       260:19         105:22        Hill 114:7      I2 119:13
       85:17         handful        held 14:1      HINES 1:11      I2C2 28:16
       136:18         143:9          20:8 42:17    HOFT 1:12        28:17
                     handing         216:14        hold 29:24       60:10
            H         177:6          273:5          31:17,18        117:23
      H 1:24 17:7    happen 34:7    Hello 168:25    86:2 273:2      118:24,25
        18:1 19:1    happened        180:23        holds 30:3       119:3,6,13
        106:6         24:20 33:3    help 50:23     Homeland         119:18
      hack 107:22     80:16          170:10,15      3:16 4:4        121:20,23
        108:17,25     107:14,24      209:14         4:24 9:21       123:16
        109:8,9       130:13         261:20         44:7 57:20      124:16
        110:4,9       194:13         279:18,20      58:6 73:25      125:11


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 328 of 363 PageID #:
                                    12607
                            DANIEL KIMMAGE 11/10/2022

      I2C2's          280:19         195:3          298:18          271:15
       124:14         287:16,25      197:10,11     incorrect        274:5
      IA 198:24       299:8          197:18,20      154:10         Infectious
       200:15,16     identifying     198:10        increase         2:14,18
      IC 121:23       56:15          200:24         156:13         inferred
      idea 218:25     109:6         incident...     158:17          146:1
       221:14,16      111:17,25      244:6         increasing      influence
       222:3,14       156:14         245:2          268:20          7:18 37:17
       223:17         184:15,25     incidents      Increasi...      38:2
       241:5          249:9          109:16         17:22           122:17
       242:3         IDs 245:6       110:6         incubator        238:9
      ideas 57:14    Iheme 142:17    111:15         57:14           263:3
      identifi...    immediately     113:3,4       indention       info-demic
       42:24          50:19          182:8          36:14           267:20
       47:25          223:23         194:23        Independent      268:9
       56:12 93:4    impetus         229:6,18       202:10,13      inform 36:21
       106:10         135:16         232:24        indicate         38:5,7
       113:21        implement       233:4,10       303:16          55:2 64:9
       127:13         26:11          233:14,20     indicated        297:6
       153:2         implemen...    include 24:5    57:1           information
       159:20         261:13,18      70:11         indicates        17:18 18:9
       177:9         implicating     74:15 78:1     234:12          21:20 30:8
       188:11         96:19          81:20 85:6    indicating       30:10
       206:4         important       155:19         240:15          32:23 33:6
       253:4          277:25         160:2         indirectly       35:19 38:5
       260:21         280:3,18       225:8          38:16           51:19 68:3
       276:4         in-scope        228:14         55:17           68:9,11,24
       281:16         234:1          230:21        individual       69:2 71:20
       288:18        inaccurate      241:24         120:19          72:10,17
      identified      74:12          269:22         132:22          73:1,2
       63:20 95:2    inapprop...     271:5          141:15          77:7 78:8
       128:24         247:20,25     included        153:24          89:8
       208:9          248:3,9,11     92:15,21       203:6           108:12
       230:13        inauthentic     131:14         215:1           110:15,17
       249:19         170:16,20      228:9          218:2           116:16
      identifies      170:24         245:3,4        253:22          119:15
       190:2          171:3         includes       individu...      136:13
       228:1          261:21         122:1          146:7           156:7,8,9
       230:2          279:21        including      individuals      156:21
      identify       incidences      55:16          64:24           157:23
       63:12          181:12,24      102:10         131:5           169:14,22
       170:16,23     incident        129:1          134:23          184:22,24
       171:15         49:13          210:4,16       163:5           185:3,6
       182:14         54:12          230:25        INDRANEEL        186:14
       249:7          109:16         243:1          15:16           191:11,23
       261:20         111:11         281:23        Indranee...      192:1
       278:3          178:6          282:25         15:24           198:23
       279:20         194:12,19      296:22        industry         210:14,20
       280:6,10       194:20,25      297:15,21      169:15          211:2


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 329 of 363 PageID #:
                                    12608
                            DANIEL KIMMAGE 11/10/2022

       214:6,10      initiative      296:3         interaction      41:24
       224:21         172:7          297:20,25      39:23 40:9      163:17
       232:11        injunction      298:6          40:19,20        164:4
       249:2          152:14        instruct        42:3 99:8       302:11
       250:17,20     inoculation     68:25          125:23,23      interested
       250:22,24      275:4          110:19         126:1           165:19
       254:25        input 226:7     163:5          197:19         Interest...
       255:12,15      226:12         224:21         216:12          237:15
       255:25         276:10,15      249:2          293:2          interests
       256:1,4,13     276:17         254:21         298:3           164:15,20
       256:22        inside 183:2    255:12,22     interact...      164:25
       257:9,9        224:10         255:23         36:4 39:15     interface
       258:4         insight         256:1          40:10           29:8
       270:17         290:20         257:10         46:16 47:8     interfacing
       273:22        insights       instructed      71:12           291:19
       279:11         159:5          163:4          72:15,20       interfer...
       282:15,21     insinuate      instructing     72:24           112:10
       283:15         102:20         225:7,15       76:10 99:6      237:9,18
       286:2,10      insinuated     instruction     126:21,24       237:21
       286:12         102:19         256:14,15      212:6           238:8,14
      informed       insinuating     257:15         213:25          238:19,21
       39:3           102:16        integration     217:5           238:24
       219:18        inspired        278:11         291:24          239:4,12
       251:1          296:20        integrity       297:24          239:14,24
      informing       297:1          19:6 129:5     298:5          Interim 13:7
       55:5          Instagram       138:6         interactive     intermed...
       290:19         234:9          144:13         262:25          55:17
      infrastr...     244:13         202:2,11      interagency     internal
       4:10,13        253:10         203:8          27:19           27:20 28:5
       65:16 66:9    instance        226:3          28:15,17        37:5 61:1
       77:24          31:9 33:2      243:14         59:11           109:12
       230:6          38:21          245:17         61:15 64:3      111:3
       232:11         55:21         intellig...     117:12          142:10
      infreque...     254:12         59:1 63:1      120:5,10        193:1,23
       64:1          instances       107:18         120:13,15       195:11
      infringe...     34:3 38:12     112:19         120:18,22       227:2,14
       225:24        Institute       120:21         121:14,22       235:8
      initial         2:13,17        121:9          122:20,25       243:22
       47:11          123:10         224:9          123:4,6         249:5
       146:4          183:19        intent          124:11,17       255:11
       221:14,16      261:4          286:12         126:6,10       internally
      initially       292:22        intention       126:13,24       27:17
       162:7         institutes      37:17          189:1           171:17
       191:24         294:1         interact        197:21         internat...
       267:3         Institution     126:4          200:17          185:7
      initiated       18:10         interacting     201:6           187:2,10
       135:16         113:25         46:3           215:11,20       187:10,12
       147:14,15     institut...     213:19         216:18,21       187:16
       147:19         292:6          252:9         interest         188:4


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 330 of 363 PageID #:
                                    12609
                            DANIEL KIMMAGE 11/10/2022

       191:8          263:1          290:25         109:22      Jobe 174:22
       201:8         invite          291:19         124:21,23   jog 147:17
       289:24         134:10,18     involvement     124:24      John 15:3
       290:2,8        145:12,23      203:23         125:1         16:3
      internet        173:21         204:2,7,23     129:4         212:19
       219:16        invites         204:25         215:2,9,10  John.sau...
       221:18         81:17          205:5          216:15        15:9
       223:9         involve 70:6    210:11         253:9       John.vec...
       232:13,17      96:24,25       214:10         254:4,8       16:9
       235:2          124:18         216:5          290:15      joint 50:5
       292:14,22      187:15         218:3          293:25        152:16
       292:25         225:24         222:11        Italy 267:2  joking
       293:3          272:10         234:24        items 127:7    206:19
       294:5          274:13         294:4         iteration    Joseph 1:17
       295:20        involved       involves        45:2,23       16:24 20:6
       297:22         38:14          62:4           46:21         20:14
      interns         40:18          215:10                       303:8
       222:3          41:18,23      involving             J       304:3
       223:14         42:3 45:22     54:16 66:3    J 16:3 19:15 JOSHUA 9:7
      internships     46:3 47:4      101:2         JANELL 9:12  JR 1:17
       221:19         50:1 65:10     127:8         Janelle        303:8
       223:8,11       80:7 117:2     188:18          292:5        304:3
       223:14         117:18         194:17        JANKOWICZ    July 24:12
      interpret       118:22         195:8           4:19         24:12
       199:23         121:13        Iran 28:9      January        176:15,19
       209:25         122:13         32:17           22:16,16     177:4
      interpreted     129:2          83:21           24:2 25:3  June 42:20
       199:21         156:18         185:20          25:5 43:14   131:17
      interrupt       177:2         Isaac 166:10     51:8         140:12,13
       23:11          185:9,12      ISAC 230:6     JAY 8:2        208:11,12
       38:24          189:22         240:23        JAYANTA 1:10 junior 20:6
      interrup...     201:13        Isis 27:7      JEAN-PIERRE    65:22
       25:6           203:19        Isis-spe...      1:21       Justice 7:13
      interview       204:15,16      89:13         Jefferson      15:17 44:7
       48:25 49:6     205:16        issue 21:24      11:4 15:7    112:9
       50:7           210:5          88:25         JEFFREY 1:8    303:5
       113:24         216:16         125:5,9       JEN 4:6      justify
      introduced      218:10         147:23        JENIN 16:4     269:1
       139:1,4        219:9,23       187:14        Jeninyou...
       262:21         219:25         248:16          16:10             K
      introducing     241:15         249:16        JENNIFER 3:7 K 12:4 91:5
       84:22          246:9,14       263:25        JILL 1:11      93:8
       147:10         251:16         268:16        JIM 1:12       152:11
      invented        263:21         300:14        job 13:21      160:2
       74:20          267:21        issued           49:23        179:1
      investig...     276:8,9        231:21,22       120:19       295:3
       7:14 8:1       278:17        issues 35:7      161:9      Kansas
       112:10         281:21         41:24 42:3      166:12       303:21
      investments     283:14         76:10 90:5      267:5      KARINE 1:21


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 331 of 363 PageID #:
                                    12610
                            DANIEL KIMMAGE 11/10/2022

      KATE 8:8     144:20             42:25 43:4     138:8          217:9,21
      keep 85:16   156:5,8            43:22          140:18,24      219:11,20
       213:1,4     167:7              44:18 46:5     143:7,14       220:10,14
      kept 161:3   170:2,6            48:8,15,20     145:10,15      221:21
      key 233:25   178:18             52:17          148:4,16       222:8,16
       245:8       184:20             56:13,23       148:25         222:21
      KGB 265:1    185:5              58:23          149:14         223:3
      KHERIATY     189:20             60:24 62:9     150:2,16       224:19
       1:13        205:21             63:9,21        151:5,10       225:6,14
      kicked       209:2              68:22          151:24         225:20
       137:10      217:18             70:18          153:3          226:8,21
       138:25      226:2              72:18          155:15,24      227:19
      KIM 10:6     231:21,23          73:10          157:15         228:19
      KIMBERLY     232:2              74:25          158:24         229:8,19
       11:19       233:15             75:12,17       159:11         231:3,9
      Kimmage      235:8              76:2 77:9      164:7,21       233:7,16
       12:11       236:22             77:19 78:4     165:5          234:21
       13:16 14:1  237:23             79:7 82:1      166:20         235:3,17
       17:2,4,9    240:14             85:12,18       167:9,19       236:17
       18:3 19:3   242:8              85:21,25       168:15         238:1,15
       20:4 21:1   245:22             86:4 88:15     169:3,9        241:17
       21:7,8      246:14,16          90:7 92:6      172:18         243:10
       22:5 50:16  248:10             92:18 93:9     174:10,17      244:1,25
       86:13       250:3              93:15,25       176:20,25      245:24
       128:5       253:15             95:1 96:2      178:9,20       246:17
       129:2       255:5              97:16 98:5     180:8,12       247:1
       151:7,11    269:4              101:8          181:19         248:25
       254:20      283:15             106:3          182:2          250:18
       298:2      kinds 32:5          108:19         183:9,13       251:17
       301:5,8,11  35:7 59:25         110:13         186:5,22       252:11,18
       303:12      61:10              111:19         190:4,11       253:17
       304:2       97:14 99:9         114:10,15      193:7,12       254:18
       305:5,20    148:3              115:6,20       193:24         255:9,22
      Kimmage's    156:4              116:7,23       194:8          265:12,23
       300:5,6     172:15             117:9,20       196:3,15       270:6,9
      kind 30:9    212:2              118:5,11       197:12,25      273:17
       32:11 34:4 KIRCHNER            118:20         198:12         275:10,12
       35:4 36:23  244:8              119:1          201:1,22       279:3
       54:11 55:6  269:6              122:5,14       204:19         280:13
       60:22      KIRSCHNER           123:11         205:17         281:8,18
       69:18 73:2  15:13              124:2,6        206:5,11       284:12,20
       75:24       21:10              125:6,16       206:16         285:7,24
       83:25       26:13,17           127:4,14       207:1          286:14
       98:24 99:2  28:25              127:20,24      209:20         287:18
       106:23      29:16,19           129:13         210:6          288:2,19
       114:18      33:11 35:9         131:7          212:3,16       288:22
       115:23,24   36:25              133:12         212:19         289:19
       135:19      37:21              134:14,17      213:3,22       291:3,21
       142:25      38:18              136:24         216:6,25       292:11


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 332 of 363 PageID #:
                                    12611
                            DANIEL KIMMAGE 11/10/2022

       293:16,19       121:12,13      179:11      242:10,23         202:11
       297:3,12        121:17         180:6,14    243:16,22         205:12
       298:7           122:9,10       180:18,20   244:17            209:18
       299:2,12        122:11         183:15      245:20            246:8,13
       299:16          123:1,5,14     185:2,3,5   246:15           known 72:9,9
       300:3,10        123:20         185:14,15   247:12,22         91:6
       300:18          124:20,23      186:18      248:12,24         116:12
       303:5,10        125:13         187:5,8,14  250:4            Krebs 66:16
      knew 147:13      126:16,18      189:8       251:4,7,11        66:18
      know 30:21       127:15,25      191:13,18   251:12,15        KRISTEN 13:9
       31:8 33:24      129:9,10       193:15      251:21,23        KRISTIN
       35:23           130:12,22      194:10,15   252:8             10:21
       37:14           132:16         195:17      257:4,12         KULLDORFF
       38:15 40:6      133:15,21      197:13,17   257:17,25         1:14
       41:10,18        134:18         198:15,20   258:15,17        KYLA 15:14
       42:9 44:21      135:9          199:2,8,22  259:13           Kyla.sno...
       47:2,3          138:24         200:1,2,4   262:5,16          15:22
       48:19 51:4      142:10         200:16      264:6
       55:11,14        143:4          203:14,14   265:25                  L
       59:24 61:9      146:18,21      203:18,20   266:3            L 15:18
       62:12,23        147:18,20      203:22,25   270:8,25           159:15
       66:20,24        149:24,25      204:1,3,10  273:14             303:6
       69:10           150:12         205:15      274:1            lab 74:20
       70:24 71:6      151:20         207:11      275:12             219:14
       72:23 73:8      155:1,18       209:4,5,5   277:1              250:6
       73:18           156:2          209:5,17    278:13           label 106:8
       74:22 75:3      160:5,5,14     209:22      280:24             281:25
       75:15           160:17,18      210:1,4,9   281:20             282:7
       76:22 77:1      160:19,21      210:10,19   282:1            labeled
       77:7,12,22      160:23,25      214:3,20    283:25             47:23 93:2
       78:6,7,16       161:1,2,24     214:20,23   285:21             113:18
       78:17           161:25         216:8,9,22  287:10,20          234:10
       79:19,25        162:2,11       217:3,4,13  289:17,22          277:17
       80:3,15         162:16,17      217:14,23   289:23             282:2
       81:9,16         164:5,24       218:1,16    291:23           labeling
       83:22,25        166:5,12       218:20,22   292:18             234:19
       84:2 87:18      167:2,7,12     218:24      293:5              282:4
       88:10,11        167:13         219:6       294:3,17         labels
       88:13,18        170:2          221:3,5     298:2,21           282:11,12
       89:3,11         171:10,17      224:14      299:4,13           282:16,18
       91:18,20        172:11         227:16,22   300:24,24        laboratory
       91:25 94:6      173:14         229:22,23  knowledge           35:1
       102:25          174:13,14      230:6       24:22 40:5       lack 114:11
       103:11,12       174:20,22      231:16,20   41:14              114:16
       105:13,25       175:4,6,12     231:24,25   62:17              115:6
       109:4           175:19         232:1,8,13  69:20              117:10
       111:24,24       176:14         235:5,16    76:18              118:7
       112:21          177:21         236:21      122:4              124:6
       118:2,18        178:12,16      242:5,6,7   195:3,6            129:13


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 333 of 363 PageID #:
                                    12612
                            DANIEL KIMMAGE 11/10/2022

       134:17        lawyers        legitimacy     liaison          174:1,5,9
       167:19         224:25         212:15         271:11,25       175:5
       169:4,10      Lea 93:13,23   lengthy         272:4,11       Linkedin...
       174:10,18      94:6 136:4     207:22         272:13          18:17
       186:6          199:4,8,20    lessons         273:3,13       Linkedin...
       193:7,13       199:24         271:12        LIBERTIES        18:18
       193:25         200:6          273:19,22      16:2,5         Linkedin...
       196:3,16       231:18        let's 42:22    lie 35:4         18:18
       212:3,16      lead 8:4        47:21         life 194:22     links 163:25
       213:22         10:8 25:25     56:10         light 262:17     169:19,20
       220:10         62:24 63:1     85:16,19       263:9           190:16
       221:21         95:17          86:2 97:5     limited         list 117:15
       222:8,16       290:15         106:7          89:21           160:16
       228:19        leadership      113:17         297:15          172:13,22
       229:9          29:12          129:16        line 36:11       213:18
       231:3,9        198:22         130:11         39:20           218:14
       233:7          199:1          150:16         115:8           226:2
       234:21         200:3,4,10     164:3          150:4,9         262:1
       236:17        leading         212:23         174:20         listed 30:13
       238:1          45:17          213:4          178:25,25       76:23
       244:25         242:16         240:6          212:8           107:8
       245:24         292:6          252:19         220:3           199:3
       251:18        Leah 11:24      257:2          245:15          214:1
       253:17         131:23        level 31:1      248:6           218:20
       270:9         leak 254:15     31:16,20       253:15          219:10
       284:20         255:6          32:7 35:5      270:14          228:21
       288:2          257:13         35:14          304:5,9,13      229:3
      lacking        learn 236:15    37:10,13       304:17,21       230:5,16
       115:9         learned         58:9,12,17    lines 33:6       280:1
      lady 252:3      271:12         59:21,21       33:18 85:9      282:5
      laid 280:18     273:22         59:23,23       98:18,19       listen 23:15
      LAMBERT 8:25   leaving         60:3,7         100:19          216:24
      LANDRY 1:9      208:16         64:12,17       102:18,18      listening
      large 101:2    led 147:21      65:9 66:22     254:2           32:20
      larger 61:6     147:23         71:8,10,13     264:25          217:12
      late 115:24     195:11         71:14          267:18         lists 213:16
       130:8          265:16         119:16        lineup          Lithuania
       254:16        left 91:18      161:20         143:16          274:17
      LAURA 7:1,15    173:1,3        167:22        link 145:19     little 48:21
      LAUREN 9:22     226:14         197:18        LinkedIn         83:4 99:21
      law 110:16      272:20        levels 39:10    81:3,5          103:5
       110:21        legal 16:24     58:11          160:2,10        114:3
       224:7          20:15         Lexitas         162:8,15        149:22
       254:19,21      166:8          20:17          163:3           180:16
       254:24         174:8          303:1,24       166:2,11        209:7
       255:11,24      225:17,22     liaised         166:14          210:12
       257:9          303:1,24       215:2          167:17          213:13
       270:11,12     legislation    liaising        168:14,22       218:12
      lawyer 257:7    280:19         272:22         173:23          219:1


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 334 of 363 PageID #:
                                    12613
                            DANIEL KIMMAGE 11/10/2022

       256:11         208:18              M         7:9 41:4        276:3
       287:5          250:25        M 1:9 7:20      227:3           288:17
      local 267:18    269:19          177:5        Manager 6:25    MARTIN 1:13
       268:2,7        276:2         mail 242:24     11:15          master's
       270:12        looked 94:1    mail-in        managers         173:9
      located         128:10          242:14        50:21          Masterson
       154:17         144:9           243:6,8      mandate          9:16
       183:23         151:12        major 28:8      25:23 26:6      218:16
       272:7          208:13,20       68:5 73:4     36:12          material
      location        249:20          98:18         63:12 69:4      110:21
       153:18,22     looking 33:4     137:2         69:15 73:6     materials
       153:25         38:6 94:1       201:15,20     78:19           34:22
       154:15         144:23          228:25        108:24          171:7
       155:2,6        151:17          230:2,14      110:1          matter 20:4
       161:15         162:5           230:16,19     116:3           63:3 65:2
       163:14         165:17          245:16        124:12          80:10 88:4
       184:16         171:10          246:5         205:9           110:12
       271:18         177:23        making 54:20    223:25          117:25
      Locust          180:22          147:10        239:21          119:4,12
       303:21         198:17          275:5         293:25          124:19
      log 171:21      249:25        mal 71:20      manilla          131:3
       171:23        lookout          72:10,17      206:12          132:9
       254:4          35:25 36:3      77:6 78:8    manipulate      Matthew 9:16
      logged 242:8   looks 27:9       116:15        262:18          218:16
      long 19:4       153:9           191:23       MANNING 6:15    MAYORKAS
       22:13          174:4           192:1        manufact...      3:13
       48:14          189:6         mal-info...     250:5          McCARTHY
       127:15         199:20          116:14       manufact...      4:15
       150:12         240:25        malfunct...     35:1           mean 26:22
       154:14,16      241:2           182:6        March 166:25     38:24 65:8
       155:1          269:12        malign 27:9     168:22          68:15 90:9
      longer 150:6   LORENA 10:17     30:12         199:13          90:12
       177:2         lot 47:13        33:10        MARK 13:5        104:18
       252:5,7        119:23,23       34:24        marked 42:23     112:1
       299:13         126:1           35:20 36:9    47:24           120:14,14
      look 35:20      178:3           36:14 37:7    56:11 93:3      126:13
       43:24          186:13          62:6 63:13    106:9           147:15
       56:25          241:15          63:18,19      113:20          160:10
       81:22          271:1           64:9 73:4     127:12          177:15
       93:12 94:4    Louisiana        73:9 75:9     152:25          183:10
       104:24         1:2,8           75:24         153:1           211:5
       112:3          20:10           76:10         159:19          246:19
       114:6         love 128:3       137:2         168:19          247:10
       128:20        Lower 169:19     158:19,21     177:7,8         273:7
       138:2          187:1           238:9         179:23          275:15,17
       167:22         223:21          287:25        188:10          275:24
       171:12         263:13          290:21        206:3          meaning
       177:22        lunch 127:17   man 133:21      253:3           78:24
       178:16         150:8,15      management      260:20         meanings


                                   LEXITAS LEGAL
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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 335 of 363 PageID #:
                                    12614
                            DANIEL KIMMAGE 11/10/2022

       126:2           87:11 89:9  253:16       126:6,10            30:2,6,17
      means 43:9       90:23       254:2        126:11,12           30:23
       121:22          91:11 92:3  258:18       126:13              31:10,17
       170:14          92:17 93:7  259:4,17     129:20              32:6,12
       200:10          96:25       260:16       130:11,23           35:7 37:8
       245:10          97:23 99:9  274:3        131:6               38:13 42:9
      mechanics        99:14,16    275:18       132:15,20           45:20
       162:1           101:7,22    278:25       134:10              47:14
       242:11          103:2       279:7,9      135:12,17           51:13,15
      Meddling         105:21      281:25       135:18,19           52:6 53:23
       17:16           111:8,9     282:1,2,13   136:7,8             54:17 58:8
      media 2:24       113:10,15   283:22,24    137:8,20            59:3,10,19
       8:4,5           139:15      284:18       138:7,13            59:25 60:1
       11:21 20:3      147:1       285:12,18    138:19,21           60:6,20
       29:9,11,13      155:14,20   285:19       138:23,24           61:11,19
       29:15 30:4      155:23      286:1,11     139:2,10            62:8 63:8
       30:21,23        156:19      287:15,25    139:20              64:2,4,11
       31:10,13        158:2       291:19       140:15,16           64:15,16
       32:8 35:8       159:2,8    medical 2:15  141:3,5             64:18
       35:22 36:5      160:1,7,11  265:15,21    142:2,21            65:12
       36:21 37:5      160:24     meet 51:9     143:6,13            66:16,21
       37:18 38:3      161:6,22    64:5,7       144:1,4,16          67:4,8,11
       38:10,15        165:4,13    71:5 81:8    145:4,18            67:14
       39:6,13         167:8       82:7 146:8   145:20              69:11
       40:5,12         170:17      215:15       146:1,3,5           79:23 80:1
       42:4,10         171:25     meeting       146:8,19            80:3,4,6
       46:4,17         183:7,11    18:16        146:22              80:13,15
       47:8,17         183:15      31:22 32:7   147:4,13            80:19 81:6
       49:5,17,19      187:11,22   45:15        147:19,21           81:11,18
       51:24 53:7      188:6       46:10,23     147:23              83:2,13
       53:9,14         194:7       60:13,22     148:24              84:5,7,12
       54:6,18         195:15      61:1,8       149:12              84:13 87:4
       55:5,12,18      196:21      62:4,5,14    160:21              87:7,19,22
       55:22 56:1      200:21      62:19,25     161:2               87:23 88:7
       56:1 61:18      207:15,20   63:5 64:9    162:18              88:12
       61:22 62:7      210:16,21   65:10,14     164:14              89:14,25
       63:8 74:16      211:3,8     66:3 67:21   166:18,25           90:5,22
       74:21,22        213:16,20   68:1,19      167:2,17            91:4 92:2
       75:15,20        228:10,10   70:25 71:2   168:24              92:8,16
       76:9,14         232:23      72:4 80:23   169:1               99:13,16
       78:25           233:15,21   81:1,4       173:25              101:6,14
       79:14,18        234:18      82:11,22     176:15,19           101:22
       80:5,17         236:23      83:8,11,17   184:7               105:20
       81:24           246:5,11    84:15,17     203:17              106:2
       82:19 83:2      247:12      87:9,11,16   207:10,17           115:2,22
       83:4,6,9        248:8       87:23        283:11              117:11,13
       83:17,22        249:13      88:20 89:1   285:12              117:19
       84:9,15         250:15,23   89:12,13    meetings             118:3,10
       85:10 87:2      250:25      89:13        29:24 30:1          118:19


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 336 of 363 PageID #:
                                    12615
                            DANIEL KIMMAGE 11/10/2022

       126:8          178:15         73:22          157:16          74:14
       127:1,3        212:6          162:9          186:6,8         76:22
       129:12,18      230:19         229:25         201:23          77:14
       129:22,24      270:24,25      230:1          204:20          156:10
       130:4          271:1,5        232:21         216:7           158:17
       135:22        memory          240:15,18      229:9           237:24
       139:12,14      151:17         244:5          231:10          278:8,13
       139:18,23     mention         268:18         238:16          278:19
       140:1          56:17          277:21         265:24         Missouri 1:5
       143:20         61:21         million 49:9    269:7           15:4,7
       144:16        mentioned      MINA 7:5       mischara...      20:5 303:8
       145:2,7        40:8 83:1     mind 43:4       70:20           304:3
       146:25         89:25 97:4     56:14          111:20         misused
       147:3,5        103:21         147:7          172:19          298:18
       148:8          111:14        minimal 33:1    198:1          mitigate
       160:7,9,10     132:8         minor 201:12    201:2           181:8
       161:5,21       169:13         201:25         222:22         mix 294:18
       161:24         172:16        minute 114:4    223:4          Mm-hmm 23:2
       162:3,21       214:21         257:25         250:19          35:17
       166:17         243:20        minutes 86:1    284:13,21       43:15 44:5
       167:6          252:4          86:3 93:18    misinfor...      49:12
       215:12,20      282:20         127:19         19:4 72:6       50:10 57:3
       216:1,19      mentioning      150:3,4,12     77:23 78:2      72:7 78:22
       216:21,23      121:11         213:1          97:6 116:4      82:24 84:6
       217:5          190:1         mis 224:1       116:13          112:6
       236:13         196:19        mis- 90:24      129:6           114:5
       279:11        merely          181:5          138:17          128:19,21
       283:11,12      216:24        mis-dis-        144:12,14       138:5
       283:14        met 51:7        71:20          144:21          153:12,16
      meets 58:7      64:1 71:16     72:10,16       177:25          164:18
       79:17          80:18 81:2     77:6 78:8      182:15          168:20
       298:12         81:24 82:8     116:15         186:3           173:20
      MEHA 16:14      82:12,15       191:23         209:16          179:21
      member 8:18     82:19          192:1          242:16          195:22,24
       12:18 32:3     83:23         mischara...     292:7           218:13
       86:14,23       140:20         140:23         296:13          219:5
       86:25 91:7     141:7,8,11    mischara...     298:19          221:15
       133:7          141:14         58:24 82:2     299:1           228:6
       189:3,13       142:1          97:17         misinfor...      233:24
       202:20         160:17,19      101:9          236:3           245:13
       230:16        methods         108:20        misleading       263:15
       235:10         157:6,13       117:21         51:18           267:14
       243:21         158:3,21       118:6,12       211:20          270:22
      members        meting 60:13    123:12         267:10          298:20
       83:19          61:4           125:17        misrepre...     MO 303:21
       117:1         MICHAEL         127:5          108:14         mode 32:20
       120:16         11:12          131:8         mission          217:12
       133:25        middle 39:4     140:19         26:11,25       moderate
       166:14         57:11          148:5,17       46:3 74:13      287:17


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 337 of 363 PageID #:
                                    12616
                            DANIEL KIMMAGE 11/10/2022

      moderation     morning 20:2  154:5       273:23               267:19
       247:5,7,10      159:10      174:21     narratives            269:1
       247:21          194:21      175:2       32:19 36:7           279:13,23
       248:17,20     motion 21:23  176:2,8,11  36:15,18             288:1
       248:22          22:2        178:17      36:21 47:9           292:8
       249:12,24       152:13      180:3,3     55:10 62:2          Nation 17:14
       287:2,7,12    motivated     184:3,5     62:6,18,22           17:17
       287:21          39:24       190:2       63:7,15             nation-s...
      modes 96:23      268:21      196:19      64:6,10,13           185:19
      modulation       269:1,17    202:25      64:14 73:8          national
       36:23 85:7      270:2       214:25      74:15                2:12,17
       129:4         move 252:16   215:4,5     75:24                4:1,17
       233:5,12      moved 21:16   216:11      76:11                24:5,11
       246:10,16     movement      218:18      96:17                25:24 27:6
       246:24          119:24      252:4       97:14 99:5           36:10
       247:4         moving 213:4  291:6       100:7,10             44:25
       287:1         MUHAMMED      304:2,3     100:15               45:15 47:2
      MOLA_DEF...      9:12        305:11      101:3,4,18           58:13,19
       18:22         multiple     names 59:17  101:19,21            58:25 59:4
      MOLA_DEF...      101:1       121:11      102:1,3,11           59:7 173:4
       18:20           135:5       122:8       102:24               173:7
      MOLA_DEF...      137:9       132:25      103:1,3,6            175:18
       18:24           139:12,14   134:24      103:10,20            179:18
      MOLINA-I...      139:18      175:11,14   103:23               215:17
       10:17           148:2,7    napkin       104:1,11             220:6
      moment           149:11      206:12      104:21,22            277:14
       105:15          161:5      narrative    105:6,9,11           296:6
      Monday           188:17      26:18       105:14,19           nature 26:15
       300:24        MURRAY 11:12  29:20       144:23               31:14
      monitor        MURTHY 1:24   33:19,23    148:12,15            35:18,23
       20:12         MUTHIG 13:9   35:21,24    184:25               40:11
       224:1         mutual 164:4  55:7 63:19  201:10,15            45:20 56:7
      monitors         164:16,20   63:20       217:15,17            73:16
       269:4           165:3       74:19       217:25               96:13,16
      Monroe 1:3                   75:10       229:18               97:7,9
       20:10                N      101:5       237:8                100:12
      month 116:19   N 15:1 16:1   136:25      238:7                115:16
      monthly 42:9     16:1,1      190:23      239:2                203:22
      months 24:14     17:1,1      201:17,19   240:4                204:23
       24:17 32:9      18:1,1      201:21,21   243:6,7,14           217:4
       37:9,11         19:1,1      201:25      243:17,19            218:7,8
       42:19           20:1 188:7  229:7       243:25              NDAA 45:5
       58:10         name 20:14    238:6,8,18  248:24              NDU 25:7
       59:15 70:1      21:5 28:14  239:9,9,16  264:9,10            Near 261:4
       70:3,17,23      57:10       239:21,23   264:13,18           NEC 60:1
       70:24 71:1      71:22,24    243:2       264:23              necessarily
       71:3,6          133:5       265:13,22   265:3,5,18           23:6
       231:16          142:18      265:25      266:5,10             132:12
       242:16          146:7,24    266:3       266:21               148:8


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 338 of 363 PageID #:
                                    12617
                            DANIEL KIMMAGE 11/10/2022

       157:7,19       250:11         265:1           72:18           168:15
       238:18        Nom 260:6      November         73:10           169:3,9
       239:18        non-Chinese     13:17           74:25           172:18
       267:9          102:17         20:11           75:12,17        174:10,17
      necessary      non-foreign     21:15           76:2 77:9       176:20,25
       199:7          239:17         302:14          77:19 78:4      178:9,20
       283:20        non-gove...     303:3,12        79:7 82:1       180:8
       305:9          268:15         304:4           88:15 90:7      181:19
      Ned 17:11      non-state      nowadays         90:8 92:6       182:2
      need 48:19      27:3           80:1            92:18 93:9      183:9,13
       171:12         163:18,21     NSC 17:11        95:1 96:2       186:5,22
       242:12         165:2          71:15           97:17 98:5      190:4
      needs 93:20     278:21        number 20:7      101:8           193:7,12
       278:4         nongover...     32:14           106:3           193:24
      nefarious       98:25          45:17           108:19          194:8
       264:18         224:15         101:3           110:13          196:3,15
       265:18        normally        120:16          111:19          197:25
       266:16         83:10          131:4           114:10          198:13
      Neighbor...     88:11          182:7           115:6,8,20      201:1,22
       10:25         norms 289:15    241:9           116:7,23        204:19
      neither         290:3,9,11     244:18,19       117:9,20        205:17
       302:9          291:1          244:21          118:5,11        209:20
      Netherlands    Northwest       274:13          118:20          210:6
       112:18,18      15:18 16:6     292:23          119:1           212:3,16
      never 56:14     16:17                          122:5,14        213:22
       125:5          303:6                O         123:11          216:6,25
      new 16:2,5     notable        O 16:1 17:1      124:2,6         217:9,21
       147:9          104:2           18:1 19:1      125:6,16        220:10
       263:21        notarized        20:1           127:4           221:21
       291:5,9        303:19        object           129:13          222:8,16
      news 74:4,7    notary 14:8      197:12         131:7           222:21
       185:24         302:21          198:12         133:12          223:3
       207:8          303:18          255:23         134:14          224:19
       228:10         305:23          300:12         136:24          225:6
       236:6         note 213:15    objection        138:8           226:8,21
       268:7          259:15          26:13,17       140:18          227:19
       293:24         268:19          29:16,19       143:7,14        228:19
      news' 17:19     294:1           33:11 35:9     145:10,15       229:8,19
      nexus 239:17   noted 20:18      36:25          148:4,16        231:3,9
       239:20         217:15          37:21          148:25          233:7,16
      nice 168:25    notes 229:5      38:18          149:14          234:21
      Nicole          229:16          43:22          155:15,24       235:3,17
       166:10        notice           44:18 46:5     157:15          236:17
       174:25         277:12          48:8 52:17     158:24          238:1,15
      nightmare      notified         58:23          159:11          241:17
       95:16          197:6,7         60:24 62:9     164:21          243:10
      NINA 4:19      notify           63:9,21        165:5           244:1,8,25
      nod 23:5        197:11          68:22          166:20          245:24
      Nodding        notorious        70:18          167:9,19        246:17


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 339 of 363 PageID #:
                                    12618
                            DANIEL KIMMAGE 11/10/2022

       247:1          70:17,22       303:20         259:10,12       97:13
       248:25         80:13         office's       officials        101:20
       250:18         81:10          41:15          45:14           103:13,16
       251:17         130:4         officer 8:14    46:22           107:13,23
       253:17         254:16         189:7,8,12     58:15           109:14,19
       254:18        occurred        192:21         97:22           110:9
       255:10         34:4 53:23     194:18         134:1           111:2
       265:12,23      67:22          195:9          135:6           112:25
       269:6          69:19          197:3          192:9,14        114:2
       270:6          83:13          302:3          192:25          115:23
       273:17         110:7         offices         210:15          117:17
       275:10         167:3          27:18          211:3           122:11
       279:3          256:7,18       81:12          236:13          125:13,22
       280:13         286:21         291:14        oh 75:14         127:20,24
       281:8,18      occurring      official        127:18          130:1,11
       284:12,20      99:17          1:18,22,25     144:1           131:14
       285:7,24       211:7          2:4,11,23      145:21          132:8,19
       286:14        occurs 112:5    3:8,14,19      149:18          133:1
       287:18        October         3:24 4:7       153:3           134:20
       288:2          18:11          4:16,20        173:11          135:18
       289:19         113:25         5:2,6,12       175:2           136:6
       291:3,21       116:18         5:17,22       OIG 106:20       137:21
       292:11         118:4          6:4,11,16     okay 23:24       140:13
       293:16         123:9,15       6:20,23        24:25 26:5      142:12,12
       297:3,12       258:21         7:2,6,16       31:8 40:24      143:4,10
       298:7          289:1          7:21 8:3,9     50:8,13         146:9
       299:2         offender        8:13,17,21     51:6,16         147:12
      Observatory     23:10          9:1,8,13       52:12           148:14
       219:16        office 3:20     9:17,23,24     53:21           151:8,24
       221:18         4:2 7:9,11     10:1,2,4,5     56:23           157:9
       223:10         8:22 9:5       10:6,10,11     57:16 58:4      158:14
       292:15,25      10:24 11:8     10:13,18       61:7 63:16      160:5,23
       293:4          11:16 15:4     10:19,22       65:23           162:2,5,17
       294:5          25:4 28:13     11:5,13,20     66:15,20        163:7,24
       295:21         29:12          11:24 12:5     67:20           166:9
       297:22         31:12 41:7     12:12,17       70:10 73:2      167:1,25
      obviously       41:13,17       12:25 13:6     73:18 75:8      168:18
       54:13          45:24          13:10          75:21           170:22
       110:4          47:12          65:10,17       79:12,21        171:14,23
       128:13         71:17,19       96:25          81:15,22        173:6,12
       197:23         116:10,14      97:21          82:5 83:12      176:3,9,14
       209:3          122:12         130:20         83:16           179:8,20
      occasion        146:6          134:9          85:17,23        181:2
       40:17          189:14         186:19         86:4 87:5       182:10
       217:12         191:20         188:22         89:23           184:4,24
      occur 32:6      199:5          189:2          91:25 92:9      186:12
       37:8,12        290:22,25      190:20         92:24 93:5      187:1,19
       58:8 59:14     291:6,9,12     199:5          95:14           188:20
       61:10          291:18         259:3,10       96:12           190:15


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 340 of 363 PageID #:
                                    12619
                            DANIEL KIMMAGE 11/10/2022

        191:12        298:14         258:10,13      268:24          54:14
        192:20        299:16         258:20,23      269:13          59:25
        194:5         301:3          259:6,19       289:25          61:22
        195:24       on-boarded      265:1          290:2,8         71:14
        196:10        253:8         operations     organizing       96:10
        197:23       once 36:15      108:17         178:18          182:24
        199:8         127:22         109:1,5,7     origin           225:3,17
        200:18        181:8          109:9          102:17          225:22
        203:10,12     281:5          110:10,23      264:18          227:1
        204:3,15     one-pager       177:3          265:11          237:23
        204:24        253:2          259:23        original        overall
        205:7,24     ones 30:13     opportunity     180:2           158:17
        206:24        34:18          43:24 48:9     303:13          243:14
        207:1,6,14    158:12         94:4 95:4     originate       overdue
        209:9         176:10        opposed         238:9           298:4
        210:2         229:3          103:25         239:5          overlaps
        213:14        289:14        oral 23:4,7    originated       92:13
        214:2        ongoing         167:6          96:14          oversee
        215:14        39:14          168:23         191:7           41:18
        216:16        68:20 69:5    order 21:16     222:14         oversight
        218:1,23      69:8,12,15     21:25 22:2     223:1,17        41:21
        219:1,8       69:17          43:19          239:25         overview
        220:2         72:15,22       44:17,22       243:2           41:16
        222:2         109:25         45:4 46:20     248:24          136:9,19
        223:21        122:19,23      176:1,7       originates       136:23
        224:13       online 34:22   orders          224:6           137:1
        226:18        47:19          231:21,22     originating     owners
        227:7,10      97:24         Oren 57:1       33:10           158:12,15
        228:13        104:7         organiza...     222:3          owns 80:22
        229:25        107:11         112:22        origination     Oxford
        231:20        114:19         163:23         222:6           292:22
        233:13        153:11         184:1,16       239:17
        239:12        190:16,24      185:8         originator             P
        240:7         242:7          240:12         239:8          P 15:1,1
        241:8         262:19         268:14,15     origins           16:1,1
        242:12        273:16         292:21         96:17            20:1
        247:8        OPCW 112:20    organiza...     100:7,12         205:25
        248:5         112:21         27:7,13        102:7,14       p.m 151:1,4
        254:1        open 171:24     32:17          102:21           213:7,10
        258:3         256:9          98:25 99:1     264:10           252:22,25
        260:3        operating       137:3          266:6            299:21,24
        264:5         224:10         182:18,22     Ousman            301:5,9
        269:24       operation       182:24         174:22         P.O 15:6
        275:8,14      107:22         183:2,6,21    outcome         page 17:2,9
        277:16,19     112:20         184:13         302:12           18:3 19:3
        289:9         155:3          185:7,17      outlets           50:9,12
        290:1         254:16         227:2          97:23            57:9,12
        294:19        255:6,7,20     267:18,24     outside           73:23
        295:2,15      257:13         268:11,12      47:13            93:12


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 341 of 363 PageID #:
                                    12620
                            DANIEL KIMMAGE 11/10/2022

        94:21         240:6,9        144:13         158:16          253:8,24
        106:22        241:8,10       153:14         161:9           273:14
        112:4,7       241:21,22      164:9,10       220:9           274:1
        128:14,18     242:12         169:13         240:9           279:6
        153:13        244:4,5,10     177:23         273:13          281:13
        161:18,19     245:11         193:11        partial         partnering
        162:6,9       261:6,11       209:11         220:5           283:3,9
        164:11        263:13         212:8         participant     partners
        166:1,23      267:13,16      221:13         291:16          27:19 96:9
        166:23        268:17         222:25        particip...      98:21,24
        167:15,16     270:13         223:22         134:13          99:3 229:4
        167:23        271:2          227:6          172:14,15       229:16
        168:19        277:17,18      229:12         174:4           230:5,25
        173:18        277:21         235:21,25      180:24          254:4
        177:22        289:8          237:4          186:2           271:14
        179:20,23     292:3          241:11        participate      274:5
        180:3         296:1          244:5,9,12     65:3 87:23      278:23
        181:4         303:14,18      245:14         161:20         partnership
        182:11        303:20         263:14        particip...      19:6 202:2
        185:22        304:5,9,13     267:16         70:4 73:18      202:12
        188:21        304:17,21      268:18         83:16           203:8
        189:5        pages 13:22     270:14         87:19,21        204:6
        192:4         50:11          271:10         161:23          214:18
        193:11        128:13         277:20         162:2           221:17
        195:23        167:15         289:10,11      172:11          226:4
        196:9,18      206:25        paragraphs     particip...      283:7
        196:24        207:23         49:20          42:8 59:18      293:3
        198:18        221:11        paraphrases     59:24           294:7
        208:9,10      292:1          52:19          83:14          partners...
        209:6,7      pandemic       paraphra...     113:23          6:24 10:25
        210:2,12      96:8,18        263:24         178:15          27:12
        210:12        99:22         parentheses     235:15          289:12
        211:12        102:8,12       57:2          particular      parts 211:11
        212:9         104:3,10      parenthe...     88:9           party 55:24
        213:13        104:16         56:19          106:19          55:25
        218:12        105:22        Parler 80:25    179:13,14      passes 90:17
        219:1         130:6          81:1           247:17         Patel 167:16
        220:3         264:15        part 18:10      268:16          168:5
        221:12        266:12         33:20         particul...     patient
        226:1,14     panel 113:24    36:20          36:14           191:1
        226:24       paragraph       46:24 61:5    parties         Patricia
        227:25        44:4 45:10     61:19          224:15          132:1
        228:7,8       48:7 49:8      63:11 64:8     225:3          Patrick
        229:13        50:14 74:2     68:8 73:6      302:10          166:3
        232:4,20      78:20,20       73:17 98:1    partly           174:5
        232:22        94:23,24       104:25         222:12         Paul 162:7
        233:23        95:11,15       141:19        partner          162:11
        235:7,20      128:20,23      145:20         235:10,10       163:8
        237:2         138:3          155:13         235:14,14       174:15


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 342 of 363 PageID #:
                                    12621
                            DANIEL KIMMAGE 11/10/2022

      pay 75:21       240:20         262:12        place 274:25 platforms
      paying 270:1   period 25:1     274:22        PLAINTIFF     32:8 33:9
      pays 269:4      25:10         person's        15:2         35:8,22
      Payton          47:11          146:23        plaintiffs    37:20
       142:17         66:19 67:8     190:2          1:15 20:5    38:17 40:5
      PECK 9:7        67:14,19      personal        21:25 22:1   40:12 42:4
      penalty         69:20,20       21:20          299:25       42:10 46:4
       305:12         71:3 92:13    personally     plan 251:11   46:17 54:6
      penultimate     94:19          40:8 53:22    planned       55:12,19
       176:8          109:7,25       139:9          259:6        61:18 76:9
      people 39:25    140:5          146:9         Planning      80:5,17
       65:7 66:2      231:16        personnel       25:4 45:25   81:24
       80:9 81:9      255:17         39:8,17       plans 3:22    82:19
       118:24        periodic        40:16,18       51:9 52:14   84:10 87:2
       131:11         59:10          40:21          73:14        92:17
       135:24         69:11          59:17 80:5    platform      101:7,22
       137:22        periodic...     128:25         33:25 39:6   105:21
       143:12         58:7 59:6      132:18         39:13        139:15
       166:2,13       79:18          180:1          51:24 53:7   147:2
       166:18         249:18         286:18         53:14        155:14,23
       171:9          250:16        perspective     55:22 56:1   156:19
       175:7          277:8          157:12         56:2 81:14   158:2,7,13
       177:12         298:13        pertaining      84:15        158:15
       178:14        periods 25:1    253:9          87:11        160:7,11
       181:17        perjury        pertains        113:10,15    160:24
       199:24         305:12         77:24          159:8        161:6,22
       219:3         permits         101:23         160:1        167:8
       223:1          247:18        phone 92:8      169:23       171:25
       262:20        permitting      92:16          170:8,17     172:17
       269:14         164:13         115:2,22       171:21       181:18
       275:5,21      person 65:12    164:14         172:12       182:1
       280:24         66:12,15      phrase          182:7        183:7,11
       282:7          117:13         253:23         196:21       187:11
       293:12         132:23        physically      200:21       194:7
       294:4          135:10         154:17         209:15,18    195:15
       299:7          147:9         pick 75:9       233:1,11     210:16,22
      people's        154:1,3       picture         235:10,13    211:3
       81:16          155:2,23       262:4          242:8        213:16,20
      Peoples         176:12        pictures        248:1        214:1,5,8
       264:17         178:19,22      171:10         250:7        226:16,20
      percent         179:4,9,9     pieces 31:3     253:16       232:21,23
       212:10         180:15,18      31:5 61:24     259:4,17     233:15,21
       234:3,8,13     180:20        piggybacks      260:16       234:18
       234:19         185:25         104:23         270:20,23    245:16
       237:16,17      190:24        pillars 18:5    285:22       246:5,11
       237:20,22      214:24,24      98:10          286:11       248:8
       239:1          216:14         106:15         287:15       249:18
       240:11,16      218:9          280:1          288:9,11     254:2,5
      percentages     235:15         282:6,22       288:13       258:18


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 343 of 363 PageID #:
                                    12622
                            DANIEL KIMMAGE 11/10/2022

       285:13,21      226:15,19     posted 30:21    152:14         Price 17:11
       291:20         233:5          37:20         preparation     primarily
      plausible       245:12         38:17          143:23          30:11
       178:13         247:10         47:19          144:7           31:15 77:4
      play 114:2      261:4         posting         151:14,18       116:9
       262:20         290:6,6,14     171:18         152:21,23       156:7,21
      plays 277:25    290:15,22     posts 33:22    present          157:1
      pleadings       291:10,16      40:1 47:18     16:23 18:9      217:11
       258:16         291:16,18      52:15 53:5     31:21          primary 68:3
      please 20:20   portal 253:8    53:11,15       51:12,14        68:9 98:7
       21:5 86:10     253:24         54:7,10,12     52:3,6          98:7,14
       95:4 151:4     254:10,13      54:19          53:22 54:1      121:7
       192:14        portals        potential       59:13 64:3      157:20
       196:25         254:7          109:23         64:19           266:10
       213:10        portfolio       255:14         132:19         principal
       252:25         122:1         potentially    presenta...      22:7,10
       299:24         216:14,17      32:3,19        149:22          25:12
       303:11,15      216:17         60:5 61:2     presented        40:25
       303:19         218:3,8        61:21          136:21          41:11
      point 67:7     portion         64:23          187:11          42:16 60:5
       74:23          154:12         69:25 89:6    president        64:20 65:6
       181:4,11      portions        89:18 90:2     1:19 2:16       65:8,9,24
       182:13         41:19,20       92:11          5:8 6:21        69:23 70:8
       185:21         41:23          111:5          7:4,11          71:10
       219:11        position        117:24         162:14          94:15
      Pointer         25:17          130:9          166:8           118:16
       183:19         162:16         155:19         174:16          137:7
      pointing        174:14         157:25        President's      146:13,15
       292:7          175:6          248:4,10       45:15           199:17
      points 187:3    272:11         256:7         presiden...     prior 24:4
       211:13,14     positions       268:11         112:11          45:23
      policies        146:16         280:25        press 1:23       231:16
       36:23         possibility    practice        19:14          priorities
       55:13          101:17         63:17 64:1     43:13 45:9      111:1
       233:1,11      possible        167:6          289:2          private
       245:18         101:24        praise         pressing         274:1
       246:4,10       125:3,8        106:19         99:21           278:3,23
       246:16,20      126:25        precise        Presumably       279:7
       246:24         127:17         77:13          110:11          283:4,7,10
       248:7,17       144:18         176:13        prevention       295:6
       248:20,22      154:9         precisely       2:21 3:3       privately
       249:13,24      218:11         152:7          168:9,13        294:17
       285:22         278:11        precursor      previous        privilege
       286:1,4,13    possibly        45:4           277:11          68:23
      policy 3:21     82:15,17      predecessor     286:24          256:23
       25:4 45:25     82:25          291:11        previously       257:14
       142:16         162:22        predict         71:24           258:4
       146:5          281:5          121:5          104:4          privileged
       175:5         post 36:17     preliminary     291:13          69:2 249:3


                                   LEXITAS LEGAL
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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 344 of 363 PageID #:
                                    12623
                            DANIEL KIMMAGE 11/10/2022

       253:15         123:17         139:5          68:19           303:18
       255:12,15     program         148:12        protect          305:23
      probably        11:15          156:11,15      21:18          public/p...
       31:25          173:10         156:23        protective       155:7
       32:14 60:7     177:13         157:3,13       21:16          publicly
       81:23          179:13,15      158:6,8,18    PROTENTIS        84:21
       110:11         267:22         163:19,21      9:22            108:3,6,8
       185:19        programs        165:2,9,17    protesters       152:20
       215:17         18:14,15       165:24         39:5           publicly...
      problem         170:1          169:23        proven           250:24
       261:8         prohibited      170:25         185:22         purpose 36:6
       262:3          224:17         174:2          186:20          36:8,20
       280:4,7,8     prominent       184:17        provide 38:4     37:4,6
       280:11,15      242:15         204:8          136:9,17        68:3 155:5
       280:16,17     promote         205:6          276:15          157:11
      problems        97:11          238:20        provided         171:6
       95:18          98:12          249:25         267:17,23       248:5
       277:25        promotes        251:2          276:16          271:11
      procedures      278:11         261:22,24     providers        272:12
       229:6,17       280:5          263:5,7,12     181:13,16       273:14,18
      proceed        promoting       263:21         181:25          273:25
       20:21          32:19          264:2,9,13    provides         274:4,9
       86:11 95:3     268:24         265:3          119:15         purposes
       151:4          279:24         267:7,11       253:14          180:16
       213:10         280:23         267:25        provision       pursuant
       252:25        promulgated     268:1          44:24           14:2
       255:15         97:14          271:14        proxies          128:23
       256:5         propa- 97:13    273:24         97:24          pushed 73:9
       299:24        propaganda      274:6          104:7           74:16,21
      proceeding      18:6 19:11     275:22         279:25          190:24
       93:19 95:6     26:1,6         278:1,5,20    public 3:1       245:22
      proceedings     27:5,10,14     279:13         8:6 9:10       pushing
       302:4,6,7      30:14          280:2,20       14:8 16:15      35:21 62:6
      process         32:16 55:9     280:22         16:15           74:19
       71:15          63:12 69:7     290:21         49:22           264:6
      processed       73:5 75:5      292:8          95:18 98:9     put 21:11,14
       212:10         76:7 79:1      296:5          110:12          48:16
       234:1,13       79:15,20       297:18         111:2,6         206:12
      processes       84:18          299:9          119:12          259:2
       91:1           89:19         propagan...     142:16
      processing      95:17 96:6     266:1,2,4      171:24              Q
       212:13         97:2,2,20     propagated      219:18         quarter
      producing       98:2,22        78:11          246:2,6         255:19
       294:2          99:4           265:22         249:18,21       258:9
      Professi...     100:10        propagation     250:2           260:9
       14:6 302:3     102:19         158:4          280:22         quarterly
      profile         106:16         165:20         282:23          32:10,10
       110:4          116:3         propose         295:18          80:15,16
       112:15         136:10         37:18          302:21          82:7,11


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 345 of 363 PageID #:
                                    12624
                            DANIEL KIMMAGE 11/10/2022

       88:8           240:19         212:1          305:6            65:6,14
       135:22        quote 50:20    ran 173:12     reading           66:19 67:1
      question        50:23 51:1     241:12         93:16            67:2,25
       22:24,25       57:9 189:6    range 67:21     164:8            68:2,7
       23:15,16       191:1          184:21         175:11           71:15
       23:20,21       194:6          215:17         190:7            72:14,21
       26:21          209:13,14      275:19        ready 94:3        77:13
       29:22          229:4         ranking         95:3             78:18
       33:15          233:20         199:5         real 85:16        80:24 81:1
       36:19         quoted 48:6    rapid 267:17    171:10           81:4 82:22
       48:18          57:12          267:24         262:9            83:1 84:11
       68:18 69:1    quotes 52:19   rapidly        really 31:18      84:17,21
       95:12          52:25          263:24         41:18            84:25 85:4
       114:7                        rare 30:24      47:11 55:2       85:8 86:21
       125:20              R         31:4           62:24            87:12,14
       129:17        R 1:17 15:1    re-tweeted      104:4            87:20
       149:23          16:1 20:1     74:22          121:8            89:14,20
       160:24          20:6 303:8   reach 163:2     218:21           90:2,4,21
       166:16          304:3         187:13,21      266:11           91:2,14
       175:1         racial         reached         277:18           92:12,14
       180:14,25       268:25        162:7          283:2            92:20,22
       214:3         racially       reaches        realm 101:17      99:20
       225:21          268:20,25     163:8         realtime          100:14
       248:15          269:16       reaching        14:7,7           101:11,15
       256:13,21       270:2         160:6          39:10,16         101:18
       256:24        raise 55:18     168:1          210:14,20        102:15,23
       257:5           76:15,15      214:4,7        211:1,5          103:3
       258:5           125:5        read 48:9,12    302:20           105:6,9,10
       269:9           127:23        143:19,25     reason            105:23
       286:7           147:22        152:8,13       118:15           109:3,8,12
       292:4           195:13        152:16,19      176:17           111:12,21
      questioning      275:3         152:22         304:7,11         111:23
       115:9         raised 106:1    202:8          304:15,19        113:1,3,12
       150:5,10        124:22,24     206:17         304:23           113:23
      questions        125:8         207:25        recall 33:16      116:10,25
       22:22 23:4      185:25        208:25         38:20            120:2
       23:8 93:19      216:22        209:1,4        39:12            121:16
       94:3 95:3       255:5         229:13         47:14            124:21
       95:7            258:9         242:13         48:25 49:3       125:1,21
       147:16        raises 211:7    246:1          49:18 50:4       125:22,25
       151:6           257:8         258:14,16      51:14 52:8       126:2,8,12
       209:3           262:19,22     275:21         52:9 53:8        127:7
       248:6         raising 35:6    293:11         53:12,16         129:20,24
       300:1,4         36:20         300:19         53:21,25         130:1,10
      quick 56:25      38:15         301:12         54:8,17,23       132:14
       151:6           181:17        303:15         55:2,4,8         133:4
      quickly          196:12        304:6,10       60:25            135:11,15
       266:25          205:3         304:14,18      63:25 64:2       135:23
      quite 207:22     211:22        304:22         64:5,12,18       136:19,20


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 346 of 363 PageID #:
                                    12625
                            DANIEL KIMMAGE 11/10/2022

        137:15,19     243:15,18   133:17            213:7,10        31:14 33:3
        138:11,15     255:16,18   137:18            251:18          60:1 66:6
        138:20        255:18      143:20            252:19,22       69:14 72:4
        139:3,7,13    259:21      144:3             252:25          102:4
        141:6,11      264:25      147:17            298:8           110:5
        142:9         265:14      151:13            299:21,24       237:12
        144:19        266:1,11    218:19            301:6           298:23
        145:3,5,6     266:13     recommended        302:6          referring
        145:12,13     276:16      284:8            records 39:2     56:22
        145:17,24     285:3,9    record 20:19      recounted        95:12
        146:14,23     286:17      21:6,11,14        281:14          115:17
        147:3,4,5     287:13      33:12 46:6       recruit          129:11
        148:19        288:7,8,10  52:18             269:14          186:19
        152:15,18     291:6,15    56:14            recurring        219:12
        154:16        293:1       63:10,22          60:22           248:7
        155:4         294:6,7     66:8 70:19        82:10           268:22,23
        160:16        295:10,13   73:11 79:8        135:18,22       272:6,14
        172:25        295:24      82:3 85:20       recused          279:2
        176:13       received     86:5,7,10         294:21,23       289:18,24
        179:13,14     159:25      88:16            redacted         299:5,11
        183:20,20     160:1       93:10 96:3        235:14         refers 51:7
        183:24        220:5       97:18 98:6       reduced          95:16
        184:2,3       225:20      101:10            302:8           187:5
        194:16,18     256:15      108:21           refer 27:23      188:4
        195:10,16     257:14      110:12            57:9 59:3       200:5,5
        195:19       receives     114:11,16         112:14          296:15
        197:15,21     271:3       115:21            274:17         reflect
        198:16       Recess 86:8  116:24           reference        134:12
        200:25        151:2       117:10,21         49:21 72:8     reflected
        201:4,5,18    213:8       118:7,13          93:13,23        130:19
        201:20,24     252:23      119:12            124:4,10       reflects
        201:25        299:22      123:12            138:3           134:21
        202:5,14     recipients   124:7             155:13         refresh
        203:17        173:22      127:6             166:24          143:20
        204:9,22     recognize    131:9             181:23          144:2
        205:13,22     43:8        143:8,15          182:8,12        151:13
        207:9         106:12      145:16            227:24         refutation
        208:5,6       142:18      148:5,17          235:22          275:21
        214:11,11     153:5       150:11,22         241:11         regarding
        214:12,14     175:13      150:24            242:13          164:5,16
        214:17,19     176:9,11    151:1,4           266:7           164:25
        215:3,16      177:11,15   155:25            270:15          177:13
        217:11,24     178:4,22    175:12            271:17,20       197:2
        219:25        180:4       178:21            278:18         Registered
        221:8,9       260:23      180:12            286:24          14:6 302:2
        231:11,13    recollec...  186:7            referenced      regular
        233:22        32:25       190:5             100:21          58:13
        236:11,14     52:10       204:20           referred        regularly
        237:12        103:18,24   205:18            28:20           250:8


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 347 of 363 PageID #:
                                    12626
                            DANIEL KIMMAGE 11/10/2022

       297:17         204:17         295:18      132:11,17          54:7,10,11
      rel 1:5,8       236:22,23      296:6       132:21,25          54:19
      relate 102:4    242:14,23     releases     133:1              234:25
       109:15         243:8          250:7       134:24             285:23
       145:7          246:15        releasing    135:1             remove 188:6
       181:25         254:4          107:10      137:4,21           247:19
       217:18         255:6          110:6       137:24            removed
       238:6          258:15         280:21      138:1,10           39:23
       239:13        relation       relevant     138:12,17          234:10
       251:8          103:1          32:3 65:1   138:23            removing
       286:3          239:2          80:8,9      139:8,25           234:19
       287:1,11      relation...     83:19 88:4  141:13,15         REMUS 6:19
      related         31:15,18       89:6        141:16            REMVE 268:21
       21:18,20       68:13,16       117:12,24   142:5             renamed
       62:1 90:19     232:16         119:4       145:1              192:1
       91:3 96:8      241:19         124:13,18   146:6             render 305:9
       96:20          287:6          131:3       147:8             reopening
       99:10,19       294:20        rely 293:13  148:14             300:12
       102:11         295:12,14     remaining    151:11,17         repeat
       116:2          295:23         120:25      151:20             283:17
       129:6         relation...     252:15      152:7             rephrase
       138:13,18      232:23        remarkable   154:5              68:17
       153:25         245:3          296:10      184:4,5,6          233:18
       156:9         relative       remarks      184:7,9,11        replaced
       165:15         100:4          19:14       197:14,16          272:21
       205:6         release         123:16      197:17,18         replicated
       212:10         43:13 45:9     137:11      197:20             74:16
       213:25         107:21,22      272:15      198:6,19           76:11
       234:4,14       108:17         289:1       199:23,24         report 18:5
       237:8,16       109:1,8       remember     200:8,11           40:7,25
       237:17,20      110:10         34:3 49:13  203:5,13           41:11 48:2
       237:23         111:14         49:16 50:1  207:14             93:7 98:9
       238:7,13       112:1          51:2 52:5   214:25             98:20
       238:19         113:5,9,13     53:3,18,19  231:7              106:14,18
       239:3,18       250:16         67:20,24    236:21             106:20
       243:6          255:7,20       82:7,10,18  237:11             107:18,19
       259:4          258:10,20      88:22,25    243:24             111:15,22
       270:18         258:23         90:11       250:2,8,14         111:25
       293:25         259:5,19       101:12,25   252:4              112:3,9
       302:10         259:22         111:9       258:22             117:14
      relates         295:21         113:8       264:19,22          118:15
       90:16,25      released        117:6       266:6,17           149:6
       257:12         98:10          118:9       266:19             193:4
       260:16         108:3,6,8      119:10,25   272:17,19          207:3,18
      relating        110:11         125:4       284:4              207:22
       85:6           249:18         127:2      removal             208:25
       111:10         250:23         129:11,18   47:18              209:1
       186:3          277:5          129:22      52:15 53:5         228:17
       197:19         282:7          130:16      53:10,15           230:14,20


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 348 of 363 PageID #:
                                    12627
                            DANIEL KIMMAGE 11/10/2022

       236:16         71:16          297:6          136:25           24:7 43:14
       237:6          83:18          298:5,12       178:6            43:16,21
       245:21         126:7,14      researchers     180:24           57:14 66:7
       246:1          143:5          97:25          181:12           72:2 73:22
       254:4,7        271:6          104:15         256:13           90:14
       280:2,22      represen...     172:2,21       258:5            94:13
       282:6,23       20:17          220:4          265:13           95:18
       282:23         225:1          271:8          266:23           106:25
       283:5         reproduce       293:9,11       267:17,24        108:4
      report's        76:25          297:18        responsi...       109:3
       113:5         Republic        298:13         142:11           115:2,5
      reported        264:17        reservist      responsi...       116:17,20
       13:23 41:8    reputation      191:2          142:7            127:11
       94:13          274:14        resonance      responsible       132:4,10
       203:16        request         99:5           41:6             133:10
       241:24         18:16         resources       120:17           136:15
      reporter        147:19         28:12         restricted        141:20,22
       14:3,4,5,6     172:4         respect         224:10           145:21
       14:7 20:16     188:5          103:22,23     restrict...       149:21,21
       20:20 23:5     284:24         159:8          225:5            162:20
       28:22         requested       198:9         restrictive       163:19
       79:13          285:3,14       203:24         246:4,10         164:17
       296:1          285:17         205:12        results           167:18
       301:1         requesting      207:19         156:14           169:8
       302:1,3        285:9,23       217:7          211:15,19        178:25
      reporters      requests        246:11         211:24           181:13
       50:2           19:8 187:2     251:12         234:5,15         185:24
      reporting       187:10,14      258:10        return            189:24,25
       110:24         188:4          259:19         303:19           190:3
       111:3,4,6      253:7,8        269:25        retweets          191:13,24
       192:14        required       respond 22:2    245:5,7          192:17
       196:25         123:18         23:1 24:22    revealing         194:22
       199:10        requires        37:24          69:2             196:14
       241:22         69:15         responded       255:14           198:24
       242:6          124:12         168:4         review 39:18      199:11
       256:6         research        266:12,25      152:3            203:3,8
      reports         99:1,4,5       267:1          300:20           205:1
       52:21,23       100:9,18      responding     reviewed          206:2
       104:6          111:22         181:16         128:8            211:20
       111:8,9        155:10         256:23         143:22           214:22
       114:18         219:14         267:6          144:6            216:2
       229:3          265:16,21     responds        154:24           219:20
       293:12,14      268:11         192:25         276:12,14        223:1,11
       295:19,20      292:7,21       196:7          277:6,10         223:13,16
      represen...     292:23        response        277:11           225:19
       39:14          293:9,14       5:19 6:2,9    revisit           227:25
      represen...     293:25         23:4,7         127:21           228:5,25
       33:8 45:16     294:1,8        29:1 61:16    rich 263:10       230:3,18
       59:12          295:7,18       102:8         right 22:11       230:18,18


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 349 of 363 PageID #:
                                    12628
                            DANIEL KIMMAGE 11/10/2022

       231:1          100:16,17      200:20       89:12             S
       236:4,6        100:19,24      232:12      Russian     S 1:6 15:1
       237:3          102:21,21     running       17:15 35:4   16:1 17:1
       240:12,15      121:12         172:24       62:18,22     17:7 18:1
       240:21         122:9,11       173:1,14     89:19        19:1 20:1
       241:1,13       136:1         runs 173:13   96:22 97:2   260:18
       245:23         137:16        Ruppe 215:5   97:20,22   SA-5 16:16
       252:18,21      176:12,13      252:5        97:22 98:1 safeguar...
       257:6,16       264:24        Russia 17:20  98:10,15     215:12,20
       257:20,23      265:2,4,7      17:21 27:4   99:4,10,18   216:1
       257:24         265:19         28:9 30:13   100:4,6,22 safety 39:7
       258:24,25      266:16,17      32:16        101:1,13     39:17,25
       261:9          269:25         34:24        101:17,21    133:8,18
       262:11         273:3,5        35:21        102:1,19     135:4,6,10
       263:22         277:25         60:14,14     103:17       141:19,21
       264:20         290:16,19      60:17 62:3   105:14       142:7,14
       265:9          292:10         62:6 65:1    107:20       142:25
       270:21,24     roles 133:2     74:18        108:1        162:14,19
       271:23         135:1,3        83:20        109:12,15    162:24
       274:14,22      141:14         89:25 96:7   109:23,24    163:3
       275:1          175:15,19      96:15 97:1   111:10,11    166:8,14
       276:20         175:21         97:4,4,5,5   112:10,20    166:19
       277:3         Roman 209:8     98:11        148:20,23    168:11,13
       287:3          210:12         100:13       149:7        168:23
       288:1,11       213:13         103:16,22    185:20       174:16
       294:12         218:12         104:5,5,12   201:16,18  SALCIDO 6:10
       296:13,14      219:2          104:18       201:21     Sam 91:6,7
       296:16,23     room 85:11      113:6        217:13       154:4
      rights         ROSENBERGER     132:16       238:20,21    167:24
       225:25         7:1            137:3        243:13     SAMANTHA
      Rob 5:5        rounds          144:24       248:23       3:23
       191:16         147:10         148:13       254:15     Samaruddin
       198:19,20     routine         165:25       255:6        12:4 91:5
       198:22         63:17,25       171:1        258:9,20     160:2
      ROBBINS 13:5   routing         176:5        259:5,18     179:1
      Robert 3:18     194:6          184:18       259:22     San 7:23
       93:8          ROWE 5:11       202:20,22    264:12       81:8
       191:14        RPR 13:23       202:22       265:5      Sauer 15:3
      robust 266:7    302:18         240:1        266:1,3      17:3,5
      Rockwell       rubber          243:20,23    267:25       21:4,10
       162:7,11       206:14         262:18       280:2,22     22:1,4
       163:8         rule 22:22      264:5,14     282:3        26:14,19
       174:15         31:7           282:2        283:4        28:23 29:3
      role 25:11     rules 289:15   Russia's     Russian-...   29:17,21
       40:25 41:4     290:3,8,11     18:5         97:12        33:13
       41:15,21       291:1          106:15      Russians      35:11 37:2
       42:17         run 190:25     Russia-o...   109:9        37:23
       64:20 91:9     193:6,15       100:2        111:16       42:21,25
       91:10          193:19        Russia-s...   255:20       43:2,5,7


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 350 of 363 PageID #:
                                    12629
                            DANIEL KIMMAGE 11/10/2022

        43:25 44:1     174:12,19     279:5          193:14,20       145:12,17
        44:20 46:7     176:21        284:14,16      193:22          160:9
        47:21 48:1     177:5,10      284:22         194:2          SCHMITT 1:6
        48:12,17       178:11        288:4,14       196:24         SCHWARTZ
        48:23          180:17        288:20,23      198:22          10:12
        52:20 56:9     181:21        289:21         208:10,10      Science
        56:13,21       182:4         293:18,22      210:3,18        220:6
        56:24          186:9         297:14         212:9,12       scientific
        62:11          188:7,12      298:9          212:18          35:3
        63:23          190:6         299:14,17      218:15         scope 244:22
        70:21          193:9         299:25         220:13,16       264:1
        73:12 75:2     194:1         300:8,14       221:13,24      scraping
        75:13 76:4     196:17        300:22         222:1,19        241:11
        77:11,21       198:2,14      301:2          222:23,25      Scully 10:9
        79:9 85:12     205:25       savvy 170:11    223:1,6,7       191:18,19
        85:15,19       206:5,9,14   saw 264:16      223:9,18        192:3,8,13
        86:2,5,12      206:24       saying 33:23    223:19,24       195:25
        88:17          207:2         39:16 51:2     224:12          196:13,19
        92:24 93:6     209:21        52:22,24       226:15         search 280:9
        93:20,22       210:8         57:13          229:11         searches
        94:5 95:8      212:20,22     75:25          230:20          245:8
        95:10 96:4     212:24        114:19         232:10,22      second 18:12
        106:6,11       213:4,11      117:7          234:1,3,7       44:3,4
        113:17,22      217:2,22      124:23         236:2           48:7 49:7
        114:13,17      219:13        180:13         237:11,15       57:12
        115:11         220:12        188:1          240:11          73:22
        122:7          221:23        228:3          242:14          85:24
        124:3,8        222:18        233:6,9        245:2,15        93:12
        125:18         223:5         269:20         253:7           94:21
        127:9,18       224:23        270:21         278:6,10        95:14
        127:21         225:11        283:2          278:22          128:7,8
        128:2,4        226:10        293:13         279:1           161:18
        129:15         227:21       says 50:17      281:13          162:5
        138:9          229:10,21     57:16,17       289:13          169:12,12
        140:22         231:5         57:22 74:3     296:16          176:11
        141:2          233:17        74:8 79:3     scenario         178:25
        150:7,18       238:3         95:21          95:17           185:21
        150:23         243:11        105:1         scenarios        189:5
        151:8          249:6         120:4          62:21           193:11
        152:2,11       250:21        128:23        Schaul           208:9
        152:12,24      251:20        156:12,17      191:14          221:13
        153:4          252:14        163:9,16       198:19,20       227:8
        155:17         253:1,5,19    163:20        schedule         235:21,25
        156:1          260:18,22     168:25         22:3 160:7      241:10
        157:17         269:8         181:7,12       160:21          263:13
        159:15,21      270:7         181:14         161:2,3         270:14,14
        164:9,12       275:11,14     186:10,11      164:14          289:8,10
        164:23         275:25        189:22        scheduling      Secretary
        167:11,21      276:5         192:13,25      92:22           1:23 2:5


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 351 of 363 PageID #:
                                    12630
                            DANIEL KIMMAGE 11/10/2022

       3:15,20      221:20           213:15         276:6           156:12
       4:2 9:9      232:13,17        219:18        selectively      169:12
       13:1 19:15   242:24           220:7,15       267:8           200:7
       54:3 289:2   296:6            221:12,25     senate           220:3
       289:2,13    security...       222:23         107:18          223:23
       296:2,9      216:15           223:22        senate-c...      227:8,9,11
       298:14      see 32:15         226:2,15       25:17           228:7,8
       299:5        33:8 43:12       227:14,15     send 172:4       229:12
      Secretary's   45:10 46:9       228:21         229:4,16        234:23
       289:17       49:5,7           229:11,14     sender 180:2     235:25
      section 7:17  50:16            232:5         sending          241:23
       122:12       56:14            233:25         178:17          245:19
       202:8        57:10,12         234:11,23      198:9           278:10,22
       227:13,25    79:11            235:11,21     senior 3:9      sentences
       232:5        93:14,23         236:1,7        3:25 5:3        298:23
      sector 155:9  95:11,14         237:3          9:18 10:7      separate
       155:12       104:11,17        240:8          12:6,7          45:7,7
       263:2,3      105:4            241:9,14       25:11           50:6
       271:7        106:22           242:2          29:12           194:23
       278:3        112:11           244:15,21      31:16          September
       295:7        120:6            245:19         37:10 41:3      57:4 93:8
      security      123:25           252:16         41:16          series
       3:17 4:1,5   129:6,8          282:8          45:13           143:11
       4:10,13,25   144:1,3          288:24         46:22 58:9      173:22
       9:21 10:8    159:22           292:4          59:21,23       served 228:4
       27:6 36:10   160:3            295:19,20      59:23 60:3     service 7:8
       39:4,24      162:8,10         299:18         64:12,17        39:21
       44:7 45:15   163:11          seeing 36:4     97:22           112:19
       47:2 57:20   166:3            38:8 89:5      163:9           181:13,16
       58:6,14,19   168:2            104:15        senior-l...      181:25
       58:25 59:4   171:22           136:10         60:6 69:25      247:16,18
       59:7 65:16   173:23           157:21         69:25 70:2     Services 2:7
       66:9,10      174:21           198:4          70:5,8,10       2:9 20:17
       73:25 77:4   175:2,8          201:3          80:6           serving 41:2
       77:25        176:1            207:11        sense 200:14    set 68:12
       112:19       179:1,23         219:24         252:19          87:3,6,10
       178:6        181:23          seek 38:2,4    sensitive        87:19,22
       189:10,11    182:7            269:13         107:15          87:24 88:6
       189:13       186:24          seeking        sent 168:22      88:8,13,20
       192:21       187:4,6          36:10          193:21          89:2 92:2
       194:18       188:21,22        234:25        sentence         120:5,9
       195:9        190:9,11        seeks 271:2     44:3 45:10      135:20,22
       197:3        190:13          seen 43:10      47:1 78:23      146:5
       215:12,17    192:14           104:5          79:2,5          161:21,25
       215:21       195:9,23         128:11,12      95:15,16        180:23
       216:2,17     196:5,25         128:16         95:20           283:13
       216:23       199:3            177:16         104:25,25       302:13
       217:8        207:7,15         207:3,4        120:3          sets 88:11
       218:2        211:13,15        253:10         123:24         setting


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 352 of 363 PageID #:
                                    12631
                            DANIEL KIMMAGE 11/10/2022

       47:12 87:9     303:14,17      304:25         106:19          63:7 74:16
       87:16          303:19        signed         SIO 292:16       74:21
       145:8         shop 290:7      301:16         292:24          75:15,20
       161:5          290:14        significant     297:21,25       76:9,14
       166:24         291:16         63:14          298:3,6         78:24
       224:14        SHOPKORN 3:7    131:4,10      sit 35:19        79:14,18
      seven 206:18   short 85:15     245:17        situation        80:4,17
      SHAH 6:22       85:16         Silicon         39:4,16         81:24
       16:14         Shorthand       45:16          108:1           82:18 83:2
      Shahma@s...     14:3,5         46:10,23      situations       83:4,6,9
       16:20          302:1          153:14,18      200:19          83:17,22
      shape 289:15   show 263:2      154:14,17     six 210:12       84:9,15
       290:2,8,11     263:11         155:1,5,22     245:12          87:2,11
       291:1         showed 149:6    161:14        slash 82:16      89:9 90:23
      share 32:21    shows 263:1     163:10,13      142:21          91:11 92:3
       32:23         shutting        271:11,18     SLAVITT 5:1      92:17 99:9
       83:11          51:17          271:25        Slow 181:12      99:14,16
       89:10         side 31:22      272:4,22       182:6           101:7,22
       136:17         31:23          272:24        small 41:20      103:2
       159:5          34:10 36:7     273:3          77:14           105:21
       198:23         64:17,21       289:12        smaller          113:10,15
       200:15         64:22 65:4    SILVERS 3:18    41:19,23        139:15
       273:19         65:5,7        similar        SNELL 10:3       147:1
       279:11         73:19          105:13        SNOW 15:14       155:13,19
       282:9          122:2          136:13        so-called        155:23
      shared 73:3     131:5,12       139:20         4:21            156:19
       164:4,15       132:20         140:16        social 8:4       158:2
       164:19,25      134:4          141:3,5,16     11:21 29:9      159:2,7
       185:6          135:16,17      141:18,18      29:11,12        160:1,6,11
       234:8          135:25         142:6,13       29:15 30:3      160:24
      sharing 68:4    137:8,9        143:12,17      30:21,23        161:5,21
       68:10,11       143:10,12      146:25         31:10,13        165:4,13
       73:1 89:8      147:22         268:25         32:8 35:7       167:8
       136:12         148:2         simply 39:15    35:22 36:5      170:17
       156:7,9        149:13,20      39:18          36:21 37:5      171:25
       157:23         157:20         132:17         37:18 38:3      183:7,11
       165:7          167:18         139:6          38:10,15        183:15
       169:14,22      173:23         145:4          39:6,13         187:11,22
       184:22,24      174:5          161:2          40:5,12         188:6
       185:3          178:15         216:8          42:3,10         194:7
       232:11         185:12         264:1          46:3,17         195:15
       270:16        sideways        294:7          47:8,17         196:21
       271:12         106:23        Sincerely       51:24 53:7      200:21
       273:21        sign 300:20     303:22         53:9,14         207:20
       275:22         303:17        single 83:11    54:6,18         210:16,21
       283:15        signature       89:22          55:5,12,18      211:3,7
      sheet 301:16    301:7,19       144:6          55:22 56:1      213:16,20
       304:1          303:14,17      296:18         56:1 61:18      228:10
      sheets          303:20        singled         61:22 62:7      232:23


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 353 of 363 PageID #:
                                    12632
                            DANIEL KIMMAGE 11/10/2022

       233:15,21      125:19         73:16       100:14      72:25
       234:18         143:11         76:14       101:15,18   80:13
       236:23         156:24         149:11      102:1,23    102:15
       246:5,11       159:25         163:14      105:9,23    118:8
       247:12         160:10         177:24      109:5,7,22  124:16
       248:8          189:2          185:10      111:12      130:16
       249:13         227:5,8,13     211:10      116:25      145:4
       250:15,23      232:1          255:16      118:15      147:18
       253:16         250:12         259:11      125:1       200:3
       254:2          252:19         260:1,10    126:2,8,23  206:21
       258:18         257:1         speaker      127:7       215:22
       259:4,17       286:10         137:7       135:20      222:25
       260:16         287:2         speakers     138:3       247:13
       274:3          288:19         74:17       139:9       248:13
       275:18         292:2          78:12       147:3,5,21  249:12,14
       278:25        sort 28:11      137:10,12   147:22,25   282:21
       279:7,9        32:23 34:7     139:1       148:19      289:23
       282:2,13       35:5 59:17     148:2,7     171:15      290:5,7
       283:22,24      63:17          149:11      176:22      291:10
       284:18         78:10         speaking     183:21      296:15
       285:12,18      91:23          49:18       184:8       298:2
       285:19,25      100:17         137:16      185:3       299:4
       286:11         125:14         221:2       205:11,14  specificity
       287:15,25      133:3         special 7:3  210:24      35:6
       291:19         137:11         7:22 18:5   213:24     specifics
      society         139:5          106:14      214:9       84:25 85:4
       209:14         146:7          199:4       217:24      105:17
       228:10         147:10         200:6       249:13      109:11,20
       268:11,13      169:25        Specialist   250:2,8     136:20
      soft 234:10     170:4,8        16:24       253:21      137:19
       234:19,25      182:20        specific     254:12      138:1,21
      software        203:16         31:2,5,9    255:2,3     139:3,7,13
       171:16         234:17         33:17,19    256:16      139:25
       261:20         253:15         33:22 34:3  258:2,7,12  141:7
      solutions       265:4          34:17 38:7  258:13      144:19
       278:1         sorts 61:7,9    38:20       266:2       171:13
      Solving         73:8 268:6     39:15,24    274:7       184:11
       280:15        sought          40:6,12     281:24      185:11
      somebody        264:14         45:5 52:9   283:6       202:6
       119:9         sound 133:10    54:14,17    284:24      204:2
       189:15        sounds          61:3,14,22  285:4,6,10  210:10
      soon 212:21     138:25         61:23       285:13,17   212:6
      Sophisti...     178:13         62:13 63:5  286:16      214:13,19
       17:22          212:13         64:2,4      288:9       243:15,18
      sorry 38:24    source          78:18 84:3  289:7       247:23
       55:23 57:5     220:19,22      88:25       293:2,2     248:20
       65:25 90:8    space 165:16    89:15,20   specific...  264:25
       117:17        speak 52:3      90:3 91:14  49:4,19     265:15
       118:24         56:3 63:4      92:20,23    54:10       266:19


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 354 of 363 PageID #:
                                    12633
                            DANIEL KIMMAGE 11/10/2022

       287:8,21       210:7          95:22,25       230:24         starters
       288:10         213:23         96:1 103:9     278:3           249:7
       291:15         217:1          105:2         Stamped         starting
       297:24         226:9,22       165:12         18:17,20        84:4 206:6
      specify         227:20         191:7          18:22,24        294:21
       182:8          228:20         201:8         stand 147:6     starts 228:3
       200:9          229:20         273:15        standalone       277:21
      speculate       234:22         274:2          135:19         state 1:5,7
       76:19          235:4,18       275:9,16      standard         11:23 12:1
       78:13,15       236:18         275:18,23      97:19           12:9,15,21
       159:1          238:2          278:24        standards        16:13
       281:10         241:18         279:8,18       36:17           17:14 18:4
      speculation     245:1          280:12         209:15,19       18:13
       167:10         253:18         281:3,5,14     289:16          19:15 20:5
       220:14         270:10         281:17,24      290:3,12        21:5 22:14
      speculative     279:4          282:10,18      291:1           27:3,18
       44:19          280:14         283:16        standing         33:10
       62:10          281:9          292:8          60:22,25        39:11
       72:19          286:15         296:4          61:1 211:9      44:12
       75:18          287:19        spreading      stands           49:22 53:6
       77:10,20       289:20         54:22 55:6     177:21          53:12 54:5
       78:5 92:7      291:4,22       274:22,25      178:7           54:9 55:16
       92:19          292:12        spring          200:16          56:4
       93:10          297:4,13       130:14        Stanford         128:25
       106:4          299:3          138:18         219:16          163:18
       118:21        speech 75:7     140:7          221:18          165:1
       119:2          76:12          148:21         223:7,9,12      175:8,16
       122:6,15      speed 47:18    Squad 7:23      223:15          177:12
       125:7          52:14         staff 63:18     289:12          178:15
       133:13        speeding        71:8,13,14     292:6,9,13      179:9
       134:15         53:5,10,15     72:16 88:4     292:14,25       180:1
       145:11         54:7,10,18     116:25         293:3           185:25
       149:1,15      spell 202:23    117:23         294:5           186:18
       155:16,25     spend 127:15    119:23         295:20          188:21
       158:25         127:25         131:2          296:4,10        189:14,19
       164:22        spew 51:18     staffers        296:22          190:19
       165:6         sphere 75:16    118:22,23      297:2,16        192:15
       166:21         75:20         stake 39:18     297:21          197:1
       168:16        spilling       stakeholder    start 21:12      220:22
       169:4,10       75:24          227:1          59:22           221:7
       174:11,18      261:11         228:25         82:21 97:5      222:5,10
       177:1         spoke 84:20     230:2,14       129:16          225:9
       178:10        Spokespe...     230:17,19      130:12          241:25
       181:20         17:11         stakehol...     144:16          259:24,25
       182:3         sporadic        227:13,17      150:18          278:21
       183:14         121:3          228:1,4,9      280:15          289:3
       186:23        spread 55:9     228:14        started          290:23,24
       193:8,25       78:25          229:2          21:12           296:3
       194:9          79:15,19       230:20,21      150:17          298:22


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 355 of 363 PageID #:
                                    12634
                            DANIEL KIMMAGE 11/10/2022

       303:8          26:25 45:6     279:8,18      SUBHAN 6:3       264:17
       304:3          69:15          280:11,23     subject 63:3    suggestions
       305:1         stay 93:16      281:2,5,14     65:1 80:10      276:15,17
      state-fu...     110:18         281:17,24      88:4           suite 16:6
       97:23          120:20         282:10,18      117:24          16:16
      state-owned     251:1          283:16         119:4           97:25
       281:25         261:9         stops 75:6      124:18         summarize
       282:1,3       stays 298:11   Strategic       131:3           29:18
      stated 165:7   stenogra...     5:14,24        132:9          summary 27:1
       273:18         20:19          6:6,13         173:25          53:1,2
      statement      stenogra...     41:24          238:24          208:3
       17:11          302:7         strategist      239:16          209:7
       115:18        step 98:7       166:11        subjects        super 170:11
       120:8          281:17        strategy        129:6          supervision
       144:12        Stephen         3:21 5:9      submit           302:9
       152:16         49:21          9:5 11:14      230:25         Supervisory
       209:11        steps 54:21     19:13          231:8           7:22
       250:3          54:24 55:3     174:9         submitted       Supply 6:17
       272:3          84:20 85:1     276:19         227:12         support
      statements      85:2,5,6       296:6         submitting       28:12
       97:21          95:24 98:3    straying        227:17          184:21,22
       138:22         143:18         107:15        subpoena         210:3
       140:25         144:2         street 15:18    128:24          220:5,25
       246:2,7       Stevie 119:8    16:6,17       subscribe        253:24
       249:19,21      119:20,24      157:24         305:11          278:13
       286:24        Stewart 12:4    303:6,21      subsequent      supported
      states 1:1      91:5,6,7      strengthen      107:21          113:4
       1:20 2:2       154:6,7        209:15,18     subseque...      182:23
       3:4 18:13      160:2,6       strictly        44:24           183:1
       20:8 27:6      161:21         269:21         191:25         supporting
       34:25          163:2         strongly       substance        184:18
       36:11          168:22         69:5           99:6 305:8      221:7,10
       90:18          173:22        structural     substantive     supports
       96:11,18       179:1          28:12          32:4            27:13
       102:10         271:21        structured      125:23,25      suppose 62:5
       153:17         272:7,10       63:14          126:3           74:18
       165:13,16      272:14         134:19        succeed         supremacy
       165:21         273:1,7,8     struggled       110:12          268:24
       182:25         283:12         267:3         succeeded       Supreme 15:5
       183:3         stick 73:21    students        110:10         SUR 15:16
       223:25        stint 24:5      221:18        successful      sure 22:23
       224:6,11       24:13          223:8          266:23          23:22
       237:6         stop 54:21     study 224:9    sufficient       28:14
      stations        273:15        stuff 24:20     206:22          43:25
       268:8          274:2,25       211:6         suggested        49:14
      status 245:5    275:9,16       237:23         100:23          54:20
       245:6          275:17,22      293:12         265:4,5         56:20 71:5
      statute 26:3    275:23        sub-narr...     266:14          81:11
      statutory       278:24         201:13        suggesting       87:25


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 356 of 363 PageID #:
                                    12635
                            DANIEL KIMMAGE 11/10/2022

        93:20       95:24 98:3   274:17       210:13       86:15,20
        105:25      123:8        293:12       211:18       86:22,23
        110:16,17   144:2       talked 73:23  226:24       86:25,25
        122:22      150:5,7      80:11        232:20       88:2,24
        127:22      158:22       116:16       244:16,18    91:8,9
        141:8       159:3        126:21       277:24       116:16
        145:22      180:3        137:17,22    283:3        117:12,13
        157:1       185:22       139:4        296:9        119:3,6,13
        170:12      186:1,2,14   144:12       297:9        119:17,19
        204:12,14   186:15,17    149:25      tank 294:15   120:1,16
        248:15      186:20       150:1       Tarasoff      121:17,20
        252:14      187:23       161:15       174:25       131:1,24
        255:4       204:11       166:17      target 52:15  132:2,3
        262:8,13    206:7        201:10       57:20 58:3   133:8,18
        281:22      212:21,23    244:17       74:5         139:4
        296:11      239:13       258:23      targeted      141:21
        298:16      248:2,10     264:5        190:18       142:8,14
        300:15,22   250:4        271:18      targeting     153:8,11
      Surgeon 2:1   252:12       272:8        112:20       162:19
        8:15        273:20       284:5        189:7        163:3
      surprise      274:8        286:19       192:21       166:15
        162:13      281:1,2,5   talking 28:2 task 7:19     168:13,23
        166:7       283:19,20    28:23        44:9         173:12,15
        236:15,20   283:22,24    49:16 54:6   116:11       175:24
        236:20      299:14       71:9 72:1    122:17       176:5
      swear 20:21   300:15       140:17       191:25       178:7
      sworn 21:2   takedown      164:6       tasked        185:15,20
      system 107:9  187:2,10     170:2        120:24       188:25
        107:10      188:4        179:16      teaching      191:23
        227:3      taken 20:4    199:13       173:7        192:2
      Systems 14:7  40:4         209:12,22   team 5:20     202:20,22
        302:20      143:18       215:24       6:2,9 8:4    243:20,23
                    192:7        238:7        8:19 12:19   269:11,18
             T      234:18       261:17       18:14 28:9   299:6
      T 16:1 17:1   302:4,7      264:7        28:9,9,10   teams 27:21
        17:1,7      303:12       266:9        28:12,15     28:6,7
        18:1,1      304:4        268:22       28:18,19     29:8 80:8
        19:1,1     takes 195:25  273:12       29:5,10      83:21 88:3
        276:1      talk 54:24    278:14       30:3 32:2    117:25
      table 206:7   123:10       283:2        32:3 45:15   119:11
        289:14      137:14       296:25       47:2 60:7    162:24
      tabs 245:21   149:21       297:5        60:9,14      163:6
      tactics       155:23       298:21       64:24,25     166:19
        104:7       171:8       talks 44:6    65:1,19      185:19
      take 25:15    186:12       47:1 49:8    71:19,21     193:1,23
        34:20,23    245:21       164:3        72:10,17    tease 256:10
        51:7 56:25  261:1,7,12   186:19       77:7,15,17 tech 155:9
        63:17 79:4  263:16,16    190:23       78:8,14      155:12
        94:12       263:20       200:14       83:19,20     157:6


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 357 of 363 PageID #:
                                    12636
                            DANIEL KIMMAGE 11/10/2022

       170:11         50:22          21:23          265:24      265:6
       172:16         83:18         ten 131:13      269:7       267:8
       263:1,3        86:15          149:17         301:13,14   274:13
       271:7          88:23 91:8     240:16        TET 28:21    275:1,3,20
       273:13,14      92:4 132:1     241:1          29:5,14     280:3
       273:21         153:8,11      tenure          31:10       281:11
       274:2,5        169:15         119:19         37:13       282:17,18
       282:16,22      173:15        TERICKA 8:25    60:10       298:15
       282:25         261:7         term 247:4      86:17 92:1 think 22:16
      tech-rel...     262:16        terms 39:20     118:24      28:23
       155:21         271:14         85:13          132:3,4,6   30:24 31:4
      techie          272:6          127:16         161:11      33:2 47:23
       262:12         277:22,24      136:10         173:16      56:8 57:24
      Technical       278:12,19      175:25        thank 192:25 71:5,9
       12:6           278:23         247:16,18      196:7       74:9 80:11
      technique       279:7,16      terrorist       218:15      80:22
       111:15,17      280:10,25      19:10 27:7     293:20      85:13
       113:6,9,13     281:4,11       32:17         thanking     88:21
      techniques      283:4,7,10     137:3          219:3       89:25
       30:11          283:18         163:22        thanks 168:1 106:18
       32:13          289:16        testified       301:2       112:8
       103:5,24       290:4,12       21:2 140:9    theDonal...  113:19
       104:4,13       291:2,10       154:8          236:4       118:23
       104:21         291:18         162:17        theories     119:14
       109:4          298:16,18      199:9          264:6       126:7
       112:1          298:24,25     testimony       266:14      127:10,16
       149:5,5,8      299:6          70:20         theory 191:6 138:2
       157:3         technolo...     101:9         thereon      140:9
       165:8,23       263:4          111:20         305:10      147:10,13
       182:13        tee 283:21      117:22        thing 22:24  149:18
       184:23         283:23         118:6,12       23:3 34:7   152:24
       185:22        teed 284:7      123:13         207:8       159:17
       186:13,14      285:14         125:17         266:21      171:7
       186:20        teeing          127:5          274:13      172:4,16
       217:16,18      284:10,18      131:8         things 24:19 176:18
       251:1          285:2,5        140:19         47:9 54:25  177:18
       273:23        tell 38:22      144:7          85:11       178:8
       279:12         38:25 42:2     148:6,18       95:18 98:8  180:2
      technolo...     48:17          152:21,23      104:14      188:8
       30:15          79:13 85:2     157:16         110:23      191:25
       261:13,16      97:3 103:8     172:19         112:8       199:9
       262:1,3,10     146:2          198:1          137:10      202:21
       278:12         215:10         201:2,23       138:25      203:4,16
      technology      238:10         204:21         155:21      204:6,11
       12:18          257:14         208:19         182:7       204:13
       18:14          288:6          216:7          184:25      206:1
       28:18 29:4    telling         222:22         186:17      207:15
       29:10 30:3     53:13          238:16         238:13,25   208:2,5,8
       45:17         temporarily     250:19         249:20      208:10,13


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 358 of 363 PageID #:
                                    12637
                            DANIEL KIMMAGE 11/10/2022

       208:20         90:18       TikTok 234:9  116:22      172:2,20
       210:25         117:25      time 20:12    118:4       241:12
       216:4          147:21,25    23:14,19     123:21      262:17,19
       218:6          159:9        25:10        139:16      262:23
       238:12         168:9,12     39:12        140:4,7     263:5
       249:17         194:22       45:25 47:7   141:4       288:8,11
       255:7          286:18       47:11        142:22     toolbox
       272:17,23     threat-a...   48:14,19     147:1       97:20 98:2
       273:5          60:15,16     48:21        162:23      275:7,9
       277:10         60:17        57:24        176:23     tools 30:11
       280:6          61:13,19     62:16,16    times 22:9   30:18
       288:15,21     threat-f...   74:11        236:16      32:13,18
       290:19         148:9        84:14 86:6 timing 85:13  97:24,25
       292:14,22     threats 84:1  86:9 93:20 TIMOTHY 6:15  98:4 107:3
       294:14,22      84:3,12      94:19 95:9 title 21:9    110:23,25
      third 50:12     148:3,8      116:11       22:6,7      157:2,6,12
       55:24,25      three 78:21   119:7,21     59:24       158:3,21
       94:22          94:24        124:22       65:12       165:8,23
       95:20          145:14       130:13       86:20,21    169:23,25
       153:13         149:23,25    131:22       121:12      170:2,5,6
       179:20         175:13       143:19       122:9,10    170:9
       192:4          185:18       150:15,25    166:12      171:14,22
       196:20         187:2        151:3        168:7       184:23
       208:10         230:5,19     164:13       185:13      186:13
       220:3          231:16       175:20,22   titled       217:15,18
       224:15         275:1,2      179:3        276:18      251:1
       225:3          291:25       195:6       today 21:22  270:24
       227:11        three-year    199:6,11     24:19       275:6,8
       245:15         67:8         199:18       45:13 48:2  278:4
       274:24        thrust 30:8   200:25       48:25 50:6  279:12,25
      third-party    Thursday      206:23       56:15,16    286:25
       128:24         13:17        208:14       56:18 57:2  287:1,6,9
      thought        ticket 245:5  213:6,9      144:8       287:11,14
       154:9          245:6,7      222:15       152:21      287:22,23
       173:7         ticketed      223:2        154:20      288:9
       180:15         227:2        252:22,24    207:25      299:8
       216:12        tickets       255:4        208:19     top 43:12
       288:5          212:9        299:18,20    282:2       50:20
      thousands       227:12,18    299:23      Today's      162:6
       51:17          229:4,16     300:2,16     20:11       166:1
       244:18         231:1,8      301:5       Todd.sco...  167:22,23
      threat 28:8     234:1,4,13 timeframe      15:10       178:5,17
       54:16          237:3,7,12   53:4 67:3   told 57:24   181:4
       61:14,21       237:16,23    82:6 83:14   103:11      182:13
       61:22 62:1     239:13       87:15        163:2       196:18
       63:7 64:25     240:11,16    91:20,22     224:25      210:13
       83:20 88:3     241:13,15    101:6       tool 170:11  230:22
       89:15,22       241:20,24    109:20,21    170:15,16   236:2
       89:23          244:24       115:24       170:23      240:9


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 359 of 363 PageID #:
                                    12638
                            DANIEL KIMMAGE 11/10/2022

       267:15,15      300:20         262:18         147:4,8,15      262:5
      topic 32:15     302:5          279:22         148:24         types 275:5
       99:21          303:16        Tuesday         149:12          279:23
       135:20        transcri...     178:2          160:17          299:10
       176:22         301:14         251:9          162:18         typewriting
      topics 32:11   transcripts    turn 50:8,11    183:8           302:8
       136:13         23:6           57:8 60:19     196:1,6        typically
       138:4         transfer        106:22         234:9           60:9
       180:25         49:9,19        161:13         240:22
       185:24        Treasury        182:10         283:11                U
       226:25         12:23 13:2     232:4,20      two 25:16       U 16:1 18:1
       256:17        trending        241:8,21       31:25            19:1
      total 245:8     33:25          277:16         40:23 43:2     U.S 3:11 7:7
      totally        trends 139:5    289:8          49:20            7:12 10:16
       257:18        tried 105:3    turning         50:11            11:2,9,23
      touch 123:18    105:11         106:23         64:23            12:22 13:3
      touting        trolls 104:8    147:12         68:14            16:13
       102:7         true 120:8      167:15         69:22,24         17:12,19
       266:24         223:22         270:13         71:1,2           18:4
      track 75:11     224:5          295:25         102:11         Uh-h8h 176:6
       75:19          301:13        tweet 244:6     112:8          ultimately
       108:22         302:5          245:3          113:2            40:24
       110:23         305:9,13      tweets          129:24           41:12
       161:3         trust 133:7     244:18,19      130:2          underneath
       246:6          133:18         244:23         146:16           112:17
       250:17,22      135:4,6,10     245:5,6,9      149:25         undersec...
       280:20         141:21        Twitter 51:9    175:13           49:22 50:5
      tracked         142:7,14       52:13          192:8,13         50:25 52:2
       39:10 96:6     142:25         75:22 76:1     194:24           53:16 54:3
       108:18         162:14,19      80:20          238:24           65:15,21
       226:25         162:23         82:13,23       257:18           66:2,4,5
      tracking        163:3          128:24         277:20           66:13
       99:7           166:11,14      129:3,10       291:14         understand
       261:24         166:18         129:12,19      298:23           23:20
       270:1          168:11,13      129:21,25     two-minute        26:20 28:1
      tracks 269:4    168:23         132:20         206:7            29:22
      traction        174:16         133:2,5,25    two-way           33:14
       75:14         trusted         134:1,23       157:24           35:12 37:3
      trained         227:12,16      135:2,5,9      271:12,25        38:1 56:20
       173:6          230:21         135:13         272:5,9          158:5,9,11
      training       try 34:25       136:11,20      273:19           158:15
       173:2,4        76:24          138:19        two-year          170:8,13
       184:23         144:3          140:16         67:14,19         171:21
      transcri...     287:25         141:5,18       67:21            175:22
       23:5          trying 68:12    141:20        type 22:22        206:23
      transcript      105:7          142:7,14       55:1 143:1       247:9,14
       17:8 18:2      127:16         144:2,16       182:8            262:21
       19:2,9         158:7          145:18         235:6            279:22,23
       261:1          261:8,9        146:2,22       242:15           279:24


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 360 of 363 PageID #:
                                    12639
                            DANIEL KIMMAGE 11/10/2022

       280:7,10       277:8        138:16           277:6,11        268:21
       281:1         Updates       144:20          Versions         269:1,12
      understa...     17:12       vaccines          152:9           269:17,22
       30:5 34:6     upswing       96:21 97:7      versus 20:6      270:2
       36:9 37:7      269:15       97:11,12        vice 162:14     viral 181:8
       44:15         URL 56:16     99:11            166:8          virtual
       45:19         URLs 234:8    100:5            174:15          81:14
       55:24 77:2     237:4        264:12,13       video 16:24     virtually
       77:17          241:12,16   vaccines...       18:7 21:19      261:7
       79:10          241:20       129:5            114:3,19       virus 35:1
       124:9          244:18      vague 26:13       190:16          74:20
       156:22         245:7        29:16 35:9       194:15          100:7,12
       157:2         USA 48:2,25   60:24 90:8       201:5           100:25
       163:13         50:6 56:15   117:22          videogra...      102:7,14
       165:8          56:16,18     138:8            20:2,15         102:17,22
       184:12         57:2         183:9            85:24 86:6      201:7
       204:16        use 27:4      190:4            86:9            264:10,19
       279:15,18      34:15        209:20           150:21,25       265:3,11
       280:4,16       54:25 55:9   217:9            151:3           265:16
       281:6,16       55:11        243:10           213:6,9         266:6,15
       283:18         103:12,14    246:17           252:21,24       267:3,6
      unfair 58:1     104:5        247:1            299:20,23      visible
      unit 132:13     217:16       250:20           300:17          114:24
       192:16         229:17       251:19           301:3          VIVEK 1:24
       296:16         247:6        275:10          videos 52:15    volunteer
      United 1:1      248:7        285:24          Videotaped       221:19
       1:19 2:2       253:14       286:15           13:16           223:13
       3:4 18:13      264:14       287:18          view 158:22     voting
       20:8 27:6      299:17       293:17           284:9,17        242:24
       34:25         useful        298:7            285:5,11       VP 174:8
       36:11          287:22      Valley 45:16     viewed 285:1
       96:10,18      user 170:7    46:10,23        views 284:15          W
       102:10         283:19       153:14,18        284:22         W 6:15
       165:12,16      288:12       154:14,18       VINOGRAD          288:14
       165:20        users 36:17   155:2,6,22       3:23           wait 22:25
       182:25         254:7        161:15          violate         waived 301:7
       183:2         utilize       163:10,13        55:12          WAKANA 5:21
       223:25         97:19        271:11,18        232:25         WALDO 8:12
       224:6,10                    272:1,5,22       233:11         walk 209:2
      university           V       272:25          violates        WALLY 12:24
       24:6,11,14    v 1:16 209:6  273:3            286:13         want 56:19
       173:5           303:8       289:12          violations        59:17
       175:18          304:3      various           55:13            93:16
       179:18        vaccine       18:16 22:9       226:16,20        109:19
       219:17          101:13      76:9 96:24       286:3            110:16,17
       277:14          105:3,7,11  264:17          violative         122:8
      update 68:4      105:20     VECCHIONE         285:22           132:12
       89:4            144:11,14   16:3            violent           150:4,19
      updated        vaccine/... version            17:13 44:9       150:19,21


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 361 of 363 PageID #:
                                    12640
                            DANIEL KIMMAGE 11/10/2022

       158:1,2,5    195:17          Weaponizes      6:16,23         69:13
       158:9,11     233:21           17:22          9:6 17:10       90:11
       158:14       244:4           weapons         43:13           245:8
       206:7,19     248:7            112:23,24      45:14          wording
       257:4,25     249:16          web 241:11      46:23,24        281:24
       282:17       252:9            271:2          47:2 50:22     words 45:3
       296:11       259:2           website         268:24          199:21
      wanted 21:11  274:19,23        76:24         wide 100:10      205:10
       21:14        274:24           153:7          261:25          209:25
       32:21,23     287:2            154:22        wife 294:22      239:22
       89:9         292:25           155:6         Wikileaks        282:12
       147:22       295:19           161:16         108:4          work 50:15
       151:16      we'll 82:21       163:25        willing          91:12
       233:3        85:25            171:18,19      23:17           98:21 99:2
      wants 212:25  300:15           171:20        wipe 206:8       154:11
       271:2       we're 28:1        194:6,11      withholding      171:17,25
      war 85:10     36:4 48:13       236:6          256:12,22       182:17,21
      Warfare       57:13 86:7       253:6,10       258:3,6         183:17
       18:10        93:1 106:8       253:14        witness          206:9
      warriors      113:19           262:25         20:21           227:2
       17:18        115:12           263:10         43:23           263:17,17
      Washington    117:7,16         277:3          48:21           292:24
       14:4 15:19   127:22          websites        68:25           296:10,20
       16:7,18      150:14           236:3          85:23 93:5      296:20,25
       81:13        151:1,4          254:3          93:17 94:2      297:1,1,6
       92:11        159:17,17       weeks 58:16     95:2,5         worked 91:21
       147:9        177:6,23         58:18          110:15,19       94:18 96:9
       189:16       199:13           59:15          206:17,20       154:9
       219:17       206:16          well-known      206:22          183:5
       261:3        213:10           292:21         212:23,25      workers
       294:14       215:24          went 89:4       224:21          222:14
       303:6        252:25           194:3          225:7,19       working
      wasn't 52:2   288:21           268:3          249:3           31:20
       61:3 73:17   296:11          weren't         254:22          50:21
       135:10       298:16           47:13,13       255:13,23       58:12,17
       170:7        299:21,24        239:3          255:23          59:21 60:7
       185:9        300:22          Western 1:2     256:1,3,5       163:10
       198:5,7      301:5            20:9           293:21          189:15
       201:4,14    we've 43:2        266:12         300:1           223:2
       249:23       71:9 85:13       267:2          302:13          225:2
       273:9        86:17           western-...     303:15          226:19
      water's       87:25            97:11          304:2,25        296:18
       206:6        126:20           264:11        woman 133:22    working-...
      Watts 132:1   150:2,9         WHEREOF         167:16          80:9 88:4
      wave 263:21   179:16           302:13        wonder 266:8     131:2
      way 104:9     191:22          white 1:22     wondering       works 78:24
       120:12       212:19,20        4:16 5:2       283:9           79:13,16
       138:14       250:4            5:10,12,17    word 26:2        184:9,13
       192:4        257:4            6:1,8,11       34:15           184:16


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 362 of 363 PageID #:
                                    12641
                            DANIEL KIMMAGE 11/10/2022

        278:2       161:23          YouTube-...   18:19             260:19,20
      workshop      163:21           80:22        24:14             303:3
        177:24      166:10          YouTube/...   177:7,8          14,914,478
        181:1       171:2,4          143:1        303:12            245:8
      world 282:24  179:3                         304:4            14448 14:6
        283:6       190:1                  Z     10-month          14th 302:14
      wouldn't      194:24          ZACHARY       24:13,25         15 19:12
        34:15       196:6             10:12       25:6              213:16
        79:16       205:24          zero 191:1   10/17/2022         276:2,3
        83:10,11    208:23            240:16      19:14            151 17:4
        118:14,14   212:23            241:1,2    10:04 13:18       152 17:5
        161:3       213:3           Zoom 81:7,14  20:13            153 18:13
        199:7       222:24            81:17      10342 161:19      159 18:16
        238:13      224:24            145:19     106 18:4          15th 208:11
      woven 261:7   231:24                       10th 20:11         208:12
      wrap 150:4    241:4                  0      180:23           16 19:14
      wrapped       252:14,14       01/08/2016   11 18:23           112:2,5
        150:9       252:15            17:10       188:9,10          288:15,16
      written       264:8           02/09/2018    188:13            288:17,21
        167:7       283:1             17:14       213:13            288:22
        229:23      286:21          02/13/2018    227:25           1608 303:20
      wrote 180:22  288:20,22         17:17      11/08/2022        162 128:14
      Wuhan 191:3   294:11          02/17/2021    19:7             17 232:20
        191:8      year 24:12         19:9       11:10 86:7         276:22
        201:9       42:19           03/25/2O20   11:21 86:10        277:5,17
      WYMAN 10:6    130:13            18:23      1100 15:18         288:16
                    276:23          05/03/2O21    303:6             289:1
             X     years 23:25        18:19      111 21:23         177 18:19
      x 1:4 13:14   69:23           05/10/2O21   113 18:7          183 244:4,10
        17:7 18:1   194:24            18:21      117 128:18        188 18:23
        19:1       yesterday        05/17/2022   12 19:4           1950s 35:4
      XAVIER 2:3    21:15,22          19:12       206:2,2,3        1970 74:20
      XI 213:13    YOLANDA 8:16     08/2020 18:4  213:12           1970s 35:2
      XII 218:12   YOUNES 16:4      09/04/2020    218:12            250:6
      XIII 219:1   Youtube 18:7       17:21       228:8,8          1980s 34:24
                    76:1 80:21                   12/1/96            100:20
             Y      80:22                  1      179:23           19th 16:6
      Y 2:22        82:15           1 13:22      12:23 151:1       1st 25:5
        193:11      114:19            17:10      1200 270:24
      yeah 24:24    139:21            42:22,23   1225 16:6                2
        27:2 30:7   142:21            227:13     127 18:12         2 17:14
        35:15 43:5  189:7           1,094,115    13 19:7             18:11
        56:21       190:16,25         245:6       219:2              47:23,24
        57:11 65:7  192:21          1.4 227:14    253:2,3            56:17 57:6
        67:13 71:1  193:18            227:25     135884 13:21        57:9
        71:11 82:9  194:15          1:15 150:19  13th 57:5           221:12
        82:9,21     197:2           1:30 150:17  14 19:9             277:17
        85:18 86:4  200:20          1:33 151:3    42:19            2:31 213:6
        112:4       234:9           10 13:17      128:13           2:40 213:9


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Case 3:22-cv-01213-TAD-KDM Document 208-1 Filed 03/04/23 Page 363 of 363 PageID #:
                                    12642
                            DANIEL KIMMAGE 11/10/2022

      20 305:15     123:9,15         20:12          303:20         6 18:7
      20036 16:7    130:8            21:15         304 13:22         113:19,20
      2016 43:14    162:6            24:12         33 235:20         120:3
       43:20        163:8            251:8         343 166:24        123:25
       44:17,23     188:18           276:22        345 167:16        226:1,1
       107:24       194:19           277:5,10       167:16         632-9254
       108:23       199:14           289:1         3484 14:4         16:19
       109:9,16     207:19           302:14        35 234:8,19     639 234:1
       111:11,18    212:15           303:3,12       237:2            237:12
       112:11,14    231:17           304:4         351 168:19        241:15,16
       258:22       245:15          2024 251:13    38 240:6        64108 303:21
      2017 22:17    254:17          20520 16:18    396 128:20      65102 15:7
       24:1,2       255:8,21        20530 15:19     128:23         66 57:18
       25:3,5,23    258:10,21        303:6          138:3            73:23
       42:18 45:5   259:7,19        206 19:4        144:13
       45:23 47:7   284:4           21 17:3                               7
      2017/2018    2021 19:5        21,897,364            4        7 18:12
       91:21        42:20 67:6       244:19        4 17:21           127:11,12
      2018 39:1     67:12,18         245:9           18:10 93:2      128:6
       48:3 49:1    80:4,13         211 245:11       93:3          70 270:24
       54:13 57:5   81:13,23        21st 22:17     4,832 241:12      286:24
       130:9        82:6,20,21       24:2 25:3     4:19 299:20     72 212:10
       159:9        83:14           2200 16:17     4:32 299:23       234:3,13
       194:20       84:12           253 19:7       4:33 301:5,9    751-8870
       286:19,22    87:17 88:8      25th 199:13    40 49:9           15:8
      2019 67:5,12  89:14,24        260 19:9       406 173:19      7671 195:23
       67:18        90:22 91:3      27 233:23      42 17:10        7675 196:9
       84:14        91:24           276 19:12        241:21
       91:24        94:11           28 43:14       45 86:1               8
       94:11        99:17,20        288 19:14      450 16:6        8 18:13
       130:7,9      130:5,11        29 114:4       47 17:14          106:22
       146:2        131:16          292 207:23     475 14:3          152:25
       153:17       132:14          29th 176:15    49 236:16         153:1
       191:9        138:18           176:19        4th 93:8          226:24
       294:22,25    139:10           177:4                         823848 14:6
      2019/2020     140:7           2nd 113:25           5         899 15:6
       91:22        142:2            116:18        5 18:4 106:8
      202 15:20     147:12                           106:9,12             9
       16:8,19      148:21,24              3       5,888,771       9 18:16
      2020 18:11    162:18          3 17:17          245:4           112:7
       19:5 67:12   176:15,19         56:10,11     51 242:12         159:18,19
       67:23        177:4             56:18        514-3259        918-6902
       84:14 93:8   179:17            73:21          15:20           16:8
       99:23,25     208:10,11       3:21 252:22    56 17:17        93 17:21
       101:6,22     208:12          3:22-cv-...    573 15:8        99 237:21
       113:25       261:2             1:16 2:21    5H03 16:16        239:1
       115:24       270:21            20:8         5th 162:6       9th 21:15
       116:18,19    283:12          3:31 252:24                      48:3
       118:4       2022 13:17       30 235:7              6



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